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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

TREMONT LLC,                                         §
                                                     §
                Plaintiff,                           §
                                                     §
VS.                                                  §
                                                     §
HALLIBURTON ENERGY SERVICES,                         §
INC., et al.,                                        §    CIVIL ACTION NO. H-08-1063
                                                     §
                Defendants,                          §
                                                     §
VS.                                                  §
                                                     §
NL INDUSTRIES, INC.,                                 §
                                                     §
                Third-Party Defendant.               §

                                 MEMORANDUM AND OPINION

        This case involves allocating responsibility for environmental remediation. The following

motions are pending:

        •       Tremont LLC (“Tremont”) seeks partial summary judgment that Halliburton Energy

                Services, Inc. (“HESI”) and DII Industries, LLC (“DII”) (collectively, “Halliburton”)

                must indemnify Tremont for the costs and expenses it has incurred and will incur to

                remediate environmental contamination at three Texas locations where Gulf Nuclear,

                Inc. (“Gulf Nuclear” or “GNI”) manufactured, stored, repaired, and disposed of

                radioactive materials (the “Gulf Nuclear Sites”). (Docket Entry No. 8; 2005 Case,

                Docket Entry No. 247).1 The motion includes a request for indemnification for

1
  Tremont filed an identical motion for partial summary judgment in a related case pending before this court,
Civil Action No. 05-4160 (the “2005 Case”). Tremont initially filed the same claim it asserts in this action
(the “2008 Case”) as a counterclaim in the 2005 Case, and sought guidance as to whether to pursue its claim
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                claims raised in a related civil case filed in this district by the Environmental

                Protection Agency (EPA) against Halliburton, NL Industries, Inc. (“NL”), and other

                entities. (2005 Case, Docket Entry No. 252 at 1–2). That case is referred to as the

                “EPA lawsuit.”

        •       Halliburton has filed a third-party complaint against NL seeking indemnification or,

                alternatively, contribution under the Comprehensive Environmental Response,

                Compensation and Liability Act (CERCLA). NL moves to dismiss Halliburton’s

                third-party complaint, or in the alternative, for summary judgment. (Docket Entry

                No. 19).

        •       NL has filed a motion to stay discovery, (Docket Entry No. 26), and a separate

                motion for partial summary judgment, (Docket Entry No. 56).

        •       Halliburton seeks a continuance of both Tremont’s motion for partial summary

                judgment, (Docket Entry No. 11), and of NL’s motion for partial summary judgment,

                (Docket Entry No. 58).

        •       Halliburton moves for leave to file under seal certain exhibits to its surreply to

                Tremont’s reply to Halliburton’s supplemental response to Tremont’s motion for

                partial summary judgment. (Docket Entry No. 63).


in the 2005 Case or in the 2008 Case. Because unrelated claims remained pending in the 2005 Case, and to
avoid duplication and promote fairness and efficiency, this court severed Tremont’s counterclaim in the 2005
Case, (2005 Case, Docket Entry No. 335), and consolidated the counterclaim from the 2005 Case with the
2008 Case, (Docket Entry No. 30). Before Tremont’s counterclaim from the 2005 Case was consolidated in
the 2008 Case, the parties to the 2008 Case had filed various pleadings in both the 2005 Case and the 2008
Case. Because of the severance and consolidation of the counterclaim from the 2005 Case, motions filed in
the 2005 Case that related to the claims in the 2008 Case were denied as moot in the 2005 Case. (2005 Case,
Docket Entry No. 335 at 2). Many of the substantive briefs relating to the pending motions in this case were
filed in the 2005 Case, with notices filed in the 2008 Case referring to the filings in the 2005 Case.
References in this opinion to docket entries from the 2005 Case will use the following form: (2005 Case,
Docket Entry No. __). References to docket entries in the 2008 Case will use: (Docket Entry No. __).
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       •       Tremont has filed a motion to supplement the summary judgment record, (Docket

               Entry No. 70), and a sealed motion for leave to file under seal its response to

               Halliburton’s objection to Tremont’s supplemental evidence and its memorandum

               in further support of the motion to supplement the summary judgment record,

               (Docket Entry No. 74).

       •       Halliburton has filed a motion for leave to supplement the summary judgment record.

               (Docket Entry No. 86).

       This court held hearings and heard oral argument from counsel. Based on the motions, the

responses, and the replies; the present record; the arguments of counsel; and the applicable law, this

court reaches the following conclusions:

       •       There is no genuine dispute of fact as to whether NL’s potential liability for the Gulf

               Nuclear Sites stems solely from NL’s former petroleum services business.

       •       Issue preclusion applies to the interpretation—made by an arbitration panel in an

               earlier arbitration—of the relevant contracts.       That interpretation places the

               responsibility for the Gulf Nuclear Sites on Halliburton.

       •       This court’s own interpretation of the relevant contracts places the responsibility for

               the Gulf Nuclear Sites with Halliburton.

       •       NL transferred its petroleum services business to its subsidiary, NL Petroleum

               Services, Inc. (“NLPS”), in a 1988 restructuring, and then to New Baroid in a 1990

               restructuring. Under both the arbitrators’ and this court’s contract interpretation,

               both restructurings included the transfer of all historical liabilities associated with

               NL’s petroleum services business, including historical liabilities arising from assets

               or operations that were not themselves transferred.          Because Halliburton is
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               undisputedly New Baroid’s successor, Halliburton is responsible for historical

               liabilities associated with NL’s former petroleum services business, including

               historical liabilities associated with assets or operations that NL sold before the 1988

               restructuring became effective.

       The result of these conclusions is that this court:

       •       grants Tremont’s motion for partial summary judgment;

       •       denies Halliburton’s request for a continuance of Tremont’s motion for partial

               summary judgment;

       •       grants in part and denies in part NL’s alternative motion for summary judgment

               based on issue preclusion, and denies NL’s motion to dismiss as moot;

       •       denies NL’s motion for partial summary judgment based on contract interpretation

               and motion to stay discovery as moot;

       •       denies Halliburton’s request for a continuance to respond to NL’s motion for partial

               summary judgment as moot;

       •       grants Halliburton’s motion for leave to file exhibits under seal; grants Tremont’s

               motion to supplement the summary judgment record; denies Tremont’s motion for

               leave to file one of its responses under seal as moot; and denies Halliburton’s motion

               for leave to supplement the summary judgment record.

       The reasons are set out in detail below. A status conference is set for March 30, 2010, at

2:00 p.m., to discuss a schedule for resolving the remaining issues.




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I.      Procedural Background

        In the related 2005 Case, Halliburton sought to recover the money it spent investigating and

remediating environmental contamination near the towns of Magnet Cove and Malvern Arkansas

(the “Malvern Site”). The relevant background has been set out in previous opinions issued in the

2005 Case and is only summarized here.

        Briefly, Halliburton filed the 2005 Case against the Tremont Parties—NL, Tremont, TRE

Holding Corporation, and TRE Management Company—M-I, L.L.C., Milwhite Inc., and Georgia-

Pacific Corporation, after entering into an Administrative Settlement Agreement in 2000 and a

Consent Administrative Order in 2003 with the Arkansas Department of Environmental Quality

(“ADEQ”). In April 2005, before the litigation over allocating responsibility for cleaning up the

Malvern Site, TRE Management and Halliburton entered into a Cost Sharing, Cooperation, and Final

Allocation Process Agreement (the “2005 Cost Sharing Agreement”). This 2005 Cost Sharing

Agreement included a procedure to allow the parties to cooperate in funding the response and

remediation costs for the Malvern Site by “allocating on an interim basis.” The 2005 Cost Sharing

Agreement also set out a procedure for the parties to reach a “Final Allocation” of “their and others’

respective shares of such past, present, and future costs, expenses, liabilities, settlements, recoveries,

or unpaid shares relating to the [Malvern] Site . . . .” The 2005 Cost Sharing Agreement defined

“Final Allocation” as a “full, final, and binding apportionment among the Parties to the Agreement,”

by agreement or by arbitration, of defined categories of costs, including future costs. Under the

2005 Cost Sharing Agreement, if mediation did not result in “Final Allocation,” the parties were

required to participate in binding arbitration under the Commercial Arbitration Rules of the

American Arbitration Association and the Federal Arbitration Act.


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       In late 2005, Halliburton filed the 2005 Case against the Tremont Parties as prior owners and

operators of the Malvern Site when hazardous substances were released, or as successors-in-interest

to owners or operators. Halliburton also sued Georgia-Pacific, as a prior owner of the Malvern Site,

and Milwhite, as a prior owner and operator of the Malvern Site. Halliburton asserted cost-recovery

and contribution claims under CERCLA, 42 U.S.C. §§ 9607(a) and 9613(f)(3)(B), contribution

claims under the Arkansas Remedial Action Trust Fund Act (RATFA), ARK. CODE ANN. § 8-7-520,

and a right to recover response and remediation costs under a state common-law unjust enrichment

cause of action. Halliburton also sought a declaratory judgment that the defendants were liable for

future response and remediation costs at the Malvern Site and that Tremont had to indemnify

Halliburton for these costs under the contracts used to restructure the corporate predecessors-in-

interest. Georgia-Pacific and Milwhite counterclaimed against Halliburton and crossclaimed against

each other and against their codefendants, the Tremont Parties, seeking contribution and indemnity.

       In March 2006, after the 2005 Case and a related lawsuit in Arkansas had been filed,

Halliburton and the Tremont Parties entered into an agreement expanding the entities consenting to

arbitrate the allocation of response and remediation costs at the Malvern Site. In this 2006

Arbitration Agreement, the parties agreed to “resolve through binding arbitration all claims between

them related to the allocation of response and remediation costs incurred or to be incurred at the

[Malvern] Site including the claims that have been asserted in the Texas Case or such claims that

may be asserted in [a related] Arkansas Case.” The signatories to the 2006 Arbitration Agreement

included HESI, DII, NL, Tremont, TRE Holding, and TRE Management. The arbitration was to be

conducted under the 2005 Cost Sharing Agreement.

       The arbitration between Halliburton and the Tremont Parties was conducted in two phases


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and resulted in two awards.2 Among the parties to the arbitration, the arbitration panel allocated all

response costs at the Malvern Site to Halliburton. This court confirmed the arbitration awards on

March 31, 2008, and later entered final judgment under Federal Rule of Civil Procedure 54(b) on

the claims resolved in the arbitration. Halliburton appealed the order confirming the awards and the

final judgment on the confirmation order. The Fifth Circuit affirmed.

        After this court confirmed the arbitration awards in the 2005 Case, Tremont filed the 2008

Case against Halliburton.3 In the 2008 Case, Tremont asserts a claim for breach of contract and for

contractual indemnity, “seek[ing] to recover from Halliburton costs and expenses that Tremont has

incurred and will incur to defend, indemnify, investigate and respond to a number of environmental

sites and claims that derive from the former petroleum services business of NL.” (Docket Entry No.

1 at 2, 5–7). The sites and claims for which Tremont seeks indemnity include the “Gulf Nuclear

Sites” located in Odessa, Ector County, Texas; Webster, Harris County, Texas; and (Tavenor Street)

Houston, Harris County, Texas; the Malone Service Company located in Galveston County, Texas;

the Spinks Site located in Laurel, Mississippi; the Potosi and Fountain Farm Sites located in

Washington County, Missouri; the ArChem-Thames Chelsea Superfund Site located in Houston,

Texas; and the Olen Lee family toxic tort case located in Calcasieu Parish, Louisiana (collectively,

the “Sites”). (Id. at 2).

        In the 2008 Case, “Tremont also seeks a declaratory judgment that Halliburton is


2
  The first phase was called the “contract phase” and focused on the meaning and interpretation of a 1990
plan of restructuring of NL’s petroleum services business. The contract phase resulted in an award referred
to as the “Contract Award.” The second phase was called the “allocation phase” and involved allocating
responsibility for the environmental liabilities at the Malvern Site among the parties to the arbitration. The
allocation phase resulted in an award referred to as the “Allocation Award.”
3
  As noted earlier, Tremont sought identical relief through a counterclaim in the 2005 Case, but the
counterclaim was ultimately severed and consolidated with the claims in the 2008 Case.

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contractually liable to Tremont to indemnify and hold Tremont harmless against all costs and

expenses arising out of or otherwise attributable to NL’s former petroleum services business . . . ,

except those [liabilities] specifically retained in the 1990 Plan of Restructuring . . . .” (Id.; see also

id. at 7–8). Tremont alleges that because the arbitration panel found that Halliburton is contractually

liable to indemnify Tremont for all costs and expenses arising out of NL’s former petroleum services

business, issue preclusion prevents Halliburton from relitigating that issue here.4 (Id. at 2). Tremont

also asserts a contribution claim under CERCLA. (Id. at 8–9).

        Halliburton filed a third-party complaint against NL, asserting that as the former owner of

the Sites, NL is contractually and statutorily obligated to indemnify Halliburton for all liabilities

associated with the Sites. (Docket Entry No. 13). Halliburton asserts a claim for breach of contract,

claiming that as part of the 1988 restructuring, NL agreed to indemnify NLPS and its successors for

liability associated with operations not transferred to NLPS in that restructuring. (Id. at 6–7).

Halliburton argues that many of the obligations arising from the Sites are attributable to operations

not transferred to NLPS in 1988. (Id. at 7). Halliburton also seeks a declaratory judgment that NL

is obligated to indemnify Halliburton for expenses arising out of businesses that NL transferred

before the 1988 restructuring. (Id. at 8). In the alternative, Halliburton asserts a claim for

contribution and cost recovery under CERCLA. (Id. at 8–9).

        Tremont has moved for partial summary judgment that Halliburton is responsible for all costs

and expenses that Tremont has incurred in connection with the Gulf Nuclear Sites. Tremont argues

that it is entitled to judgment based on the relevant contracts and based on issue preclusion. NL


4
   Tremont’s summary judgment brief argues that summary judgment is appropriate based on both res
judicata (claim preclusion) and collateral estoppel (issue preclusion). During the hearing on Tremont’s
motion, however, Tremont’s counsel clarified that only issue preclusion, not claim preclusion, applies.

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asserts that the third-party complaint against it should be dismissed based on issue preclusion and

also seeks partial summary judgment based on contractual interpretation.

        These motions, and the parties’ arguments and responses, are considered below.

II.     The Legal Standards

        A.      Summary Judgment

        Summary judgment is appropriate if no genuine issue of material fact exists and the moving

party is entitled to judgment as a matter of law. FED. R. CIV. P. 56(c)(2). “The movant bears the

burden of identifying those portions of the record it believes demonstrate the absence of a genuine

issue of material fact.” Triple Tee Golf, Inc. v. Nike, Inc., 485 F.3d 253, 261 (5th Cir. 2007) (citing

Celotex Corp. v. Catrett, 477 U.S. 317, 322–25 (1986)).

        If the burden of proof at trial lies with the nonmoving party, the movant may satisfy its initial

burden by “‘showing’—that is, pointing out to the district court—that there is an absence of

evidence to support the nonmoving party’s case.” Celotex, 477 U.S. at 325. While the party moving

for summary judgment must demonstrate the absence of a genuine issue of material fact, it does not

need to negate the elements of the nonmovant’s case. Boudreaux v. Swift Transp. Co., 402 F.3d 536,

540 (5th Cir. 2005) (citation omitted). “‘A fact is ‘material’ if its resolution in favor of one party

might affect the outcome of the lawsuit under governing law.’” Sossamon v. Lone Star State of

Texas, 560 F.3d 316, 326 (5th Cir. 2009) (quoting Hamilton v. Segue Software, Inc., 232 F.3d 473,

477 (5th Cir. 2000) (per curiam)), petition for cert. filed, 77 U.S.L.W. 3657 (U.S. May 22, 2009)

(No. 08-1438). “‘If the moving party fails to meet [its] initial burden, the motion [for summary

judgment] must be denied, regardless of the nonmovant’s response.’” United States v. $92,203.00

in U.S. Currency, 537 F.3d 504, 507 (5th Cir. 2008) (quoting Little v. Liquid Air Corp., 37 F.3d


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1069, 1075 (5th Cir. 1994) (en banc) (per curiam)).

       When the moving party has met its Rule 56(c) burden, the nonmoving party cannot survive

a summary judgment motion by resting on the mere allegations of its pleadings. The nonmovant

must identify specific evidence in the record and articulate how that evidence supports that party’s

claim. See Baranowski v. Hart, 486 F.3d 112, 119 (5th Cir. 2007) (citation omitted). “This burden

will not be satisfied by ‘some metaphysical doubt as to the material facts, by conclusory allegations,

by unsubstantiated assertions, or by only a scintilla of evidence.’” Boudreaux, 402 F.3d at 540

(quoting Little, 37 F.3d at 1075). In deciding a summary judgment motion, the court draws all

reasonable inferences in the light most favorable to the nonmoving party. Deville v. Marcantel, 567

F.3d 156, 163–64 (5th Cir. 2009) (per curiam) (citing Hockman v. Westward Commc’ns, LLC, 407

F.3d 317, 325 (5th Cir. 2004)).

       B.      Motions to Dismiss

       Rule 12(b)(6) allows dismissal if a plaintiff fails “to state a claim upon which relief can be

granted.” FED. R. CIV. P. 12(b)(6). In Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555, 127 S.

Ct. 1955 (2007), and Ashcroft v. Iqbal, 129 S. Ct. 1937 (2009), the Supreme Court confirmed that

Rule 12(b)(6) must be read in conjunction with Rule 8(a), which requires “a short and plain

statement of the claim showing that the pleader is entitled to relief.” FED. R. CIV. P. 8(a)(2).

Twombly abrogated the Supreme Court’s prior statement in Conley v. Gibson, 355 U.S. 41, 45–46

(1957), that “a complaint should not be dismissed for failure to state a claim unless it appears

beyond doubt that the plaintiff can prove no set of facts in support of his claim which would entitle

him to relief.” See Twombly, 550 U.S. at 562–63 (“Conley’s ‘no set of facts’ language . . . is best

forgotten as an incomplete, negative gloss on an accepted pleading standard . . . .”). To withstand


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a Rule 12(b)(6) motion, a complaint must contain “enough facts to state a claim to relief that is

plausible on its face.” Twombly, 550 U.S. at 570; see also Elsensohn v. St. Tammany Parish

Sheriff’s Office, 530 F.3d 368, 372 (5th Cir. 2008) (quoting Twombly, 550 U.S. 544, 127 S. Ct. at

1974).

         In considering a Rule 12(b)(6) motion to dismiss, a court generally must limit itself to the

pleadings, with an exception. In Collins v. Morgan Stanley Dean Witter, 224 F.3d 496, 498–99 (5th

Cir. 2000), the Fifth Circuit approved the district court’s consideration of documents the defendant

attached to a motion to dismiss. The Fifth Circuit made it clear that such consideration is limited

“to documents that are referred to in the plaintiff’s complaint and are central to the plaintiff’s claim.”

Scanlan v. Tex. A&M Univ., 343 F.3d 533, 536 (5th Cir. 2003) (citing Collins, 224 F.3d at 498–99).

When other “matters outside the pleadings” are submitted in support of or in opposition to a Rule

12(b)(6) motion to dismiss, Rule 12(b) grants courts discretion to accept and consider those

materials, but does not require them to do so. Prager v. LaFaver, 180 F.3d 1185, 1189 (10th Cir.

1999); Isquith ex rel. Isquith v. Middle S. Utils., Inc., 847 F.2d 186, 193 n.3 (5th Cir. 1988). A court

exercises this discretion by determining whether the proffered material, and the resulting conversion

from the Rule 12(b)(6) to the Rule 56 procedure, is likely to facilitate decision. Isquith, 847 F.2d

at 193 n.3 (quoting 5C CHARLES A. WRIGHT & ARTHUR R. MILLER, FEDERAL PRACTICE                        AND

PROCEDURE § 1366 (1969)). If the court decides to consider such material, then the court must treat

the Rule 12(b)(6) motion as a motion for summary judgment under Rule 56. FED. R. CIV. P. 12(d).

If the court accepts matters outside the pleading and converts the motion to dismiss into one for

summary judgment, the court must give the parties notice of the changed status of the motion and

a “‘reasonable opportunity to present all materials made pertinent to such a motion by Rule 56.’”


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Festa v. Local 3 Int’l Bhd. of Elec. Workers, 905 F.2d 35, 38 (2d Cir. 1990) (quoting former FED.

R. CIV. P. 12(b)).

         C.     Issue Preclusion

         The Fifth Circuit has set out the following elements for applying issue preclusion, or

collateral estoppel:

                Collateral estoppel precludes a party from litigating an issue already
                raised in an earlier action between the same parties only if: (1) the
                issue at stake is identical to the one involved in the earlier action; (2)
                the issue was actually litigated in the prior action; and (3) the
                determination of the issue in the prior action was a necessary part of
                the judgment in that action.

Petro-Hunt, L.L.C. v. United States, 365 F.3d 385, 397 (5th Cir. 2004) (footnotes and citation

omitted). “Collateral estoppel does not preclude litigation of an issue unless both the facts and the

legal standard used to assess them are the same in both proceedings.” Copeland v. Merrill Lynch

& Co., Inc., 47 F.3d 1415, 1422 (5th Cir. 1995) (citation omitted). Issue preclusion may apply even

if the claims and the subject matter of the suits differ. Next Level Commc’ns LP v. DSC Commc’ns

Corp., 179 F.3d 244, 250 (5th Cir. 1999) (citation omitted). In addition, “‘[u]nlike claim preclusion,

the doctrine of issue preclusion may not always require complete identity of the parties.’” Id.

(alteration in original) (quoting Meza v. Gen. Battery Corp., 908 F.2d 1262, 1273 (5th Cir. 1990)).

III.     Tremont’s Motion for Partial Summary Judgment

         A.     The Facts Relevant to Tremont’s Motion

         Tremont’s motion seeks to resolve liability for the Gulf Nuclear Sites, which include three

locations—Odessa, Webster, and Houston (on Tavenor Street), Texas—at which Gulf Nuclear

manufactured, stored, repaired, and disposed of radioactive materials. Liability turns on whether

the transfer of certain liabilities and indemnification obligations under the 1988 restructuring of NL

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and the 1990 restructuring of (Old) Baroid Corporation included the liabilities associated with the

Gulf Nuclear Sites. The relevant facts include the restructuring contracts and related documents,

evidence that was presented to the arbitration panel, and evidence as to whether NL’s connection

to the Gulf Nuclear Sites was solely through its former petroleum services business. Although this

court ultimately concludes that extrinsic evidence is not necessary because the relevant agreements

are unambiguous, the evidence presented to the arbitration panel is included in the factual

background because it is relevant to understanding the scope of the arbitration proceedings, which

is relevant to the issue preclusion analysis.

                 1.      The 1988 Restructuring

                         a.       The 1988 Plan

        In 1988, NL entered a series of transactions under a restructuring plan (the “1988 Plan”).

(See 2005 Case, Docket Entry No. 247, Ex. I5).6 Through the 1988 Plan and related agreements, NL

spun off its petroleum services business and transferred it to NLPS, which later became Baroid

Corporation (“Old Baroid”).7 NL retained its chemical business. According to an August 12, 1988



5
  Halliburton objects to this document as incomplete. (2005 Case, Docket Entry No. 273 at 1). Halliburton
does not explain what is missing from the document. In addition to the lack of support for the objection,
Tremont points out that this exhibit is the same 10-page document that Halliburton labeled as the 1988 Plan
of Restructuring and submitted as Exhibit 6 during the contract phase of the arbitration. Tremont also notes
that Halliburton submitted the same document to this court in seeking to vacate the arbitration awards. (2005
Case, Docket Entry No. 280 at 1–2). Halliburton’s objection is overruled.
6
   The exhibits associated with Tremont’s motion for partial summary judgment span several docket entries.
For ease of reference, this opinion will refer to the docket entry number for Tremont’s motion (as filed in the
2005 Case) (Docket Entry No. 247), followed by the exhibit letter, even if the exhibit is actually filed at a
later docket entry.
7
   On July 3, 1986, an entity known as NL Investments, Inc. was incorporated. (2005 Case, Docket Entry
No. 247, Ex. F). NL Investments, Inc. changed its name to NL Petroleum Services, Inc. on April 11, 1988.
(Id., Ex. G). On November 11, 1988, NL Petroleum Services, Inc. changed its name to Baroid Corporation.
(Id., Ex. H).
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memorandum from J.L. Martin, then President and Chief Executive Officer of NL, to NL’s Board

of Directors, the 1988 restructuring sought to separate the two businesses. (See id., Ex. N).8 The


8
   Halliburton objects to Exhibit N as not properly authenticated because it is not attached to an affidavit
meeting the requirements of Rule 56(e), as hearsay, and as irrelevant. (2005 Case, Docket Entry No. 273 at
2). Tremont points out that this is the same document it submitted as Exhibit 30 in the contract phase of the
arbitration, and the same document that Halliburton filed in this court in connection with the arbitration
record. (2005 Case, Docket Entry No. 280 at 3). Federal Rule of Evidence 901(a) provides that “[t]he
requirement of authentication or identification as a condition precedent to admissibility is satisfied by
evidence sufficient to support a finding that the matter in question is what its proponent claims.” FED. R.
EVID. 901(a); see also In re McLain, 516 F.3d 301, 308 (5th Cir. 2008) (quoting FED. R. EVID. 901(a)). “Rule
901 does not erect a particularly high hurdle, and the proponent of the evidence is not required to rule out all
possibilities inconsistent with authenticity, or to prove beyond any doubt that the evidence is what it purports
to be.” United States v. Dhinsa, 243 F.3d 635, 658 (2d Cir. 2001) (internal citation and quotation marks
omitted). “Rule 901 is satisfied ‘if sufficient proof has been introduced so that a reasonable juror could find
in favor of authenticity or identification.’” Id. (citation omitted); see also United States v. Arce, 997 F.2d
1123, 1128 (5th Cir. 1993) (“[T]his court does not require conclusive proof of authenticity before allowing
the admission of disputed evidence . . . . [Rule 901] merely requires some evidence which is sufficient to
support a finding that the evidence in question is what its proponent claims it to be.” (omission in original)
(citation and quotation marks omitted)). When Tremont filed the exhibits in support of its summary judgment
motion, Tremont submitted the affidavit of J. Mark Hollingsworth, Vice President and General Counsel of
Tremont. Hollingsworth swore that he had personal knowledge of Tremont’s business, that he had reviewed
the exhibits produced in the arbitration between Tremont and Halliburton, and that all the documents
submitted with Tremont’s summary judgment motion were true and correct copies of documents in its
possession and control. (2005 Case, Docket Entry No. 247-2). This is sufficient to authenticate the
documents attached to Hollingsworth’s affidavit. Although Halliburton argues that some of the documents
attached to the Hollingsworth affidavit relate to business entities other than Tremont, given the complex
corporate transactions surrounding the restructurings, this blanket assertion is not enough to show a lack of
authenticity.
         Tremont also argues that Halliburton waived any objection to this document by filing it with the
court. This court agrees with Halliburton that because it only filed the document to present a complete record
of the arbitration exhibits, it did not waive objections by filing the document. There also was not a waiver
by failing to object during the arbitration hearings because those proceedings may not have strictly adhered
to the Federal Rules of Evidence. (See Docket Entry No. 247, Ex. D at 30 (the Allocation Award from the
arbitration, in which the arbitrators stated that “[a]rbitration is not, however, similarly restricted by strict
adherence to those rules [of civil procedure and evidence that apply in state and federal courts]”)). However,
because the Hollingsworth affidavit properly authenticates the document, Halliburton’s authentication
objection is overruled.
         The hearsay objection is also overruled. To the extent the document is offered to show what the
arbitration panel heard, the document is not offered to prove the truth of its contents. See FED. R. EVID.
801(c) (“‘Hearsay’ is a statement, other than one made by the declarant while testifying at the trial or hearing,
offered in evidence to prove the truth of the matter asserted.”). To the extent the document is submitted to
prove the truth of the statements, it would be relevant only if the contracts were ambiguous and extrinsic
evidence was required. As discussed below, however, resort to extrinsic evidence is not required because the
contracts are not ambiguous on the issues resolved in this opinion.
         Halliburton does not explain the basis for its argument that this document is irrelevant. The document
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memorandum recommended that NLPS become a “separate, publicly-traded company, comprised

of [NL’s] existing petroleum services business . . . . NLPS would assume the . . . environmental

liabilities unique to the petroleum services business.” (Id., Ex. N at 7).

        As Tremont points out, the 1988 Plan was an unsigned outline of the restructuring that relied

on the related agreements to set out the specifics. (2005 Case, Docket Entry No. 252 at 8). Several

documents were executed in connection with the 1988 restructuring in addition to the 1988 Plan.

The documents included an Amended and Restated Formation Agreement (the “Formation

Agreement”), an Amended and Restated Cross-Indemnification Agreement (the “Cross-

Indemnification Agreement”), a General Assignment and Assumption Agreement and Bill of Sale

(the “Assumption Agreement”), and an Amended and Restated Outstanding Indebtedness

Agreement (the “Indebtedness Agreement”).

                         b.      The Formation Agreement

        In the Formation Agreement, dated September 16, 1988 and effective as of December 31,

1987, NL agreed to transfer to NLPS “all of its properties, assets and rights of any kind, whether

tangible or intangible, real or personal[,] related to its petroleum services business or Titanium

Metals Corporation of America (‘TMCA’) (collectively, the ‘Assets’) . . . .” (2005 Case, Docket

Entry No. 247, Ex. J, § 1.1).9 The Formation Agreement states that the transfer from NL to NLPS


is relevant to understanding what evidence was presented to the arbitration panel, which is relevant to issue
preclusion. The relevance objection is overruled.
9
  Halliburton objects to this document as incomplete. (2005 Case, Docket Entry No. 273 at 2). Halliburton
does not explain what is missing. Tremont points out that this exhibit is the same document that Halliburton
labeled as the Amended and Restated Formation Agreement and submitted as Exhibit 7 during the contract
phase of the arbitration, and that Halliburton also submitted the same document in this court to complete the
arbitration record in connection with its request to vacate the arbitration awards. (2005 Case, Docket Entry
No. 280 at 2). Because Halliburton has not explained what is missing, Halliburton’s objection is overruled.
         Tremont separately submitted Schedule 1.1(a) to the Formation Agreement as Exhibit NN, even
though that Schedule is included within Exhibit J. Halliburton objects to Exhibit NN as not properly
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excluded the assets on an “Excluded Assets Schedule” and “all goodwill and going concern value

of NL that [wa]s not associated with TMCA or the petroleum services operations of NL.” (Id., Ex.

J, § 1.2). The Excluded Assets Schedule includes a subheading entitled “Section 1.2,” apparently

referring to Section 1.2 of the Formation Agreement. (Id., Ex. J at 6). The Schedule lists: shares

of the capital stock of NL Chemicals, Inc. (“NLC”) and its subsidiaries, Enenco, Inc., and

Schraubenfabrik Newstadt Goetz & Cie. GmbH; a note receivable from NLC; and surplus property.

(Id., Ex. J at 6).

        In the Formation Agreement, NLPS agreed “to assume, pay, discharge or perform when due

all liabilities and obligations, known or unknown, of NL, associated with its petroleum services

business . . . , including without limitation those liabilities listed on the attached Liabilities Schedule,

but excluding” specifically named liabilities. (Id., Ex. J, § 1.3 (emphasis added)). Among the

liabilities expressly excluded from the transfer to NLPS were “any and all liabilities of NL specified

in the Amended and Restated Outstanding Indebtedness Agreement between NLPS and NL dated

September 16, 1988 . . . except as provided in the Indebtedness Agreement,” (id., Ex. J, § 1.4(a)),

“any claims of liability at sites or facilities or with respect to operations not transferred to NLPS

pursuant to this Agreement, including claims arising out of or relating to the offsite deposit,

placement or disposal by NL of any materials of any character whatsoever generated at the sites or

operations not transferred to NLPS pursuant to this Agreement,” (2005 Case, Docket Entry No. 247,

Ex. J, § 1.4(c) (emphasis added)), and “any claims relating to products the manufacture of which,

or accounts receivable relating thereto, not transferred to NLPS pursuant to this Agreement,” (id.,

Ex. J, § 1.4(d)).


authenticated. (2005 Case, Docket Entry No. 273 at 11). The exhibit is authenticated by Hollingsworth’s
affidavit. Halliburton’s objection to Exhibit NN is overruled.
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        Under the Formation Agreement, NL was required to “transfer and deliver to NLPS good

and valid title to the Assets to the extent such Assets are transferable on the Effective Date without

violation of any applicable laws or agreements and in conformity with any required third-party or

governmental consents or other approvals for transfer.” (Id., Ex. J, § 3.1). NLPS agreed “to assume

and fully pay, perform and discharge each and all of the Assumed Liabilities in accordance with

their terms.” (Id., Ex. J, § 3.1).

        The Formation Agreement recognized that other agreements would be executed to transfer

the assets and liabilities:

                The transfer of the Assets and the assumption of the Assumed
                Liabilities shall be effected by the execution and delivery of a
                General Assignment and Assumption Agreement and Bill of Sale, an
                Assignment of Intangibles, Rights and Proceeds, a Patent
                Assignment, a Copyright Assignment, a Patent Quitclaim
                Assignment, Trademark Assignment, and Assumption of Liabilities
                substantially in the forms of the documents attached hereto as Exhibit
                A, Exhibit B, Exhibit C, Exhibit D, Exhibit E, Exhibit F and Exhibit
                G respectively, together with such deeds or other instruments as may
                be required to transfer all interest in the Assets to NLPS and for
                NLPS to assume all of the Assumed Liabilities.

(Id., Ex. J, § 3.1). The Formation Agreement also required execution of the Cross-Indemnification

Agreement and the Indebtedness Agreement. (Id., Ex. J, § 3.4).

                        c.      The Cross-Indemnification Agreement

        The Cross-Indemnification Agreement was dated September 16, 1988 and effective as of

December 31, 1987. NL and NLC agreed “to indemnify and hold NLPS harmless from, against and

in respect of all indebtedness, obligations or liabilities of NLPS, of any kind and nature, whether

accrued, absolute, contingent, asserted, unasserted, due to become due, known, unknown and




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whenever arising, which are not expressly assumed by NLPS pursuant to the Formation,10 and costs

and expenses related thereto.” (2005 Case, Docket Entry No. 247, Ex. K, § 1.1 (emphasis added)).11

NL and NLC also agreed to “indemnify and hold NLPS and each of its directors, officers, and

employees harmless from and with respect to any and all claims, liabilities, losses, damages, costs,

and expenses, including attorneys’ fees, from or related to . . . (a) all liabilities not expressly

assumed by NLPS in connection with the Formation Agreement; [and] (b) claims of liability at sites

or facilities or with respect to operations not transferred to NLPS pursuant to the Formation,

including claims arising out of or relating to the offsite deposit placement or disposal by NL or NLC

on or prior to the date of this Agreement of any materials of any character whatsoever generated at

the sites or by operations not transferred to NLPS pursuant to the Formation.” (Id., Ex. K, §

1.2(a)–(b) (emphasis added)). NLPS agreed “to indemnify and hold the NL Parties [(NL and NLC)]

harmless from, against and in respect of, the failure of NLPS to pay or otherwise perform when due

the liabilities, obligations or commitments of NL assumed by NLPS pursuant to the Formation.”

(Id., Ex. K, § 2.1).



10
   “Formation” was defined in this Cross-Indemnification Agreement to be the “formation of NLPS,” in
which “NL and NLPS entered into . . . [the Formation Agreement] and various related agreements whereby
NL transferred to NLPS all of its domestic and foreign petroleum services and equipment operations and its
other businesses except for its shares of NLC and certain of its obligations.” (2005 Case, Docket Entry No.
247, Ex. K at 1).
11
    Halliburton objects to Exhibit K, arguing that it is not a complete copy and that it is not properly
authenticated under Federal Rule of Evidence 901 because it is not attached to an affidavit meeting the
requirements of Federal Rule of Civil Procedure 56(e). (2005 Case, Docket Entry No. 273 at 2). Tremont
responds that this document is the same Cross-Indemnification Agreement identified by Tremont as Exhibit
32 in the contract phase of the arbitration and filed in this court by Halliburton to complete the arbitration
record. (2005 Case, Docket Entry No. 280 at 2). As discussed in connection with an earlier similar objection,
the Hollingsworth affidavit properly authenticates the exhibits submitted in support of Tremont’s motion for
summary judgment. Although Halliburton had not earlier waived its objection, its failure to explain what is
missing from this document and the fact that Hollingsworth’s affidavit properly authenticates it leads this
court to overrule Halliburton’s objections.
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        In addition, NLPS agreed to:

                indemnify and hold the NL Parties, their affiliates, and each of their
                directors, officers, and employees harmless from and with respect to
                any and all claims, liabilities, losses, damages, costs, and expenses,
                including attorneys’ fees, from or related to . . . (a) all liabilities of
                NL assumed by NLPS pursuant to the Formation Agreement; [and]
                (b) claims of liability at sites or facilities or with respect to operations
                transferred to NLPS pursuant to the Formation, including claims
                arising out of or relating to the deposit, placement or disposal of any
                material of any character whatsoever on such sites or facilities.

(Id., Ex. K, § 2.2(a)–(b)).

                        d.      The Assumption Agreement

        The Assumption Agreement was dated April 11, 1988 and effective as of December 31,

1987. Under that Agreement, NL conveyed all its assets to NLPS, including NL’s right, title, and

interest in contracts to which it was a party, related to its petroleum services business. (Id., Ex. L

at 1–2). The transferred assets included “all real property (including all property affixed thereto)

now or heretofore used primarily in NL’s petroleum services business including without limitation

the real property set forth in Exhibit A.” (Id., Ex. L at 1). Exhibit A to the Assumption Agreement

lists certain real properties, labeled by city, state, and division. A number of the properties on

Exhibit A are labeled as part of the “MCC” Division, (see 2005 Case, Docket Entry No. 247, Ex.

L at 5–6), which Tremont represented during the hearing on its motion stands for NL’s McCullough

Division (the “McCullough Division” or “NL McCullough”). As discussed in more detail later, the

McCullough Division has been linked to waste shipments to the Gulf Nuclear Sites.12


12
  Halliburton states in its brief that NL sold the McCullough Division to Western Atlas International, Inc.
(“Western Atlas”) before the 1988 restructuring, and that this sale included properties owned or leased in
Laurel, Mississippi; Hobbs, New Mexico; Oklahoma City, Oklahoma; Beaumont, Texas; Houston, Texas;
Levalland, Texas; Midland, Texas; Odessa, Texas; Mills, Wyoming; and Casper, Wyoming. (2005 Case,
Docket Entry No. 274 at 7 (citing 2005 Case, Docket Entry No. 247, Ex. HH, § 2(a), sched. 2(a))). At the
hearing on Tremont’s motion for partial summary judgment, Tremont argued that all these properties are
                                                    23
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        NLPS agreed “to perform the obligations of NL under the contracts, leases and other

agreements or undertakings that [we]re included among” the assets transferred; “to pay, discharge

or perform when due all of the Assumed Liabilities set forth on the Assumed Liabilities Schedule

attached to the Formation Agreement”; and “to conduct, in a diligent and proper manner, any

litigation arising from the Assumed Liabilities.” (Id., Ex. L at 3). But the Assumption Agreement

provides that NLPS did not “assume and shall not be liable for any of the Excluded Liabilities,” as

defined in the Formation Agreement. (Id., Ex. L at 3).

                         e.       The Indebtedness Agreement

        The parties also executed the Indebtedness Agreement, dated September 16, 1988 and

effective as of December 31, 1987. That Agreement notes that “NL transferred to NLPS all of its

domestic and foreign petroleum services business, except for certain of NL’s obligations . . . and

certain other properties of NL.” (Id., Ex. M at 1). NLPS agreed to “assume and unconditionally

guarantee to NL: . . . (b) the performance of discharge by NLPS on behalf of NL of any and all

obligations, covenants and agreements of NL contained in the documents and instruments described

on the Debt Schedule”; and “(c) the performance or discharge by NLPS on behalf of NL of any and

all other indebtedness and obligations of NL which are attributable to NL’s petroleum services

business.” (Id., Ex. M, § 1(b)–(c)).

                 2.      The 1990 Restructuring

        The 1990 restructuring of NL’s former petroleum services business was effectuated through

a 1990 Plan of Restructuring (the “1990 Plan”), effective as of August 31, 1990. Under the 1990


listed on the schedule of assets transferred to NLPS under the Assumption Agreement. Most of these
properties do appear on Exhibit A of the Assumption Agreement, but Levalland, Texas and Mills, Wyoming
do not appear on that Exhibit, and not all the assets listed on that Exhibit from the other locations are listed
as part of the McCullough Division. (See 2005 Case, Docket Entry No. 247, Ex. L at 5–6).
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Plan, Old Baroid (formerly NLPS) was to retain the bentonite and titanium businesses and their

associated liabilities. A company called New Baroid Corporation (“New Baroid”) was to receive

the “Petroleum Services Business”—a defined term—and its liabilities. The 1990 Plan states that

“[NL] has heretofore indirectly owned and operated its petroleum services operations (the

‘Petroleum Services Business’) principally through its subsidiaries . . . .” (Id., Ex. A at 1). The

1990 Plan explains that its purpose was for Old Baroid to “separate the Petroleum Services Business

and the Titanium and Bentonite Businesses into two publicly-traded companies.” (2005 Case,

Docket Entry No. 247, Ex. A at 1 (emphasis added)).

        Under the 1990 Plan, the parties agreed to the following arrangement:

                [Old Baroid] and New Baroid shall execute a General Assignment
                and Assumption Agreement whereby (i) [Old Baroid] assigns to New
                Baroid all of its right, title and interest in all of [Old Baroid’s]
                properties, assets and rights, of any kind, whether tangible or
                intangible, real or personal, which are attributable to the Petroleum
                Services Business (the “Petroleum Services Assets”) and the
                Bentonite Business (the “Bentonite Assets”); and (ii) New Baroid
                assumes and agrees to discharge all indebtedness, liabilities,
                obligations, claims, covenants, losses, damages, costs, penalties and
                expenses, of any kind and nature, whether accrued, absolute or
                contingent, asserted or unasserted, known or unknown, and whether
                existing as of the date of this Plan or arising thereafter (collectively,
                “Obligations”), of [Old Baroid] arising out of, or which are otherwise
                attributable to, the past, present or future ownership or operations of
                the Petroleum Services Business (the “Petroleum Services
                Obligations”); and (iii) [Old Baroid] endorses in blank and delivers
                to New Baroid certificates representing all of the outstanding capital
                stock of all of its direct subsidiaries engaged in the Petroleum
                Services Business, including without limitation the Petroleum
                Services Subsidiaries.13

(Id., Ex. A, § 1(a)).



13
   Under this section, Baroid Drilling Fluids, Inc. (“BDFI”), which was included in the definition of
Petroleum Services Subsidiaries in the 1990 Plan, was transferred to New Baroid.
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        In addition, New Baroid and BDFI, a Petroleum Services Subsidiary, agreed to execute a

General Assignment and Assumption Agreement. New Baroid would assign to BDFI all of its right,

title, and interest in all of the Petroleum Services Assets and the Bentonite Assets (with a few

exceptions not relevant here), and BDFI agreed to discharge all “Obligations” of New Baroid arising

out of or otherwise attributable to the past, present, or future ownership of the Petroleum Services

Assets. (Id., Ex. A, § 1(b)). BDFI was then to transfer the Bentonite Assets to a wholly owned

subsidiary, Bentonite Corporation (“BC”), which would assume all “Obligations” arising out of the

Bentonite Business. (Id., Ex. A, § 1(c)). BDFI would endorse in blank and deliver to New Baroid

a certificate representing all the outstanding capital stock of BC. (Id., Ex. A, § 1(f)). New Baroid

would then endorse in blank and deliver to Old Baroid a certificate representing all the outstanding

capital stock of BC. (Id., Ex. A, § 1(g)). Old Baroid would then transfer to BC all its assets, other

than the capital stock of New Baroid and BC, and BC would assume all “Obligations” arising out

of the ownership or operation of those assets. (See 2005 Case, Docket Entry No. 247, Ex. A, § 1(h)).

Old Baroid agreed to effect the merger of its wholly owned subsidiary, Tremont Corporation, into

Old Baroid, and to change Old Baroid’s name to Tremont Corporation. (Id., Ex. A, § 1(k)). New

Baroid agreed to change its name to Baroid Corporation. (Id., Ex. A, § 1(l)).

        The 1990 Plan contains an Exhibit A listing various assets and obligations. The 1990 Plan

states that none of the assets or obligations on that Exhibit would constitute Petroleum Services

Assets or Petroleum Services Obligations. (Id., Ex. A, § 2). The 1990 Plan also contains an Exhibit

B and states that all the assets on that Exhibit would constitute Petroleum Services Assets.14 (Id.,


14
   Exhibit B appears to be a nonexclusive list of Petroleum Services Assets because the 1990 Plan specifies
that while Exhibits A and B govern the identification of Petroleum Services Assets and Obligations, they are
not meant to limit section 1 of the 1990 Plan, which provides a broader definition of Petroleum Services
Assets. (See 2005 Case, Docket Entry No. 247, Ex. A, § 2).
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Ex. A, § 2). The 1990 Plan further provides that as of the effective dates of the various transactions,

“New Baroid shall be deemed to have acquired complete, sole and beneficial ownership of all of the

Petroleum Services Assets, including without limitation, the Petroleum Services Subsidiaries,

together with all of the rights, powers and privileges of [Old Baroid] incident thereto, and shall be

deemed to have assumed all of the Petroleum Services Obligations.” (Id., Ex. A, § 3). Old Baroid

would “likewise be deemed to have acquired complete, sole and beneficial ownership of all of the

outstanding capital stock of BC together with all of the rights, power and privileges of New Baroid

incident thereto.” (2005 Case, Docket Entry No. 247, Ex. A, § 3).

        The 1990 Plan describes the indemnity obligations assumed by both Old Baroid and New

Baroid. Old Baroid would indemnify and hold New Baroid harmless from all Obligations

attributable to Old Baroid’s “past, present or future operations, other than those Obligations which

constitute Petroleum Services Obligations.” (Id., Ex. A, § 11). Specifically, Old Baroid agreed to

indemnify New Baroid for “all Obligations arising out of, or which are otherwise attributable to,

sites or facilities or with respect to operations not attributable to the Petroleum Services Business,

including claims arising out of or relating to the offsite deposit, placement or disposal by [Old

Baroid] or the Titanium or Bentonite Businesses of any materials of any character whatsoever

generated at such sites or by such operations.” (Id., Ex. A, § 11(i)). New Baroid agreed to

indemnify Old Baroid for Petroleum Services Obligations. (Id., Ex. A, § 12). Specifically, New

Baroid agreed to indemnify Old Baroid for “all Obligations arising out of, or which are otherwise

attributable to, sites or facilities or with respect to operations attributable to the Petroleum Services

Business, including claims arising out of or relating to the deposit, placement or disposal of any

material of any character whatsoever generated at such sites or by such operations.” (Id., Ex. A, §


                                                   27
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12(i)).

                 3.     The Evidence in the Arbitration About the Transfer of NL’s Former
                        Petroleum Services Business to Halliburton

          Tremont argues that “Petroleum Services Business” in the 1990 Plan encompassed all of

NL’s historical petroleum services business. As Tremont notes, the 1990 Plan states that “The

Company [Old Baroid] has heretofore indirectly owned and operated its petroleum services

operations (the ‘Petroleum Services Business’) principally through its subsidiaries . . . .” (Id., Ex.

A at 1 (emphasis added)). Tremont points to testimony from the arbitration by John Karnes, the

drafter of the 1990 Plan, stating: “‘I think petroleum services business is defined as all of the

activities that took place up to this time that were petroleum services operations,’” and that

“‘heretofore backs and whatever forward up to this time petroleum services operations, that is

petroleum services business.’”15 (2005 Case, Docket Entry No. 252 at 13 n.2).

                        a.       The Affidavits of J. Landis Martin, Steven L. Watson, William
                                 Lindquist, and Harold C. Simmons

          J. Landis Martin, a current Halliburton board member and a member of Halliburton’s audit

committee, was involved in the 1990 restructuring and was the chairman of New Baroid at the time

of the 1990 Plan. He executed an affidavit in October 2005. The affidavit was included in the

evidence submitted to the arbitration panel. The affidavit states: “The goal or purpose of the

restructuring was to separate Baroid Corporation’s petroleum services business, including the

historical operations of NL Industries, Inc., from Baroid Corporation’s titanium metals business, the




15
  Tremont does not state whether this testimony was given in the arbitration hearing or during a deposition,
and has not pointed to an exhibit with evidence of these statements.
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Titanium Metals Corporation (‘TIMET’).” (2005 Case, Docket Entry No. 247, Ex. O, ¶ 6).16 Martin

also states that “the revised intent and purpose of the 1990 Plan of Restructuring of Baroid

Corporation was to transfer TIMET and Baroid’s bentonite business to a new separate entity, and

leave with Baroid Corporation all other businesses and liabilities, including all of Baroid’s

petroleum services businesses and liabilities.” (Id., Ex. O, ¶ 11). Martin explains that “[a]t no point,

in any planning or implementation of the 1990 Plan of Restructuring of Baroid Corporation, did we

ever contemplate or intend that old Baroid Corporation would retain any historical environmental

liabilities of the petroleum services business of NL Industries, Inc.” (Id., Ex. O, ¶ 13). Instead,

Martin states that “[t]he intent and purpose of the 1990 Plan of Restructuring . . . was to have New

Baroid Corporation (which I understand is now controlled by Halliburton), take responsibility for

all liabilities associated with the past, present and future operations of the petroleum services

business of NL Industries, Inc., including the historical barite mining liabilities of the petroleum

services business and all environmental liabilities associated therewith.” (Id., Ex. O, ¶ 19).

        In a 2007 affidavit that was also submitted to the arbitration panel, Martin explains his

understanding that historical obligations associated with the Petroleum Services Business transferred

to New Baroid, including obligations relating to leases that had been terminated even before the

1988 restructuring. Martin states:


16
   Halliburton objects to paragraphs 10, 13, 17, 18, 19, 20, 21, 22, and 29 of Exhibit O, arguing that “they
contain conclusory allegations, statements of legal conclusions, and/or constitute reargument of Defendant’s
own case or denial of Plaintiffs’ case, all of which are not competent summary judgment evidence.” (2005
Case, Docket Entry No. 273 at 2–3). Tremont responds that it used the affidavit in the contract phase of the
arbitration, that Halliburton filed it in this case as part of the arbitration record, and that Halliburton has
waived any objections. (2005 Case, Docket Entry No. 280 at 3–4). Tremont’s waiver argument is not
persuasive, but Halliburton’s objections are overruled for other reasons. The statements in Martin’s affidavit
are not mere denials of Halliburton’s claim, but explain Martin’s understanding of the 1990 restructuring.
Halliburton also argues that the statements in Martin’s affidavit are irrelevant, but the statements are relevant
to show what evidence was before the arbitration panel. Halliburton’s objections to Exhibit O are overruled.
                                                      29
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                 With regard to leases that were terminated prior to the 1988
                 Restructuring, it was my understanding that any liability relating to
                 such leases, or liability deriving out of any operations or disposal on
                 such formerly leased property, was transferred to New Baroid
                 Corporation—even if the lease was terminated prior to 1988. To
                 clarify, if a parcel of leased property was used in the NL petroleum
                 services business in the 1940s at Magnet Cove for mining operations
                 or disposal, and the lease for such property was terminated by NL in
                 1965, any liability for any petroleum related operations or contractual
                 liabilities in the leases were to be transferred to New Baroid
                 Corporation via the 1988 and 1990 Plans of Restructuring.

(Id., Ex. P, ¶ 3).17

17
   Halliburton objects to Exhibit P, arguing that it is not properly sworn because the first page does not match
up with the second page containing Martin’s signature. (2005 Case, Docket Entry No. 273 at 3). Tremont
points out that the first two lines on page 2 match the text at the end of page 1 and contends that this was
merely a typographical error. (2005 Case, Docket Entry No. 280 at 4). Tremont also points out that it
submitted this same affidavit in the arbitration and that Halliburton submitted it to this court in filing the
arbitration record, and argues that any objection to the affidavit is therefore waived. (2005 Case, Docket
Entry No. 280 at 4). The waiver argument is not persuasive, but Halliburton’s objections fail for other
reasons.
         Although the pages do not match up, it appears that the first two lines on page 2 match the end of the
text on page 1. There is no basis to find that Martin did not approve the full affidavit when he signed it.
Halliburton has not cited any authority for excluding an affidavit on the basis of a typographical error. This
objection is overruled.
         Halliburton also objects to Exhibit P as a “sham affidavit to the extent that it contradicts any previous
testimony by Mr. Martin offered during the Arbitration.” (2005 Case, Docket Entry No. 273 at 3). The rule
against sham affidavits gives the court discretion, at the summary judgment stage, to disregard affidavits “that
are inconsistent with prior deposition testimony [when] the affiant does not account for the inconsistency.”
Holden v. Illinois Tool Works, Inc., No. H-06-3958, 2007 WL 4591752, at *1 (S.D. Tex. Dec. 27, 2007)
(citations omitted). Halliburton has not pointed to specific testimony Martin gave in the arbitration that is
contradicted by his later affidavit. This objection is overruled.
         Halliburton also objects to Exhibit P on the ground that it constitutes reargument of Tremont’s case
or denial of Halliburton’s case. The affidavit sets out Martin’s understanding of NL’s restructurings, based
on his personal knowledge. This objection is overruled.
         Halliburton also objects to paragraphs 3 and 4 of the affidavit, arguing that they are legal conclusions,
and hearsay. These paragraphs reflect Martin’s understanding about liability transferred under the
restructurings and are not simply legal conclusions. These paragraphs also are not hearsay at the summary
judgment stage. Federal Rule of Civil Procedure 56(e) contemplates the use of affidavits in summary
judgment proceedings, although affidavits ordinarily are not admissible at trial. See FED. R. CIV. P. 56(c);
see also 10B CHARLES A. WRIGHT, ARTHUR R. MILLER & MARY KAY KANE, FEDERAL PRACTICE AND
PROCEDURE § 2738, at 330–33 (3d ed. 1998) (“[E]x parte affidavits, which are not admissible at trial, are
appropriate on a summary-judgment hearing to the extent they contain admissible information.” (footnote
omitted)). Moreover, because the affidavit is relevant to show the evidence heard by the arbitrators, the
affidavit is not offered for its truth and is not hearsay. The hearsay objection is overruled.
         Finally, Halliburton’s objection that paragraphs 3 and 4 of the affidavit violate the best evidence rule
                                                       30
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        Martin explains that he had the same understanding about historical liabilities arising from

property sold before the 1988 restructuring:

                 My understanding with regard to owned property that was sold prior
                 to 1988 is the same. That is, if the property was used in the historical
                 operations of NL’s petroleum services business—and even if no
                 longer owned by 1988—all liability with regard to that property that
                 derived from historical petroleum services operations or disposal was
                 to be transferred and assumed by New Baroid Corporation.

(Id., Ex. P, ¶ 4).

        Tremont points to similar testimony by other witnesses in the arbitration that the 1990

restructuring was intended to separate the Petroleum Services Business from the titanium and

bentonite businesses, including separating their historical liabilities and obligations. (See 2005 Case,

Docket Entry No. 247, Ex. Q,18 ¶ 6 (affidavit of Steven L. Watson, dated July 26, 2007, describing


is overruled. Halliburton argues that the written agreements are the best evidence and that Martin’s affidavit
seeks to vary their terms. “The best-evidence doctrine, the heart of which is [Federal] Rule [of Evidence]
1002, exists to promote accurate fact-finding.” 31 CHARLES A. WRIGHT & VICTOR J. GOLD, FEDERAL
PRACTICE AND PROCEDURE § 7182, at 366 (2000). Under Federal Rule of Evidence 1002, “[t]o prove the
content of a writing, recording, or photograph, the original writing, recording, or photograph is required,
except as otherwise provided in these rules or by Act of Congress.” FED. R. EVID. 1002. The paragraphs that
Halliburton objects to address Martin’s understanding about the effect of the restructurings, not the contents
of the contracts. The best evidence rule does not apply to evidence not offered to prove the contents of a
writing. See, e.g., Harris Corp. v. Ericsson Inc., 194 F. Supp. 2d 533, 540 & n.8 (N.D. Tex. 2002)
(overruling best-evidence objection to documents offered to demonstrate the parties’ intent and not to prove
any specific term or content of a writing); 5 STEPHEN A. SALTZBURG, MICHAEL M. MARTIN & DANIEL J.
CAPRA, FEDERAL RULES OF EVIDENCE MANUAL § 1002.02, at 1002-2 (9th ed. 2006) (“If the contents are not
sought to be proved, the Best Evidence Rule is inapplicable . . . .”). The best evidence rule is distinguishable
from the parol evidence rule, which “states that, where a contract is in writing, evidence of prior or
contemporaneous agreements may in certain circumstances be inadmissible to add to or alter the terms of the
writing.” 31 CHARLES A. WRIGHT & VICTOR J. GOLD, FEDERAL PRACTICE AND PROCEDURE § 7183, at 377
(2000). “Thus, the parol-evidence rule does not address the primacy of an original to prove the contents of
a writing, whether it be a contract or any other type of writing. Instead, the parol-evidence rule is an aspect
of the substantive law of contracts that determines the terms of a contract.” Id. Halliburton’s objection based
on the best evidence rule is overruled.
18
   Halliburton objects to Exhibit Q, arguing that it is a sham affidavit to the extent it contradicts previous
testimony from Watson in the arbitration, that it constitutes reargument of Tremont’s case, that it is irrelevant,
and that paragraphs 2, 3, 4, 5, and 6 seek to vary the terms of the 1988 and 1990 written agreements and are
conclusory. (2005 Case, Docket Entry No. 273 at 3–4). Tremont responds that Halliburton waived its
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his understanding that “New Baroid Corporation was responsible for all claims relating to the

historical petroleum services business of NL begun in 1926, and not just the current assets owned

in 1988”); id., Ex. R, ¶ 6 (affidavit of William Lindquist, dated July 26, 2007, stating the same); id.,

Ex. S, ¶ 5 (affidavit of Harold C. Simmons, dated July 26, 2007, stating the same)).19

                          b.       The SEC Information Statement

        Tremont also points to the cover letter accompanying Baroid Corporation’s Securities and

Exchange Commission Information Statement in October 1990. The letter explains the 1990

transactions, as follows:

                 The Board of Directors of [Old] Baroid Corporation (the ‘Company’)
                 has unanimously approved the separation of the Company’s
                 petroleum services businesses and its titanium metals and bentonite
                 mining businesses into two publicly-traded companies. In connection
                 with the separation, you are receiving, for each share of Company
                 Common Stock which you now own, one share of common stock in
                 a newly formed company, which will operate the petroleum services
                 businesses and will bear the name “Baroid Corporation.” You will
                 continue to own stock in the Company, which will conduct the


objections by not objecting to the affidavit when Tremont offered it in the arbitration and by filing the
affidavit with this court to complete the arbitration record. (2005 Case, Docket Entry No. 280 at 4).
Tremont’s waiver argument is not persuasive. However, Halliburton has not pointed to any testimony from
the arbitration that is contrary to Watson’s affidavit. Halliburton’s objection that Exhibit Q is a sham affidavit
is overruled. The affidavit contains Watson’s understanding of the restructurings and does not constitute
reargument of Tremont’s case. The affidavit is relevant because it shows what the arbitration panel
considered, which is relevant to issue preclusion. The affidavit reflects Watson’s understanding of the 1990
restructuring and does not seek to vary the terms of the restructuring documents. Even if the affidavit did
seek to vary the terms of the restructuring documents, this court would not consider it for that purpose
because as discussed below, this court finds that the contracts are not ambiguous on the issues resolved in this
opinion and that consideration of extrinsic evidence of contractual intent is not appropriate. Halliburton
objects to Exhibits R and S for the same reasons it objects to Exhibit Q. The objections to Exhibits R and S
are overruled for the same reasons the objections to Exhibit Q are overruled.
19
   Tremont asserts that “[t]he members of the Board, including Ann Manix, Edward Hucheson, Frank B.
Wright, Harold Simmons, Glenn Simmons, Kenneth Kotara, Michael Snetzer, Patrick Murray, Susan
Alderton, Steven Watson, William Lindquist, and Thomas Stafford, have all confirmed [Landis] Martin’s
understanding as he explained the transaction to them in sworn affidavits . . . .” (2005 Case, Docket Entry
No. 252 at 14 n.3).
                                                       32
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                 titanium metals and bentonite mining business, and will change its
                 name to “Tremont Corporation.”

(Id., Ex. T at 1).20 The Information Statement continues: “[Old Baroid] has contributed to New

Baroid all of [Old Baroid’s] assets attributable to its petroleum services businesses, including all of

the stock of its petroleum services operating subsidiaries, and New Baroid has assumed all of [Old

Baroid’s] liabilities attributable thereto.” (Id., Ex. T at 2). The Information Statement also states

that “New Baroid was incorporated in 1990 and is the successor to the NL petroleum services

business begun in 1926.” (Id., Ex. T at 5).

        Tremont also points out that the Form 10 filed with the SEC about the 1990 transactions

clarifies that all liabilities Old Baroid assumed in its indemnification agreement with NL were

assumed by New Baroid in the 1990 restructuring. (See 2005 Case, Docket Entry No. 252 at 16).

A draft of the Form 10 states that “New Baroid assumed certain of the [Old Baroid’s] obligations



20
    Halliburton objects to Exhibit T as not properly authenticated because it is not attached to an affidavit
meeting the requirements of Federal Rule of Civil Procedure 56(c), as hearsay, and as incomplete. (2005
Case, Docket Entry No. 273 at 4–5). Tremont argues that Halliburton has waived its objections to this
document because Tremont used the complete Information Statement as an exhibit in the arbitration and
Halliburton submitted it in this court in filing parts of the arbitration record. (2005 Case, Docket Entry No.
280 at 6). Exhibit T is attached to Hollingsworth’s affidavit, which states that the document is a true and
correct copy. This is sufficient to authenticate the document. The excerpt from the SEC Information
Statement is not hearsay to the extent it is offered to show what evidence the arbitrators considered, which
is relevant to issue preclusion, because it is not offered to prove the truth of the statements in the document.
To the extent the document is submitted to prove the truth of the statements, it would be relevant only if the
contracts were ambiguous and extrinsic evidence was appropriate. As discussed below, however, it is not
appropriate to consider extrinsic evidence because the contracts are not ambiguous on the issues resolved in
this opinion.
         The fact that the exhibit appears to be an excerpt from the SEC Information Statement rather than
a complete copy is not improper. Halliburton has not argued that the fact that the entire document was not
submitted is misleading or that other parts of the document are relevant to deciding Tremont’s motion.
Halliburton could have made these arguments because the entire document was submitted in the arbitration.
Halliburton’s objections to Exhibit T are overruled.
         Halliburton made identical objections to Exhibit U. Those objections are overruled for the same
reasons. Halliburton made similar objections to Exhibit V, although it did not object to that exhibit on the
ground it was incomplete. The objections to Exhibit V are also overruled.
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under the NL/Company Indemnification Agreement in connection with the Distribution.” (2005

Case, Docket Entry No. 247, Ex. U at 3 (emphasis added)). The SEC told New Baroid that this

language was vague and needed clarification. (See id., Ex. V at 3 (“The ‘certain of the company’s

obligations’ referred to in the penultimate sentence of the first full paragraph on page 71 should be

explained.”)). The revised Form 10 states that New Baroid would take on all petroleum services

obligations that Old Baroid had assumed under the Cross-Indemnification Agreement. (See id., Ex.

U at 5 (“New Baroid assumed all of [Old Baroid’s] obligations under the Indemnification Agreement

attributable to [Old Baroid’s] petroleum services business.” (emphasis added))).

        New Baroid’s listing application to the New York Stock Exchange similarly explains the

1990 transactions, as follows:

                 Effective August 31, 1990, [New Baroid] and [Old] Baroid entered
                 into a Plan of Restructuring . . . pursuant to which, among other
                 things, (i) [Old] Baroid will contribute to [New Baroid] all of [Old]
                 Baroid’s assets attributable to its petroleum services businesses,
                 including all of the stock of its petroleum services operating
                 subsidiaries, and [New Baroid] will assume all of [Old] Baroid’s
                 liabilities attributable thereto . . . .

(Id., Ex. W at 1).21

                         c.       The New Baroid/Dresser/Halliburton Mergers

        A subsidiary of Dresser Industries, Inc. (“Dresser”) merged with New Baroid in 1993 and

1994. (See 2005 Case, Docket Entry No. 274, Ex. M). Dresser assumed all New Baroid’s

obligations in 1997. (See 2005 Case, Docket Entry No. 247, Ex. B; id., Ex. Y at 2). Halliburton is

the successor-in-interest to New Baroid, (see id., Ex. Z at 1; id., Ex. Y at 3). Halliburton asserts that


21
  Halliburton objects to Exhibit W, arguing that it is not properly authenticated because it is not attached to
an affidavit meeting the requirements of Federal Rule of Civil Procedure 56(e). (2005 Case, Docket Entry
No. 273 at 6). The exhibit is attached to Hollingsworth’s affidavit, which states that all exhibits are true and
correct copies. Halliburton’s objection is overruled.
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in the New Baroid/Dresser merger, New Baroid failed to disclose liabilities related to the

McCullough Division or the Gulf Nuclear Sites, despite a representation that there were no

undisclosed material liabilities. (See 2005 Case, Docket Entry No. 274 at 13–14). Halliburton also

argues that around the time of the Dresser/Baroid merger, NL agreed to indemnify New Baroid for

losses arising from a lawsuit captioned Western Atlas v. NL, evidencing NL’s understanding that it,

not Halliburton was responsible for historical liabilities arising from the former petroleum services

business assets or operations not transferred in 1988. (Id. at 12–13).

                       d.      Testimony in the Arbitration Proceeding

       Tremont has submitted testimony from the arbitration proceeding that obligations and

liabilities associated with NL’s former petroleum services business, including historical liabilities,

were transferred from NL to Old Baroid, from Old Baroid to New Baroid, from New Baroid to

Dresser, and from Dresser to HESI.

                               i.      The Arbitration Testimony of J. Landis Martin

       Martin testified as follows:

               Q       There’s been some dispute in this case that I can tell you
                       about. Essentially the Halliburton side has said that just
                       current liabilities were being moved forward. Do you have an
                       understanding as to whether -- is that correct? Was it
                       supposed to be just current liabilities or was it all the
                       historical -- what was going to happen in your mind, in your
                       discussions with Mr. Simmons and the executive team, as to
                       the historical environmental liabilities of the petroleum
                       service business?

               A       Both the -- all the historical liabilities would go with Baroid
                       Corporation, the ones relating to the Baroid -- the oil field
                       services business.

               Q       Is there any doubt about that in your mind? Is that something
                       --

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                 A       No.

                 Q       That was clear to everyone?

                 A       I thought I made it clear to everyone, yes. It certainly was
                         clear to me.

(2005 Case, Docket Entry No. 247, Ex. AA, Testimony of J. Landis Martin at 11:3–21).22 Martin


22
   Halliburton objects to Exhibits AA, BB, CC, DD, and EE, excerpts of testimony from the arbitration
hearings, as not properly authenticated, hearsay, containing conclusory statements, varying the 1988 and 1990
written agreements, and irrelevant. (See 2005 Case, Docket Entry No. 273 at 6–8). Tremont responds that
Hollingsworth’s affidavit authenticates the documents, that they are not hearsay because the testimony was
taken under oath with all parties present in an arbitration proceeding that resulted in an award confirmed by
this court and on appeal, and that Halliburton waived its objections by filing these documents with this court.
(2005 Case, Docket Entry No. 280 at 8). As with Halliburton’s earlier similar objections, Hollingsworth’s
affidavit adequately authenticates the submitted documents. The arbitration testimony is not necessarily
hearsay at this summary judgment stage. As one court has explained:

                 It is well settled that although Rule 56(e) expressly lists only affidavits,
                 pleadings, depositions, answers to interrogatories and admissions, a court
                 may also consider certified transcripts of prior testimony in deciding a
                 motion for summary judgment. See, e.g., Kelley v. Price-Macemon, Inc.,
                 992 F.2d 1408, 1415 n.12 (5th Cir. 1993); Airlie Found[.] v. United States,
                 826 F. Supp. 537 (D.D.C. 1993); In re Hale, 155 B.R. 730, 737 n.5 (Bankr.
                 S.D. Ohio 1993); see also Beyene v. Coleman Security Serv., Inc., 854 F.2d
                 1179, 1182 (9th Cir. 1988). Moreover, it is particularly appropriate for the
                 court to take judicial notice of its own records of prior related litigation
                 when deciding summary judgment motions. In re Dooley, 116 B.R. 573,
                 576–77 (Bankr. S.D. Ohio 1990).

                 Second, the transcripts are not “hearsay” merely because they consist of
                 statements made by a witness in a prior proceeding, any more than an
                 affidavit or a deposition offered in support of a motion for summary
                 judgment is inherently hearsay. If WFB wanted to create a material fact
                 issue as to any statement made by a witness in the criminal trial, it could
                 have offered the deposition or affidavit of that witness explaining or
                 qualifying the prior testimony, or other evidence rebutting the testimony.
                 WFB has advanced no evidence rebutting particular statements made by the
                 criminal trial witnesses. This Court will not strike the certified criminal
                 trial transcripts as hearsay simply because WFB was not present for
                 cross-examination at the criminal trial.

Ricupero v. Wuliger, Fadel & Beyer, No. 1:91CV0589, 1994 WL 483871, at *4 (N.D. Ohio Aug. 26, 1994);
but see Patterson v. County of Oneida, N.Y., 375 F.3d 206, 222 (2d Cir. 2004) (testimony given in another

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further testified:

                 Q       In connection with your discussions with Mr. Simmons and
                         your intent, did you have discussions with Mr. Simmons
                         about what was going to happen to the historical
                         environmental liabilities that were created under NL with
                         regard to petroleum service business that was part of NL
                         historically from 1926 till the time of the 1988 transaction



case “was not competent evidence in opposition to summary judgment in the present case because, as
proffered, it was hearsay and was neither reaffirmed in an affidavit by [the witness] stating, for example, that
he would give the same testimony at a trial of Patterson’s claims, nor supported by any showing that that prior
testimony would be admissible under FED. R. EVID. 804(b)(1) if offered by Patterson at trial.”).
         Considering the testimony from the arbitration seems particularly appropriate here because the
arbitration was part of this same case (before the new claims were severed and consolidated into the 2008
Case), the same parties were involved, the parties were represented by the same counsel, and the same
contracts and issues were considered. There is no basis to doubt the trustworthiness of the testimony. See
30 CHARLES A. WRIGHT & KENNETH W. GRAHAM, JR., FEDERAL PRACTICE AND PROCEDURE § 6325, at 49
(1997) (“‘[I]t would be generally agreed today that [lack of cross-examination] is the main justification for
the exclusion of hearsay rule.’” (quoting 2 MCCORMICK ON EVIDENCE 95 (John W. Strong ed., 1992))). In
addition, to the extent the testimony is offered to show the evidence that the arbitration panel heard, which
is relevant to issue preclusion, it is not offered for its truth. See FED. R. EVID. 801(c).
         Halliburton specifically argues that a portion of Exhibit AA that discusses the affidavit of Robert
Leidich is hearsay. That portion is not hearsay to the extent considered not for the truth of the statements in
Leidich’s affidavit, but to show Martin’s reaction to those statements. In addition, the portion Halliburton
argues is hearsay is not relied upon by Tremont. And even if the document was submitted to prove the truth
of the statement Halliburton objects to, it would be relevant only if the contracts were ambiguous and
extrinsic evidence was appropriate. As discussed below, however, it is not appropriate to consider extrinsic
evidence because the contracts are not ambiguous on the issues resolved in this opinion.
         Halliburton also specifically argues that a portion of Exhibit EE—page 15, lines 6–11—in which Ann
Manix describes what Martin told her about the transfer of NL’s petroleum services business, is hearsay.
Tremont relies on its general arguments that the testimony in Exhibits AA–EE is not hearsay because “it was
testimony taken under oath with all parties present in an arbitration proceeding confirmed by the court” and
that Halliburton waived its objections by filing the documents with the court to complete the arbitration
record. (2005 Case, Docket Entry No. 280 at 8). Tremont’s waiver argument is not persuasive. But Tremont
does not appear to rely on the part of Manix’s testimony to which Halliburton objects. In addition, the portion
that Halliburton objects to is not considered for its truth because such extrinsic evidence is not appropriately
considered in interpreting unambiguous contracts. The evidence is relevant to show the evidence the
arbitrators considered, which is in turn relevant to issue preclusion.
         The argument that the testimony seeks to vary the terms of the restructuring documents is not a proper
evidentiary objection. Cf. 31 CHARLES A. WRIGHT & VICTOR J. GOLD, FEDERAL PRACTICE AND PROCEDURE
§ 7183, at 377 (2000) (“[T]he parol-evidence rule is an aspect of the substantive law of contracts that
determines the terms of a contract.”). In addition, this court does not need to consider the testimony to
interpret the contracts because they are unambiguous. The objection to “certain conclusory statements” is
also overruled. Halliburton has not pointed to any specific conclusory statements in the testimony.
         Halliburton’s objections to Exhibits AA–EE are overruled.

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                          and then what happened thereafter?

                 A        Well, as I said before, when we spun off Baroid Corporation,
                          we intended to put the petroleum services assets and
                          liabilities, you know, all of them in that company, and we had
                          originally intended to spin TIMET out and keep all those
                          assets there. So what we wanted to do in creating a new
                          company that was going to be spun off in the reverse
                          transaction was putting all the historical petroleum service
                          assets and liabilities.

(Id., Ex. AA, Testimony of J. Landis Martin at 16:15–17:7). Martin also testified that he discussed

this understanding with Simmons, the board members, and the employees and attorneys involved

in the deal. (Id., Ex. AA, Testimony of J. Landis Martin at 17:8–18:5). Martin further testified that

Dresser understood that it was receiving the historical liabilities of NL’s petroleum services business

as part of the merger with (New) Baroid. (Id., Ex. AA, Testimony of J. Landis Martin at

36:19–37:3).23

                                   ii.      The Arbitration Testimony of William Lindquist

        William Lindquist, an executive involved in the 1988 and 1990 restructurings, explained the

transfer of the historical environmental liabilities, as follows:


23
   Halliburton asserts that Martin testified in the arbitration that New Baroid was the successor only to the
obligations that Old Baroid (NLPS) assumed in the 1988 restructuring. (2005 Case, Docket Entry No. 274
at 11–12). The arbitration testimony that Halliburton points to simply confirms the uncontested proposition
that in the 1990 restructuring, New Baroid was to take on the contractual indemnification obligations Old
Baroid assumed in the 1988 restructuring. (See 2005 Case, Docket Entry No. 274, Ex. H, Testimony of J.
Landis Martin at 28:23–29:10). This testimony does not address whether Old Baroid assumed historical
liabilities associated with the petroleum services business in the 1988 restructuring, whether New Baroid
assumed any additional obligations in the 1990 restructuring, or whether obligations associated with the
McCullough Division were transferred to New Baroid in the 1990 restructuring.
          Halliburton also argues that Martin testified that the parties’ intent under the 1990 Plan was in general
to transfer all liabilities to New Baroid, but that there were certain exceptions to this general transfer. (2005
Case, Docket Entry No. 274 at 19; see also id., Ex. H, Testimony of J. Landis Martin at 88:4–10). As
Halliburton points out, Martin’s testimony does not address the exception in the 1988 restructuring documents
for NLPS’s nonassumption of liability associated with facilities or operations that were not transferred to it.
(See 2005 Case, Docket Entry No. 274 at 19).

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        Q.    [D]id you and the rest of the people understand that NL’s
              petroleum services business had historical environmental
              liabilities from the time it was formed in 1926 going forward
              to what was then that present day?

        A.    I did.

        Q.    In your involvement with the 1988 transaction, did you have
              an understanding as to what was supposed to happen with all
              of those historical petroleum services business obligations
              from 1926 to the then present time?

        A.    Yeah. The goal was to spin off the historical business of the
              petroleum services, so it included both the historical assets of
              petroleum services businesses as well as the liabilities.

        Q.    Were you ever involved in any decision or did you ever hear
              any discussion where anybody told you that historical
              environmental liabilities of the barite mining business were
              supposed to stay on the NL side of the equation?

        A.    No.

        Q.    Did you hear that with regard to anything else in terms of
              environmental liabilities that related to the historical
              petroleum services business?

        A.    No. Any liabilities that were historically related to the
              petroleum services business went to the [Old] Baroid side of
              the spinoff.

        Q.    Was the exact opposite true, and that is with regard to the
              chemical business, was the chemical business and all of its
              liabilities to be retained by the NL side?

        A.    That’s correct. It’s a spinoff, and what you particularly do is
              you separate the two lines of businesses.

        Q.    Is it true -- was it your understanding that the company that
              was then called [Old] Baroid, would today be called Tremont,
              was going to give NL a contractual indemnification for all of
              those historical petroleum services liabilities?

        A.    Yes.

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              Q.      And is that your understanding as to the way the transaction
                      was carried out?

              A.      Yes.

              Q.      Did anybody tell you anything to the contrary?

              A.      No.

(Id., Ex. BB, Testimony of William Lindquist at 84:13–86:14). Lindquist further testified:

              Q.      Okay. And you said that when New Baroid was formed, that
                      the assets were to go to Tremont and the liabilities were to go
                      to New Baroid. Do you remember that?

              A.      I don’t. I think what I said was the historical -- the petroleum
                      services historical assets and liabilities went to petroleum
                      services, went to New Baroid, and the historical assets and
                      liabilities of Bentonite went to old -- stayed with Old Baroid
                      as well as the TIMET stock and then the surplus properties.

(Id., Ex. BB, Testimony of William Lindquist at 185:20–186:6).

                             iii.    The Arbitration Testimony of Steve Watson

       Steve Watson, a senior executive involved in the 1988 and 1990 restructurings, testified

similarly:

              Q       [W]hat was the discussion about what was supposed to
                      happen with the historical liabilities of the petroleum service
                      business in the 1988 transaction?

              A       Okay. The separation was to completely separate these
                      businesses and both of them had been in the business for a
                      very long period of time. Probably close to 100 years.

                      Both petroleum service -- I’m not sure if it’s 100, but it was
                      a very long period of history.

                      The chemical business, the titanium dioxide business had
                      been in business for almost 100 years now.

                      So there was [sic] long, long histories with these businesses

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                      in their respective markets.

                      The concept was is [sic] that it’s a separation, and everything
                      to do with petroleum service went this way, and everything to
                      do with the chemicals business went this way.

                      And most -- what I started saying was some of it was fairly
                      easy because some of these businesses, and there are sub-
                      businesses to some of this, like petroleum service had many
                      subsidiaries. So those were pretty easy because they were
                      already captured inside of another corporation that was a
                      subsidiary.

                      And then there was other stuff that wasn’t and it was maybe
                      in the wrong company or it was up at the parent company
                      where there were other miscellaneous businesses in there that
                      were not strictly petroleum service or chemicals. And those
                      would have to all get sorted out, but the clearer distinction
                      was the two big businesses, petroleum services and
                      chemicals, that that was the dividing line. Whatever
                      happened for the prior 100 years on one went this way and
                      whatever happened and the other one went the other way.
                      And that was the -- that was the determination.

(2005 Case, Docket Entry No. 247, Ex. CC, Testimony of Steve Watson at 262:11–264:3). Watson

testified that his understanding of the transactions came from discussions he had with Simmons and

Martin. He testified that the board approved the 1988 restructuring based on that understanding.

(See id., Ex. CC, Testimony of Steven Watson at 264:11–14).

       With respect to the 1990 transactions, Watson testified:

               Q      [D]id you have an understanding based upon your
                      conversations with Mr. Simmons, Mr. Martin and the other
                      people of the team as to what was going to happen to the
                      historical liabilities of that petroleum service business other
                      than the bentonite and the titanium assets?

               A      Yeah. It was intended from the very beginning, the first
                      conversations which were back when we didn’t know we
                      needed bentonite. We didn’t know any of this stuff. We
                      were just going to separate the two businesses, that we would

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                       do exactly the same thing we did in 1988.

                       That petroleum service business and everything that was with
                       it, assets, any assets to do with it, past, present, future, any
                       liabilities, the business, the whole thing, the historic business,
                       the trademarks, the good will, the name, I mean there’s
                       trademarks and name that are valuable, anything to do with
                       that and if it wouldn’t have been for this trade or business,
                       five-year thing, it would have been just, well, this is easy, you
                       just take TIMET and move it over here and whatever is left
                       is petroleum service. It would have been very easy.

                       But because we had to do it in this reverse spin-off,
                       everything got turned upside down, and effectively you had
                       to identify the petroleum service to be moved over, but the
                       concept -- to answer I think what your question is is the
                       intention was exactly the same thing was supposed to happen
                       in 1990 as happened in 1988 was all of the petroleum service
                       business, assets, liabilities, known, unknown, contingent,
                       future, past, whatever went over there. None of it would go
                       over to the Titanium Metal Corporation side.

(Id., Ex. CC, Testimony of Steve Watson at 274:21–276:11).

                               iv.     The Arbitration Testimony of Harold Simmons

       Harold Simmons, the Chairman of NL and Tremont, testified similarly. He stated that he

would not have considered the 1990 restructuring if it involved retaining the environmental

liabilities for the Tremont side. He testified that no one ever told him that the historical mining

environmental liabilities of NL’s petroleum services business were to stay on the Old Baroid side

of the equation. (Id., Ex. DD, Testimony of Harold Simmons at 103:9–15).

                               v.      The Arbitration Testimony of Ann Manix

       Ann Manix, a member of New Baroid’s board, similarly testified that New Baroid was

receiving the historical liabilities associated with the petroleum services business:

               Q.      Prior to the time that you get to the board meeting, did you
                       have an understanding from your conversations with Mr.

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                          Martin as to what was going to happen with the historical
                          liabilities of NL’s petroleum services business?

                 A.       We would keep them, and I was going to go on the board of
                          New Baroid, so I was listening from that angle. We would
                          keep the liabilities, we would keep the petroleum services
                          business but we would not have the Titanium Metals
                          business.

                 Q.       Just for clarity, the “we” being?

                 A.       New Baroid.

(Id., Ex. EE, Testimony of Ann Manix at 15:12–24). However, as Halliburton points out, Manix’s

testimony shows that she only had a general understanding of the parties’ intentions, even about the

1990 restructuring. (See 2005 Case, Docket Entry No. 274, Ex. Q, Testimony of Ann Manix at

50:18–51:6).

                                  vi.      The Arbitration Testimony of John Karnes

        John Karnes, an outside lawyer who worked on the 1990 restructuring, testified in his

deposition submitted in the arbitration that “[a]ll of the petroleum services related liabilities and

obligations [went] along with those assets to the new -- New Baroid petroleum services company.”

(2005 Case, Docket Entry No. 247, Ex. FF, Deposition of John Karnes at 32:19–21).24 He had no


24
   Halliburton objects to Exhibit FF as not properly authenticated, containing inadmissable hearsay, and as
containing statements that are prejudicial and/or irrelevant. (2005 Case, Docket Entry No. 273 at 9). Tremont
responds that the exhibit is not hearsay because it contains testimony taken under oath with all parties present,
and that Tremont previously filed this document with this court. (2005 Case, Docket Entry No. 280 at 8–9).
The exhibit is properly authenticated by Hollingsworth’s affidavit. The portion of the exhibit objected to as
hearsay involves Karnes’s explanation of what senior attorneys told him about the transactions and what he
was not told about the restructurings. To the extent the testimony is offered to show what the arbitrators
heard or to prove the effect of the senior attorneys’ statements on Karnes, it is not hearsay because it is not
offered for its truth. To the extent the testimony is submitted to prove the truth of the statements, it would
be relevant only if the contracts were ambiguous and extrinsic evidence was required. As discussed below,
however, it is not appropriate to consider extrinsic evidence because the contracts are not ambiguous on the
issues resolved in this opinion. The testimony is relevant to understanding what evidence was heard by the
arbitrators, which is relevant to issue preclusion but does not implicate hearsay. Halliburton has not explained

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doubt that New Baroid was taking all the historical liabilities of the barite petroleum service

business. (Id., Ex. FF, Deposition of John Karnes at 33:8–16). Although Karnes was a junior

associate at the time of the transactions, he testified that “the explanation [he] received from . . .

more senior attorneys both in Kirkland and in . . . Bob Leidich’s group and all the directions [he]

got were consistent with this -- this clean break.” (Id., Ex. FF, Deposition of John Karnes at

43:16–20). Karnes testified that “the deal was exactly what the New York Stock Exchange

application says,” and that “New Baroid was getting all of the petroleum services assets and

assuming all of the petroleum services liabilities.” (Id., Ex. FF, Deposition of John Karnes at

44:22–25).

        Karnes also testified that based on conversations with senior attorneys working on the

restructuring, he understood that the indemnification agreement would give “full indemnities to NL

with regard to its petroleum services business started in 1926.” (Id., Ex. FF, Deposition of John

Karnes at 58:19–59:4). Karnes repeated that the restructuring was intended to produce a clean

separation of two businesses.

                “I think consistent with what people were calling the clean break, all
                assets -- and much of the documentation actually speaks to this --
                past, present and future and all liabilities related to that business past,
                present and future were to be -- were to go over so you would have
                two separate companies that were as pure as possible, if you will,
                bentonite, titanium and -- petroleum services.”

(Id., Ex. FF, Deposition of John Karnes at 103:21–104:3).

                                 vii.    The Arbitration Testimony of John Deering

        John Deering, Halliburton’s lead in-house attorney in this case and its Rule 30(b)(6) witness



why this testimony is unfairly prejudicial so as to require exclusion under Rule 403 of the Federal Rules of
Evidence.

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on contract issues in the arbitration, gave a deposition submitted in the arbitration. Deering stated

that without knowing specific facts he could not speak definitively, but that he had no reason to

believe that a historical liability associated with NL’s petroleum services business—assuming it was

not on Exhibit A of the 1990 Plan—would not have passed to Halliburton through the restructurings.

(2005 Case, Docket Entry No. 247, Ex. GG, Testimony of John Deering at 70:24–71:15).25

                                 viii.   The Arbitration Testimony of Joseph S. Compofelice

        Halliburton has submitted testimony given in the arbitration by Joseph S. Compofelice, Vice

President and Chief Financial Officer of New Baroid. His testimony contradicts what other

witnesses stated in the excerpts from the arbitration transcript Tremont submitted. Compofelice

testified that the intent of the 1990 Plan was to spin off a “clean petroleum services security that

represented only the current operations of the petroleum services activities of Tremont . . . .” (2005

Case, Docket Entry No. 274, Ex. R, Testimony of Joseph Compofelice at 27:24–28:5). Compofelice

testified that by “clean petroleum services security,” he meant “[a] business that represented the

current operations and did not include potential liabilities associated with discontinued operations.”

(Id., Ex. R, Testimony of Joseph Compofelice at 28:13–20).

        Compofelice described his recollection of the intent of the 1990 restructuring: “[A]ll

liabilities not associated with the current operations that I mentioned were left behind in Old Baroid,

what is now called Tremont . . . .” (Id., Ex. R, Testimony of Joseph Compofelice at 30:3–6).

Compofelice testified that he told investors during a road-show presentation before the completion



25
    Halliburton objects to Exhibit GG as irrelevant. (2005 Case, Docket Entry No. 273 at 9). Tremont
responds that Deering is Halliburton’s lead in-house attorney for this case and was Halliburton’s Rule
30(b)(6) witness on contract issues in the arbitration. (2005 Case, Docket Entry No. 280 at 9). The testimony
is relevant to show the extent of the evidence that the arbitrators considered, which is relevant to issue
preclusion. The objection is overruled.

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of the 1990 restructuring that “one of the unique things about New Baroid . . . [was] that it

represented just the current operations of Baroid Drilling Fluids, Sperry-Sun and other ongoing

active operations of -- of Baroid.” (Id., Ex. R, Testimony of Joseph Compofelice at 37:18–22).26

        Compofelice admitted in his deposition that his recollection was inconsistent with the final

documents executing the 1990 restructuring.27 (See 2005 Case, Docket Entry No. 279, Ex. C,

Testimony of Joseph Compofelice at 114:4–21). Compofelice further testified:

                 Q:       And I want I don’t want to insult you, but is it possible that
                          over the last 17 years -- I know you’ve been a busy man,


26
   Halliburton points out that Compofelice was the Baroid officer who signed the Baroid/Dresser merger
agreement. (See 2005 Case, Docket Entry No. 274, Ex. M at 92). Halliburton argues that the fact that
liabilities associated with the McCullough Division were not disclosed in connection with the Baroid/Dresser
merger is consistent with Compofelice’s understanding that historical liabilities were not assumed by New
Baroid in the 1990 restructuring. Halliburton argues that Compofelice’s testimony is consistent with its
argument that NLPS did not receive those liabilities in the 1988 restructuring. (See 2005 Case, Docket Entry
No. 274 at 21).
27
    Halliburton asserts that this part of Compofelice’s testimony should be disregarded because in eliciting that
testimony, Tremont’s counsel read the following sentence from the August 31, 1990 SEC Information
Statement: “‘New Baroid has assumed all of the company’s liabilities attributable to the Company’s
petroleum services business.’” (2005 Case, Docket Entry No. 300-1 at 4 (quoting id., Ex. I at 000283)).
Halliburton points out that another page of the same Information Statement states that “‘New Baroid has
agreed to indemnify [Old Baroid] for certain liabilities related to New Baroid’s petroleum services operations
. . . .’” (Id.(quoting id., Ex. I at 000228, para. 2)). Notably, immediately following the statement that New
Baroid agreed to indemnify Old Baroid for certain liabilities related to New Baroid’s petroleum services
operations, the Information Statement states: “In accordance with the terms of the [illegible] Plan of
Restructuring, New Baroid will be the responsible party if [Old Baroid] is found to have any liability arising
with respect to [certain waste disposal] sites.” (Id., Ex. I at 000228, para. 2). In addition, Halliburton’s
quotation of the SEC Information Statement appears innacurate. The page in the Information Statement that
Halliburton points to as having been read to Compofelice in eliciting the disputed arbitration testimony
actually discusses the assumption by Old Baroid of indemnification obligations under the Cross-
Indemnification Agreement executed in conjunction with the 1988 restructuring. The Information Statement
states that “New Baroid assumed all of [Old Baroid’s] obligations under the Indemnification Agreement
attributable to [Old Baroid’s] petroleum services business.” (Id., Ex. I at 000283 (emphasis added)). This
sentence is narrower than the sentence Halliburton cites in its brief. This sentence is not inconsistent with
another Information Statement sentence stating that New Baroid assumed certain obligations associated with
the petroleum services business. Instead of pointing to the place in the arbitration transcript in which the
Tremont Parties’ counsel allegedly tried to confuse Compofelice, Halliburton points to the SEC Information
Statement. Halliburton’s argument does not provide a basis to conclude that the part of the Information
Statement read to Compofelice was misleading.

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                          you’ve been involved in a lot of businesses, a lot of different
                          transactions. Is it possible that the document on page 78 that
                          I just showed you reflects a better recollection of what the
                          party [sic] to that transaction meant than what your present
                          recollection is?

                 MS. MARTINEZ: Objection. Form.

                 A.       And this is a long time ago. And of course anybody could be
                          wrong. But from being on the road show, going back to my
                          original testimony, that’s what stands out. When I spoke to
                          the substance of the transaction -- when I spoke -- what I
                          recall the intent of the parties, it was no more complicated
                          than that general recollection, that, you know, the
                          nonoperating assets and liabilities, legacy costs, leave those
                          behind in Tremont.

                          Part of the reason why that stands out in my mind is, in
                          creating more value for all shareholders and maximizing
                          value, a stock like New Baroid is going to trade against the
                          yardsticks in its business, its peer group comps. And that’s
                          what we were trying to -- to earn.

                          Something like Tremont, the stub, so to speak, as we called
                          it, there isn’t any sense of what that would trade for. It
                          wasn’t going to trade for a -- a meaningful multiple. And so
                          all other things being equal, being fair to all shareholders, you
                          want to put the value in the things that are going to trade for
                          meaningful multiples and the things that don’t have value
                          leave behind in the step. That’s kind of how things like this
                          are designed. And so that’s why it just sticks out. It was the
                          intent in my mind. And if I were asked to design a
                          transaction like this today, to maximize value for all
                          shareholders, that’s exactly how you would design it today.

(2005 Case, Docket Entry No. 300-1, Ex. J, Deposition of Joseph Compofelice at 114:23–116:9).28




28
   In addition to arguing that this court should disregard Compofelice’s recollection about whether historical
liabilities were transferred, Tremont argues in its reply brief that this court should disregard the testimony of
Robert Leidich because he admitted in his deposition in the arbitration that he was on the outside of the legal
work on the 1990 restructuring. (See 2005 Case, Docket Entry No. 279 at 9 (citing id., Ex. D)). Halliburton
has not submitted Leidich’s testimony in opposition to Tremont’s motion.

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                 4.      The Sale of the McCullough Division to Western Atlas

        Tremont argues that NL’s potential liability for the Gulf Nuclear Sites derives from the

McCullough Division. (2005 Case, Docket Entry No. 252 at 33). The parties dispute whether

liabilities associated with the McCullough Division transferred to NLPS in the 1988 restructuring

because NL may have sold that division before the 1988 restructuring became effective.

        On December 4, 1987, Western Atlas and NL (and some of NL’s subsidiaries) entered into

an asset purchase agreement (the “Western Atlas Agreement”), in which NL sold the McCullough

Division to Western Atlas.29 (2005 Case, Docket Entry No. 247, Ex. HH).30 The Western Atlas

Agreement provides in relevant part:

                 Consummation of the purchase and sale of the Assets and the other
                 transactions provided for in this Agreement shall take place . . . on
                 December 31, 1987, commencing at 11:00 a.m., local time on such
                 date provided such date follows expiration of the waiting period, if
                 applicable, under the Hart-Scott Rodino Antitrust Improvements Act
                 of 1976, or the receipt of any and all other material, requisite
                 governmental permits, approvals and consents, or at such other date
                 or time or other place as [Western Atlas] and the NL Parties may
                 mutually agree upon in writing (such actual date of transfer is
                 referred to as the “Transfer Date”), and all transactions provided for
                 in this Agreement to occur on and as of the Transfer Date shall be
                 deemed to have occurred simultaneously and to be effective as of
                 midnight on the Transfer Date.



29
    Exhibit A to the Western Atlas Agreement is absent from the copy of the agreement submitted by
Tremont. According to the Agreement recitals, Exhibit A describes and identifies the business that NL and
certain of its subsidiaries had engaged in through the McCullough Division. (See 2005 Case, Docket Entry
No. 247, Ex. HH at 1).
30
   Halliburton objects to Exhibit HH as not being a complete copy. (2005 Case, Docket Entry No. 273 at 9).
Tremont responds that the exhibit was filed in two parts because it is so long. (2005 Case, Docket Entry No.
280 at 9). Halliburton did not respond to this in its reply. It appears that the entirety of the main agreement
was submitted. Halliburton’s objection is overruled. See Matador Drilling Co. v. Post, 662 F.2d 1190, 1199
(5th Cir. 1981) (The “general complaint that the reports are incomplete and inaccurate are matters going to
the weight of this evidence and not its admissibility.”).

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(Id., Ex. HH, § 13(a) (emphasis added)).

       Under the Western Atlas Agreement, NL retained historical liabilities associated with the

McCullough Division:

               7. Non-Assumed Liabilities. Except for the liabilities specified in
               Section 6, [Western Atlas] is not assuming and shall not be liable to
               the NL Parties or any other person with respect to any debt, liability
               or obligation of the NL Parties or Shaffer (whether known, unknown,
               absolute, accrued, contingent or otherwise) including, without
               limitation, the following, collectively, the “Non-Assumed
               Liabilities”:

               ....

                       (f) Litigation. Any litigation, arbitration or regulatory,
               administrative or governmental proceeding or investigation, whether
               pending, threatened or hereafter instituted, to the extent it is in
               respect of the business and affairs of the Division on or prior to the
               Transfer Date;

                       (g) Violation of and Compliance with Laws. Any violation
               of, alleged violation by the Division, or the Division’s failure to
               comply with, any foreign, federal, state or local statute, law,
               ordinance, rule, regulation, order or decree in respect of the business
               and affairs of the Division on or prior to the Transfer Date or in
               respect of the transfer of the Assets to [Western Atlas]; and

               ....

                       (i) Environmental Matters. Any debt, liability or obligation
               of the Division (including without limitation any cleanup or
               restoration responsibility or liability with respect to real property) in
               connection with the use, consumption, generation, treatment, storage
               or disposition of hazardous materials or wastes (including without
               limitation nuclear materials and wastes) on or before the Transfer
               Date or any other environmentally related claim to the extent arising
               on or before the Transfer Date.

(Id., Ex. HH, § 7(f), (g), and (i) (emphasis added)).




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                  5.      Western Atlas v. NL Industries, Inc.

          In 1991, Western Atlas sued NL and several other NL-related entities, including New Baroid.

In an internal NL memorandum dated December 13, 1991, Lourdes T. Hernandez31 sent the petition

and first amended petition in that case to Anthony Lannie, Vice President and General Counsel of

Baroid Corporation. (2005 Case, Docket Entry No. 274, Ex. I). An unsigned, handwritten note

attached to the letter and bearing the same date states: “Per Lourdes, this is for information only –

she is to send note saying NL will handle for Baroid.” (Id., Ex. I). In a January 18, 1994 letter to

David B. Garten, Vice President and General Counsel of NL, Lannie stated that he was “writing to

confirm [Baroid’s] understanding regarding the various active matters as to which [Baroid] is either

indemnified or is indemnifying [NL] pursuant to the various agreements among Baroid, NL, and

Tremont Corporation.” (Id., Ex. A-2 at 1). Western Atlas v. NL is among the matters listed under

the category “Matters as to which NL is Indemnifying Baroid.”32 (Id., Ex. A-2 at 2). Garten signed

the letter, indicating his agreement with the description of the various indemnifications. (Id., Ex.

A-2 at 3). A July 12, 1995 letter from Garten to James E. Brasher, Vice President of Western Atlas,

states that NL settled the lawsuit for $1,600,000. (Id., Ex. J at 1).33

31
     Hernandez’s role at NL is not identified in the memorandum.
32
   As Halliburton points out, this letter also acknowledges that NL was indemnifying New Baroid in response
to a demand letter sent to Schaffer de México, S.A. de C.V., Division McCullough. (2005 Case, Docket
Entry No. 274, Ex. A-2 at 2). The Western Atlas Agreement identifies Schaffer de México, S.A. de C.V. as
a wholly owned Mexican subsidiary of NL that was included in the McCullough Division. (2005 Case,
Docket Entry No. 247, Ex. HH at 1).
33
   Halliburton has submitted a document entitled “Supplemental Evidence in Response to Tremont LLC’s
Motion for Partial Summary Judgment.” (2005 Case, Docket Entry No. 328). In this submission, Halliburton
asserts that a new document production by Tremont contained documents that Halliburton intends to rely on
in opposition to Tremont’s motion for partial summary judgment. (Id. at 1–2) Because Tremont marked its
entire document production as “confidential,” Halliburton gave notice that it intended to rely on certain of
those documents and to present them at the hearing on Tremont’s motion. (Id. at 2). At the hearing,
Halliburton submitted a “Supplemental Response to Tremont LLC’s Motion for Partial Summary Judgment”

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                6.       The Sale of Oilfield Service Facilities to Exxon

        On October 2, 1987, NL and Exxon Corporation executed an asset purchase agreement. NL

sold Exxon assets used in the NL Treating Chemicals Division. (See 2005 Case, Docket Entry No.

274, Ex. K). The agreement had a closing date of “November 20, 1987, or ten working days

following expiration or early termination of all applicable waiting periods under the Hart-Scott-

Rodino Antitrust Improvements Act of 1976, whichever occurs last.” (Id., Ex. K, § 1.5). There is

no evidence in the record of the actual closing date.

        In the section on indemnification, NL agreed to:

                indemnify, defend and hold [Exxon] or its designees harmless from
                and against any and all claims, damages, obligations, liabilities or
                losses . . . that [Exxon] or its designees shall incur or suffer after the
                Closing Date which arise out of and result from any liability or
                obligation of [NL] or its affiliates (other than Assumed Liabilities) or
                breach of any representation or warranty or failure by [NL] to
                perform any of the covenants or agreements of [NL] in this
                Agreement, or in any schedule or exhibit to this Agreement.

(Id., Ex. K, § 8.1(a)). NL also agreed to:

                indemnify, defend and hold [Exxon] and its designees harmless from
                and against any claim of a third party . . . against [Exxon] or its


and attached the documents referenced in its supplemental evidence filing as exhibits in an envelope labeled
“in camera.” The supplemental response asserts that the attached documents show that NL has indemnified
and/or defended New Baroid in other disputes, which Halliburton asserts shows that the parties understood
that NL owed indemnification obligations to New Baroid with respect to properties transferred before 1988.
         At the hearing, Tremont stipulated that it would not contest for purposes of its motion for partial
summary judgment that NL has previously paid for certain matters related to NL’s former petroleum services
business. Despite this stipulation, Halliburton’s counsel tendered the supplemental response to this court,
stating that any privilege had been waived by production in this litigation. Tremont’s counsel stated that the
documents had been produced pursuant to a confidentiality agreement, but there was a dispute as to whether
Tremont or Halliburton held the privilege with respect to the documents. Halliburton stated that it would
have no objection to Tremont submitting a letter explaining its privilege objections. This court agreed to
maintain the supplemental submission under seal. Given Tremont’s stipulation at the hearing, however, the
documents attached to the supplemental response do not add to the summary judgment evidence and
considering them would not change the analysis of the preclusive effect of the arbitrators’ decision or this
court’s contract interpretation.

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                 designees or against the Purchased Assets . . . which arises out of and
                 results from any condition, event or activity relating to the business
                 of the Division existing or occurring on or prior to the Closing Date.
                 Said claims of third parties include, without limitation, those arising
                 from environmental and industrial health events occurring on or prior
                 to the Closing Date, and resulting from: (A) any emission, dispersal,
                 discharge, release, leak, escape, or concentration of any solid, liquid
                 or gaseous material or effluent or pollutant from the Purchased Assets
                 on or prior to the Closing Date; (B) any generation, storage or
                 disposal of waste material on the real property conveyed, or
                 elsewhere, prior to Closing; and (C) illness, disease, bodily injury or
                 disability, including death, at any time resulting therefrom, arising
                 out of or in the course of employment, or incidental thereto, or arising
                 out of operation of the Purchased Assets by [NL] or its affiliates on
                 or prior to the Closing Date; whether or not on the Closing Date any
                 such claim, damage, obligation, liability, or loss is fixed, accrued,
                 absolute, contingent or otherwise, and whether known or unknown,
                 asserted or unasserted, due or to become due.

(Id., Ex. K, § 8.1(b) (emphasis added)).34

                 7.      Tremont’s Request for Indemnification from Halliburton for the Gulf
                         Nuclear Site Liabilities

        On July 6, 2007, NL demanded that Tremont provide a defense and indemnity for liabilities



34
   Halliburton has submitted a December 4, 2003 memorandum from NL to Halliburton discussing liability
for the Malone Service Superfund Site. (2005 Case, Docket Entry No. 274, Ex. L). With respect to one
facility, the letter states: “NL sold this facility to Exxon in late 1987. The US EPA has incorrectly assigned
this volume to Nalco. It should be assigned to NL. Based on the information I have reviewed, Halliburton
did not acquire this facility, and Halliburton does not have responsibility for this volume.” (Id., Ex. L at 2).
Halliburton asserts that this shows that NL has acknowledged that Halliburton is not responsible for liabilities
arising from property NL sold before 1988. (2005 Case, Docket Entry No. 274 at 13). Tremont objected at
the hearing to this exhibit because it states that it is “for settlement purposes only” and is therefore
inadmissible under Federal Rule of Evidence 408. See FED. R. EVID. 408(a)(2) (prohibiting introduction of
statements made in compromise negotiations, “when offered to prove liability for, invalidity of, or amount
of a claim that was disputed as to validity or amount, or to impeach through a prior inconsistent statement or
contradiction”). This objection is sustained. However, even if this court were to consider this memorandum,
it would not change the reasoning or outcome. As previously discussed, Tremont has stipulated that it would
not contest that NL has previously provided indemnity for certain liabilities related to its former petroleum
services business. Given this stipulation, this memorandum does not add to the summary judgment evidence.
The fact that NL may have agreed—in the context of settlement discussions—to assume responsibility for
liabilities associated with a property that NL transferred before the 1988 restructuring does not change the
preclusive effect of the arbitrators’ decision or the interpretation of the contracts.

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associated with the Gulf Nuclear Sites, explaining that “the potential liability for these Sites relates

to NL’s former petroleum services business.” (2005 Case, Docket Entry No. 247, Ex. KK).35 On

the same date, Tremont demanded that Halliburton provide a defense and indemnity for the Gulf

Nuclear Sites, explaining that “the potential liability for these Sites relates to NL Industries, Inc.’s

former petroleum services business.” (Id., Ex. LL). Halliburton’s senior vice-president responded


35
    Halliburton objects to Exhibit KK on the grounds that it is not properly authenticated, is hearsay, is
conclusory, contains legal conclusions on the interpretation of the restructuring documents, and is not based
on personal knowledge. (2005 Case, Docket Entry No. 273 at 10–11). Tremont responds that the document
is properly authenticated by Hollingsworth’s affidavit. (2005 Case, Docket Entry No. 273 at 10). Tremont
does not address Halliburton’s additional objections.
         As with Halliburton’s similar objections to other exhibits, Hollingsworth’s affidavit properly
authenticates the documents attached to Tremont’s motion. This exhibit is a letter addressed to Hollingsworth
at Tremont; Hollingsworth has sufficient knowledge to authenticate this document. The letter is not hearsay
because it constitutes a verbal act. See 31A FEDERAL PRACTICE AND PROCEDURE, EVIDENCE RULES, QUICK
REFERENCE GUIDE 281 (West 2009) (“One common type of nonhearsay statement is usually referred to as
a ‘verbal act’ or ‘operative fact’: a statement the making of which has substantive legal significance.”).
Halliburton’s objections that the letter is conclusory and contains legal conclusions about the restructuring
documents is not persuasive. The letter tenders the defense of the Gulf Nuclear Sites to Tremont; it does not
contain any legal conclusions and does not mention the restructuring documents. Halliburton’s objection that
“there is no evidence that the maker of the statements contained in the letter has personal knowledge that such
statements are true and correct” is puzzling. The body of the letter states:

                 NL Industries, Inc. (“NL”) hereby tenders to Tremont, LLC (“Tremont”) for
                 defense, indemnification and hold harmless the Gulf Nuclear Superfund
                 Sites in Texas including Gulf Nuclear Odessa, Webster and Trevenor [sic],
                 as the potential liability for these Sites relates to NL’s former petroleum
                 services business. Please confirm in writing your acceptance of this tender
                 within fifteen (15) days from the date of this letter. If you require further
                 information, please let me know.

(2005 Case, Docket Entry No. 247, Ex. KK). The only statement in the letter that could be interpreted as
being true or false is that the liability for the Gulf Nuclear Sites related to NL’s former petroleum services
business. Halliburton has not cited authority for the proposition that there must be evidence that the author
of a letter knew that every statement in the letter was true and correct as a predicate to admissibility.
         The letter, written by NL’s associate general counsel, is relevant to show that NL tendered the defense
to Tremont and NL’s asserted reason for doing so, regardless of whether that reason is “true and correct.”
Halliburton’s objections are overruled.
         Halliburton objects to Exhibits LL and PP for the same reasons it objects to Exhibit KK. Exhibit LL
is Tremont’s July 6, 2007 tender letter to Halliburton for the Gulf Nuclear Sites. Exhibit PP is Tremont’s
November 12, 2007 tender letter to Halliburton for the Gulf Nuclear Sites. Halliburton’s objections to
Exhibits LL and PP are overruled for the same reasons its objections to Exhibit KK are overruled.

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to Tremont’s request for indemnification on July 20, 2007, stating that based on Halliburton’s

investigation, “NL’s potential liability relating to Gulf Nuclear arose from the activities of NL’s

former division, NL McCullough.” (Id., Ex. MM at 1). Halliburton asserted that “the assets of NL

McCullough were sold by NL to Western Atlas . . . in 1987, prior to the 1988 Amended and Restated

Formation Agreement.” (Id., Ex. MM at 1). Halliburton argued that the Formation Agreement

excluded certain liabilities from the transfer to NLPS, including “‘any claims of liability at sites or

facilities or with respect to operations not transferred to NLPS pursuant to this agreement, including

claims arising out of or relating to the offsite deposit, placement or disposal by NL of any materials

of any character whatsoever generated at sites or operations not transferred to NLPS pursuant to this

Agreement.’” (Id., Ex. MM at 1). Halliburton concluded that “[s]ince the operations of NL

McCullough were not transferred to NLPS pursuant to the Formation Agreement, and since the

potential liability [Tremont] ha[d] tendered to Halliburton for indemnity is the result of NL

McCullough’s offsite deposit, placement or disposal practices, [Halliburton did] not agree that this

liability was transferred to NLPS pursuant to the 1988 Formation Agreement.” (Id., Ex. MM at 2).

       On November 9, 2007, the EPA brought the EPA lawsuit against HESI, DII, and NL, among

others, under CERCLA. The EPA sought costs it incurred in conducting removal actions as a result

of releases and threatened releases of hazardous substances from the Gulf Nuclear Sites. The EPA

complaint alleges that HESI succeeded to all the liabilities at the Gulf Nuclear Sites of several

companies, including Baroid, and that DII succeeded to all Dresser’s liabilities at the Gulf Nuclear

Sites. (2005 Case, Docket Entry No. 247, Ex. OO, ¶¶ 6, 16). The complaint further alleges that “NL

McCullough was a division of NL Industries, Inc.,” and that NL or HESI is responsible for NL’s

liabilities at the Gulf Nuclear Sites. (Id., Ex. OO, ¶¶ 18, 19). The complaint alleges that


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“Halliburton, DII, and NL sent radioactive wastes, including americium, cesium, radium, cobalt,

zinc, tritium, scandium, gadolinium, iridium, and/or iodine, directly to the Odessa Site for storage

and/or processing prior to disposal”; that they sent radioactive wastes “directly to the Webster Site[,]

and certain of those wastes were transferred to the Odessa Site for processing and/or storage prior

to disposal”; and that “[t]he practice at the Odessa Site was to compact and repack many of the

radioactive wastes prior to offsite disposal.” (Id., Ex. OO, ¶¶ 60–62).

       Tremont tendered the defense of the EPA lawsuit to Halliburton in a November 12, 2007

letter.36 (See id., Ex. PP). Halliburton refused. Halliburton argued that under the Cross-

Indemnification Agreement, NLPS agreed to indemnify NL only for liabilities, obligations, or

commitments assumed by NLPS under the Formation Agreement. (Id., Ex. QQ at 2). Halliburton

noted that the Formation Agreement provided that NLPS would not assume liabilities associated

with sites, facilities, or operations not transferred to NLPS under that Agreement, “‘including claims

arising out of or relating to the offsite deposit, placement or disposal by NL of any materials of any

character whatsoever generated at sites or operations not transferred to NLPS pursuant to this

Agreement.’” (Id., Ex. QQ at 2). As it had in rejecting Tremont’s previous demand for defense and

indemnification, Halliburton stated that NL’s potential liability for the Gulf Nuclear Sites arose out

of the operations of the McCullough Division, and that NL had transferred all facilities and

operations associated with that Division to Western Atlas in December 1987, almost one year before

the Formation Agreement was executed. (2005 Case, Docket Entry No. 247, Ex. QQ at 2).

Halliburton again asserted that because of the Western Atlas transfer, the McCullough Division

36
    Although Tremont is not named in the EPA’s complaint, NL had previously tendered to Tremont the
defense and indemnification for the Gulf Nuclear Sites. (See 2005 Case, Docket Entry No. 247, Ex. KK).
NL is named as a defendant in the EPA’s complaint. NL presumably invoked Tremont’s indemnification
obligation, leading to Tremont’s demand for indemnification from Halliburton.

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could not have been transferred from NL to NLPS in 1988. (Id., Ex. QQ at 2).37

        Tremont and NL entered into a joint defense agreement with Halliburton. Tremont and NL

agreed that Halliburton’s lawyers could represent the interests of both Halliburton and NL in the

EPA lawsuit. (Id., Ex. TT). The parties reserved their indemnification claims relating to the Gulf

Nuclear Sites. (See id., Ex. TT, ¶ 4). Tremont represents that it is not seeking reimbursement for

past fees that it agreed to cover under the joint defense agreement. Tremont instead asks this court

to find that Halliburton is responsible for NL’s liabilities arising from the Gulf Nuclear Sites so that

Tremont can avoid incurring additional costs and expenses from those Sites. (2005 Case, Docket

Entry No. 252 at 40).

                8.       The Arbitration Panel’s Decision

        Halliburton argued in the arbitration that it was not liable for NL’s petroleum services

activities at the Malvern Site because some of the relevant leases had terminated before the

restructurings, making them “surplus real property” excluded from the 1990 transfer to New Baroid.

The arbitration panel rejected that argument. The panel stated that “the clear intent of both plans

of restructuring [was] to 1) spin-off the pre-existing petroleum services business of the transferors

in 1988 and 1990, respectively, and 2) transfer responsibility for all historical liabilities associated


37
   Tremont has submitted the notice of the EPA lawsuit and waiver of service of summons, sent from the EPA
to NL as Exhibit RR, and NL’s letter to the EPA enclosing the executed waiver of service of summons as
Exhibit SS. Halliburton objects to both of these exhibits on the grounds that they are not properly
authenticated, that they constitute hearsay, and that they are not relevant. (2005 Case, Docket Entry No. 273
at 12–13). Tremont has not responded to the objections with respect to Exhibit RR. With respect to Exhibit
SS, Tremont argues that Hollingsworth’s affidavit properly authenticates the document and that the hearsay
objection is without merit. (2005 Case, Docket Entry No. 280 at 12). Exhibits RR and SS are properly
authenticated by Hollingsworth’s affidavit. As discussed in connection with Halliburton’s objections to other
exhibits, Hollingsworth’s affidavit is sufficient to authenticate documents within Tremont’s possession and
control. Exhibits RR and SS are not hearsay because they are verbal acts having independent legal
significance. The exhibits are relevant to provide background regarding the EPA lawsuit, which is relevant
Tremont’s request for indemnity. Halliburton’s objections to Exhibits RR and SS are overruled.

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with the operations of that business.” (2005 Case, Docket Entry No. 247, Ex. D at 19).

       The panel found:

               [T]he conclusion is inescapable that the leased properties and licenses
               of NL, and subsequently “Old” Baroid, were indeed an integral part
               of the petroleum services business of NL, and the resultant liabilities
               and obligations were assumed by NLPS and New Baroid,
               respectively, as a result of the plans of restructuring. Those plans
               included not only the transfer of the assets and operations of the
               transferors’ petroleum services business, but also the associated past
               and future liabilities and obligations.

(Id., Ex. D at 19). The panel explained:

               Whether leases had expired or were terminated prior to 1988 is not
               determinative of whether the historical liabilities associated with the
               leased property were assumed by NLPS, and later New Baroid. . . .
               [I]ndemnification for such historical liability is not dependent upon
               the actual transfer or assignment of a lease covering leased property
               which had been used as part of the operations of the petroleum
               services business of NL prior to 1988.

(Id., Ex. D at 20). The relevant heading in the final arbitration award states: “A Finding Of

Responsibility For Indemnification For Historical Liabilities Associated With Leased Properties

Does Not Require Proof That Leases And License Agreements Were Actually Assigned Or

Transferred To Anyone As Part Of The 1988 And 1990 Restructurings.” (Id., Ex. D at 20).

       The panel described Halliburton’s argument as follows:

               The Halliburton Parties insist that a determination of their
               responsibility for the leased properties is dependent upon proof that
               such properties were actually transferred to NL as part of the 1988
               restructuring. The Halliburton Parties rely upon the September 1988,
               Amended and Restated Formation Agreement . . . , executed between
               the parties as part of the 1988 restructuring. In particular, the
               Halliburton Parties point to the following provision of the Formation
               Agreement:

                      “1.4 Liabilities Not Assumed. The parties agree that
                      NLPS will not assume or be liable for any of the

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                        following liabilities or obligations . . . :

                                (c) Any claims of liability at sites or facilities
                        or with respect to operations not transferred to NLPS
                        pursuant to this Agreement, . . . ”

                In the absence of proof that leased properties were actually
                transferred or assigned to NL in 1988, the Halliburton Parties claim
                that any obligation of HESI, as the successor to New Baroid, to
                indemnify NL and Tremont does not extend to any claims of liabilities
                at sites or facilities or with respect to operations associated with the
                leased properties.

(Id., Ex. D at 20 (emphasis added) (second and third omissions in original) (footnote and internal

arbitration record citations omitted)). Halliburton advanced this same argument in rejecting

Tremont’s demand for indemnification for the Gulf Nuclear Sites.

        The arbitration panel rejected Halliburton’s argument:

                As stated above, the Panel disagrees.              An assumption of
                indemnification obligations and successor liability for historical
                liabilities associated with the transferred petroleum services business
                is not dependent upon an actual physical transfer or assignment of
                an associated lease, or real estate for that matter. This is made clear
                by an examination of the other relevant contract terms.

(Id., Ex. D at 20–21 (emphasis added)).

        The panel pointed out that in the Formation Agreement, NLPS agreed “‘to assume, pay,

discharge or perform when due all liabilities and obligations, known or unknown, of NL,

associated with its petroleum services business . . . ’”; that in the Cross-Indemnification

Agreement NLPS agreed to indemnify and hold NL harmless from “‘[c]laims of liability at sites

of facilities or with respect to the operations (i.e., petroleum services business)38 transferred



38
   This parenthetical explanation was added by the arbitration panel and does not appear in the text of the
Cross-Indemnification Agreement. (See 2005 Case, Docket Entry No. 247, Ex. K, § 2.2(b)).

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to NLPS pursuant to the Formation, including claims arising out of or relating to the deposit,

placement or disposal of any material of any character whatsoever on such sites or Facilities;

. . . ’”; and that in the Indebtedness Agreement NLPS agreed “‘to assume and unconditionally

guarantee to NL . . . the performance or discharge by NLPS on behalf of NL of any and all other

indebtedness and obligations of NL which are attributable to NL’s petroleum services

business.’” (2005 Case, Docket Entry No. 247, Ex. D at 21–22 (first and second omissions in

original) (citations omitted)). Considering the language from the relevant contracts, the panel

concluded:

               In the Panel’s view, there is no question that NL effectively
               transferred all assets and operations, existing and historical
               liabilities, associated with its petroleum services business to NLPS in
               1988. The assumption by NLPS of liabilities and obligations
               associated with that petroleum services business was truly
               comprehensive. There is nothing to suggest that such historical
               liabilities and obligations, even those related to expired or canceled
               leases on leased properties associated with the petroleum services
               business, were not transferred to and assumed by NLPS. On the
               contrary, the opposite conclusion is unavoidable.

(Id., Ex. D at 22 (emphasis added)).

       The panel found that “[t]he same conclusion [wa]s also warranted as a result of the 1990

Restructuring.” (Id., Ex. D at 22). The panel elaborated:

               After the 1988 Restructuring, NLPS changed its name to Baroid
               Corporation (i.e., “Old Baroid”) and subsequently transferred all of
               the petroleum services business to New Baroid under the 1990 Plan.
               Under that Plan, Old Baroid not only assigned to, and New Baroid
               assumed, all of Old Baroid’s “properties, assets and rights, of any
               kind, whether tangible or intangible, real or personal, which [were]
               attributable to the Petroleum Services Business (the “Petroleum
               Services Assets”) . . . ,” but New Baroid also assumed and agreed:

                      ‘to discharge all indebtedness, liabilities, obligations,
                      claims, covenants, losses, damages, costs, penalties

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                       and expenses, of any kind and nature, whether
                       accrued, absolute or contingent, asserted or
                       unasserted, and whether existing as of the date of this
                       Plan or arising thereafter (collectively,
                       “Obligations”), of [old Baroid] arising out of, or
                       which are otherwise attributable to, the past,
                       present or future ownership or operations of the
                       Petroleum Services Business . . .’”

               As part of the Plan, Old Baroid’s subsidiary Baroid Drilling Fluids,
               Inc. (“BDFI”), assumed and agreed “to discharge all Obligations of
               New Baroid arising out of, or which [were] otherwise attributable
               to, the past, present or future ownership or operations of such
               Petroleum Services Assets.”

               According to the recorded Certificate of Assistant Secretary of
               Halliburton Energy Services, Inc., BDFI was dissolved on October
               30, 1997, and effective November 1, 1997, the assets of BDFI
               became part of the Baroid Division of Dresser Industries Inc., which
               merged with Halliburton N.C. Inc., effective September 28, 1998.
               The surviving company was Dresser Industries, Inc. (“DII”) and
               effective January 31, 1999, the assets of Dresser Energy Group of
               Dresser Industries Inc. (including its Baroid Division), were
               contributed to HESI.

               As a consequence of these transactions, the Panel has determined that
               HESI has succeeded to, and is responsible for, indemnity obligations
               owed by New Baroid to Old Baroid and Old Baroid successors in
               connection with the petroleum services business, including those
               obligations assumed by BDFI.

(Id., Ex. D at 22–23 (alterations and omissions in original) (internal arbitration record citations

omitted)).

       The panel reached a similar conclusion in rejecting Halliburton’s argument that licenses and

leasehold interests were not “property, assets, or rights” and therefore excluded from the definition

of Petroleum Services Assets under the 1990 Plan. The panel stated:

               In keeping with the Panel’s findings above, however, even if expired
               leases and license agreements did not constitute “property, assets and
               rights, of any kind,” transferred under the Plan, one cannot conclude

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                that historical liabilities and obligations associated with such
                instruments were not undertaken and assumed by New Baroid and
                BDFI, or that they did not agree to indemnify Old Baroid and its
                affiliates for such liabilities.

(Id., Ex. D at 24). The panel noted that “although BDFI agreed to assume and discharge all

‘Obligations’ of New Baroid related to the ‘Petroleum Services Assets,’ New Baroid separately

agreed to the comprehensive assumption and discharge of Old Baroid’s ‘Obligations’ of virtually

any conceivable kind related to ‘past, present or future ownership or operations of the Petroleum

Services Business.’” (Id., Ex. D at 24). The panel also noted that “[t]he assumption and discharge

obligations of New Baroid . . . , defined as ‘Petroleum Services Obligations,’ were also the subject

of New Baroid’s indemnification of Old Baroid under the [1990] Plan,” and concluded that based

on the indemnification language in that Plan, “it [wa]s irrefutable that New Baroid indemnified Old

Baroid for historical liabilities arising out of or otherwise attributable to past, present or future

ownership or operations of the petroleum services business.” (2005 Case, Docket Entry No. 247,

Ex. D at 25). The panel concluded that “[l]iabilities or obligations associated with expired leases

or license agreements would constitute such ‘Obligations,’ and trigger HESI’s successor

indemnification obligations.” (Id., Ex. D at 25).

       This court confirmed the panel’s awards and entered judgment on the claims resolved in the

arbitration. (See 2005 Case, Docket Entry Nos. 239, 277). The Fifth Circuit affirmed. See

Halliburton Energy Servs., Inc. v. NL Indus. Inc., 306 F. App’x 843 (5th Cir. 2009) (unpublished)

(per curiam).

                9.     The Evidence as to Whether Liabilities Associated with the Gulf Nuclear
                       Sites Are Part of NL’s Former Petroleum Services Business

       A threshold issue is whether NL’s sole involvement with the Gulf Nuclear Sites was through


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its former petroleum services business. This court granted the parties additional time to conduct

discovery on this issue, which is critical to resolving Tremont’s motion. If NL’s liabilities

associated with the Gulf Nuclear Sites stem solely from its former petroleum services business, this

court can decide Tremont’s motion based on the application of issue preclusion and contract

interpretation. If, however, the liabilities associated with the Gulf Nuclear Sites can be traced to any

of NL’s business operations other than its petroleum services business, Tremont’s motion must be

denied because even if this court were to decide the legal disputes over issue preclusion and contract

interpretation in Tremont’s favor, that would not entitle Tremont to full indemnity for the Gulf

Nuclear Site liabilities.

         The parties have presented evidence on this issue. That evidence is set out and analyzed

below.
                         a.       The McCullough Division’s Activities at the Gulf Nuclear Sites

         Tremont has submitted EPA documents and waste manifests showing that the McCullough

Division shipped wastes for disposal or recycling to Gulf Nuclear. (See 2005 Case, Docket Entry

No. 247, Ex. II).39 Tremont contends that these documents show that NL used the Gulf Nuclear

39
    Halliburton objects to Exhibit II as not properly authenticated and as hearsay. (2005 Case, Docket Entry
No. 273 at 9–10). Tremont responds that the exhibit is authenticated by Hollingsworth’s affidavit and that
Halliburton’s hearsay objection is meritless. (2005 Case, Docket Entry No. 280 at 9). Halliburton argues that
as vice president and general counsel of Tremont, Hollingsworth would have no knowledge as to whether the
NL McCullough waste manifests are what they purport to be. (2005 Case, Docket Entry No. 300-1 at 10).
Hollingsworth’s affidavit asserts that each of the documents attached to Tremont’s motion are true and correct
copies of documents in the possession and control of Tremont. This authenticates the documents. The waste
manifests are also authenticated as ancient documents. Their condition does not create any suspicion
concerning authenticity, it is reasonable to believe that Tremont would have these documents either by virtue
of the corporate restructurings or by virtue of document production (many of the documents appear to have
litigation control numbers), and the documents appear to have been in existence for more than 20 years. See
FED. R. EVID. 901(b)(8) (describing authentication of ancient documents as including “[e]vidence that a
document or data compilation, in any form, (A) is in such condition as to create no suspicion concerning its
authenticity, (B) was in a place where it, if authentic, would likely be, and (C) has been in existence 20 years
or more at the time it is offered”). The documents may also be authenticated through production in litigation.
See MGE UPS Sys., Inc. v. Fakouri Elec. Eng’g, Inc., No. 4:04-CV-445-Y, 2006 WL 680513, at *5 (N.D.

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Sites to dispose of or recycle wastes generated by NL’s petroleum services business. (2005 Case,

Docket Entry No. 252 at 34).40 Tremont has also submitted a May 25, 2007 letter from the U.S.

Department of Justice Environmental and Natural Resources Division discussing a proposed

settlement for the Gulf Nuclear Sites with potentially responsible parties.41 (2005 Case, Docket

Entry No. 247, Ex. JJ).42 That letter states that “the United States has obtained information from


Tex. Mar. 14, 2006) (“MGE does not dispute that it produced these bills during discovery; thus, its argument
that the exhibit is not properly authenticated is meritless.”). The documents also fall under the hearsay
exception for ancient documents. See FED. R. EVID. 803(16). Halliburton’s objections to Exhibit II are
overruled.
40
   In the first supplement to its motion, Tremont asserts that it compared shipping locations listed in the
shipping tickets/waste manifests/nexus documents provided by the EPA with the properties transferred to
Western Atlas and that there is a 99% correlation between the location of generation and the properties that
were part of the McCullough Division sold to Western Atlas. (Docket Entry No. 41 at 47). Tremont states
that the EPA documents are attached as Exhibit 5 to its supplement. But that exhibit appears to be documents
relating to NL McCullough shipments that were not previously identified by the EPA. Tremont had
submitted shipping tickets from the EPA as Exhibit II to its motion. The appendix to its motion states that
the documents attached as Exhibit II are “EPA Documents and Waste Manifests of NL McCullough
Division.”
         Assuming that the documents attached as Exhibit II are what Tremont used for comparison purposes,
some of the shipping tickets appear to list shipping locations other than those on the list of property
transferred to Western Atlas (besides the one exception that Tremont recognizes for Fairview, Illinois). For
example, several of the shipping tickets list shipment locations in Mills, Wyoming or Monahans, Texas, but
there is no indication that properties in those cities were transferred to Western Atlas.
         Even if the correlation were as high as Tremont claims, Tremont does not explain how this evidence
would show that liabilities associated with the Gulf Nuclear Sites were part of NL’s petroleum services
operations that were ultimately transferred to Halliburton. Tremont appears to argue that the correlation
between the shipping tickets and the properties transferred to Western Atlas shows that only the McCullough
Division was involved in the Gulf Nuclear Sites. Presumably, Tremont is arguing that because it has
presented evidence that the McCullough Division was part of NL’s petroleum services business, NL’s only
connection to the Gulf Nuclear Sites was through its petroleum services business. Tremont has not made this
explicit, however.
41
   The terms “potentially responsible parties” and “PRPs” refer to “covered persons” under section 107(a)
of CERCLA. The statute identifies four categories of “covered persons” who may be liable for cleanup costs
associated with the release or threatened release of hazardous substances. See 42 U.S.C. § 9607.
42
   Halliburton objects to Exhibit JJ on the grounds that it is not properly authenticated and is hearsay. (2005
Case, Docket Entry No. 273 at 10). Tremont responds that Exhibit JJ is authenticated by Hollingsworth’s
affidavit and that the hearsay objection is meritless. (2005 Case, Docket Entry No. 280 at 9–10). Neither
party has raised the issue, but this letter is also marked as an offer of compromise, raising an issue of
admissibility under Federal Rule of Evidence 408.

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GNI records and witnesses[’] statements to establish that NL McCullough had a significant

connection with the GNI facilities at Webster and Odessa.” (Id., Ex. JJ at 1). The letter states that

“[t]he United States is continuing to research activities at the Tavenor facility” in Houston. (Id., Ex.

JJ at 1).

                          b.       Shipping Slips and Receiving Logs Showing Shipments of
                                   Radioactive Material from NL and Its Subsidiaries

        In addition to the EPA documents and waste manifests of the McCullough Division that

Tremont submitted, Halliburton has submitted shipping slips and receiving logs for Gulf Nuclear.

(See Docket Entry No. 50, Ex. 18). Halliburton asserts that these documents create a fact question

as to whether NL’s operations other than petroleum services were involved in shipping waste to Gulf

Nuclear. (See Docket Entry No. 50 at 5). As Halliburton points out, Gulf Nuclear’s records show

shipments received from “NL Industries,” “N.L. MWD,” “NL McCullough,” and “NL Tech” in

1980 and 1985. (See Docket Entry No. 41, Ex. 14 at 5–9).43

        Tremont responds that the shipping slips and receiving logs Halliburton submitted as Exhibit



          This document is properly authenticated by Hollingsworth’s affidavit, which states that all the
attached documents are true and correct copies of documents in Tremont’s possession. The letter is not
hearsay to the extent it is submitted to show the EPA’s theories about the Gulf Nuclear Sites rather than the
truth of the assertions in the letter. See FED. R. EVID. 801(c). The document is not inadmissible under
Evidence Rule 408 because it is a letter from the EPA that is not being offered against the EPA, and because
it is not being offered to prove liability or invalidity of a claim but rather to show that the EPA made claims
that NL McCullough was involved in the Gulf Nuclear Sites. See FED. R. EVID. 408(a)(2) (prohibiting
introduction of statements made in compromise negotiations, “when offered to prove liability for, invalidity
of, or amount of a claim that was disputed as to validity or amount, or to impeach through a prior inconsistent
statement or contradiction”); see also FED. R. EVID. 408(b) (“This rule does not require exclusion if the
evidence is offered for purposes not prohibited by subdivision (a).”). The objections to Exhibit JJ are
overruled.
43
   Because the exhibits associated with Tremont’s Supplementation Related to the Gulf Nuclear Sites as
Allowed by the Minute Entry of September 30, 2008 are both numerous and lengthy, they span several docket
entries. For ease of reference, this opinion will cite to those exhibits by referring to the main docket entry
for the brief, (Docket Entry No. 41), and the exhibit number, even if the exhibit is filed at a later docket entry.

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18 to its supplemental response demonstrate that the connection between NL and the Gulf Nuclear

Sites stems only from NL’s former petroleum services business. (Docket Entry No. 52 at 3).

Tremont points out that the shipper’s address in the shipping slip in page 1 of Halliburton’s

supplemental Exhibit 18 is 3000 North Belt, Houston, Texas. (Id.). This is the “North Belt facility,”

which Tremont asserts was the headquarters of NL’s petroleum services business. (Id.). Tremont

states that the North Belt facility was transferred to Halliburton as a result of the restructurings and

mergers that began in 1988. (Id.). Tremont submitted a recent photograph of the entrance to the

facility at the North Belt address, showing a sign with Halliburton’s name. (Id., Ex. A).44

        Tremont points out that page 2 of Halliburton’s supplemental Exhibit 18 is a memorandum

of a bill of lading. (Docket Entry No. 52 at 3). Tremont notes that the shipping address appears to

have previously stated “NL McCullough,” but this has been crossed out and “System Tech.” has

been inserted in its place. (Id.). Tremont asserts that the receiving party’s address is the truck

entrance for the North Belt facility that Halliburton acquired as a result of the restructurings.45 (See

id. at 4; see also id., Ex. B).46 Tremont argues that this shows that System Tech. was located at the


44
   Because the exhibits associated with Tremont’s reply are numerous and lengthy, they span more than one
docket entry. For ease of reference, this opinion cites to these exhibits by citing to the docket entry number
for the reply, (Docket Entry No. 52), and the exhibit letter, even if the exhibit itself is filed at a later docket
entry.
45
   Tremont also argues that this shipping slip only shows a shipment from Gulf Nuclear to System Tech.,
which could show a business relationship but not a shipment of waste to Gulf Nuclear. (Docket Entry No.
52 at 4 n.1).
46
    Halliburton objects to Exhibits A and B, arguing that the photographs are irrelevant to whether the
shipments to or from the North Belt facility were related solely to NL’s petroleum services business because
the same address was also previously used for Tremont’s operations. (Docket Entry No. 62 at 2). Halliburton
submits a letter dated December 13, 1990 from Tremont Corporation to the New York Stock Exchange, which
lists the address of the North Belt facility as Tremont Corporation’s address in the letterhead. (Id., Ex. A at
1). This letter does not make the photographs Tremont submitted irrelevant. The photographs Tremont
submitted showing that Halliburton, the successor to NL’s petroleum services business, now operates at the
facility that sent shipments to, or received shipments from, the Gulf Nuclear Sites, is relevant to whether the

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headquarters of NL’s former petroleum services business. (Docket Entry No. 52 at 4). Tremont

asserts that page 3 of Exhibit 18 is the packaging slip that accompanied the memorandum of bill of

lading, and notes that the shipping address is also the truck entrance for the North Belt facility. (Id.).

Similarly, Tremont argues that page 4 of Exhibit 18 (a certificate of leak test), and page 5 of Exhibit

18 (a source certification certificate), both show the customer as System Tech. at the address that

is now the truck entrance for Halliburton’s North Belt facility. (Id.).

        With respect to page 6 of Halliburton’s supplemental Exhibit 18 (a receiving log), Tremont

points out that the entry for NL lists the materials received as “camera castings,” which Tremont

asserts were used in the petroleum services business to “view down into oil wells.” (Id. at 4–5).

Tremont submitted a statement by Paul Nixon, a former Gulf Nuclear employee, explaining that

Gulf Nuclear’s “radiography lab manufactured primary ‘pigtails,’ which are a type of sealed source

that connects to a cable with the camera attached.” (Docket Entry No. 41, Ex. 11 at 3). It is not

clear from Nixon’s statement that the “pigtails” were used specifically in oil wells. Halliburton

points to the deposition of Elick Acree, the former president of Gulf Nuclear, who testified that

camera castings were used in the radiography field, not the oil service field. (See Docket Entry No.

62, Ex. D, Deposition of Elick Acree at 442:12–443:11). Acree testified as follows:

                Q.      . . . I saw camera castings listed on one of these documents.
                        What’s that?

                A.      What?

                Q.      Camera casting. Do you know what that is?



shipments involved NL’s prior petroleum services business. See FED. R. EVID. 401 (“‘Relevant evidence’
means evidence having any tendency to make the existence of any fact that is of consequence to the
determination of the action more probable or less probable than it would be without the evidence.”).
Halliburton’s objection is overruled.

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               A.      Yes. Uranium camera casting, yes.

               Q.      Did GNI accept those for disposal?

               A.      Probably. Yes. If it’s there, I did not. I was looking more at
                       the address. I did not catch uranium casting in my search
                       there.

               Q.      But in general.

               A.      In general, that would be okay.

               Q.      What were camera castings used for?

               A.      Shielding of iridium-192 sources.

               Q.      Were they used in deep-well viewing or what were they used
                       for?

               A.      I don’t know of an application as far as a shielding in a wire
                       line tool or anything like that. If you said uranium casting for
                       shielding, I would think of those radiography sources.

               Q.      But it was something that you used in the petroleum services?

               A.      In the radiography field. Not in the oil service field, but the
                       radiography field.

(Id., Ex. D, Deposition of Elick Acree at 442:12–443:11). Halliburton argues that the fact that NL

sent camera castings to Gulf Nuclear on at least one occasion, (see id., Ex. E (receiving log for Gulf

Nuclear stating that NL sent camera castings as waste)), is evidence that NL has a connection to

Gulf Nuclear outside its petroleum services business, (Docket Entry No. 62 at 10).

       The excerpt from Acree’s deposition shows only his understanding that camera castings were

used in the radiography field. The excerpt does not discuss whether radiography could be a subset

of petroleum services operations. At least one plausible reading of Acree’s testimony is that

although he did not know of an independent use of camera castings in the oil services field, he


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thought they could be used for radiography purposes within that field. Acree’s testimony does not

address whether NL used camera castings in any part of its business other than its petroleum services

business. His testimony does not create an issue of material fact.47

        With respect to page 7 of Halliburton’s supplemental Exhibit 18, Tremont argues that the

only NL entities named on this receiving log are NL MWD (“measurement-while-drilling”) and NL

47
   A portion of Gulf Nuclear’s 1983 annual report, submitted in connection with NL’s motion for partial
summary judgment, indicates that camera castings were used in radiography in connection with petroleum
or oil field businesses. The annual report states:

                Radiography. The Company is also a manufacturer of radiation sources
                employed by industry for application in radiography. Radiography is a
                nondestructive testing process in which exposures of the internal structures
                of objects are revealed on specialized film by use of radiation, such as x-
                rays or gamma rays. Among other uses, the Company’s sources are
                employed in the radiographic inspection of welds on pipelines to detect
                flaws and weaknesses, an inspection required by law to be made
                periodically. These sources are also used in the inspection of refineries’
                forgings, pipes and fittings to detect fractures and other flaws. In addition,
                the Company’s sources are employed by radiographers to detect flaws in,
                among other things, ships, power reactors, buildings, bridges, pressure
                vessels, valves and aircraft engines.

                The radiography capsules and accompanying connective devices are
                contained in and used with shields referred to within the radiography
                industry as “cameras.” The company has the manufacturing capability to
                construct sources employing capsule and connector designs for most
                cameras currently being marketed. As a complement to its manufacture of
                radiography sources, the Company manufactures cameras of its own design.
                In addition to cameras for sources, the Company manufactures other
                equipment for the safe use of the radioisotope sources.

(Docket Entry No. 64, Ex. 6 at 6 (emphasis added)). Although this annual report was submitted in connection
with NL’s motion for summary judgment and not with Tremont’s motion, this court can consider it as
summary judgment evidence. See FED. R. CIV. P. 56(c)(2) (“The judgment sought should be rendered if the
pleadings, the discovery and disclosure materials on file, and any affidavits show that there is no genuine
issue as to any material fact and that the movant is entitled to judgment as a matter of law.” (emphasis
added)).
        The quoted portion of the annual report further confirms the conclusion that Acree’s reference to
camera castings used in the radiography field is insufficient to create a genuine issue of material fact. In
addition, Tremont points out that the EPA has never indicated that it is seeking recovery based on radiography
in the underlying EPA lawsuit, and that the EPA has stipulated that it is not making a claim for
“radiography.” (Docket Entry No. 80 at 9).

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McCullough, both part of NL’s historical petroleum services business. (Docket Entry No. 52 at 5).

With respect to page 8 of Halliburton’s supplemental Exhibit 18 (a receiving log stating that NL

shipped depleted uranium), Tremont points out that depleted uranium was used in the petroleum

services business, that the radioactive material identified in the NL McCullough/Gulf Nuclear

shipping tickets/nexus documents includes depleted uranium, and that depleted uranium has been

used by wireline logging companies such as NL McCullough. (Id. at 6 (citing Docket Entry No. 41,

Ex. 38 (Stephen Prensky, Recent Advances in Well Logging and Formation Evaluation,

WORLDOIL.COM – ONLINE MAGAZINE, Mar. 2008))).

        Halliburton responds that the fact that depleted uranium may have been used by wireline

logging companies does not mean that it is not used for other purposes. (Docket Entry No. 62 at 8).

Halliburton points out that depleted uranium was used by NL’s nuclear division. (Id. at 8 (citing id.,

Ex. C at 15 (NL’s 1972 annual report, noting that NL’s nuclear division handled depleted uranium);

id., Ex. F)).48 Halliburton asserts that the depleted uranium listed in the receiving log as being

received from NL creates a fact issue as to whether the depleted uranium came from NL’s petroleum




48
   Exhibits F and G have been submitted with Halliburton’s motion for leave to file the exhibits under seal.
(Docket Entry No. 63). Halliburton has asked that these exhibits be filed under seal because Tremont
designated these documents as “Confidential Information” under the parties’ Confidentiality Agreement.
This court will not file material under seal based only on the parties’ agreement because there is a
presumptive right of public access to judicial records. See Citizens First Nat’l Bank of Princeton v.
Cincinnati Ins. Co., 178 F.3d 943, 945 (7th Cir. 1999) (noting that a “judge is the primary representative of
the public interest in the judicial process and is duty-bound therefore to review any request to seal” and may
not simply “rubber stamp a stipulation to seal the record”); see also Sec. & Exchange Comm’n v. Van
Waeyenberghe, 990 F.2d 845, 848 (5th Cir. 1993) (“In exercising its discretion to seal judicial records, the
court must balance the public’s common law right of access against the interests favoring nondisclosure.”).
Tremont has not had an opportunity to make a good-cause showing to maintain these documents under seal.
Accordingly, Halliburton’s motion for leave to file these exhibits under seal is temporarily granted. This
court has considered, but refrained in this opinion from discussing the contents of, the exhibits filed under
seal. However, the seal on the exhibits and on Halliburton’s motion for leave will be lifted seven days
after this opinion is filed unless Tremont moves within that time to maintain them under seal.

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services    business     or   whether      it   came     from    one     of   NL’s     other    divisions.49


49
    In a later supplement to its motion for partial summary judgment, Tremont asserts that the alleged
connection between NL and the Gulf Nuclear Sites involving depleted uranium was through a January 7,
1985 shipping ticket for the disposal of a depleted uranium sinker bar. (Docket Entry No. 67 at 3). Tremont
submits a shipping ticket showing depleted uranium shipped from NL McCullough to Gulf Nuclear. (Id., Ex.
C). Tremont previously submitted this shipping ticket with its original brief. (See 2005 Case, Docket Entry
No. 247, Ex. II at 2). The shipping ticket was written by “Slade.” (Docket Entry No. 67, Ex. C). Tremont
notes that George Slade was an NL employee when the shipping ticket issued and is now a HESI employee.
(Docket Entry No. 67 at 3; see also id., Ex. D). Tremont argues that there is no evidence that Halliburton has
hired any non-petroleum services employees of NL; Slade was a former NL petroleum services employee;
and in a telephone call between Tremont’s counsel and Slade (during which Halliburton’s counsel was
present), Slade confirmed that he was unaware of any connection between any of NL’s non-petroleum
services businesses and the Gulf Nuclear Sites. (Docket Entry No. 63 at 3–4).
          Tremont submitted an affidavit from Slade in the EPA lawsuit. In the affidavit, Slade states that
when he worked for NL from 1972 or 1973 through 1986, he was based out of the North Belt facility.
(Docket Entry No. 68, Ex. C, ¶ 5). Slade states that all his job responsibilities at NL were related to the oil
and gas industry. (Id., Ex. C, ¶ 5). Slade states that after 1986, he was laid off for 18 months and then rehired
by NL’s subsidiary, Sperry-Sun. (Id., Ex. C, ¶ 5). Slade also states that although the NL McCullough
shipping ticket he wrote shows that a sinker bar was sent to Gulf Nuclear, he is confused by the ticket because
NL used sinker bars to help the logging tool sink to the bottom of a well, and that by the time NL used the
sinker bars, they had already lost their radioactivity. (Id., Ex. C, ¶ 3).
          Halliburton “objects to Tremont’s misstatement regarding the import of George Slade’s declaration.”
(Docket Entry No. 69 at 10). Halliburton argues that a statement in Tremont’s brief that Slade confirms that
there is no non-petroleum services business connection between NL and the Gulf Nuclear Sites “is a
mischaracterization of Mr. Slade’s actual testimony[,] which fails to eliminate any connection between NL’s
non ‘petroleum services’ operations and the Gulf Nuclear Sites.” (Id.). Although Halliburton characterizes
this as an evidentiary objection, it is in fact a legal argument opposing Tremont’s brief. This court
understands Tremont’s statement in its brief to argue that Slade is another witness who is unaware of any
connection between NL’s non-petroleum services business and the Gulf Nuclear Sites.
          However, even accepting Tremont’s argument that HESI’s employment of Slade means that the
shipping ticket does not provide evidence of any involvement by NL’s non-petroleum services operations,
that shipping ticket is not the only evidence Halliburton has submitted showing NL’s connection to the
transfer of depleted uranium to the Gulf Nuclear Sites. In Halliburton’s surreply to Tremont’s reply in
response to Halliburton’s supplemental response to Tremont’s motion for partial summary judgment,
Halliburton argues that page 8 of its supplemental Exhibit 18, coupled with evidence that NL’s nuclear
division used depleted uranium, creates a fact issue as to whether the depleted uranium identified in
supplemental Exhibit 18 was used by NL in connection with its nuclear division or other divisions not part
of NL’s petroleum services operations. (Docket Entry No. 62 at 8). Page 8 of Halliburton’s supplemental
Exhibit 18 is a receiving log, presumably for one of the Gulf Nuclear Sites (Halliburton’s counsel’s affidavit
states that Exhibit 18 contains true and correct copies of shipping records made to and/or from the Gulf
Nuclear Sites). The log lists NL as a shipper of depleted uranium. (Docket Entry No. 50, Ex. 18 at 8). This
is a different shipping record than the shipping slip Slade wrote. Tremont’s supplemental response does not
address the receiving log at page 8 of Halliburton’s supplemental Exhibit 18. But as discussed later in this
opinion, this receiving log does not create a factual dispute as to whether NL’s only connection to the Gulf
Nuclear Sites was through its petroleum services business.
          Halliburton also points out that the shipping ticket written by Slade is dated 1985, before the 1988

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(Docket Entry No. 62 at 8).

        Finally, with respect to page 9 of Halliburton’s supplemental Exhibit 18 (a receiving log

listing NL Tech as a customer), Tremont points out that NL Tech’s address is now the truck entrance

for Halliburton’s North Belt facility. (Docket Entry No. 52 at 6).

        In response to Tremont’s arguments, Halliburton argues that its ultimate ownership of the


restructuring, and lists N.L. McCullough Q.A. as the shipper. (Docket Entry No. 69 at 16). According to
Halliburton, because NL sold the McCullough Division to Western Atlas before the 1988 restructuring, the
liabilities associated with that division did not transfer to Halliburton. (Id. at 16, 17). This argument is
addressed later in this opinion because it does not relate to the factual issue of whether NL’s non-petroleum
business had any connection with the Gulf Nuclear Sites.
          Halliburton also argues that because Slade disclaims knowing why a uranium sinker bar would have
been sent to Gulf Nuclear when “NL’s use of sinker bars was not for radioactive purposes, but for weighting
purposes,” (Docket Entry No. 68, Ex. C, ¶ 3), his declaration raises a question as to where the uranium sinker
bar originated “since a sinker bar from the ‘petroleum services business’ would not be radioactive and would
not have been sent to Gulf Nuclear for disposal,” (Docket Entry No. 69 at 17). However, the fact that Slade
does not remember the reason for shipping a particular item nearly 25 years earlier, particularly in view of
the fact that Halliburton has not presented evidence connecting NL’s non-petroleum services business to the
Gulf Nuclear Sites, is not sufficient to create a fact issue.
          This conclusion is supported by Gulf Nuclear’s 1983 annual report, which NL submitted with its
motion for summary judgment. The report explains the use of depleted uranium in sinker bars in the
petroleum or oil field business:

                The Company [Gulf Nuclear] has designed and commenced manufacture
                of a “sinker bar”, made of depleted uranium, an extremely dense and heavy
                material, for use in high pressure oil and gas wells. Sinker bars are weights
                which are employed to pull the wire line tools used in well logging down
                through fluids in oil and gas wells to the depths at which well logs and
                other tests are to be made. The Company’s sinker bars have been
                successfully tested and production models are now in use by a major
                logging and perforation company. As a result of the recession in the oil
                field supply and service industry, the demand for the Company’s sinker bars
                has been significantly reduced.

(Docket Entry No. 64, Ex. 6 at 7 (emphasis added)).
         Tremont has also submitted a patent obtained by Acree and assigned to Gulf Nuclear for a “Method
of Forming Encapsulated Depleted Uranium Oil Field Tubular Member.” (See Docket Entry No. 71, Ex. D).
The Acree patent states that “[t]he present invention relates generally to oil field tubular members, and more
particularly to an encapsulated depleted uranium weighted sinker bar or drill collar and a method of making
same.” (Id., Ex. D at 5). Halliburton objects to the patent as an untimely submission. This court will
consider it because Tremont’s supplement makes clear that it learned about this patent in Acree’s deposition
in the EPA lawsuit. The deposition was not taken until after Tremont had filed its motion. (See Docket Entry
No. 71 at 6).

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North Belt facility does not establish as a matter of law that the cesium and americium listed on

Exhibit 18’s shipping slips and receiving logs had no connection to NL other than through its

petroleum services business. (Docket Entry No. 62 at 7). Halliburton asserts that its supplemental

Exhibit 18 creates a fact issue as to whether NL used its North Belt facility in connection with its

nuclear division or with its other non-petroleum services divisions. (Id.).

        To rebut this argument, Tremont has submitted the sworn declaration of Mark Morrison,

formerly NL’s Radiation Services Officer in Texas. Morrison states that the North Belt facility was

used only for NL’s petroleum services business:

                 Beginning in June 1986, I was employed by the petroleum services
                 business of NL Industries, Inc. (“NL”) as the Radiation Safety
                 Officer for NL for the State of Texas. At all times, I worked at the
                 headquarters of NL’s petroleum services business located at 3000
                 North Beltway located in Houston, Texas. To the best of my
                 knowledge, the only operations at the 3000 North Belt facility were
                 petroleum services business operations. To the best of my
                 knowledge, no non-petroleum services business operations of NL
                 were conducted at the 3000 North Belt facility.

(Docket Entry No. 68, Ex. B, ¶ 2).50 Morrison also states that he is not aware of any NL

50
    Halliburton has objected to all the evidence submitted with Tremont’s second, third, and fourth
supplements to its motion for partial summary judgment, (Docket Entry Nos. 67, 68, 71). (See Docket Entry
Nos. 69, 72, 73). Halliburton argues that the evidence is untimely filed because the local rules provide twenty
days for a response to a motion before it is submitted to the court, the federal rules require an affidavit
supporting a motion to be served with the motion, and the local rules require evidence to be filed with a
motion or response. (See Docket Entry No. 69 at 4). Halliburton contends that “[r]ead together, these rules
require Tremont to seek leave of court to file the supplemental evidence.” (Id.).
        Tremont moved to supplement the record, seeking leave to file its previous supplements and to file
an additional supplement. (Docket Entry No. 70). Tremont points out that the supplemental evidence it has
submitted is new information that became available in discovery in the EPA lawsuit, that Halliburton has the
same counsel in this case and in the EPA lawsuit, that Halliburton’s counsel participated in all the discovery
in the EPA lawsuit, and that Tremont did not delay in filing the record supplements when new information
became available. (See id. at 1, 3).
        Halliburton responded that this court stayed discovery into issues other than the Gulf Nuclear Sites,
that Tremont has improperly conducted one-sided discovery, and that Halliburton has been unable to pursue
discovery to defend against Tremont’s supplements. (Docket Entry No. 72 at 2). Halliburton contends that
Tremont’s supplements are untimely because discovery into whether liabilities associated with the Gulf

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Nuclear Sites stem from NL’s former petroleum services business was completed in January 2009. (Id.).
Halliburton argues that the evidence submitted with Tremont’s fourth supplement does not justify granting
leave. (See id. at 4–9).
         Tremont responded with a motion for leave to file a response to Halliburton’s objections to
supplementation under seal. (Docket Entry No. 74). Tremont seeks to maintain its response under seal
because it refers to materials produced and designated by Halliburton as “Confidential” under the parties’
confidentiality agreement. Halliburton opposes Tremont’s motion, arguing that the motion improperly seeks
to file Tremont’s entire response and all exhibits under seal when only parts of the response are designated
as “Confidential.” (Docket Entry No. 77). Even though Tremont’s motion seeks to protect Halliburton’s
claim of confidentiality, Halliburton makes no attempt in its response to identify which portions of Tremont’s
filing are confidential or to justify confidentiality. Instead, Halliburton asks this court to deny Tremont’s
motion for leave, and states that “[i]f Tremont subsequently files a narrowly tailored motion for leave, HESI
will respond at that time.” (Id. at 3–4).
         Tremont has filed a reply in which it states that Halliburton has now agreed that the documents it
stamped as “Confidential” need not be filed under seal. (Docket Entry No. 79). Tremont filed an unsealed
version of its response to Halliburton’s objections to supplementation, (Docket Entry No. 80), and agrees that
its motion for leave to file under seal is moot, (Docket Entry No. 79). Tremont’s motion for leave is denied
as moot.
         Both the local and federal rules permit this court to exercise its discretion to consider evidence filed
as a supplement. See FED. R. CIV. P. 56(e) (“The court may permit an affidavit to be supplemented or
opposed by depositions, answers to interrogatories, or additional affidavits.”); S.D. TEX. L.R. 7.8 (“The Court
may in its discretion, on its own motion or upon application, entertain and decide any motion, shorten or
extend time periods, and request or permit additional authority or supporting material.” (emphasis added)).
Halliburton relies on Bernhardt ex rel. Bernhardt v. Richardson-Merrell, Inc., 892 F.2d 440 (5th Cir. 1990),
but that case is distinguishable because the Fifth Circuit found that it was not an abuse of discretion for the
district court to refuse to consider an affidavit submitted after the court had issued its summary judgment
decision. See id. at 442–44. Halliburton cites Roehrs v. Conesys, Inc., No. 07-10801, 2009 WL 1577827 (5th
Cir. Jun. 4, 2009) (unpublished), to argue that this court should not consider the evidence. But that case
simply held that the district court did not abuse its discretion in striking untimely evidence. See id. at *4.
Roehrs does not support the argument that a court lacks discretion to consider supplemental evidence. Here,
ongoing developments in the related litigation, in which both Tremont and Halliburton are involved and
represented, has provided additional evidence relevant to this matter. Tremont points out that Halliburton
filed a document in March 2009 that noted that discovery related to the Gulf Nuclear Sites “has been
ongoing” and that “[t]he parties continue to exchange documents relevant only to the Gulf Nuclear portion
of the New Claims.” (Docket Entry No. 80 at 2 (quotation marks omitted)). Halliburton’s untimeliness
objection is overruled.
         Halliburton’s objection to the supplemental evidence based on the argument that discovery has been
“stayed” since January 16, 2009 is also unpersuasive. Much of the supplemental evidence was obtained in
the underlying EPA lawsuit, and came from depositions and interviews at which Halliburton’s counsel in this
case was present. (See Docket Entry No. 67 at 1–2 (stating that Halliburton’s attorney in this case was present
at the deposition of Lynn Williams in the EPA lawsuit and that Gregory Fife was deposed by Halliburton in
the EPA lawsuit); Docket Entry No. 68 at 3, 6 (stating that George Slade’s declaration was reviewed and
modified by Halliburton’s counsel in this case, and that Halliburton’s counsel in this case was present at the
deposition of Michael Jaschek in the EPA lawsuit)). The declarations of Mark Morrison, Ronnie Barrett,
Steve McCollum, Jon Bailey, and Theodore Rahon were obtained in the EPA lawsuit, in which both
Halliburton and Tremont are involved. Halliburton is not prejudiced by the use of the declarations obtained

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business, other than the petroleum services business, having any connection to the Gulf Nuclear

Sites.51 (Id., Ex. B, ¶ 11).52

        Tremont has also submitted the affidavit of Patrick M. Murray, who worked for NL, then Old



in the EPA case because Halliburton is represented in that action as well. It is not clear whether Frank
Vavricka’s declaration was obtained in the EPA lawsuit, but Halliburton waited over a month and a half
before objecting to the supplemental evidence. (See Docket Entry No. 69). Whether the Vavricka declaration
was obtained in this litigation or the EPA lawsuit, Halliburton is not prejudiced by having it included in the
summary judgment record.
        Tremont’s motion to supplement, (Docket Entry No. 70), is granted.
51
    Halliburton objects to Morrison’s declaration, arguing that it lacks foundation and calls for a legal
conclusion because it “provides no factual basis for any knowledge [Morrison] might have outside the alleged
‘petroleum services’ business group,” and “[r]egarding the nature and scope of operations at the 3000 North
Belt Facility, Mr. Morrison prefaces his declaration with ‘to the best of my knowledge,’ far from a conclusive
and unequivocal statement regarding petroleum services business.” (Docket Entry No. 69 at 9). Morrison’s
description of the basis for his knowledge provides an adequate foundation. (See Docket Entry No. 68, Ex.
B). The fact that Morrison prefaces some of his conclusions by stating “to the best of my knowledge” does
not make the declaration inadmissible. Such a phrase can make a declaration inadmissible in some
circumstances. See Brown v. Pattison, No. 2:01-CV-0411, 2004 WL 1490302, at *4 (N.D. Tex. Jul. 1, 2004)
(finding that a declaration that included the phrase “to the best of my knowledge” was inadmissible because
“[t]he thrust of the statutory provision for unsworn declarations is to require the declarant to examine his own
representations and state clearly and unequivocally that he has personal knowledge of their truth and accuracy
and that they are both true and accurate,” and that the “[p]laintiff’s attempt to preserve room for uncertainty
concerning the veracity of his statements defeats his unsworn declarations . . . ”), report and recommendation
adopted, 2004 WL 1773652 (N.D. Tex. Aug. 5, 2004), aff’d sub nom. Brown v. Barnhill, 191 F. App’x 281
(5th Cir. 2006). But the phrase in Morrison’s declaration simply limits the scope of his knowledge. See
Booth v. Intertrans Corp., No. 94-2359, 1995 WL 324631, at *5 (E.D. La. May 26, 1995) (overruling an
objection based on lack of personal knowledge and explaining that “[t]he qualifying clause ‘To the best of
my knowledge’ limits the scope of the statement to matters within plaintiff’s personal knowledge”).
         Halliburton also objects to Morrison’s declaration by arguing that the use of the term “petroleum
services” business in the declaration is inappropriate because the declaration does not show that Mr. Morrison
has knowledge of the 1988 and 1990 Plans. Morrison’s declaration reflects his understanding of NL’s
business operations and does not contain legal conclusions about whether those operations involved
“petroleum services” operations under the relevant contracts.
         Halliburton’s objections to Morrison’s declaration are overruled.
52
   In connection with NL’s reply in support of its motion for partial summary judgment—which also appears
to address Halliburton’s surreply regarding supplemental evidence filed in opposition to Tremont’s motion
for partial summary judgment—NL submitted the affidavit of Ken Kotara, who was Assistant Corporate
Controller of NL in 1987, Acting Controller of NL and Old Baroid in 1988 and 1989, Controller of Old
Baroid from 1989 until the effective date of the 1990 Plan, and Controller of New Baroid in 1990. (See
Docket Entry No. 64, Ex. 13, ¶ 2). Kotara states that during this period, he always worked at the North Belt
facility and that the only operations at that facility were petroleum services operations. (Id., Ex. 13, ¶ 3).

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Baroid, then New Baroid, then Dresser, and then Halliburton Company. Murray’s affidavit explains

that the North Belt facility was used only for NL’s petroleum services business:

                During the time period set forth above, I was employed at the 3000
                North Belt facility located in Houston, Texas. The operations at the
                3000 North Belt facility were petroleum services business operations.
                No non-petroleum services business operations of NL were
                conducted at the 3000 North Belt facility. The information
                technology business or research and development units that were
                located at the 3000 North Belt facility related solely to the petroleum
                services business, and were considered part of the historical
                petroleum services business of NL, and as noted above, were
                consolidated and became my responsibility when I became President
                of Sperry-Sun.

(Docket Entry No. 65, Ex. C, ¶ 4).

        Tremont also supplemented its motion with shipping records Halliburton produced on

November 10, 2009. (See Docket Entry No. 80, Ex. E). Tremont contends that these additional

documents show that Halliburton has the radioactive materials that were tested by Gulf Nuclear for

NL MWD in the past. (Docket Entry No. 80 at 7). For example, Tremont points out that the same

radioactive source was tested by Gulf Nuclear for NL MWD in September 1987, then for Sperry-Sun

in November 1990 (after the 1988 restructuring), then for Sperry-Sun in April 1991 (after the 1990

restructuring), and then for Sperry-Sun in November 1996 (after the merger of Dresser into

Halliburton).53 (Id. at 7–8).

        Halliburton argues that Tremont’s position “ignores the relevant inquiry—which is what

former NL division the sources are linked to.” (Docket Entry No. 82 at 2–3). Halliburton also

argues that “[t]he issue raised in the Motion for Partial Summary Judgment is whether NL or HESI



53
  Tremont also points out that Halliburton’s website lists Sperry Drilling and MWD as Halliburton entities.
(See Docket Entry No. 80, Ex. F).

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is responsible for NL McCullough liabilities after a series of restructurings, sales and purchases in

the 1980s and 1990s.” (Id. at 3). Halliburton contends that “[t]he bulk of NL’s potential Gulf

Nuclear liability appears to be associated with NL McCullough . . . ,” that “NL McCullough was

sold to Western Atlas prior to the 1988 and 1990 Plans of Restructuring,” that “NL retained the

liabilities associated with NL McCullough,” and that “Tremont wholly fails to establish whether the

sources allegedly in HESI’s possession are linked to (1) Sperry Sun, a division of Baroid

Corporation acquired by Dresser or (2) NL McCullough, a division HESI never acquired.” (Id. at

3). Halliburton argues that “[b]ecause Tremont fails to establish HESI’s current possession of any

NL McCullough sources, the evidence attached to [Tremont’s] Reply falls far short of proving that

HESI must indemnify NL for McCullough’s potential Site liabilities as a matter of law.” (Id.).

       As discussed in more detail below, the fact that Halliburton did not acquire the McCullough

Division did not prevent it from assuming the liabilities associated with that Division if those

liabilities were part of NL’s former petroleum services business. Halliburton’s possession of

radioactive materials that were tested by Gulf Nuclear for NL’s former petroleum services business

supports Tremont’s assertion that Halliburton succeeded to the part of NL’s business that sent

radioactive waste to the Gulf Nuclear Sites. In addition, the evidence that Halliburton possesses the

same sources that NL sent through its MWD Division to the Gulf Nuclear Sites is contrary to

Halliburton’s argument that the MWD Division was not part of NL’s petroleum services business

and that Halliburton did not acquire liabilities associated with that Division.

                       c.      Witness Statements and Testimony of Former Gulf Nuclear
                               Employees

       Tremont has submitted witness statements obtained by the EPA in its investigation of the

Gulf Nuclear Sites. As Tremont notes, none of these statements indicate that any division of NL was

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involved in the Gulf Nuclear Sites other than the McCullough Division. (Docket Entry No. 41 at

5–8; see also id., Exs. 8–12).

        One of the individuals who gave a statement, Paul Nixon, was subsequently deposed by the

United States Department of Justice in the EPA lawsuit. Nixon worked for Gulf Nuclear from 1976

to 1991. (Id., Ex. 11 at 1). Halliburton’s attorney in this case was present at the deposition. Nixon

testified that he was not aware of NL having any connection to any of the Gulf Nuclear Sites other

than through its petroleum services business. (See Docket Entry No. 65, Ex. D, Deposition of Paul

Nixon at 156:19–23).54 Similarly, Lynn Williams, apparently a longtime employee of Gulf Nuclear,

testified in his deposition in the EPA lawsuit that he was not aware of any connection between NL

and the Gulf Nuclear Sites other than through NL’s petroleum services business. (Docket Entry No.

67, Ex. A, Deposition of Lynn Williams at 298:10–16).55


54
  Halliburton argues that Nixon’s testimony is directly contradicted by Acree’s testimony, which concluded
that NL’s radiography operations were “not in the oil service field” and were connected with the Gulf Nuclear
Sites. (Docket Entry No. 66 at 4–5). However, as discussed earlier, Acree’s testimony does not create a
disputed fact issue as to whether NL’s connection to the Gulf Nuclear Sites was only through its petroleum
services business.
55
   Halliburton objects to Williams’s testimony, arguing that it lacks adequate foundation and calls for a legal
conclusion. (Docket Entry No. 69 at 6). Halliburton asserts that “[t]he testimony fails to establish: (1) the
identity of Mr. Williams; (2) that he has relevant knowledge; (3) the factual basis for his testimony; or (4)
that he knows anything about NL or its business practices.” (Id. (footnote omitted)). Because Halliburton
concedes that it is aware of Williams and his connection to the Gulf Nuclear Sites, and has not argued that
Tremont’s characterization of Williams’s role is incorrect, it would exalt form over substance to exclude
Williams’s testimony on this basis.
         Halliburton also objects to the use of the term “petroleum services” by Tremont’s counsel in the
deposition excerpt, arguing that the term has specific legal meanings under the relevant contracts and that
Williams’s statement that NL’s connection to the Gulf Nuclear Sites only related to petroleum services is a
legal conclusion. (See id. at 7). The deposition excerpt Tremont submitted reflects Williams’s understanding
of NL’s connection to the Gulf Nuclear Sites and is not a legal conclusion about whether that connection
involved “petroleum services” operations under the relevant contracts. Halliburton’s objection on this ground
is overruled.
         Halliburton also asserts that Williams’s testimony does not eliminate a nexus between NL’s non-
petroleum services businesses and the Gulf Nuclear Sites. Halliburton argues that “an equally plausible
inference from the offered testimony is that Mr. Williams . . . [has] no knowledge of NL’s business at

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        Tremont has also submitted deposition testimony of Michael Jaschek, a former Gulf Nuclear

employee. Jaschek testified that he was not aware of any NL business other than the petroleum

services business having any connection with the Gulf Nuclear Sites. (Docket Entry No. 68, Ex. H,

Deposition of Michael Jaschek at 495:21–496:1). Jaschek also testified that he was not aware of

Gulf Nuclear and NL doing any type of business together other than well logging-type businesses.56

(Id., Ex. H, Deposition of Michael Jaschek at 496:2–5).57



all—whether medical, industrial, nuclear, or oil and gas.” (Id. at 14). Halliburton points out that Williams
was only asked about a connection between NL and a single Gulf Nuclear Site. (Id. at 15). While Williams’s
testimony alone cannot establish that there is no connection between NL’s non-petroleum services business
and the Gulf Nuclear Sites, it does show that Williams, a Gulf Nuclear employee, had no knowledge of such
a connection.
        Halliburton also argues that Williams’s testimony is contradicted by Acree, who testified that NL’s
radiography operations, which were “‘not in the oil service field[,]’ were connected to the Gulf Nuclear
Sites.” (Id.). However, as discussed earlier, Acree’s testimony does not create a disputed fact issue about
whether NL’s connection to the Gulf Nuclear Sites was only through its petroleum services business.
        Halliburton’s objections are overruled.
56
   Halliburton objects to Jaschek’s deposition testimony, asserting that it lacks adequate foundation and calls
for a legal conclusion because it “fails to establish: (1) the identity of Mr. Jaschek; (2) that he has relevant
knowledge; (3) the factual basis for his testimony; or (4) that he knows anything about NL or its business
practices.” (Docket Entry No. 69 at 13 (footnote omitted)). However, Halliburton concedes that it “is aware
of Mr. Jaschek’s identity and his alleged connections with the Gulf Nuclear Sites,” and states that it makes
this objection “in order to point out Tremont’s complete failure to properly prove up Mr. Jaschek’s testimony
for the Court.” (Id. at 13 n.7). Tremont describes Jaschek as a long-time Gulf Nuclear employee and notes
that Halliburton’s counsel in this case was present at his deposition in the underlying EPA lawsuit. (Docket
Entry No. 68 at 6). Halliburton has not argued that Tremont mischaracterized Jaschek’s role. Halliburton
also objects to the use of the term “petroleum services” by Tremont’s counsel in the deposition. (See Docket
Entry No. 69 at 13). The portion of Jaschek’s testimony submitted by Tremont reflects Jaschek’s
understanding of NL’s connection to the Gulf Nuclear Sites and does not contain a legal conclusion about
whether that connection involved “petroleum services” operations under the relevant contracts. Halliburton’s
objection to Jaschek’s testimony is overruled.
57
   In NL’s reply in support of its motion for summary judgment—which also appears to address issues related
to Tremont’s motion for summary judgment—NL submitted the deposition testimony from the EPA lawsuit
of Quinton Stokley, whom Tremont contends is a long-term Gulf Nuclear employee, stating that he was
unaware of any connection between the Gulf Nuclear Sites and NL other than through NL McCullough. (See
Docket Entry No. 64, Ex. 4, Deposition of Quinton Stokley at 235:3–10). NL also submitted the deposition
testimony of Michael Bodmer, whom Tremont contends was employed by Gulf Nuclear for over 20 years,
stating that he was unaware of any divisions of NL connected to the Gulf Nuclear Sites other than NL
McCullough and Petro-Log and that he was unaware of any business of NL not related to the petroleum

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                         d.       NL Annual Reports

        Tremont has submitted NL’s annual reports for many of the years between 1969, when the

McCullough Division was acquired and integrated into the Baroid Division, through 1987, when the

McCullough Division was sold to Western Atlas. (See Docket Entry No. 41, Ex. 33).58 The annual

reports show that NL considered the McCullough Division to be part of its petroleum services

business. For example, the 1969 annual report states:

                 In July, certain assets of the McCullough Tool Company of Houston
                 and Los Angeles were acquired for $7.5 million. This company has
                 an excellent line of services to meet the needs of the petroleum
                 industry. With the talents and skills of McCullough’s people
                 integrated into the Baroid Division, National Lead now provides one
                 of the most complete lines of oil field products and services.

(Id., Ex. 33, NL’s 1969 Annual Report at 2 (emphasis added)). As another example, the 1976 annual

report states:

                 Baroid’s McCullough Services provides over 100 cased-hole wireline
                 logging and perforating services, including operations such as
                 nuclear logging and bullet and jet perforating. These services may
                 be used on a well while being drilled, for completion of a well, for
                 recompleting after a well has been in operation for some time, and
                 during workover operations. For example, McCullough Services may
                 provide nuclear and electronic logs which provide up-to-date
                 information about a wide range of downhole conditions, such as
                 formation depths and porosity, cement bonding, zone-to-zone
                 seepage, stuck pipe, and casing wear. McCullough also provides an
                 efficient line of perforating guns and accessory equipment used in
                 well completion. These perforators are used to literally shoot holes
                 in the hydrocarbon-bearing formations of a well, thus allowing the
                 well to produce more oil or gas, assuring peak production.


services business having a connection to the Gulf Nuclear Sites. (See id., Ex. 5, Deposition of Michael
Bodmer at 472:18–473:4).
58
  The annual reports span several docket entries. In citing the excerpts, this opinion refers to the year of the
annual report followed by the page number used within the report cited, if available. If the page number of
the report is not available, this opinion refers to the litigation control number.

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(Id., Ex. 33, NL’s 1976 Annual Report at 11 (emphasis added)). A photograph on the same page

of the 1976 annual report shows an oil rig, and contains a caption stating: “More than 100 wireline

logging and perforating services are available from Baroid’s McCullough Services operations.

McCullough’s self-contained units are for both land and offshore work.” (Id., Ex. 33, NL’s 1976

Annual Report at 11).

          The annual reports for 1977, 1978, 1979, 1980, 1981, 1982, 1983, 1984, 1985, 1986,59 and

1987 also list or describe the McCullough Division as part of NL’s “petroleum services”

operations.60 The McCullough Division is not listed under the “chemicals” operations or the

“metals” operations.61 The 1987 annual report notes that NL’s “operations are principally in two

business segments—chemicals, conducted by NLC, and petroleum services, conducted by NLPS.”62

The report describes the sale of NL McCullough as a sale of part of NL’s petroleum services



59
   Tremont states that by 1986, NL’s chemicals business had been spun off into a separate company, NLC.
(Docket Entry No. 41 at 36). Tremont cites Bates page 0000-NLI-000038055, but has not identified where
this page appears in the summary judgment record. This page appears to be at Docket Entry No. 41, Ex. 33,
NL’s 1986 Annual Report cover page at 0000-NLI-000038055. It is the cover page for the 1986 annual
report, which lists both NL Petroleum Services and NL Chemicals, Inc.
60
   See Docket Entry No. 41, Ex. 33, NL’s 1977 Annual Report at 0000-NLI-000037810; id., Ex. 33, NL’s
1978 Annual Report at 0000-NLI-000037846, 8; id., Ex. 33, NL’s 1979 Annual Report at 0000-NLI-
00037885; id., Ex. 33, NL’s 1980 Annual Report at 6, 10, 11, 20; id., Ex. 33, NL’s 1981 Annual Report at
15, 21; id., Ex. 33, NL’s 1982 Annual Report at 7, 12–13, 15, 20, 40; Docket Entry No. 41, Ex. 33, NL’s
1983 Annual Report at 5, 7, 12, 32; id., Ex. 33, NL’s 1984 Annual Report at 5, 31; id., Ex. 33, NL’s 1985
Annual Report at 5, 32; id., Ex. 33, NL’s 1986 Annual Report at 44; id., Ex. 33, NL’s 1987 Annual Report
at F-18.
61
  See id., Ex. 33, NL’s 1977 Annual Report at 0000-NLI-000037810; Docket Entry No. 41, Ex. 33, NL’s
1978 Annual Report at 0000-NLI-000037846; id., Ex. 33, NL’s 1979 Annual Report at 0000-NLI-
000037885; id., Ex. 33, NL’s 1980 Annual Report at 20; id., Ex. 33, NL’s 1981 Annual Report at 21; id., Ex.
33, NL’s 1982 Annual Report at 40; id., Ex. 33, NL’s 1983 Annual Report at 32; Docket Entry No. 41, Ex.
33, NL’s 1984 Annual Report at 31; id., Ex. 33, NL’s 1986 Annual Report at 32.
62
     Id., Ex. 33, NL’s 1987 Annual Report at F-18.

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operations:

              NLPS supplies a wide range of products, services and equipment to
              assist the petroleum industry in discovering and producing oil and gas
              economically. The petroleum services segment during 1987, 1986,
              and 1985 included five business units currently operated by NLPS —
              Baroid (drilling fluids and related specialized engineering services),
              NL Sperry-Sun (steering tools and directional drilling services),
              Measurement-While-Drilling, NL Shaffer (pressure control) and NL
              Atlas Bradford (premium connections); and four business units sold
              in 1987 — NL Hycalog, NL Acme Tool, NL Treating Chemicals and
              NL McCullough.

(Id., Ex. 33, NL’s 1987 Annual Report at F-18 (emphasis added)).

       The 1979 annual report describes the McCullough Division’s services as follows:

              NL McCullough provides four primary wireline services, cased hole
              logging, perforating, pipe recovery services and open hole logging.
              Cased hole logging, used in oil and gas well completion and
              workover, provides information about well conditions such as depth
              and porosity of oil and gas formations, the condition of the cementing
              between the casing and formation, the extent of seepage between oil
              and water bearing sands and the condition of the casing itself. Data
              is gathered with various sensing devices and is analyzed at the well
              site.

              Perforating services, provided by McCullough, promote the flow of
              oil and gas into the well from the formation. As wells remain in
              production, additional perforation is required to tap new petroleum-
              bearing formations after initial formations have been depleted. This
              unit also performs pipe recovery services when the operations’
              normal recovery techniques are ineffective.

              To meet steadily increasing needs for more sophisticated wireline
              services, McCullough has expanded manufacturing capacity by more
              than 75% during the past two years. During the latter part of 1979,
              McCullough began construction of a new 120,000 square foot
              manufacturing facility. In addition, 1979 research and development
              expenditures increased approximately 50%.

              With the acquisition of Basin Surveys and Petrolog, NL also achieved
              one of its major strategic objectives, to provide open hole logging
              services. Open hole logging provides information to drillers about

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                downhole conditions such as geological data, the presence of oil and
                gas formations, and downhole pressures. Results from NL’s open
                hole logging units have exceeded expectations, and it is NL’s
                intention to broaden the scope of these units both technically and
                geographically to meet the oil industry’s future needs.

(Id., Ex. 33, NL’s 1979 Annual Report at 8 (emphasis added)).

        The annual reports confirm that Basin Surveys and Petrolog, other potential connections to

the Gulf Nuclear Sites, were part of NL’s petroleum services operations.63 The annual reports also

confirm that NL’s “Measurement-While-Drilling” or “MWD” Division, which Halliburton asserts

is linked to the Gulf Nuclear Sites, was part of NL’s petroleum services operations.64 For example,

the 1980 annual report, in a section labeled “NL Petroleum Services,” states:

                Current DST projects center on the development of three state-of-the-
                art Measurement-While-Drilling (MWD) systems. The Downhole
                Recording System allows an evaluation of the formation and
                pressures whenever the drill string is removed from the hole.
                Another MWD system, identified for further prototype development,
                is Mud Pulse Telemetry which will give NL added capability in
                directional drilling safety services. The third, a Wire Telemetry
                System, utilizes sophisticated technology to effect a continuous high-
                speed data link between a bottom-hole sensor package and read-out
                equipment on the surface.

(Docket Entry No. 41, Ex. 33, NL’s 1980 Annual Report at 14). The 1984 annual report states:


63
   (See Docket Entry No. 41, Ex. 33, NL’s 1979 Annual Report at 8; id., Ex. 33, NL’s 1980 Annual Report
at 10). In addition, Basin Surveys, Inc. d/b/a NL Basin Survey, and NL Petro-Log, Inc. are listed on the
schedule of subsidiaries engaged in NL’s petroleum services business, attached to the Formation Agreement
associated with the 1988 restructuring. (See Docket Entry No. 65, Ex. B at 1, 2). The Formation Agreement
specifies that NL’s subsidiaries engaged in the petroleum services business, including, without limitation,
those subsidiaries listed on this schedule, would be transferred to NLPS. (2005 Case, Docket Entry No. 247,
Ex. J, § 1.1).
64
   See Docket Entry No. 41, Ex. 33, NL’s 1980 Annual Report at 9, 14; id., Ex. 33, NL’s 1981 Annual Report
at 7, 16; id., Ex. 33, NL’s 1982 Annual Report at 7, 15; id., Ex. 33, NL’s 1983 Annual Report at 2, 0000-NLI-
000038109, 5; id., Ex. 33, NL’s 1984 Annual Report at 7; id., Ex. 33, NL’s 1985 Annual Report at 6–7;
Docket Entry No. 41, Ex. 33, NL’s 1986 Annual Report at 6, 7; id., Ex. 33, NL’s 1987 Annual Report at 5,
7, 8, 10.

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              NL’s major petroleum service research and development effort is
              focused on developing measurement-while-drilling (MWD) products,
              which is a generic name for products that continuously collect
              downhole geological and drilling information from sensors located
              directly above the drill bit.

              Product development is aimed at the two major segments of the
              MWD market: directional MWD, which provides information on bit
              position, and multi-sensor MWD, which provides formation and
              drilling information in addition to directional data.

              In 1984, the first of NL’s MWD products, the Recorded Lithology
              Logging System (RLL), was fully commercialized through the
              Sperry-Sun/Baroid Logging Systems Division. This product
              continuously gathers downhole formation measurements, which are
              recorded for processing when the drill bit is retrieved for bit
              replacement or other reasons. This tool has been widely accepted by
              customers who recognize its unique capability to read formations
              through all different types of drilling fluids.

              NL also introduced a second generation MWD tool, the NL Mud
              Pulse Telemetry System (MPT). This tool adds to the sensors used
              in the RLL the ability to gather additional information such as
              temperature, pressure, and highly accurate bit location data. It also
              has the capability to transmit this data continuously to the surface in
              a real time mode. This system will be fully commercial by the end
              of 1985.

              Funding levels to implement full commercialization of the RLL and
              MPT and to develop subsequent generations of MWD systems are
              continuing, despite broad weakness in the petroleum service industry.
              In contrast to general industry trends, MWD services are notably
              supply constrained, enjoying strong worldwide demand.

(Id., Ex. 33, NL’s 1984 Annual Report at 7 (emphasis added)).

                     e.      NL Board Minutes

       Tremont has submitted the minutes of NL’s executive committee meeting from November

2, 1977. The minutes state that an appropriation request of over $3 million was approved for

“PETROLEUM SERVICES; NL Baroid Division; Baroid & McCullough . . . .” (Id., Ex. 34 at 1).


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The minutes from a December 9, 1977 meeting of NL’s executive committee note approval of

appropriation requests for “petroleum services,” including a request for over $1.5 million for “NL

Baroid Division, McCullough Services; . . . .” (Id., Ex. 35 at 1). The minutes from a May 24, 1978

meeting of the executive committee of NL’s board of directors state: “The Chairman said that the

first order of business was to consider an appropriation request of Petroleum Services for $1,746,450

for the construction of 18 replacement wireline trucks at NL McCullough, Houston, Texas.” (Id.,

Ex. 36 at 1).

                         f.       The Public Record

          Tremont points out that in Fontenot v. AWI, Inc., 923 F.2d 1127 (5th Cir. 1981), the Fifth

Circuit referred to the McCullough Division as an “oil field service company.”65 The Fontenot case

stated:

                 Fontenot started with N.L. McCullough, an oil field service company,
                 in 1971 . . . . At some point between 1971 and 1988, Western Atlas
                 acquired N.L. McCullough. With the acquisition, Fontenot became
                 an employee of Western Atlas, continuing his work as a wireline
                 operator. At the time of the accident in 1988, Fontenot was still
                 working as a wireline operator for Western Atlas, and held the title
                 “Pipe Recovery Specialist”.

(Docket Entry No. 41, Ex. 37 at 2). Tremont also points out that in another case, an entity called

McCullough-Baroid Petroleum Service NL Industries was the appellant. See McCullough-Baroid

Petroleum Serv. NL Indus. v. Sexton, 618 S.W.2d 119 (Tex. Civ. App.—Corpus Christi 1981, writ

ref’d n.r.e.).


65
   Fontenot was a maritime tort case. The opinion begins: “Joseph B. Fontenot and his wife, Ann Fontenot,
sued his employer, Western Atlas International, Inc. (‘Western Atlas’), and others, under the Jones Act and
general maritime tort principles, for injuries that he sustained while off-loading his tool box from a crew boat
that was docked in navigable waters at Motto’s Landing in Buras, Louisiana.” (Docket Entry No. 41, Ex. 37
at 2). The court noted that there was no dispute concerning the material facts before describing N.L.
McCullough as an oil field service company. (Id., Ex. 37 at 2).

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                      g.      Halliburton’s Discovery Responses

       Tremont argues that Halliburton’s discovery responses do not identify a single transaction

connecting anything other than the former petroleum services business of NL to the Gulf Nuclear

Sites. In its response to Tremont’s Interrogatory No. 1, which asked for facts supporting

Halliburton’s denials of requests for admission, Halliburton stated that besides NL itself, NL MWD

and NL Tech are identified in the Gulf Nuclear receiving logs. (Docket Entry No. 41, Ex. 14 at 4).

Tremont asserts that in response to Tremont’s Rule 30(b)(6) deposition notice to Halliburton, which

sought documents supporting the contention that a claim against NL or Tremont for liability at the

Gulf Nuclear Sites arose out of a source other than NL’s former petroleum services business, (id.,

Ex. 15 at 2), Halliburton produced nothing. (Docket Entry No. 41 at 9). Tremont also points out

that Halliburton’s Rule 30(b)(6) witness, Stuart Kemp, who is an environmental attorney for

Halliburton in charge of the Gulf Nuclear Sites, was asked in his deposition whether he was aware

of any NL liability deriving out of anything other than NL’s former petroleum services business.

(Id. at 9–10). Kemp testified as follows:

               Q.     So just -- I want to make sure that we’re on the same pages
                      [sic].

                              You think it’s possible, but you can’t point to any
                      specific evidence to show that there’s any connection
                      between something other than the petroleum service
                      business?

               A.     I think it’s possible, but I can’t show any evidence that it’s
                      anything other than McCullough based upon the documents
                      you’ve shown me.

(Id., Ex. 16, Deposition of Stuart Kemp at 33:1–9). Tremont represents that in his deposition, Kemp

did not identify a single transaction between NL’s former chemical or metals business and the Gulf


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Nuclear Sites. (Docket Entry No. 41 at 10).

       After examining excerpts from the 1977 NL annual report, Kemp gave the following

testimony:

              Q.     And do you see where it’s divided operations into three
                     separate categories; petroleum services, chemicals, and
                     metals?

              A.     Yes.

              Q.     Okay. And do you see under the petroleum service category,
                     the McCullough Division is listed?

              A.     Yes.

              Q.     Okay. Are you aware as Halliburton’s representative of any
                     of the entities listed under chemicals or metals being
                     connected to the Gulf Nuclear Sites?

              A.     (Examines document.) I’m not aware of -- I -- I -- I have no
                     knowledge necessarily that I know exactly what NL’s
                     connection to this site is. So I -- I have not heard specifically
                     these companies because no one’s hold [sic] me what NL’s
                     connection is.

              Q.     But -- but you know that the McCullough Division is
                     connected --

              A.     Yes.

              Q.     -- correct?

              A.     Yes.

              Q.     Okay. And that’s under petroleum services; correct?

              A.     Yes, it is under petroleum services.

              Q.     But sitting here today as Halliburton’s lead lawyer for the --

              A.     Yes.


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               Q.      -- Gulf Nuclear Sites, are you aware, looking at the
                       company’s [sic] that are listed under chemicals and metals --


               A.      Yes.

               Q.      -- are you aware of any of those entities having any
                       connection to the Gulf Nuclear Sites?

               A.      I don’t recognize any of the names of these companies.

(Id., Ex. 16, Deposition of Stuart Kemp at 22:14–23:23).

                       h.      Use of Nuclear Materials in Petroleum Services Operations

       Halliburton has asserted that because nuclear wastes are identified in the Gulf Nuclear

shipping tickets, there is at least a fact issue as to whether a nuclear division of NL—as opposed to

NL’s petroleum services operations—was responsible for the wastes. Tremont points out that the

1976 annual report explained that nuclear material is used in drilling oil and gas wells:

               Baroid’s McCullough Services provides over 100 cased-hole wireline
               logging and perforating services, including operations such as
               nuclear logging and bullet and jet perforating. These services may
               be used on a well while being drilled, for completion of a well, for
               recompleting after a well has been in operation for some time, and
               during workover operations. For example, McCullough Services may
               provide nuclear and electronic logs which provide up-to-date
               information about a wide range of downhole conditions, such as
               formation depths and porosity, cement bonding, zone-to-zone
               seepage, stuck pipe, and casing wear. McCullough also provides an
               efficient line of perforating guns and accessory equipment used in
               well completion. These perforators are used to literally shoot holes
               in the hydrocarbon-bearing formations of a well, thus allowing the
               well to produce more oil or gas, assuring peak production.

(Docket Entry No. 41, Ex. 33, 1976 Annual Report at 11 (emphasis added)).

       Tremont also points out that the radioactive materials identified in the McCullough/Gulf

Nuclear shipping tickets are “depleted uranium” and “americium beryllium.” Tremont argues that


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these materials have been used routinely by wireline logging companies such as NL McCullough.66

(Docket Entry No. 41 at 44 (citing id., Ex. 38 (H. Patricia Hynes & Sardor Ibragimov, Depleted

Uranium: Questions and Answers on Its Use in War (Boston University School of Public Health,

September 2003); Stephen Prensky, Recent Advances in Well Logging and Formation Evaluation,

WORLDOIL.COM – ONLINE MAGAZINE, Mar. 2008))). The Hynes and Ibragimov article states that

“[c]ivilian [depleted uranium] is currently used in hospital irradiation shields, containers that

transport radioactive substances, wide-bodied aircraft components, and petroleum drilling

equipment.” (Id., Ex. 38 at 1 (emphasis added)). The Prensky article discusses “nuclear source

replacement” and concerns with “sources that contain more than 1 g of highly radioactive materials.

e.g., the americium-beryllium sources used in neutron-logging devices.” (Id., Ex. 38 at 8).

        Tremont also points out that Halliburton’s Rule 30(b)(6) witness, Stuart Kemp, testified in

his deposition that nuclear or radioactive materials have historically been used in the oil well drilling

business as tracers, and that americium beryllium is a nuclear or radioactive-type tracer used in

logging oil and gas wells. (Id., Ex. 39, Deposition of Stuart Kemp at 24:18–25:6). However, Kemp

also testified that he did not know of a use of depleted uranium in the oil and gas business in

connection with wells.67 (Id., Ex. 39, Deposition of Stuart Kemp at 25:7–16).




66
   Some of the annual reports refer to the use of “depleted uranium” in NL’s metals business. (See Docket
Entry No. 41, Ex. 33, NL’s 1977 Annual Report at 0000-NLI-00003781 (stating that NL’s metal operations
encompass certain fields, including depleted uranium); id., Ex. 33, NL’s 1978 Annual Report at 0000-NLI-
000037846 (same); id., Ex. 33, NL’s 1979 Annual Report at 0000-NLI-000037885 (same); id., Ex. 33, NL’s
1981 Annual Report at 21 (stating under the heading “Chemicals and Titanium Metals” that “NL is a contract
operator for a U.S. Department of Energy uranium ore concentration plant”); but see id., Ex. 33, NL’s 1980
Annual Report at 20 (listing the fields encompassed in NL’s metal operations, and not listing depleted
uranium)).
67
  When asked if he knew that depleted uranium was not used in wells in the oil and gas business, he also
answered “no.” (Docket Entry No. 41, Ex. 39, Deposition of Stuart Kemp at 25:17–18).
                                                   88
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                          i.      NL’s Nuclear Division

          Halliburton argues that NL “became involved in the nuclear industry in the late 1950’s, when

it designed and manufactured lead cask transportation systems for nuclear submarine cores on behalf

of the United States Navy’s nuclear submarine program. (Docket Entry No. 50 at 2 (citing id., Ex.

1 (NL Indus., Inc. v. United States, 12 Cl. Ct. 391, 394 (1987)))). Halliburton asserts that “NL was

also the first company to ship irradiated fuel from Canada to and from research reactors through this

country.” (Id. (citing id., Ex. 1)). Halliburton points to NL’s annual reports from 1969 through

1971, describing NL’s nuclear division as part of its “Other Industries” or “Other Products,” not part

of its “Oil Well Drilling Services” or its “Oil Well Materials and Services.”68 In 1972 and 1973, NL

considered its nuclear division to be part of its “Industrial Specialties Group,” while its oil field

services business was part of its “Chemicals Group.”69 From 1974 to 1979, NL considered its

nuclear division to be part of its metals division.70 Halliburton asserts that during this time, NL’s

68
   (Docket Entry No. 50, Ex. 2, NL’s 1969 Annual Report at 7; id., Ex. 3, NL’s 1970 Annual Report at 6, 7.)
These annual reports also indicate that depleted uranium was used in the nuclear division. For example, the
1969 annual report states that “Other Industries” includes “[n]uclear-fuel elements, fabricated depleted
uranium products. High temperature refractories: Zirconium oxides, and chemicals.” (Id., Ex. 2, NL’s 1969
Annual Report at 7). NL’s 1970 annual report states: “In the Nuclear Division new applications for depleted
uranium, a very high density metal, were made possible by the development of a new casting method called
‘Unicast.’” (Id., Ex. 3, NL’s 1970 Annual Report at 15). The 1971 annual report lists the nuclear division
under “Other Products,” as involving depleted uranium and nuclear services, and as being located in Albany,
New York. (Id., Ex. 4, NL’s 1971 Annual Report at 7). However, the 1971 and 1972 annual reports also
provide evidence that the oil well materials business involved the use of nuclear materials. (See id., Ex. 4,
NL’s 1971 Annual Report at 7 (stating that the Baroid Division under the oil well materials and services
business involved nuclear well logging and was located in Houston, Texas); Docket Entry No. 50, Ex. 5, NL’s
1972 Annual Report at 10 (listing the Baroid Division in Houston under the Chemicals Group and as
including nuclear well logging)).
69
     See id., Ex. 5, NL’s 1972 Annual Repot at 10, 12; id., Ex. 6, NL’s 1973 Annual Report at 5, 13.
70
   (See id., Ex. 7, NL’s 1974 Annual Report at 0000-NLI-000037718; id., Ex. 8, NL’s 1975 Annual Report
at 0000-NL-000037746; id., Ex. 9, NL’s 1976 Annual Report at 0000-NLI-000037774, 00000-NLI-
000037790; Docket Entry No. 50, Ex. 10, NL’s 1977 Annual Report at 0000-NLI-000037810; id., Ex. 11,
NL’s 1978 Annual Report at 0000-NLI-000037846; id., Ex. 12, NL’s 1979 Annual Report at 0000-NLI-
000037885). Halliburton asserts that the nuclear division was part of NL’s metals division through 1980.
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nuclear division did business in Texas. But the only evidence submitted in support of this statement

is an invoice from NL’s nuclear division, dated November 23, 1976, stating that lead castings and

material chemical analysis were sold to Knolls Atomic Power Laboratory in Schenectady, New York

and shipped to the South Research Institute in San Antonio, Texas. (See id., Ex. 22). As Tremont

points out, this document does not show the shipment of waste to the Gulf Nuclear Sites.71 (See

Docket Entry No. 52 at 6).

        Halliburton also points out that in October 1972, NL acquired Cambridge Nuclear

Radiopharmaceutical Corp. (“Cambridge Nuclear”) and Industrial Reactor Laboratories, Inc.

(“Industrial Reactor Labs”), which produced radiological materials used for diagnostic nuclear

medicine.72 (See Docket Entry No. 50, Ex. 5, NL’s 1972 Annual Report at 13). Halliburton argues

that the fact that NL’s nuclear services were much broader than NL McCullough’s well-logging

services creates a disputed fact issue as to whether NL’s connection to the Gulf Nuclear Sites relates



But the excerpt Halliburton submitted from the 1980 annual report does not list the nuclear division under
the metals division. (See id., Ex. 13, NL’s 1980 Annual Report at 0000-NLI-000037942). Halliburton also
asserts that beginning in 1981, NL considered its nuclear division to be part of its chemicals and titanium
metals operations. The excerpt from the 1981 annual report Halliburton submitted does not list NL’s nuclear
division under the chemicals and titanium metals operations. (See id., Ex. 14, NL’s 1981 Annual Report at
0000-NLI-000037986).
71
   Halliburton asserts that because the Gulf Nuclear Sites are in Texas, this exhibit shows a connection
between NL’s nuclear division and the Gulf Nuclear Sites. (See Docket Entry No. 62 at 8). But the fact that
NL’s nuclear division made a shipment to a research institute in San Antonio is not evidence that NL’s
nuclear division was connected to the Gulf Nuclear Sites, which are not located in San Antonio.
72
   Halliburton contends that it asked NL to produce documents related to Cambridge Nuclear and NL’s
products and services related to nuclear medicine, (see Docket Entry No. 50, Ex. 15 at 5–7), but NL produced
only certificates of incorporation for Cambridge Nuclear Corporation, Cambridge Leasing Corporation, and
Cambridge Nuclear Medicine Corporation, (see id., Ex. 16 at 2). Halliburton also asserts that NL has only
produced nuclear records specifically requested from an index of documents that Dresser returned to NL in
1997 (the “NL Index”). (See id., Ex. 16 at 1–2). Halliburton argues that most of the documents related to
NL’s nuclear division would never have been provided to Dresser in the first place, and that NL has not
produced any documents associated with its nuclear division that it retained after the Dresser/Baroid merger.
(Docket Entry No. 50 at 4).
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only to its former petroleum services business. (Docket Entry No. 50 at 4).

        In response, Tremont has submitted the declaration of Frank Vavricka, a former employee

of NL’s nuclear division.73 Vavricka states that he has no knowledge of NL’s nuclear division

disposing of waste at the Gulf Nuclear Sites or having any connection to Gulf Nuclear:

                I was employed by NL Industries, Inc. beginning in January of 1973.
                I transferred to NL’s Albany, New York plant[,] which was part of
                NL’s Nuclear Division. The Albany plant made two products: 1)
                counterweights for airplane wings; and 2) penetrator bullets for the
                United States military. The Albany plant did not make or use
                depleted uranium sinker bars. I was also involved in, and had
                responsibility for, the Wilmington, Delaware plant which was part of
                NL’s Nuclear Division. The Wilmington plant was designed to make
                transportation casks. The Wilmington plant did not make or use
                depleted uranium sinker bars. Neither plant had any involvement
                with the NL petroleum services business. All nuclear waste[]
                materials from the Albany plant was [sic] disposed of in Barnwell,
                South Carolina. I have never before heard of any company known as
                Gulf Nuclear, Inc. and I am not aware of the Albany or Wilmington
                plant[s] using any company called Gulf Nuclear, Inc. I am not aware
                of the Albany or Wilmington plants disposing of any materials in
                Odessa, Texas, or Houston, Texas.

(Docket Entry No. 68, Ex. A, ¶ 2).

        Tremont has also submitted the declaration of Theodore E. Rahon from the EPA lawsuit.

Rahon states that he was NL nuclear division’s radiation safety officer in 1977 and 1978, that he has

73
    Halliburton objects to Vavricka’s declaration, arguing that it lacks foundation and calls for a legal
conclusion because it “fails to establish anything beyond Mr. Vavricka’s limited knowledge regarding two
specific plants associated with NL’s Nuclear Division,” and “fails to establish the actual position and
responsibilities held by Mr. Vavricka and the factual basis for his knowledge regarding the disposal of waste
materials.” (Docket Entry No. 69 at 8). In his declaration, Vavricka explains that he was employed by NL,
that he transferred to NL’s Albany plant, and that he was involved in and had responsibility for the
Wilmington plant. (Docket Entry No. 68, Ex. A, ¶ 2). This is sufficient to show the basis for Vavricka’s
knowledge about the two plants where he worked; it is not necessary to describe specific job titles or detail
job responsibilities. The fact that Vavricka only stated his knowledge about two specific plants does not
make his declaration inadmissible. The declaration does not purport to state conclusions about any plants
besides those two. Halliburton also incorporates its earlier objections to the use of the term “petroleum
services.” (Docket Entry No. 69 at 8). That objection is overruled for the same reasons it was overruled in
connection with Lynn Williams’s testimony.
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no recollection of NL’s nuclear division having any connection to the Gulf Nuclear Sites in Texas,

and that NL’s nuclear division used other facilities for its radiation needs and issues. (Id., Ex. G,

¶¶ 2–3).74

        Tremont also points out that the list of subsidiaries transferred from NL to NLPS in the 1988

restructuring includes Industrial Reactor Labs. (Docket Entry No. 71, Ex. E at 1 (Subsidiaries

Schedule from the Formation Agreement, listing Industrial Reactor Labs as a subsidiary transferred

to NLPS)). Industrial Reactor Labs was then transferred to New Baroid in the 1990 restructuring.

(See id., Ex. F at 3). The Nuclear Regulatory Commission website details the history of Industrial

Reactor Labs and identifies it as a subsidiary of Cambridge Nuclear. (See id., Ex. G at 1).

Halliburton argues that Tremont fails to explain whether the liabilities of Industrial Reactor Labs

were assumed by Halliburton through New Baroid, that NL’s 1972 annual report states that

Industrial Reactor Labs and Cambridge Nuclear “‘produce[d] a variety of radiological materials used

for diagnostic nuclear medicine,’” and that Baroid was not involved in the business of nuclear

medicine. (Docket Entry No. 73 at 16). However, the schedules Tremont submitted show that

Industrial Reactor Labs, a subsidiary of Cambridge Nuclear, was transferred to Old Baroid and then


74
   Halliburton objects to Rahon’s declaration as lacking adequate foundation because “Mr. Rahon declares
that he only worked within NL’s Nuclear Division from 1977 and 1978, a small portion of the relevant time
period”; he “provides no factual basis for any personal knowledge he might have regarding NL’s Nuclear
Division outside this very limited period of time”; he “provides no foundation or factual basis for any
personal knowledge he might have about NL Nuclear Division’s waste disposal activities or policies”;
“[t]here is no evidence that he has dispositive knowledge about NL Nuclear Division’s waste disposal
activities”; and “there is no foundation for [his] statements allegedly eliminating any association between NL
and the Gulf Nuclear Sites . . . .” (Docket Entry No. 69 at 12–13). None of these arguments make Rahon’s
declaration inadmissible. First, the fact that Rahon only worked at NL’s Nuclear Division for two years does
not make the information he learned in that period inadmissible. Second, he does not state any conclusions
outside that period. Third, Rahon states that he was the Radiation Safety Officer at NL’s nuclear division;
in combination with the statement that he has personal knowledge of the matters in his declaration, this is
sufficient to show the basis for his knowledge about the waste disposal activities. Rahon’s claim that he has
no recollection of any connection between NL’s nuclear division and the Gulf Nuclear Sites is limited to his
personal knowledge. Halliburton’s objections to Rahon’s declaration are overruled.
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New Baroid through the restructurings. Halliburton does not dispute that it is the successor to New

Baroid. Halliburton has not shown a connection between Industrial Reactor Labs or Cambridge

Nuclear and the Gulf Nuclear Sites. Even if these subsidiaries ultimately did not transfer to

Halliburton, their use of nuclear materials does not create a fact issue sufficient to defeat summary

judgment.75

                         j.       EPA Claims Linking NL to the Gulf Nuclear Sites

        The complaint in the EPA lawsuit alleges that “[d]uring the period from 1971 to October

1988, GNI [,defined in the complaint as corporations related to the GNI Group, Inc., which operated

the Webster Site,] operations at the Webster Site included the manufacture, storage, reworking, and

repair of items containing radioactive materials; the collection, storage, packing, and shipping of

radioactive wastes for disposal, calibration of instruments, and preparation of radioactive tracer

materials.” (Docket Entry No. 50, Ex. 17, ¶ 29). The complaint alleges that the defendants “sent

radioactive materials, including americium, cesium, radium, cobalt, zinc, plutonium, tritium,

scandium, gadolinium, iridium, and/or iodine, to the Webster Site for repair, storage, and/or

disposal.” (Id., Ex. 17, ¶ 37). The complaint further claims that Halliburton and NL sent sealed

sources containing radioactive material to the Webster Site for reworking. (Id., Ex 17, ¶ 38).

        Halliburton asserts that cesium, which the EPA claims was sent by NL to the Gulf Nuclear


75
   Halliburton insists that it included evidence in the summary judgment record showing that parts of NL’s
business operations, other than its petroleum services business, utilized nuclear materials, and again asserts
that “Tremont refuses to produce the records associated with its ‘other’ nuclear activities and [that] it has by
no means established that HESI acquired all liabilities associated with these ‘other’ nuclear activities.”
(Docket Entry No. 82 at 3–4). But the EPA has now stipulated that it has no evidence linking NL to the Gulf
Nuclear Sites other than through NL’s former petroleum services business, and the evidence in the record
does not create a fact issue as to whether NL’s nuclear operations were involved in the waste generated at the
Gulf Nuclear Sites. Whether NL had nuclear operations separate from its petroleum services business is
irrelevant to Tremont’s motion, absent evidence that those divisions had any connection to the Gulf Nuclear
Sites. The present record contains no evidence to this effect.
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Sites, is used both in cancer treatments and in the oil industry for drilling fluids. (Docket Entry No.

50 at 5). Halliburton has submitted a letter from Spohn Hospital to the Texas Department of Health

requesting an amendment to its radioactive material license to include 1.200 mg of cesium 137 in

sealed sources for cancer treatment.76 (See id., Ex. 23). Halliburton has also presented shipping

slips and receiving logs77 purportedly showing that NL and NL Systems Technology either sent

cesium to Gulf Nuclear or received cesium from Gulf Nuclear.78 (See id., Ex. 18 at 1–5).

        Halliburton also argues that the EPA has refused to admit that only the historical petroleum

services business of NL is responsible for shipments to the Gulf Nuclear Sites. (Docket Entry No.

50 at 5). Halliburton points to the EPA’s January 12, 2009 response to an interrogatory served by

NL in the EPA lawsuit, in which the EPA stated:

                Subject to, and without waiving the foregoing general and specific
                objections, the United States responds that, based on the information
                currently available to it, the “Historic Petroleum Services Business


76
  Halliburton argues that this document shows that cesium is used in medicine, not just in the petroleum
services business. (Docket Entry No. 62 at 8). Halliburton argues that NL’s nuclear division—including the
subsidiaries Cambridge Nuclear and Industrial Reactor Labs—was involved in the radiopharmaceutical
medical field. (Id. (citing id., Ex. C, NL’s 1972 Annual Report at 12 (listing Cambridge Nuclear and
Industrial Reactor Labs as involved in radiological products for nuclear medicine))). Although Halliburton
has presented evidence that cesium is used in medicine and that the operations of some of NL’s non-
petroleum services divisions involved radiological products for nuclear medicine, it has not presented any
evidence showing that the cesium received at the Gulf Nuclear Sites from NL entities derived from NL’s
nuclear division. In addition, Tremont has presented evidence that Industrial Reactor Labs, a subsidiary of
Cambridge Nuclear, was transferred to NLPS in the 1988 restructuring and then to New Baroid in the 1990
restructuring. (See Docket Entry No. 71, Exs. E, F, G).
         This document also shows a request by the hospital to ship cancer treatment materials to Gulf
Nuclear. But, as Tremont points out, there is no evidence that this request was approved or that NL had any
relationship with this hospital.
77
   The receiving logs submitted are illegible in some places. It is difficult to tell from some of these
documents whether cesium was included in the shipments and which entity shipped the material. (See Docket
Entry No. 50, Ex. 18 at 7, 9).
78
  These are the same shipping slips discussed earlier, some of which list the shipping address as the North
Belt facility now controlled by Halliburton.
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                of NL”79 are [sic] not the only NL entities that arranged for disposal
                and/or treatment of hazardous substances at the Gulf Nuclear Sites.
                These entities include NL Technology Systems, and upon
                information and belief, NL Industries, Inc., NL Systems Technology,
                NL Baroid, and NL Baroid Technology.

(Id., Ex. 20 at 6). In response to another interrogatory asking whether the EPA is claiming that any

NL division other than the “Historic Petroleum Services Business of NL” has any connection to the

Gulf Nuclear Sites, the EPA answered “yes,” but then elaborated:

                The United States further responds that, depending upon the outcome
                of the ongoing litigation between NL Industries, Inc. and Halliburton
                Energy Services, Inc. regarding, among other matters, the Gulf
                Nuclear Sites, NL Industries, Inc. may be adjudged as having a
                connection to the Gulf Nuclear Sites. In addition, NL Bariod [sic] is
                listed as one of the “Top 10 Volume Accounts” for GNI for the
                1987/88 fiscal year. Furthermore, counsel for the United States
                contends that, regardless of NL Industries, Inc.’s transactions to
                “spin-off” its petroleum services business in the late 1980’s, NL
                Industries, Inc. remains liable as alleged in the United States’
                Complaint pursuant to CERCLA Section 107(e), 42 U.S.C. §
                9607(e).

(Id., Ex. 20 at 7). Halliburton asserts that the EPA’s discovery responses create a fact issue as to

whether NL had any involvement at the Gulf Nuclear Sites that was not attributable to NL’s historic

petroleum services business. (Docket Entry No. 50 at 5).

        Tremont responds that the EPA’s interrogatory responses do not create a fact issue about

NL’s involvement at the Gulf Nuclear Sites. Tremont argues that the NL entities the EPA lists as

potentially involved in the Gulf Nuclear Sites—NL Technology Systems, NL Industries, Inc., NL

Systems Technology, NL Baroid, and NL Baroid Technology—were all part of NL’s historical



79
   The record does not show whether “Historic Petroleum Services Business of NL” was a defined term in
NL’s interrogatories. However, “Historic Petroleum Services Business of NL” was defined in NL’s First Set
of Requests to Admit. The defined term included NL McCullough, Basin Surveys, Petrolog, and the drilling
process NL marketed as “Measurement While Drilling.” (Docket Entry No. 73, Ex. 1 at 3).
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petroleum services business. (See Docket Entry No. 52 at 8). Tremont asserts that Halliburton’s

supplemental Exhibit 18 shows that “NL Technology Systems” or “Systems Tech” was located at

the address that is now the truck entrance for Halliburton’s North Belt facility.80 (Id.). Tremont also

asserts that Halliburton has admitted that Baroid was part of the petroleum services business that

Halliburton received. (Id.). NL’s 1987 annual report states that Baroid was operated by NLPS as

part of NL’s petroleum services operations. (See Docket Entry No. 41, Ex. 33, NL’s 1987 Annual

Report at F-18). Tremont points out that the EPA has not identified any hazardous substance sent

from any division of NL other than NL’s former petroleum services business. (Docket Entry No.

52 at 8).

        In response, Halliburton points out that the EPA’s discovery responses also mentioned NL

Industries, Inc. as having a possible connection to the Gulf Nuclear Sites and that NL had many

divisions that were not part of its petroleum services operations. (Docket Entry No. 62 at 9). But

there is no evidence in the record that any division of NL other than its petroleum services business

shipped waste to the Gulf Nuclear Sites. The EPA discovery response is merely a statement “based

on the information currently available to” the EPA that NL Industries, Inc. has a connection to the

Gulf Nuclear Sites. Given the absence of any evidence that a division of NL other than its petroleum

services business sent waste to the Gulf Nuclear Sites, and given the fact that NL had both petroleum

services operations and non-petroleum services operations, the EPA discovery response does not

create a fact issue as to NL’s connection to the Gulf Nuclear Site outside its petroleum services

business.



80
  While Exhibit 18 does show the address of the truck entrance at Halliburton’s North Belt facility for
“Systems Tech,” it is not clear from the exhibit if “Systems Tech” refers to NL Technology Systems or NL
Systems Technology, which are listed as separate entities in the EPA’s interrogatory response.
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        Tremont has submitted the affidavit of Patrick M. Murray, a former employee of NL, Old

Baroid, and New Baroid who was involved in NL’s former petroleum services business. Murray’s

affidavit explains that many of the entities identified in the EPA’s interrogatory response were in

fact part of NL’s petroleum services business. Murray states:

                 [P]art of my responsibility during the time period set forth above
                 included responsibility for the following former NL petroleum
                 services business divisions or subsidiaries: Sperry-Sun, NL Logging
                 Systems, NL McCullough, NL Technology Systems, NL MWD, NL
                 Baroid Technology (sometimes known as NL Tech), Petrolog, Inc.
                 and Basin Surveys, Inc. Each of these divisions or subsidiaries had
                 operational headquarters in the 3000 North Belt facility. With the
                 possible exception of NL McCullough, which was sold to Western
                 Atlas effective December 31, 1987, all of the divisions and
                 subsidiaries mentioned herein were transferred to Old Baroid
                 effective December 31, 1987. Other than NL McCullough, these
                 same divisions and subsidiaries, including Sperry-Sun, NL Logging
                 Systems, NL Technology Systems, NL MWD, NL Baroid
                 Technology, Petrolog, Inc. and Basin Surveys, Inc., were
                 subsequently transferred to New Baroid Corporation on the effective
                 date of the 1990 Plan of Restructuring of Old Baroid.

(Docket Entry No. 65, Ex. C, ¶ 5). Murray states that to the best of his knowledge, “NL

McCullough, Sperry-Sun, NL Logging Systems, NL Technology Systems, NL MWD, NL Baroid

Technology, Petrolog, Inc. and Basin Surveys, Inc., were all part of the historical petroleum services

business of NL, and had no non-petroleum services functions.” (Id., Ex. C, ¶ 6).

         Tremont also submitted an excerpt from the deposition of Gregory Fife, the EPA’s on-scene

coordinator for one of the Gulf Nuclear Sites and the person in charge of cleanup and removal of

waste. Halliburton deposed Fife in the EPA lawsuit.81 Fife testified that he did not know of any


81
   Halliburton objects to Fife’s testimony, arguing that it “fails to establish: (1) the identity of Mr. Fife; (2)
that he has relevant knowledge; (3) the factual basis for his testimony; or (4) that he knows anything about
NL or its business practices.” (Docket Entry No. 69 at 7 (footnote omitted)). As with its objection to
Williams’s testimony, Halliburton concedes that it “is aware of Mr. Fife’s identity and his alleged connections
with the Gulf Nuclear Sites.” (Id. at 7 n.6). Tremont states in its supplemental filing that Fife was the EPA’s
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non-petroleum business of NL involved with the Webster site:

                Q.       Okay. In connection with -- let’s take your knowledge first.
                         Are you aware of there being any connection to the Gulf
                         Nuclear Webster site from any business of NL other than
                         through its former petroleum service business?

                                 Mr. Godwin: Objection. Form.

                A.       I do not know -- know that information.

                Q.       (By Mr. Herz) Okay. Is it fair to say that you have no
                         knowledge of any medical business of NL having any
                         connection to the Gulf Nuclear sites?

                A.       No, no. That’s -- that’s correct.

                Q.       You don’t have knowledge?

                A.       I do not have knowledge.

(Docket Entry No. 67, Ex. B, Deposition of Gregory Fife at 287:4–16). Halliburton has not

identified contrary evidence.82

        The EPA has stipulated that its only claim against NL for the Gulf Nuclear Sites is through


on-scene coordinator for a Gulf Nuclear Site and the person in charge of all cleanup and removal of wastes.
(Docket Entry No. 67 at 2). Halliburton has not contested this description. Tremont has established an
adequate foundation for Fife’s testimony. Halliburton also objects to the use of the term “petroleum services”
in the question posed to Fife in his deposition. (Docket Entry No. 69 at 8). This objection is overruled for
the reason the same objection was overruled in connection with Williams’s testimony.
82
   Halliburton asserts that Fife’s testimony does not eliminate a nexus between NL’s non-petroleum services
businesses and the Gulf Nuclear Sites. Halliburton argues that “an equally plausible inference from the
offered testimony is that . . . Mr. Fife [has] no knowledge of NL’s business at all—whether medical,
industrial, nuclear, or oil and gas.” (Docket Entry No. 69 at 14). Halliburton also points out that Fife was
only asked about a connection between NL and the Webster Site. (Id. at 15). Fife’s testimony alone would
not establish the absence of a connection between NL’s non-petroleum services business and the Gulf Nuclear
Sites. But the testimony does show that Fife, a government representative involved in the cleanup of the Gulf
Nuclear Sites, had no knowledge of such a connection.
         Halliburton also argues that Fife’s testimony is contradicted by Acree’s testimony that NL’s
radiography operations, which were “‘not in the oil service field[,]’ were connected to the Gulf Nuclear
Sites.” (Id. at 15). However, as discussed earlier, Acree’s testimony does not create a fact issue about
whether NL’s connection to the Gulf Nuclear Sites was only through its petroleum services business.
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NL’s former petroleum services business. The stipulation provides:

                         1. The United States stipulates and agrees that it is presently
                 contending that the subsidiaries, divisions, and business units
                 collectively referred to and known as the “Historic Petroleum
                 Services Business of NL” (as defined in NL’s First Set of Requests
                 to Admit to Plaintiff dated October 13, 200883 and also including NL
                 Technology Systems, NL Systems Technology, NL Baroid, and NL
                 Baroid Technology) are the only subsidiaries, divisions, and business
                 units of NL that generated any wastes on behalf of NL that were
                 shipped to the Gulf Nuclear Sites . . . .

                        2. The United States stipulates and agrees that it is presently
                 unaware of any evidence containing any nexus between any
                 subsidiaries, divisions, and business units of NL, other than the
                 Historical Petroleum Services Business of NL and any of the Gulf
                 Nuclear Sites.

                         3. The United States stipulates and agrees that the United
                 States’ only present contention of liability against NL with respect to
                 the Gulf Nuclear Sites is the alleged use by the Historic Petroleum
                 Services Business of NL.

                         4. The United States stipulates and agrees that at the present
                 time, it is only contending with respect to NL that the Historic
                 Petroleum Services Business of NL generated radioactive wastes that
                 were deposited at the Gulf Nuclear Sites.

(Docket Entry No. 71, Ex. A at 1–2). The stipulation is subject to the receipt of additional discovery

showing contrary information. (Id., Ex. A at 2–3). The stipulation confirms that the EPA is seeking

to hold NL liable only for the operation of NL’s former petroleum services business.84

83
   As noted above, “Historic Petroleum Services Business of NL” was defined in NL’s First Set of Requests
to Admit to Plaintiff to include NL McCullough, Basin Surveys, Petrolog, and the drilling process marketed
by NL as “Measurement While Drilling.” (Docket Entry No. 73, Ex. 1 at 3).
84
    Halliburton argues that the stipulation is inconsistent with the EPA’s denial of certain requests for
admission. These requested the EPA to admit: (1) that the Historic Petroleum Services Business of NL was
the only part of NL that generated any wastes on behalf of NL that were shipped to the Gulf Nuclear Sites;
and (2) that the EPA’s only contention of liability of NL for the Gulf Nuclear Sites was the alleged use by
the Historic Petroleum Services Business of NL. (Docket Entry No. 73 at 3, 7). Halliburton objects to the
stipulation as untimely, not binding on the parties to this case, and not a binding stipulation of fact or position
in the EPA lawsuit. (Id. at 2, 7). Halliburton also objects because NL and the EPA have agreed not to rely
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                         k.    Affidavits and Declarations of Former NL Employees Stating that
                               NL’s Connection to the Gulf Nuclear Sites Was Through Its
                               Petroleum Services Business

        The affidavit of Patrick M. Murray supports the inference that NL’s connection to the Gulf

Nuclear Sites was only through its petroleum services business. Murray served as Acting Controller

of NL beginning in November 1987, Controller of NL beginning in February 1988, Vice President

of Old Baroid after the 1988 restructuring, Vice President of New Baroid beginning in 1990, and

a senior executive after Dresser and then Halliburton Company acquired NL’s former petroleum

services business. (Docket Entry No. 65, Ex. C, ¶ 2). Beginning in mid-1988, Murray was also

President of Sperry-Sun, Inc., “one of NL’s key petroleum services subsidiaries involved in

directional drilling products and services for the oil and gas industry.” (Id., Ex. C, ¶ 3).

        Murray states in his affidavit that “[i]n 1987, most research and development that was being

done by NL for the petroleum services industry was consolidated into Sperry-Sun, and became part




on the stipulation to preclude arguments in the EPA lawsuit and because the United States does not commit
to a position in the stipulation. (Id. at 4). Finally, Halliburton objects because the definition of “Historic
Petroleum Services Business of NL” used for the stipulation is just a list of companies and because “[t]he
issue in this case is not whether these companies were formerly associated with NL’s former ‘petroleum
services’ business, but whether liabilities associated with any of these companies were contractually assumed
by HESI.” (Id. at 5).
         The stipulation is not untimely filed in this case because it only became available recently.
Halliburton’s remaining objections go to the weight to be accorded to the stipulation rather than to its
admissibility. Halliburton’s arguments that the definition of “Historic Petroleum Services Business” used
for the stipulation is not the same as that used in the restructuring documents and that the stipulation may not
fully bind the EPA in the EPA lawsuit do not make the stipulation irrelevant to Tremont’s motion for
summary judgment. Halliburton has attempted to argue that the EPA’s claims about the Gulf Nuclear Sites
are not limited to NL’s former petroleum services business. The fact that the EPA has stipulated that it only
seeks to recover from entities that have been shown only to be involved in NL’s former petroleum services
business is relevant to rebut Halliburton’s argument that the EPA seeks recovery with respect to NL’s non-
petroleum services businesses. The stipulation supports the argument that the EPA’s claims are limited to
NL’s petroleum services business based on the evidence the EPA has collected, even if the EPA ultimately
seeks not to be bound by the stipulation based on later-discovered evidence. The stipulation shows that the
EPA’s current evidence does not show a connection between the Gulf Nuclear Sites and NL’s non-petroleum
services businesses. Halliburton’s objections are overruled.
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of [his] responsibility.” (Id., Ex. C, ¶ 3). Murray states that “NL’s petroleum services research and

development type entities included NL Logging Systems, NL Technology Systems, NL MWD,

Petrolog, Inc. and Basin Surveys, Inc.”85 (Id., Ex. C, ¶ 3). According to Murray, “[t]hese divisions

and subsidiaries remained part of the Sperry-Sun subsidiary through the 1988 Restructuring of NL,

the 1990 Restructuring of Old Baroid, the subsequent acquisition of NL’s historic petroleum services

business by Dresser, and thereafter, by Halliburton.” (Id., Ex. C, ¶ 3). Murray further states that

while he was not directly responsible for its operations, he was “aware of a research division called

NL Baroid Technology (sometimes known as NL Tech),” and that “NL Baroid Technology was a

research arm of Baroid Drilling Fluids, Inc., and was solely a petroleum services operation.” (Id.,

Ex. C, ¶ 3). Because Murray links the NL divisions that have been shown to be connected to the

Gulf Nuclear Sites to NL’s petroleum services business, his affidavit supports the inference that

NL’s connection to the Gulf Nuclear Sites was through its petroleum services business.

        Tremont has also submitted several declarations of former NL employees filed in the EPA

lawsuit. These employees confirm that NL’s only connection to the Gulf Nuclear Sites was through

its petroleum services business.86 Ronnie Barrett worked for NL’s petroleum services business from

1978 through 1987, and then for Western Atlas until he was laid off in 1989. (Docket Entry No. 68,

Ex. D, ¶ 2). Barrett states in his declaration that he is not aware of any NL business, other than the



85
   Mark Morrison’s declaration states the same. (See Docket Entry No. 68, Ex. B, ¶ 3). Morrison also states
that the petroleum services research area was also referred to as “NL Tech.” (Id., Ex. B, ¶ 3).
86
   Tremont also asserts that both it and NL produced a Rule 30(b)(6) witness who answered Halliburton’s
questions about whether the Gulf Nuclear Site liabilities arise from NL’s petroleum services business.
Tremont states that these witnesses explained in detail the shipping tickets/waste manifests and how they
derived from NL’s petroleum services business, as well as why the McCullough Division produced nuclear
wastes. (Docket Entry No. 41 at 45). Tremont has not filed excerpts from the Tremont and NL Rule 30(b)(6)
witness depositions.
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former petroleum services business, with any connection to the Gulf Nuclear Sites. (Id., Ex. D, ¶

4).87 Similarly, Steven R. McCollum, who states that he was “employed by the petroleum services

business of NL,” worked for NL McCullough from December 1973 until approximately 1980, was

hired back a year later, and worked until NL McCullough was purchased by Western Atlas, also

states in his declaration that he is not aware of any NL business, other than its petroleum services

business, that had any connection to the Gulf Nuclear Sites.88 (Id., Ex. E, ¶¶ 2, 4).89 The

declarations of Jon R. Bailey, who was employed by NL McCullough from 1981 through 1987, and

Calvin P. Hopcraft, who worked in NL’s former McCullough oil services business from 1951 until

1980 and then worked for Gulf Nuclear from 1981 until 1988 at the Webster facility, are similar.

(See id., Ex. F, ¶¶ 2, 4;90 Docket Entry No. 71, Ex. B, ¶¶ 2, 14).91 In addition, Richard Arsenault,


87
   Halliburton objects to Barrett’s declaration, arguing that it lacks adequate foundation and calls for a legal
conclusion because it “provides no basis for any knowledge Mr. Barrett might have outside the alleged
‘petroleum services’ business group,” and “provides no foundation for his personal knowledge to support the
statement that ‘I am not aware of any NL business, other than the former petroleum service business, having
any connection to the Gulf Nuclear Sites.” (Docket Entry No. 69 at 11). However, Barrett’s declaration notes
that he had some familiarity with the relationship between NL and Gulf Nuclear when he worked at NL
McCullough. (Docket Entry No. 68, Ex. D, ¶ 2). His statement that he is not aware of any NL business, other
than its former petroleum services business, that had any connection to the Gulf Nuclear Sites is limited to
his personal knowledge. There is an adequate foundation for considering the declaration. Halliburton also
objects to the use of the term “petroleum services” in the declaration because that term has a defined legal
meaning under the plans of restructuring, and argues that “Tremont fails to establish that Mr[.] Barrett has
any knowledge about the Plans of Restructuring at all.” (Docket Entry No. 69 at 11). Barrett’s declaration
reflects his understanding of NL’s connection to the Gulf Nuclear Sites and does not contain a legal
conclusion about whether that connection involved “petroleum services” operations under the relevant
contracts. Halliburton’s objections to Barrett’s declaration are overruled.
88
  Halliburton objects to McCollum’s declaration for the same reasons it objected to Barrett’s declaration.
The objections are overruled for the same reasons the objections to Barrett’s declaration were overruled.
89
  Two paragraphs are numbered “2” in McCollum’s declaration. They are referred to as sequentially
numbered in this opinion.
90
    Halliburton objects to Bailey’s declaration, as lacking adequate foundation and calling for a legal
conclusion. (Docket Entry No. 69 at 12). Bailey states in his declaration that he had some familiarity with
the relationship between NL and Gulf Nuclear when he worked at NL McCullough. (Docket Entry No. 68,
Ex. F, ¶ 2). His statement that he is not aware of any NL business, other than its former petroleum services
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a former employee of NL MWD, confirms that NL MWD was part of NL’s former petroleum

services business and that this division was taken over by Halliburton. (See Docket Entry No. 71,

Ex. C, ¶¶ 2, 3, 10). Arsenault also states that he first worked for NL MWD, which was then

consolidated into Sperry-Sun, Inc., which was taken over by Halliburton. (See id., Ex. C, ¶¶ 4, 10).

Arsenault worked at the North Belt facility and continued to work at that same location for

Halliburton. (Id., Ex. C, ¶ 10). Arsenault states that the operations at the North Belt facility were

only petroleum services operations.92 (See id., Ex. C, ¶ 10).


business, that had any connection to the Gulf Nuclear Sites, is limited to his personal knowledge. Bailey does
not state that his knowledge is dispositive of any legal or factual issue. Halliburton also objects to the use
of the term “petroleum services” in the declaration because that term has a defined legal meaning under the
plans of restructuring. (Docket Entry No. 69 at 12). Bailey’s declaration reflects his understanding of NL’s
connection to the Gulf Nuclear Sites and does not contain a legal conclusion about whether that connection
involved “petroleum services” operations under the relevant contracts. Halliburton’s objections to Bailey’s
declaration are overruled.
91
  Halliburton objects to Hopcraft’s declaration, asserting that it is untimely, that Halliburton has been unable
to cross-examine him, that he has not been deposed in the EPA lawsuit, and that the declaration lacks
foundation and calls for a legal conclusion. (Docket Entry No. 73 at 8–9). Halliburton also objects to the
use of the term “petroleum services business” because it is a defined term in certain legal documents with
which Hopcraft lacks familiarity. (Id. at 9). Finally, Halliburton argues that Hopcraft is not familiar with
NL’s operations outside its petroleum services business and therefore cannot know whether those operations
had connections to the Gulf Nuclear Sites. (See id. at 10). This court considers this supplemental declaration
because it was obtained in the EPA lawsuit after Tremont filed its motion in this case. Halliburton has the
same counsel in this lawsuit and the EPA lawsuit. Hopcraft’s declaration establishes that he has worked both
for the McCullough Division and Gulf Nuclear, which gave him a foundation to state his understanding of
NL’s involvement in the Gulf Nuclear Sites. In addition, Hopcraft’s declaration reflects his understanding
of NL’s business operations and does not contain legal conclusions about whether those operations involved
“petroleum services” operations under the restructuring agreements. Halliburton’s objections to Hopcraft’s
declaration are overruled.
92
   Halliburton objects to Arsenault’s declaration as untimely and complains that it has been unable to cross-
examine him. (Docket Entry No. 73 at 11). Halliburton also objects to Arsenault’s declaration on the bases
that it lacks adequate foundation and calls for a legal conclusion, arguing that the declaration fails to establish
the factual basis for Arsenault’s knowledge of waste disposal or the transfer of liabilities through the
corporate restructurings. (Id.). Halliburton argues that it is unclear what is meant by Arsenault’s statement
that he was employed by the MWD portion of the petroleum services business of NL. (Id. at 12). Finally,
Halliburton objects to the use of the term “petroleum services business” and to the statement that only the
petroleum services business was operating at the North Belt facility. (Id.).
          Halliburton’s timeliness objection is overruled for the same reasons the same objection was overruled
in connection with Hopcraft’s declaration. As Tremont points out, Halliburton has had access to this witness
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        B.       Halliburton’s Request for a Continuance

                 1.       Background and the Parties’ Arguments

        Halliburton has moved for a continuance to respond to Tremont’s motion for partial

summary judgment. (Docket Entry No. 11; 2005 Case, Docket Entry No. 270). Halliburton asserts

that before Tremont filed its counterclaim in the 2005 Case and its claims in the 2008 Case, this

litigation involved only the Malvern Site. (Docket Entry No. 11 at 2). As a result, Halliburton

argues that it has not had the opportunity to conduct discovery into the Gulf Nuclear Site issues.



because he worked for Halliburton until March 2009. (See Docket Entry No. 71, Ex. C, ¶ 10). Although
Arsenault’s employment with Halliburton ended in March 2009, six months before Arsenault executed his
declaration, Halliburton is also represented by the same counsel in the EPA lawsuit and has not explained
why it could not obtain an opposing affidavit in that case. Halliburton’s objection to the lack of adequate
foundation is also overruled. Arsenault’s delcaration adequately explains his positions in NL’s companies
and his responsibility for radioactive material. (See Docket Entry No. 71, Ex. C, ¶¶ 2–6). Arsenault’s
declaration does not state that he has knowledge of the corporate restructurings. But the declaration does not
purport to explain the transfer of liabilities through the restructurings. In addition, Arsenault’s declaration
reflects his understanding of NL’s business operations and does not contain legal conclusions about whether
those operations involved “petroleum services” operations under the restructuring agreements.
         In objecting to Arsenault’s statement that NL’s petroleum services business was the only business
that operated at the North Belt facility, Halliburton relies on evidence that it asserts shows that Baroid, NL,
and Tremont all used that address. But the evidence Halliburton presents does not conflict with Arsenault’s
statement. Halliburton asks this court take judicial notice that 300 North Beltway is the same location as 3000
North Sam Houston Parkway East. Halliburton has not presented evidence that this fact is “one not subject
to reasonable dispute,” see FED. R. EVID. 201(b), having only presented a distribution list and a letter from
Tremont Corporation using the 3000 North Sam Houston Parkway East address. However, a document
previously submitted by Tremont shows that an internet map tool suggested “3000 N Sam Houston Pkwy E”
as an alternative to the address searched for, “3000 N Belt.” (See Docket Entry No. 52, Ex. A at 2).
(Halliburton’s reference to “300 North Beltway,” (see Docket Entry No. 73 at 13 n.5), rather than “3000
North Beltway,” is presumably a typographical error.) In any event, even assuming that the two addresses
are the same, Halliburton has not presented evidence that conflicts with Arsenault’s declaration. The
distribution list from July 1990 that lists both Baroid and NL as using the North Belt address aligns with the
fact that Baroid assumed NL’s petroleum services business in the 1988 restructuring. Similarly, the fact that
Tremont Corporation used that address in a letter dated December 13, 1990, aligns with the fact that the 1990
Plan had just become effective, in which Old Baroid spun off the Petroleum Services Business and changed
its name to Tremont Corporation. In fact, the letter that Halliburton submits discusses Baroid Corporation’s
name change to Tremont Corporation. Given the complex corporate transactions involved in the 1988 and
1990 restructurings, and the closeness of the companies involved in those transactions, it is not surprising that
various entities listed the North Belt facility as their address. Arsenault’s statement that only NL’s former
petroleum services business used that address, to the best of his knowledge, does not conflict with the
documents submitted by Halliburton. Halliburton’s objections to Arsenault’s declaration are overruled.
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(Id.). Halliburton has filed the affidavit of James W. Ferguson, Vice-President and Deputy General

Counsel of HESI and Vice President of DII. Ferguson asserts that Halliburton has not conducted

any discovery into claims other than those related to the Malvern Site. (See id., Ex. A, ¶ 4).

Ferguson explains that because of the complex corporate transactions, “[i]n order to assess the

existence or non-existence of an indemnity obligation, a search must be made not only of HESI’s

corporate documents, but also of the corporate documents of Dresser, New Baroid, and NLPS.” (Id.,

Ex. A, ¶ 8). Ferguson asserts that Halliburton needs to conduct formal discovery of Tremont and

other parties to respond fully to Tremont’s motion. (Id., Ex. A, ¶ 9). Ferguson attaches the letter

in which NL agreed to indemnify New Baroid for liabilities from the lawsuit styled Western Atlas

v. NL. (Id., Ex. A-1 at 2). Ferguson argues that because NL sold the McCullough Division to

Western Atlas in 1987, the fact that NL agreed to indemnify New Baroid with respect to the Western

Atlas lawsuit “indicates that NL may be responsible for indemnifying HESI (as the successor to New

Baroid) for all or part of the claims now made by Tremont.” (Docket Entry No. 11, Ex. A, ¶ 10).

Ferguson asserts that without discovery, Halliburton cannot provide evidence about the chain of

indemnity obligations or about whether the McCullough Division was solely part of NL’s petroleum

services business. (Id., Ex. A, ¶ 11).93 Halliburton filed a 44-page substantive response and 18

exhibits on the same date it filed its motion for a continuance. (See 2005 Case, Docket Entry No.



93
  Halliburton also asserts that Tremont’s counterclaim in the 2005 Case seeks to hold Halliburton responsible
for “‘additional sites and claims that relate to NL’s historical petroleum services business.’” (Docket Entry
No. 11 at 3). Halliburton argues that “[w]hile the Western Atlas v. NL lawsuit is not specifically mentioned
in Tremont’s counterclaim, it is specifically mentioned in Tremont’s letter to HESI demanding
indemnification for certain properties and claims.” (Id. (citing id., Ex. A-1 at 2)). The letter Halliburton cites,
however, is the letter from Baroid to NL stating that NL is indemnifying Baroid for the Western Atlas lawsuit.
In any event, the indemnity obligation for the Western Atlas lawsuit is not encompassed by Tremont’s motion
for partial summary judgment. If Tremont seeks indemnity for the Western Atlas lawsuit, that fact would not
support Halliburton’s request for a continuance with respect to Tremont’s current motion.
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274).

        Tremont responds that Halliburton has not shown what additional discovery it needs or how

the additional discovery will create a genuine issue of material fact. (2005 Case, Docket Entry No.

279 at 19). Tremont argues that the people involved in the restructurings were either deposed or

examined under oath in the arbitration and that Halliburton has not identified anyone who needs to

be deposed here because that person would add material information. (Id.). Tremont asserts that

Halliburton has not identified individuals from whom it was unable to obtain declarations or

affidavits. (Id.). Tremont argues that Halliburton’s focus on NL’s indemnification of New Baroid

for the Western Atlas lawsuit is misplaced because Tremont’s motion only seeks a declaration with

regard to the Gulf Nuclear Sites and the position taken in that one case does not change the language

in the 1990 Plan or make it ambiguous. (Id. at 19 n.3). Tremont also argues that Halliburton has

not been diligent in seeking discovery, noting that at the time of Tremont’s reply, Halliburton had

not sought discovery of any kind. (Id. at 20).

        In its surreply to Tremont’s motion for partial summary judgment, Halliburton states that it

has served NL and Tremont with written discovery about the claims based on the additional sites

and has noticed depositions of Tremont’s corporate representatives. (2005 Case, Docket Entry No.

300-1 at 2). Halliburton asserts that in the depositions, it will seek to discover information regarding

the Gulf Nuclear Sites and two lawsuits in which Tremont seeks to recover over $27 million from

Halliburton. (Id.). Halliburton notes that the parties had agreed to postpone the depositions pending

the exchange of documents and initial disclosures. (Id.). Halliburton argues that relevant discovery

was not obtained in the arbitration because the arbitrators allowed a limited number of depositions

and the testimony was limited to the Malvern Site. (Id. at 3). Halliburton asserts that besides


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deposing Tremont’s corporate representatives, it needs to depose NL’s former Vice-President and

General Counsel, David Garten, and the NL representatives with whom Garten worked, to

understand why NL agreed to indemnify New Baroid in the past for matters it now claims to be part

of NL’s petroleum services business. (Id.). Halliburton also asserts that the parties’ conduct after

the execution of the 1990 Plan is relevant to understanding what the parties intended. (Id.).

        Whether liabilities associated with the Gulf Nuclear Sites arise from NL’s former petroleum

services business determines whether issue preclusion applies and how to interpret the relevant

contracts. If NL’s liabilities associated with the Gulf Nuclear Sites did not arise from its former

petroleum services business, neither issue preclusion nor contract interpretation would support

granting Tremont’s motion for partial summary judgment. At the hearing on Tremont’s motion for

partial summary judgment, this court allowed further discovery on this issue. The parties told this

court that 45 days would be enough time to complete the necessary discovery into whether liabilities

associated with the Gulf Nuclear Sites arose from NL’s former petroleum services business.

Halliburton later filed a motion to extend the deadline for this discovery. (Docket Entry No. 38).

In that motion, Halliburton stated that each party had deposed the opposing party’s corporate

representatives, and that Tremont had produced the “NL Index,” which listed 21,108 boxes of

Baroid’s documents that were delivered to NL on or about July 9, 1997.94 (Id. at 2). This court

94
   A July 9, 1997 letter agreement between Dresser, Baroid, and NL indicates that Dresser would return to
NL on August 30, 1997 “all of the remaining files, documents, records and materials of NL, in Dresser’s
possession, custody and/or control,” and lists 21,108 boxes attributable to NL. (Docket Entry No. 38, Ex.
A at 1). With respect to certain categories, including Atlas Bradford, Baroid, Corporate, Shaffer, and Sperry-
Sun, the letter agreement indicates that only a partial inventory would be shipped back to NL, noting that with
respect to those categories, the shipment would include “[a]ll Corporate files as identified as either belongs
to NL Industries, Inc.’s or consisting of pre-December 22, 1988 (the ‘Spin-Off Date’.).” (Id., Ex. A at 1).
Notably, with respect to the category “McCullough,” the letter agreement indicates that the entire inventory
of boxes was being shipped back to NL. (Id., Ex. A at 1). The letter agreement also states that Dresser would
retain 648 boxes, containing the remaining pre-Spin-Off Date records, and that it would provide NL with a
database describing the files in the retained boxes. (Id., Ex. A at 2). Tremont produced the NL Index—listing
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granted the extension and set a hearing to discuss discovery issues and to set a final deadline for

completing discovery into whether NL’s liabilities associated with the Gulf Nuclear Sites stem from

its former petroleum services business. (Docket Entry No. 39).

        In a subsequent response to the motion to extend, Tremont states that it diligently searched

for documents relating to the Gulf Nuclear Sites and has produced them to Halliburton. (Docket

Entry No. 41 at 2–5). Tremont points out that when NL sold the McCullough Division to Western

Atlas, operative waste records and customer documents were provided to Western Atlas, which was

then jointly owned by Litton Industries and Dresser, a Halliburton predecessor. (Id. at 2–4).95

Tremont argues that it is not surprising that neither Tremont nor NL have been able to find shipping

records for NL McCullough, because those records were transferred to Western Atlas in 1988. (Id.

at 4). Tremont states that it asked Western Atlas to produce any documents it had connecting the

McCullough Division to the Gulf Nuclear Sites, and that Tremont produced all such documents to

Halliburton. (Id. at 4). Tremont also asked the Gulf Nuclear Sites PRP Group to produce

transactional documents relating to NL; Tremont produced the documents it received to Halliburton.

(Id.). Tremont also sought discovery from the EPA of materials or information identifying any

nexus between any business of NL, other than the McCullough Division, and the Gulf Nuclear Sites.

(Id. at 5). As of the date of its response, Tremont had not yet received a response from the EPA.


the documents Dresser returned to NL under this agreement—to Halliburton in this case. (See Docket Entry
No. 41 at 2). Halliburton was unable to locate an index associated with the 648 boxes retained by Dresser,
but ultimately produced a much larger index that it believed also contained descriptions of those 648 boxes.
95
   Tremont cites a New York Times article stating that “Litton Industries, Beverly Hills, Calif., a maker of
business machines and electronic components, said Western Atlas International, a company it owns jointly
with Dresser Industries, had completed acquisition of NL Industries’s McCullough division, a provider of
wireline services,” (Docket Entry No. 41, Ex. 2); a Baker Atlas history, stating that Litton Industries and
Dresser formed Western Atlas as a joint venture and that acquisition of NL McCullough allowed the company
to provide pipe recovery services, (id., Ex. 3); and an excerpt from the Western Atlas Agreement stating that
NL transferred lists, records, and files relating to the McCullough Division to Western Atlas, (id., Ex. 4).
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(Docket Entry No. 41 at 5). Tremont argues that a further search of the 21,108 boxes in NL’s

possession would be futile because Western Atlas, which had possession of the waste records and

customer documents, has already produced the documents involving the McCullough Division and

the Gulf Nuclear Sites. (Id.). Tremont also asserts that it made a good-faith effort to review the

21,108 boxes, and that it has produced nearly 5,000 pages of documents it believes to be responsive.

(Id. at 12).

        At the discovery hearing held on December 12, 2008, counsel for Tremont stated that it had

the discovery it needed to supplement the record on the Gulf Nuclear Sites. Halliburton’s counsel

asked for a few additional weeks to go through additional documents recently produced.

Halliburton’s counsel stated that reviewing those additional boxes was all Halliburton needed to

respond fully to the motion for partial summary judgment, subject to finding something

unanticipated. This court granted Halliburton the additional time to review the boxes and to

supplement the summary judgment record.

        In its supplemental filing, Halliburton alleges additional discovery deficiencies. Halliburton

asked NL to produce records related to Cambridge Nuclear and NL’s nuclear medicine products and

services, but NL only produced certificates of incorporation for Cambridge Nuclear Corporation,

Cambridge Leasing Corporation, and Cambridge Nuclear Medicine Corporation. (Docket Entry No.

50 at 3). NL produced records Halliburton specifically requested from the NL Index of documents

that Dresser purportedly returned to NL in 1997, but Halliburton asserts that the bulk of NL’s

documents relating to its nuclear division would not have been provided to Dresser in the first place.

(Id. at 4). Halliburton notes that it had asked for the production of particular boxes of documents,

but NL produced only a fraction of what was requested and completed its production only three days


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before Halliburton’s supplemental filing was due. (Id. at 4 n.2). Halliburton asserts that the

documents produced contain thousands of pages that were not in searchable format. (Id.).

        In its reply to Halliburton’s supplemental response, Tremont argues that it has given

Halliburton all documents that remotely relate to the Gulf Nuclear Sites and has repeatedly

responded to Halliburton’s requests for additional documents even when those requests included

documents having nothing to do with the Gulf Nuclear Sites. (Docket Entry No. 52 at 18–20).

Tremont has submitted letters documenting its offers to produce documents and its subsequent

productions. (See id., Exs. Q–W). With respect to Cambridge Nuclear, Tremont has submitted the

affidavit of Joan Lewis, a paralegal for NL. Lewis states that she copied the entire file on

Cambridge Nuclear, as requested by Halliburton’s attorney. (See id., Ex. X, ¶ 3).96 Tremont does

not specifically respond to Halliburton’s contentions that the only documents produced were those

on the NL Index and that documents related to the non-petroleum services divisions of NL would

not be encompassed in that Index.

        In its surreply, Halliburton asserts:

                 [E]ven assuming arguendo that Tremont has produced every single
                 “nuclear related” document on the NL Index, it has not produced any
                 “nuclear related” documents that are not listed on the NL Index.
                 Tremont alleges that all documents related to its “petroleum services
                 business” were transferred to Dresser, and then to Halliburton.
                 Tremont has not and cannot represent to this Court that all documents
                 related to its “non-petroleum services business” were transferred to


96
   Halliburton objects to Lewis’s affidavit as inaccurate. (Docket Entry No. 62 at 3). Halliburton asserts that
Lewis states that NL produced all the documents Halliburton asked for relating to Cambridge Nuclear, but
that on March 5, 2009, NL produced additional documents specifically relating to Cambridge Nuclear. (Id.).
Halliburton submits the transmittal letter and the copy of the CD associated with the March 5 production.
(Id., Ex. B). It is not possible on the present record to tell whether this production contained documents
relating to Cambridge Nuclear. But even assuming that this production included documents relating to
Cambridge Nuclear, that would not show that Lewis’s affidavit was inaccurate when made. Halliburton’s
objection to Exhibit X is overruled.
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               Dresser. Likewise, Tremont has not and cannot claim that it has
               produced or made available all documents related to its nuclear
               division. In fact, Tremont has only produced documents specifically
               referenced in the NL Index (i.e., its “petroleum services” related
               documents). Because Tremont has failed to produce the very
               documents that would establish a connection between NL’s non-
               petroleum services related activities and the Sites, Halliburton’s
               request for discovery is proper and Tremont’s request for summary
               judgment is, at best, premature.

(Docket Entry No. 62 at 3 n.2).

               2.      Analysis of the Motion for Continuance

       Rule 56(f) provides:

               If a party opposing the motion [for summary judgment] shows by
               affidavit that, for specified reasons, it cannot present facts essential
               to justify its opposition, the court may:

               (1) deny the motion;

               (2) order a continuance to enable affidavits to be obtained,
               depositions to be taken, or other discovery to be undertaken; or

               (3) issue any other just order.

FED. R. CIV. P. 56(f). Rule 56(f) authorizes a district court to order a continuance to permit

additional discovery if the nonmovant shows that it “‘cannot for reasons stated present by affidavit

facts necessary to justify the party’s opposition.’” Adams v. Travelers Indem. Co. of Conn., 465

F.3d 156, 162 (5th Cir. 2006) (quoting Wichita Falls Office Assoc. v. Banc One Corp., 978 F.2d 915,

919 (5th Cir. 1992)). In asking for additional time for discovery under Rule 56(f), the nonmoving

party must show why additional discovery is necessary and how that additional discovery will defeat

the summary judgment motion by creating a genuine dispute as to a material fact. Id. (citing Beattie

v. Madison County Sch. Dist., 254 F.3d 595, 605 (5th Cir.2001)). The nonmoving party “may not

‘simply rely on vague assertions that additional discovery will produce needed, but unspecified

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facts.’” Id. (citing Brown v. Miss. Valley State Univ., 311 F.3d 328, 333 n.5 (5th Cir. 2002)). “‘If

it appears that further discovery will not produce evidence creating a genuine issue of material fact,

the district court may, in the exercise of its discretion, grant summary judgment.’” Karaha Bodas

Co. v. Perusahaan Pertambangan Minyak Dan Gas Bumi Negara, 364 F.3d 274, 305 (5th Cir. 2004)

(quoting Krim v. BancTexas Group, Inc., 989 F.2d 1435, 1442 (5th Cir. 1993)). “[T]he party

opposing summary judgment ‘must show that the additional discovery will be more than a mere

‘fishing expedition.’’” Addison v. Allstate Ins. Co., 97 F. Supp. 2d 771, 774 (S.D. Miss. 2000)

(quoting Christmon v. Allstate Ins. Co., 82 F. Supp. 2d 612, 614 (S.D. Miss. 2000)); see also

Robbins v. Amoco Prod. Co., 952 F.2d 901, 907 (5th Cir. 1992) (“Because [R]ule 56(f) cannot be

relied upon to defeat a summary judgment motion ‘where the result of a continuance to obtain

further information would be wholly speculative,’ the district court’s refusal to grant Robbins’s

request for additional discovery was not an abuse of discretion.” (internal citation and quotation

marks omitted)); Paul Kadair, Inc. v. Sony Corp. of Am., 694 F.2d 1017, 1029 (5th Cir. 1983) (“‘The

intent of Rule 56(f) of the Federal Rules of Civil Procedure is not to open the discovery net to allow

a fishing expedition.’” (quoting district court’s opinion)).

       This court effectively granted Halliburton’s motion for continuance in part in granting time

to conduct discovery into whether the Gulf Nuclear Site liabilities arise from NL’s former petroleum

services business. After that discovery, at the hearing held on December 12, 2008, Halliburton’s

counsel specifically stated that an additional few weeks to review the documents produced from the

NL Index would allow a full response to Tremont’s motion, barring the unanticipated. Without

identifying anything learned in that discovery as “unanticipated,” Halliburton asserts that it needs

documents related to NL’s nuclear division that were not on the NL Index. Halliburton argues that


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documents related to the nuclear division would never have been on the Index because they do not

relate to NL’s former petroleum services business and therefore were never transferred to Dresser.

But at the time of the hearing on the discovery issues, Halliburton and its counsel knew of the 1997

letter discussing the documents returned by Dresser to NL and the associated NL Index. Yet

Halliburton said nothing about needing documents beyond those on the NL Index. Instead, counsel

stated that Halliburton only needed some additional time to review the documents Tremont had

produced from that Index.

       Even beyond Halliburton’s clear statements that time to review the documents on the NL

Index was enough for its discovery needs, Halliburton still has not shown that an additional

continuance is necessary before this court rules on Tremont’s motion for partial summary judgment.

Halliburton has had ample opportunity to conduct relevant discovery. The record is large.

Halliburton has not identified what additional discovery it needs to create a genuine factual dispute.

The argument that additional discovery into NL’s nuclear division will show that it had connections

to the Gulf Nuclear Sites is purely speculative. The argument is contradicted by ample evidence

showing that the nuclear division had no connection with the Gulf Nuclear Sites. The belated

request for additional documents is properly characterized as a “fishing expedition.”

       Halliburton’s request for a further continuance, beyond that already granted, is denied.

       C.      There Is No Dispute as to Any Fact Material to Determining Whether NL’s
               Connection to the Gulf Nuclear Sites Was Only Through Its Former Petroleum
               Services Business

       The parties have submitted multiple supplements and hundreds of pages of exhibits as

evidence of NL’s connection with the Gulf Nuclear Sites. The record and the numerous and lengthy

briefs show no genuine factual dispute on this issue. There is no competent evidence in the record


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connecting NL to the Gulf Nuclear Sites other than through its former petroleum services business.

           There is no evidence that any of NL’s business units that have been connected to the Gulf

Nuclear Sites were part of NL’s non-petroleum services business. There is evidence connecting NL

McCullough to disposals at the Gulf Nuclear Sites,97 but the record shows that NL McCullough was

part of NL’s petroleum services operations.98 Halliburton has not submitted evidence creating a

genuine dispute of material fact on this issue. Halliburton’s argument that because the Gulf Nuclear

shipping records indicate that NL McCullough shipped nuclear materials, there is a fact question as

to whether NL McCullough engaged in the nuclear business in addition to the petroleum services

business, fails. Tremont has presented undisputed evidence that the McCullough Division’s

operations included nuclear logging as a cased-hole wireline logging and perforating service, and

that such services may be “used on a well while being drilled, for completion of a well, for

recompleting after a well has been in operation for some time, and during workover operations,”99

and that nuclear materials are regularly used by wireline logging companies.100 The McCullough


97
   See, e.g., 2005 Case, Docket Entry No. 247, Ex. II (EPA documents and waste manifests showing NL
McCullough shipped waste to the Gulf Nuclear Sites); id., Ex JJ at 1 (EPA letter indicating that Gulf Nuclear
records and witness statements show that NL McCullough was connected to the Gulf Nuclear Sites).
98
   See, e.g., Docket Entry No. 41, Ex. 33 (NL annual reports showing that NL considered the McCullough
Division to be part of its petroleum services operations); id., Exs. 34–36 (NL Board minutes characterizing
the McCullough Division as part of “petroleum services”); id., Ex. 37 at 2 (Fifth Circuit case referring to the
McCullough Division as an “oil field service company”); id., Ex. 16, Deposition of Stuart Kemp at 23:5–12
(deposition testimony from Halliburton’s Rule 30(b)(6) witness, stating that NL McCullough is connected
to the Gulf Nuclear Sites and that this division was part of NL’s petroleum services business); Docket Entry
No. 65, Ex. C, ¶ 6 (Murray’s affidavit stating that McCullough was part of NL’s historical petroleum services
business).
99
      See Docket Entry No. 41, Ex. 33, NL’s 1976 Annual Report at 11.
100
   See id., Ex. 38 at 1, 8 (articles discussing use of depleted uranium in petroleum drilling equipment and
advances in well logging including “nuclear source replacement”); id. Ex. 39, Deposition of Stuart Kemp at
24:18–25:6 (deposition testimony from Halliburton’s Rule 30(b)(6) witness that nuclear or radioactive
materials have historically been used in oil well drilling as tracers); Docket Entry No. 50, Ex. 4, NL’s 1971
                                                     114
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Division was clearly part of NL’s petroleum services business.

          Nor is there evidence that any NL operations outside the petroleum services business were

connected to the Gulf Nuclear Sites. Tremont has submitted several declarations by former

employees of NL’s petroleum services business. These employees state that they are unaware of

any connection between the Gulf Nuclear Sites and any NL business other than its petroleum

services business.101 The witness statements and testimony of former Gulf Nuclear employees do

not indicate that NL had any connection with the Gulf Nuclear Sites other than through its petroleum

services business.102 Halliburton’s Rule 30(b)(6) witness also testified that he had no knowledge of

any division besides the McCullough Division being connected to the Gulf Nuclear Sites.103 The

EPA has stipulated that the “Historic Petroleum Services Business of NL” (as defined in that

stipulation) is the only NL business that the EPA asserts shipped waste to the Gulf Nuclear Sites.104

Although some of the Gulf Nuclear records submitted show shipments from “NL Industries,” “N.L.

MWD,” “Systems Tech,” and “NL Tech” in addition to NL McCullough, Halliburton has not

submitted evidence raising a factual dispute as to whether any of these entities had anything to do


Annual Report at 7 (stating that the Baroid Division under the oil well materials and services business was
involved in nuclear well logging); Docket Entry No. 71, Ex. D (Acree patent covering “Method of Forming
Encapsulated Depleted Uranium Oil Field Tubular Member”); Docket Entry No. 64, Ex. 6, Gulf Nuclear’s
1983 Annual Report at 5 (describing the use of sinker bars made of depleted uranium in the oil and gas
business).
101
   See, e.g., Docket Entry No. 68, Ex. D, ¶ 4; id., Ex. E, ¶ 4; id. Ex. F, ¶ 4; Docket Entry No. 71, Ex. B, ¶
14; id., Ex. C, ¶ 10.
102
  See Docket Entry No. 41, Exs. 8–12; Docket Entry No. 65, Ex. D, Deposition of Paul Nixon at 156:19–23;
Docket Entry No. 67, Ex. A, Deposition of Lynn Williams at 298:10–16; Docket Entry No. 68, Ex. H,
Deposition of Michael Jaschek at 495:21–496:5.
103
      Docket Entry No. 41, Ex. 16, Deposition of Stuart Kemp at 33:1–9, 22:14–23:23.
104
    See Docket Entry No. 71, Ex. A at 1–2; see also Docket Entry No. 67, Ex. B, Deposition of Gregory Fife
at 287:4–16.
                                                    115
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with any part of NL besides its petroleum services business.

          The Gulf Nuclear records showing shipments to or from “NL Industries” do not raise a fact

issue as to whether a division of NL besides its petroleum services business had a connection to the

Gulf Nuclear Sites. There is no evidence that these records referred to any NL operations other than

its petroleum services businesses. For example, page 1 of Halliburton’s supplemental Exhibit 18

lists NL Industries as the shipper, and lists the North Belt address as the shipping address.105

Tremont has submitted evidence showing that the North Belt facility was used solely for NL’s

petroleum services business, which was eventually transferred to Halliburton.106

          Halliburton asserts that because a Gulf Nuclear receiving log shows that NL shipped camera

castings to Gulf Nuclear, there is a factual dispute as to whether NL’s non-petroleum services

businesses shipped waste to the Gulf Nuclear Sites. But the receiving log does not support a

reasonable inference that NL’s non-petroleum services businesses were involved with the Gulf

Nuclear Sites. The log is handwritten and abbreviates the shipper as “NL Ind.” (See Docket Entry

No. 50, Ex. 18 at 6). It would be unreasonable to infer that this one notation on a single receiving

log refers to NL’s non-petroleum services operations.

          “As explained in Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 255 (1986), ‘[t]he evidence

of the nonmovant is to be believed, and all justifiable inferences are to be drawn in his favor.’ . . .



105
      Docket Entry No. 50, Ex. 18 at 1.
106
    See Docket Entry No. 52, Ex. A (photograph showing that the North Belt facility now has a Halliburton
sign); Docket Entry No. 68, Ex. B, ¶ 2 (declaration of a former employee of NL’s petroleum services business
stating that the North Belt facility was used only for petroleum services business operations); Docket Entry
No. 65, Ex. C, ¶ 4 (affidavit of former employee of NL, Old Baroid, New Baroid, Dresser, and Halliburton,
stating that the North Belt facility was used only for petroleum services business operations); Docket Entry
No. 71, Ex. C, ¶ 10 (declaration of former employee of NL MWD, stating that the only operations at the
North Belt facility were petroleum services operations).
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. Such inferences must be reasonable . . . .” Kolb v. Atalanta Corp., No. 98-50281, 1998 WL

915407, at *3 (5th Cir. Dec. 23, 1998) (unpublished) (alteration in original); see also Lusk v.

Foxmeyer Health Corp., 129 F.3d 773, 789 (5th Cir. 1997) (“On summary judgment, we consider

the totality of the facts and make only reasonable, justifiable inferences from that evidence. The

factual context of a party’s claim may render it implausible for purposes of creating a genuine

dispute of fact.” (internal citations omitted)). It is unreasonable to infer that the one receiving log

referring to a shipment from “NL Ind.” means a shipment from an NL division not associated with

its petroleum services business, given the ample evidence that NL’s petroleum services business

made numerous shipments to the Gulf Nuclear Sites and the lack of evidence that any other part of

NL’s business made shipments to the Gulf Nuclear Sites.

       In addition, the materials on this particular log are described as “camera castings.” The

deposition testimony that Halliburton relies on to support its argument that the camera castings came

from some division of NL other than its petroleum services business does not support the argument.

That testimony explained that camera castings are used in the radiography field but did not rule out

their use for radiography purposes in the petroleum services business. Halliburton’s argument is

also contradicted by other evidence in the record that camera castings are used in the petroleum and

oil field services business.

       Halliburton also argues that because another Gulf Nuclear receiving log lists NL Industries

as the shipper of depleted uranium, (see Docket Entry No. 50, Ex. 18 at 8), there is at least a factual

dispute as to whether NL’s non-petroleum services businesses sent waste to the Gulf Nuclear Sites.

But Tremont has presented extensive evidence showing that depleted uranium is used in the




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petroleum services business.107 The evidence shows that NL McCullough, which was part of NL’s

petroleum services business, shipped depleted uranium for disposal.108 While there is also evidence

that NL’s nuclear division used depleted uranium,109 this evidence does not support an inference that

the depleted uranium listed on this receiving log came from NL’s nuclear division rather than the

petroleum services business. Such an inference would be unreasonable given the evidence that NL’s

petroleum services business used depleted uranium and shipped waste to the Gulf Nuclear Sites, and

the absence of evidence that NL’s nuclear division had any connection to the Gulf Nuclear Sites.

          The Gulf Nuclear records listing “Systems Tech” as sending or receiving shipments to or

from Gulf Nuclear110 show an address for Systems Tech that is the truck entrance for the North Belt

facility.111 There is also a receiving log showing that “NL Tech” sent radioactive material to Gulf

Nuclear.112 Tremont has presented evidence that Systems Tech and NL Tech were part of NL’s

former petroleum services business that was transferred to Halliburton, and Halliburton has not

presented anything to the contrary.113 There is a Gulf Nuclear receiving log showing that “NL

107
    See Docket Entry No. 41, Ex. 38 at 1 (article listing uses of depleted uranium, including in petroleum
drilling equipment); Docket Entry No. 71, Ex. D (Acree patent entitled “Method of Forming Encapsulated
Depleted Uranium Oil Field Tubular Member”); Docket Entry No. 64, Ex. 6, Gulf Nuclear’s 1983 Annual
Report at 5 (discussing use of depleted uranium in the petroleum services business).
108
      See Docket Entry No. 67, Ex. C.
109
   See Docket Entry No. 62, Ex. C, NL’s 1972 Annual Report at 12 (noting that NL’s nuclear division dealt
with depleted uranium); id., Ex. F.
110
      See Docket Entry No. 50, Ex. 18 at 2–5.
111
      Docket Entry No. 52, Ex. B.
112
      See Docket Entry No. 50, Ex. 18 at 9.
113
   See Docket Entry No. 65, Ex. C, ¶¶ 3, 5, 6 (affidavit of former employee of NL, Old Baroid, New Baroid,
Dresser, and Halliburton describing NL Technology Systems and NL Baroid Technology (sometimes known
as NL Tech) as operating out of the North Belt facility, as being involved in the petroleum services business,
and as being transferred to New Baroid under the 1990 Plan); Docket Entry No. 68, Ex. B, ¶ 3 (Morrison
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M.W.D.” made a shipment to the Gulf Nuclear Sites;114 Tremont has presented uncontested evidence

that NL MWD was part of NL’s petroleum services business.115

          In addition, although there is evidence showing that NL’s nuclear division was separate from

its petroleum services operations,116 there is no evidence connecting the nuclear division to the Gulf

Nuclear Sites.117 Tremont has submitted an unrebutted affidavit and an unrebutted declaration in

which former employees of NL’s nuclear division state that they have no knowledge of the nuclear

division using the Gulf Nuclear Sites for disposal.118



declaration stating that NL’s petroleum services research area was referred to as “NL Tech”); see also Docket
Entry No. 71, Ex. A at 1 (EPA stipulation defining NL’s petroleum services business as including NL
Technology Systems, NL Systems Technology, and NL Baroid Technology, among other entities).
114
      Docket Entry No. 50, Ex. 18 at 7.
115
    See Docket Entry No. 65, Ex. C, ¶¶ 5, 6 (Murray’s affidavit explaining that NL MWD was part of NL’s
petroleum services operations and was transferred to New Baroid under the 1990 Plan); Docket Entry No.
41, Ex. 33, NL’s 1980 Annual Report at 9, 14 (describing Measurement-While-Drilling or MWD as part of
NL’s petroleum services operations); Docket Entry No. 41, Ex. 33, NL’s 1981 Annual Report at 7, 16 (same);
Docket Entry No. 41, Ex. 33, NL’s 1982 Annual Report at 7, 15 (same); Docket Entry No. 41, Ex. 33, NL’s
1983 Annual Report at 2, 0000-NLI-000038109, 5 (same); Docket Entry No. 41, Ex. 33, NL’s 1984 Annual
Report at 7 (same); Docket Entry No. 41, Ex. 33, NL’s 1985 Annual Report at 6–7 (same); Docket Entry No.
41, Ex. 33, NL’s 1986 Annual Report at 6, 7 (same); Docket Entry No. 41, Ex. 33, NL’s 1987 Annual Report
at 5, 7, 8, 10 (same); Docket Entry No. 71, Ex. C, ¶ 3 (Arsenault’s declaration stating that “MWD was part
of NL’s former petroleum services division’s research and development area”); cf. Docket Entry No. 80, Ex.
F at 2 (Halliburton’s website listing MWD as a Halliburton entity).
116
   See Docket Entry No. 50, Ex. 2, NL’s 1969 Annual Report at 7; id., Ex. 3, NL’s 1970 Annual Report at
6–7; id., Ex. 5, NL’s 1972 Annual Report at 10, 12; id., Ex. 6, NL’s 1973 Annual Report at 5, 13.
117
    As discussed in the factual background section, the letter submitted by Halliburton showing a sale of lead
castings and material chemical analysis from NL’s nuclear division to a New York laboratory and shipment
to a research institute in San Antonio does not provide any evidence that NL’s nuclear division shipped waste
to the Gulf Nuclear Sites. Halliburton also argues that NL’s acquisition of Cambridge Nuclear and Industrial
Reactor Labs, which produced radiological materials used for diagnostic nuclear medicine, creates a fact issue
regarding whether NL’s only connection to the Gulf Nuclear Sites was through its former petroleum services
business, but there is no evidence connecting either of these entities to the Gulf Nuclear Sites. In addition,
Industrial Reactor Labs, which was a subsidiary of Cambridge Nuclear, was transferred from NL to NLPS
in the 1988 restructuring and from Old Baroid to New Baroid in the 1990 restructuring.
118
      See Docket Entry No. 68, Ex. A, ¶ 2; id., Ex. G, ¶ 3.

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       Halliburton argues that because the complaint in the EPA lawsuit alleges that NL sent cesium

to the Gulf Nuclear Sites, and because cesium is used in both the medical field and the oil industry,

there is a fact issue as to whether the cesium NL sent came from its petroleum services business.

But the letter Halliburton submits in support of this argument is from a hospital with no apparent

relationship to NL, requesting an amendment to a license to use cesium for cancer treatment. The

Gulf Nuclear shipping slips and receiving logs only show shipments from NL entities connected to

NL’s petroleum services business.

       The EPA’s allegations and discovery responses do not create a fact issue as to whether NL’s

non-petroleum services business had a connection to the Gulf Nuclear Sites. The EPA refused to

admit in its interrogatory responses that the “Historic Petroleum Services Business of NL” is NL’s

only connection to the Gulf Nuclear Sites. (See Docket Entry No. 50, Ex. 20 at 5–6). But the only

entity the EPA identified that has not been specifically shown to be independently linked to the

petroleum services business is NL Industries. Because NL had a petroleum services division, the

EPA’s discovery response does not indicate that it has any evidence connecting any NL business

other than petroleum services to the Gulf Nuclear Sites. The EPA later stipulated that it is not

claiming that any NL business other than its “Historic Petroleum Services Business” had any

connection to the Gulf Nuclear Sites.

       In short, Tremont has presented overwhelming evidence that NL’s only connection to the

Gulf Nuclear Sites was through its former petroleum services business. Tremont has met its burden

to show that there is no genuine dispute as to this issue. Halliburton has responded with speculation

that a few receiving logs listing NL as the shipper support an inference that the non-petroleum

services operations of NL was the shipping entity and that these operations were connected to the


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Gulf Nuclear Sites. Halliburton has not pointed to any evidence showing any shipment of waste

from any non-petroleum services operations to the Gulf Nuclear Sites. Based on the undisputed

evidence in the summary judgment record, no jury could reasonably find that NL had any connection

to the Gulf Nuclear Sites other than through NL’s petroleum services operations.119

         Issue preclusion and contract interpretation are analyzed in light of the evidence and this

court’s conclusion that the undisputed facts show that NL had no connection to the Gulf Nuclear

Sites other than through its former petroleum services business.

         D.      Issue Preclusion120

                 1.       The Parties’ Contentions

         Tremont argues that in the arbitration, Halliburton had a full and fair opportunity to litigate

the issues raised in Tremont’s motion for partial summary judgment. (2005 Case, Docket Entry No.

252 at 48–50). Halliburton responds that the issues raised in the motion are not identical to the



119
    Tremont has repeatedly emphasized that if there is some connection between the Gulf Nuclear Sites and
any NL operations that were not part of its former petroleum services business, Tremont is not seeking
indemnity from Halliburton for liabilities arising out of that connection. (See., e.g., Docket Entry No. 41 at
19 (“Tremont wishes to reiterate that if there is any connection between the Gulf Nuclear Sites and something
that was not part of the historical petroleum services business of NL, Tremont is not seeking indemnity from
Halliburton for such claims.”)). This representation provides an additional safeguard for Halliburton. Even
though there is no evidence in the record that any NL operations besides its petroleum services business had
any connection to the Gulf Nuclear Sites, should Halliburton find evidence to support its speculation that
NL’s nuclear division, or some other non-petroleum services related NL entity, had a connection to the Gulf
Nuclear Sites, Tremont has represented that it is not seeking indemnification for any liabilities arising out of
non-petroleum services related connections.
120
    The terms “issue preclusion” and “collateral estoppel” refer to the same preclusion doctrine. See 18
CHARLES A. WRIGHT, ARTHUR R. MILLER & EDWARD H. COOPER, FEDERAL PRACTICE AND PROCEDURE §
4402, at 9 (2d ed. 2002) (“‘[C]ollateral estoppel, or ‘issue preclusion,’ recognizes that suits addressed to
particular claims may present issues relevant to suits on other claims.’” (quoting Kaspar Wire Works, Inc.
v. Leco Eng’g Mach., Inc., 575 F.2d 530, 535–36 (5th Cir. 1978))); id. § 4416, at 386 (“Whether the label
applied be the modern term of issue preclusion, the still current phrases of collateral estoppel and direct
estoppel, or more antique names, the principle is simply that later courts should honor the first actual decision
of a matter that has been actually litigated.” (footnote omitted)).
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issues resolved in the arbitration. (2005 Case, Docket Entry No. 274 at 41–42). Halliburton points

out that the arbitration panel examined liability for a site NL owned at the time of the 1988

restructuring, while this case requires examining liability for the McCullough Division, which NL

had sold by the time of the 1988 restructuring. (Id. at 42). Halliburton argues that “[i]t is entirely

possible that the panel considered the fact that the expired leases [at issue in the arbitration] were

directly related to and/or intertwined with property retained by NL and subsequently transferred to

Old Baroid when determining that the liabilities associated with those leases transferred to New

Baroid under the 1990 Restructuring Plan.” (Id.). Halliburton also argues that the issues in this case

were not litigated in the arbitration, which only involved the Malvern Site. (Id. at 43). Finally,

Halliburton argues that “[t]he overbroad language in the Allocation Award purportedly giving

Tremont indemnity for claims related to sites other than the Malvern Site was in no way critical or

necessary to the Allocation Award.” (Id.). Halliburton argues that the language in the Allocation

Award purporting to apply beyond the Malvern Site was dicta that exceeded the panel’s jurisdiction.

(Id. at 43–44).

       Tremont replies that Halliburton made the same arguments in the arbitration about the leases

that had expired before the 1988 restructuring that it now makes about the liabilities associated with

the McCullough Division. (See 2005 Case, Docket Entry No. 279 at 15). Halliburton argued in the

arbitration that if property was not transferred to NLPS in connection with the 1988 Plan,

Halliburton has no responsibility for historical liabilities associated with that property. The

arbitration panel specifically rejected Halliburton’s argument, concluding that “‘[w]hether leases

had expired or were terminated prior to 1988 is not determinative of whether the historical liabilities

associated with the property were assumed by NLPS, and later New Baroid.’” (Id. at 16 (quoting


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2005 Case, Docket Entry No. 247, Ex. D at 20)). The panel explained that “‘indemnification for

such historical liability is not dependent upon the actual transfer or assignment of a lease covering

leased property which had been used as part of the operations of the petroleum services business of

NL prior to 1988.’” (Id. (quoting 2005 Case, Docket Entry No. 247, Ex. D at 19–20)). Tremont also

points out that NL had transferred the Malvern Site property long before implementing the 1988

Plan. (Id. at 17 (citing id., Ex. F)).121

                 2.      Analysis

         “Collateral estoppel precludes a party from litigating an issue already raised in an earlier

action between the same parties only if: (1) the issue at stake is identical to the one involved in the

earlier action; (2) the issue was actually litigated in the prior action; and (3) the determination of the

issue in the prior action was a necessary part of the judgment in that action.”122 Petro-Hunt, L.L.C.

v. United States, 365 F.3d 385, 397 (5th Cir. 2004) (footnotes omitted).123

121
   Many parts of Exhibit F are illegible. Hollingsworth’s affidavit submitting this exhibit states that it
contains deeds from NL to Magnet Cove Barium Corporation. (2005 Case, Docket Entry No. 279-1 at 2).
122
    “Some cases . . . have recognized a fourth requirement that there be ‘no special circumstance that would
render preclusion inappropriate or unfair.’” RecoverEdge L.P. v. Pentecost, 44 F.3d 1284, 1290 n.12 (5th
Cir. 1995) (quoting United States v. Shanbaum, 10 F.3d 305, 311 (5th Cir. 1994)). The RecoverEdge court
found it unnecessary to determine in that case whether this fairness requirement exists but noted that it
“originated as a limitation on offensive collateral estoppel,” which “arises when a plaintiff seeks to estop a
defendant from relitigating issues that the defendant previously litigated and lost against another plaintiff.”
Id. (second emphasis added) (citations omitted). The RecoverEdge case “involve[d] traditional, or mutual
estoppel because the relevant parties in the conspiracy case were the same as the parties in the
dischargeability proceeding.” Id. (citation omitted). Similarly, the present case involves traditional mutual
collateral estoppel because Halliburton and Tremont were both parties to the arbitration.
123
    The parties have not addressed whether state or federal law on issue preclusion applies in determining the
preclusive effect of an arbitration award that resolved state-law issues but that was confirmed by a federal
court judgment. The parties rely exclusively on federal case law in their briefs. Fifth Circuit case law
supports the application of federal law. The Fifth Circuit has held that federal law on res judicata applies
when a federal court determines the preclusive effect of a prior federal court judgment based on diversity
jurisdiction. In the context of claim preclusion, the Fifth Circuit explained:

                 Although the forum state’s choice-of-law rules determine the substantive
                                                     123
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                 law in diversity actions, Day & Zimmermann v. Challoner, 423 U.S. 3, 96
                 S. Ct. 167, 46 L. Ed. 2d 3 (1975) (per curiam), the Dallas Division erred in
                 applying Texas’s choice-of-law rules to determine that the Florida law of
                 res judicata controls this issue. Where one federal court is considering the
                 res judicata [e]ffect of another federal court’s judgment in a diversity action,
                 the federal common law of res judicata should be applied to protect the
                 integrity of federal judgments, even though a decision is based on state law.

Miller v. Delta Airlines, Inc. (In re Air Crash at Dallas/Fort Worth Airport on Aug. 2, 1985), 861 F.2d 814,
816 (5th Cir. 1988) (citing Kurzweg v. Marple, 841 F.2d 635, 639 (5th Cir. 1988); Hardy v. Johns-Manville
Sales Corp., 681 F.2d 334, 337–38 (5th Cir. 1982)); see also Hicks v. Quaker Oats Co., 662 F.2d 1158, 1166
(5th Cir. 1981) (“Were we concerned with the collateral estoppel effects of a prior state court determination,
we would use the state’s law of collateral estoppel, but where the prior determination was also a federal
diversity action, federal common law principles will apply.” (citations omitted)); Aerojet-Gen. Corp. v.
Askew, 511 F.2d 710, 715 (5th Cir. 1975) (“Federal law clearly governs the question whether a prior federal
court judgment based on federal question jurisdiction is res judicata in a case also brought, as this one was,
under federal question jurisdiction. We believe the same result obtains where, as in this case, the first suit
was brought only under diversity jurisdiction . . . . The fact that only questions of state law were actually
pleaded and litigated in the prior federal court case cannot justify such frustration of the federal law of res
judicata.”); King v. Burlington N. & Santa Fe Ry. Co., 445 F. Supp. 2d 964, 971 (N.D. Ill. 2006) (noting that
“[t]o the extent that arbitration conducted under the [Railway Labor Act] is understood as a creature of federal
law, Plaintiff[, who argued that Illinois choice-of-law rules mandated the use of the law of the jurisdiction
where the judgment was entered, that the arbitration award arising out of the Railway Labor Act was
governed by federal law, and that federal law was the appropriate law to determine the preclusive effect of
the arbitration award,] may well have the better of this issue,” but concluding that the issue did not need to
be resolved because federal and state law on issue preclusion were nearly identical), aff’d on other grounds,
538 F.3d 814 (7th Cir. 2008); Shaw Steel, Inc. v. Morris (In re Morris), Nos. 97 B 39268, 98 A 00121, 1998
WL 355510, at *5 (Bankr. N.D. Ill. Jun. 30, 1998) (“Because the previous judgment in the present case is a
federal court judgment (notwithstanding the prior arbitration award upon which it was based), federal
standards, rather than state law standards for collateral estoppel, determine whether giving collateral estoppel
effect to the arbitration award and the federal court confirmation of that award is appropriate.” (citations
omitted)).
         Even if state law were to apply, see Manion v. Nagin, 394 F.3d 1062, 1066 (8th Cir. 2005) (applying
state law of issue preclusion to determine the preclusive effect of an arbitration award confirmed by a federal
court); SMS Demag, Inc. v. ABB Transmissone & Distribuzone, S.P.A., No. 05-00466, 2008 WL 906530, at
*8 & n.10 (W.D. Pa. Mar. 31, 2008) (applying Kentucky law on claim and issue preclusion because “the
judgment at issue for purposes of claim and issue preclusion was rendered by a federal court applying the
substantive law of Kentucky by way of an arbitration panel award,” and noting that the contract at issue
provided that the substantive law of Kentucky applied to its interpretation), the principles are the same under
the potentially applicable state laws of Delaware (the law applied by the arbitrators to the contract
interpretation issues) and Texas (the law of the state in which this court sits) as under federal issue preclusion
principles. See Harper v. Del. Valley Broadcasters, Inc., 743 F. Supp. 1076, 1082 n.3 (D. Del. 1990) (“Under
Delaware law, the test for determining collateral estoppel is substantially the same as the federal standard:
‘The test for applying collateral estoppel requires that (1) a question of fact essential to the judgment, (2) be
litigated and (3) determined (4) by a valid and final judgment.’” (citation omitted)); McDonald v. Houston
Brokerage, Inc., 928 S.W.2d 633, 637 n.3 (Tex. App.—Corpus Christi 1996, writ denied) (“Even though the
claim of collateral estoppel stems from a previous federal court action, a decision on which law to apply is
                                                      124
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                          a.   The Application of Issue Preclusion to an Arbitration Award

         A threshold issue is whether and how issue preclusion applies when the previous decision

was made by an arbitration panel and confirmed by a federal court judgment. Although preclusion

does not necessarily apply to arbitration awards, see Shaw Steel, 1998 WL 355510, at *6, there is

ample authority for giving preclusive effect to issues resolved in arbitration if the requirements are

met.124 In Universal American Barge, the Fifth Circuit rejected a challenge to the “application of

offensive collateral estoppel because the primary determination was rendered in an arbitration

proceeding, rather than in a ‘court of law.’” 946 F.2d at 1136. The court explained:

                 The United States Supreme Court declined to bar the offensive use of
                 collateral estoppel from arbitration in subsequent federal court


not required because there is little difference between the Texas and federal formulations of collateral
estoppel.” (citation omitted)). Therefore, this court will rely on federal rules of issue preclusion. Cf. Pike
v. Freeman, 266 F.3d 78, 90 n.14 (2d Cir. 2001) (noting that “the question whether federal law or state law
should govern a federal court’s determination of the preclusive effect of an arbitral award . . . unfortunately
‘has not been much developed,’” but finding that there was no conflict between potentially applicable state
law and federal law on res judicata (quoting 18 CHARLES A. WRIGHT, ARTHUR R. MILLER & EDWARD H.
COOPER, FEDERAL PRACTICE AND PROCEDURE § 4475, at 772 (Supp. 2001))).
124
     See Manion, 394 F.3d at 1066–67 (issue preclusion barred litigation of issues resolved in prior
arbitration); Jacobson v. Fireman’s Fund Ins. Co., 111 F.3d 261, 266 n.6 (2d Cir. 1997) (“Jacobson does not
contest the settled rule that “res judicata is applicable to arbitration awards and may serve to bar the
subsequent relitigation of a single issue or an entire claim.” (citations omitted)); id. at 267–68 (“We therefore
hold, [under New York law,] in keeping with the courts of the First and Second Departments, that res judicata
and collateral estoppel apply to issues resolved by arbitration ‘where there has been a final determination on
the merits, notwithstanding a lack of confirmation of the award.’” (citation omitted)); Universal Am. Barge
Corp. v. J-Chem, Inc., 946 F.2d 1131, 1136 (5th Cir. 1991) (finding that offensive collateral estoppel can
apply based on a prior determination in an arbitration proceeding); Beatus v. Gebbia, 4 F. Supp. 2d 256, 260
(S.D.N.Y. 1998) (“Collateral estoppel can be applied to a confirmed arbitration award entered as a final
judgment.” (citations omitted)); cf. IFC Interconsult, AG v. Safeguard Int’l Partners, LLC, 438 F.3d 298, 320
(3d Cir. 2006) (holding that a particular defense to garnishment would be precluded if the party seeking to
raise it was in privity with another entity that had raised the same defense in an earlier arbitration); Pike, 266
F.3d at 90 (“It is well settled that [claim preclusion] serves to bar certain claims in federal court based on the
binding effect of past determinations in arbitral proceedings.” (citations omitted)); Autotrol v. J-F Equip. Co.,
820 F. Supp. 293, 297 (N.D. Tex. 1993) (“Numerous courts have recognized that arbitration awards can have
preclusive effect in subsequent litigation.” (citations omitted)).
                                                      125
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                litigation, though the Court required consideration of the “federal
                interests warranting protection.” In an arbitrable case not directly
                involving federal statutory or constitutional rights, courts should use
                a case-by-case approach to determining the collateral estoppel effects
                of arbitral findings.

Id. at 1136–37 (footnote and internal citation omitted). In a footnote, the court explained that “[a]

case involving federal civil rights . . . might raise federal interests warranting the arbitral preclusion

bar.” Id. at 1136 n.3. The court noted that arbitral findings might “lack the supervisory scrutiny of

authoritative review, giving rise to the argument that arbitration risks determinations based on

irrelevant or hearsay evidence, or the personal whims of arbitral panel members.” Id. at 1137

(citation omitted). But the court explained that “a district court’s discretion in deciding whether to

give arbitral findings preclusive effect also keeps the risk of prejudice at an acceptable level, at least

when the arbitral pleadings state issues clearly, and the arbitrators set out and explain their findings

in a detailed written memorandum.” Id. (citations omitted). The Fifth Circuit described the

considerations a court might weigh in determining whether to apply issue preclusion to an arbitration

decision:

                If the first determination of an issue occurred in an arbitration which
                afforded litigants the “basic elements of adjudicatory procedure,” a
                district court may find in a proper case that the arbitral award
                collaterally estops relitigation of the previously determined issues.
                A district court in exercising its discretion must carefully consider
                whether procedural differences between arbitration and the district
                court proceedings might prejudice the party challenging the use of
                offensive collateral estoppel.

                The district court specifically must determine whether procedural
                opportunities available to the party in the subsequent action “might
                be likely to cause a different result.”

Id. at 1137–38 (internal citation omitted). The Fifth Circuit noted that the party challenging

preclusion did “not point to any specific arbitral procedures that would have prevented their making

                                                  126
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hearsay objections and calling their own witness, had they chosen to appear.” Universal Am. Barge,

946 F.2d at 1138. As a result, their complaints did not result “from any identified procedural

differences between arbitration and district court.” Id.

         In the present case, the arbitration proceedings went well beyond the “basic elements of

adjudicatory procedure.” The proceedings included discovery, motions practice, and live testimony

that produced an extensive record and resulted in two written awards detailing the reasons for the

arbitrators’ decisions. As this court noted in confirming the awards, the panel considered “millions

of pages of documents in the form of over 600 exhibits,” heard ten live witnesses, read many

affidavits, and viewed at least seven videotaped witnesses. At the end of first phase of the

arbitration, the arbitrators issued a lengthy award focusing on the meaning and application of the

1990 Plan. At the end of the second phase, the arbitrators issued a second award allocating the

response and remediation costs among the parties. In confirming the awards, this court noted that

both awards were “reasoned” and unanimous.

         During the arbitration, Halliburton’s counsel praised the arbitration and its thoroughness.

(See 2005 Case, Docket Entry No. 247, Ex. UU, Arbitration Transcript at 157:13–16 (“[W]e’ve

certainly had every opportunity here to be afforded as good a treatment as if we were in a court of

law . . . .”); id., Ex. VV, Arbitration Transcript at 1367:23–1368:4 (“There have been many, many

motions . . . . I thought he said 70 or so or 70 plus the other day. It’s required a lot of your work,

a lot of your time and a lot of your attention . . . .”)).125 Halliburton does not argue that the

arbitration was unfair. Nor does Halliburton argue that issue preclusion should not apply because



125
    Halliburton objects to Exhibits UU and VV as irrelevant, without any explanation. (2005 Case, Docket
Entry No. 273 at 13). The documents are relevant to whether Halliburton received a procedurally fair hearing
in the arbitration, which is relevant to its preclusive effect. Halliburton’s evidentiary objections are overruled.
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the prior decision was an arbitration award.126

         There is less concern here about applying issue preclusion than in Universal American Barge

because Halliburton was a party to the arbitration proceedings. Tremont does not seek to invoke

offensive collateral estoppel against parties who did not participate in the arbitration.

         Preclusion analysis is appropriately applied to the arbitration awards in this case.

                         b.   Identity of the Issues

         Halliburton argues that different issues are involved in the Gulf Nuclear Site claims than the

issues the arbitration panel considered in deciding the Malvern Site claims. Halliburton identifies

the factual issues involved in the Malvern Site claims, as follows:

                 (1) the history of the mining activities at the site; (2) the mining and
                 milling activities of the parties; (3) the multiple conveyances of
                 multiple tracts of property in Malvern, Arkansas, (4) current
                 operations near the site and their impact on the interpretation of the
                 1990 Restructuring Documents; (5) the interpretation of the term
                 “surplus property”; (6) whether the Malvern Site constituted surplus
                 property; and (7) the payment of ad valorem taxes.

(2005 Case, Docket Entry No. 274 at 41). Halliburton argues that the issues involved in the Gulf

Nuclear Sites claims include:

                 (1) the interpretation of the term “petroleum services business”; (2)
                 the NL McCullough Division’s assets and operations and their
                 relationship, if any, to NL’s former petroleum services business
                 and/or NL’s other business units; (3) whether the specific waste
                 allegedly transported to the Gulf Nuclear Sites was related to NL’s
                 former petroleum services business; (4) the details surrounding the
                 physical transfer of assets, including property conveyances in Texas
                 and other states; (5) the liabilities, if any, retained by NL under the
                 Asset Purchase Agreements; (6) the conduct of the parties with
                 respect to the various business units sold in 1987; and (7) post 1988
                 indemnification agreements related to the business units sold by NL

126
   Halliburton does argue that claim preclusion cannot apply because the claims at issue in this litigation are
not arbitrable. (See Docket Entry No. 274 at 32–36). However, Tremont is not seeking claim preclusion.
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                  in 1987.

(Id. at 41–42).

         Halliburton argues that “[i]n order for the doctrine of collateral estoppel to apply, Tremont

must prove that the issues in the arbitration are identical to the issues presented by the Gulf Nuclear

Sites claims.” (Id. at 42). To the extent Halliburton argues that every issue in the arbitration and

in this lawsuit involving the Gulf Nuclear Sites must be identical, Halliburton overstates. Tremont

must show that the issues it contends are precluded are identical. See RecoverEdge, 44 F.3d at1291

(“[T]he subject matter of the suits may be different as long as the requirements for collateral

estoppel are met.” (citing Shanbaum, 10 F.3d at 311)). Halliburton’s approach of listing the issues

involved in the arbitration and the issues involved in this litigation does not resolve whether issue

preclusion applies. Instead, the approach seems to confuse issue with claim preclusion.127

         Tremont frames the precluded issue as the arbitration panel’s determination that “Halliburton

has full liability for the historical petroleum services liabilities, including liability for assets that

were never transferred in connection with the 1988 Restructuring.” (2005 Case, Docket Entry No.

252 at 3). Whether the relevant contracts mean that Halliburton is responsible for historical

liabilities of NL’s former petroleum services business, including those associated with assets or

operations that were not transferred to NLPS in the 1988 restructuring, is identical to an issue

resolved in the arbitration. Cf. RESTATEMENT (SECOND)                OF JUDGMENTS      § 27 cmt. c (1982)

(“Preclusion ordinarily is proper if the question is one of the legal effect of a document identical in


127
    See 18 CHARLES A. WRIGHT, ARTHUR R. MILLER & EDWARD H. COOPER, FEDERAL PRACTICE AND
PROCEDURE § 4402, at 9 (2d ed. 2002) (noting that “‘[u]nder the[] rules of claim preclusion, the effect of a
judgment extends to the litigation of all issues relevant to the same claim between the same parties, whether
or not raised at trial,’” and that “‘issue preclusion bars the relitigation of issues actually adjudicated, and
essential to the judgment, in a prior litigation between the same parties’” (emphasis added) (quoting Kaspar
Wire Works, 575 F.2d at 535–36)).
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all relevant respects to another document whose effect was adjudicated in a prior action.”). In this

case, Tremont seeks to hold Halliburton responsible for cleanup costs at the Gulf Nuclear Sites

because NL’s only connection to those sites was through its former petroleum services business,

which was transferred to NLPS in the 1988 restructuring. Tremont seeks to hold Halliburton

responsible for those historical liabilities even if before the 1988 restructuring, NL had sold the

assets or operations that had contributed to the waste and contamination at the Gulf Nuclear Sites.

The issue of Halliburton’s liability for the historical environmental liabilities of NL’s petroleum

services business, including liabilities associated with parts of the business NL sold before the 1988

restructuring, was litigated and decided in the arbitration as a critical issue in that proceeding.

        The arbitration panel expressly held that Halliburton was responsible for all historical

liabilities of NL’s Petroleum Services Business—a defined term in the 1990 Plan—regardless of

whether NL had transferred the assets associated with the liabilities before the 1988 restructuring.

Halliburton argued in the arbitration that “Tremont’s argument that Halliburton is responsible for

the leased properties is dependent upon proof that such properties were actually transferred to NL

Petroleum Services Inc. (‘NLPS’), as part of the 1988 restructuring of NL.” (2005 Case, Docket

Entry No. 247, Ex. D at 14). Tremont responded that “the leased properties constitute ‘historical

liabilities’ associated with the petroleum services business transferred under both the 1988 and 1990

plans of restructuring, and are therefore the responsibility of Halliburton as the successor to New

Baroid.” (Id., Ex. D at 13). The panel noted that “as argued by Halliburton, such ‘surplus’ leased

properties and licenses would not be covered under the indemnification provision of the 1988 Plan

of Restructuring, as that obligation does not extend to ‘any claims of liability at sites or facilities or

with respect to operations not transferred to NLPS.’” (Id., Ex. D at 14 (quoting 1988 Plan, §


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1.4(c))). Halliburton also argued that “[e]xpired leases and license agreements would not have

transferred under the terms of the 1990 Plan, as they could not be classified as ‘property, assets, or

rights’ and thus were excluded from the definition of ‘Petroleum Services Assets’ and specifically

excluded under Exhibit A to the Plan as ‘Obligations’ which did not constitute ‘Petroleum Services

Obligations.’” (Id., Ex. D at 14).

       The arbitration panel decided Halliburton’s responsibility for historical liabilities associated

with properties that NL had leased at the Malvern Site and that were not transferred to NLPS in the

restructuring. In the allocation phase of the arbitration, the panel stated that during the contract

phase, “[t]here were . . . extensive references concerning the disposition of historical liabilities,

including environmental liability, associated with the petroleum services business in the many

depositions and affidavits submitted as part of the arbitration record.” (Id., Ex. D at 15). The “issue

was also the subject of live testimony during the Contract Hearing from J. Landis Martin, officers

and Board members William Lindquist, Steve Watson and Ann Manix, together with the video

depositions of Harold Simmons and John Karnes . . . .” (Id., Ex. D at 15). The earlier testimony was

supplemented with “four ‘clarifying affidavits’ from Mr. Watson, Mr. Lindquist, Mr. Simmons and

Mr. Martin.” (2005 Case, Docket Entry No. 247, Ex. D at 16). The panel stated that “[t]he affiants’

testimony was consistent in explaining that all historical liabilities of NL associated with the

petroleum services business transferred to New Baroid in 1990, including those liabilities associated

with the leased properties.” (Id., Ex. D at 16 (emphasis added) (citations omitted)).

       The panel explained that under the Assumption Agreement executed as part of the 1988

restructuring, NLPS agreed “‘[t]o perform the obligations of NL under the contracts, leases and

other agreements or undertakings that are included among the Assets and other items referred to in


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Section A above; . . . .’” (Id., Ex. D at 18 (omission in original) (citation omitted)). The panel also

noted that under the Assumption Agreement, “NL agreed to sell, grant, transfer and deliver to NLPS

all of NL’s right, title and interest in and to all of its assets, including without limitation: ‘1. All real

property . . . now or hereafter used primarily in NL’s petroleum services business . . . .’” (Id., Ex.

D at 18 (second omission in original)). The panel concluded that “[b]y their inclusion of NL’s

‘leases’ under the description of the ‘Obligations assumed,’ it is logical to conclude that the parties

intended that leases associated with the real property ‘used primarily in NL’s petroleum services

business’ constituted obligations assumed by NLPS under the 1988 Plan of Restructuring,” and that

“[c]onsequently, all such leased property of NL would have been included as part of the petroleum

services business and operations transferred to NLPS in 1988 for which NLPS assumed

responsibility thereafter.” (Id., Ex. D at 19).

        The panel rejected Halliburton’s argument that leased properties, particularly those that

expired or were terminated before the 1990 Plan’s implementation, were “surplus real property”

excluded from the transfer to New Baroid. The panel noted the “clear intent of both plans of

restructuring to 1) spin-off the pre-existing petroleum services business of the transferors in 1988

and 1990, respectively, and 2) transfer responsibility for all historical liabilities associated with the

operations of that business.” (Id., Ex. D at 19 (emphasis added)). The panel clearly stated that the

transfers in 1988 and 1990 included all historical liabilities.

                [T]he conclusion is inescapable that the leased properties and licenses
                of NL, and subsequently “Old” Baroid, were indeed an integral part
                of the petroleum services business of NL, and the resultant liabilities
                and obligations were assumed by NLPS and New Baroid,
                respectively, as a result of the plans of restructuring. Those plans
                included not only the transfer of the assets and operations of the
                transferors’ petroleum services business, but also the associated past
                and future liabilities and obligations.

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(2005 Case, Docket Entry No. 247, Ex. D at 19 (emphasis added)).

        The panel emphasized that its conclusion that liabilities arising from leased properties

transferred as part of the historical petroleum services business was unaffected by whether the leases

had expired or terminated before the 1988 Plan:

                Whether leases had expired or terminated prior to 1988 is not
                determinative of whether the historical liabilities associated with the
                leased property were assumed by NLPS, and later New Baroid. . . .
                [I]ndemnification for such historical liability is not dependent upon
                the actual transfer or assignment of a lease covering leased property
                which had been used as part of the operations of the petroleum
                services business of NL prior to 1988.

(Id., Ex. D at 20).

        In the Allocation Award, the panel included a section entitled “A Finding Of Responsibility

For Indemnification For Historical Liabilities Associated With Leased Properties Does Not Require

Proof That Leases And License Agreements Were Actually Assigned Or Transferred To Anyone

As Part Of The 1988 And 1990 Restructurings.” (Id., Ex. D at 20). The panel rejected Halliburton’s

argument that indemnification for petroleum services obligations depended on the transfer of the

related property:

                The Halliburton Parties insist that a determination of their
                responsibility for the leased properties is dependent upon proof that
                such properties were actually transferred to NL as part of the 1988
                restructuring. The Halliburton Parties rely upon the September 1988,
                Amended and Restated Formation Agreement, executed between the
                parties as part of the 1988 restructuring. In particular, the Halliburton
                Parties point to the following provision of the Formation Agreement:

                        “1.4 Liabilities Not Assumed. The parties agree that
                        NLPS will not assume or be liable for any of the
                        following liabilities or obligations . . . :

                            (c) Any claims of liability at sites or facilities or
                        with respect to operations not transferred to NLPS

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                       pursuant to this Agreement, . . .”

               In the absence of proof that leased properties were actually
               transferred or assigned to NL in 1988, the Halliburton Parties claim
               that any obligation of HESI, as the successor to New Baroid, to
               indemnify NL and Tremont does not extend to any claims of liability
               at sites or facilities or with respect to operations associated with the
               leased properties. As stated above, the Panel disagrees. As
               assumption of indemnification obligations and successor liability for
               historical liabilities associated with the transferred petroleum
               services business is not dependent upon an actual physical transfer
               or assignment of an associated lease, or real estate for that matter.
               This is made clear by an examination of the other relevant contract
               terms.

(Id., Ex. D at 20–21 (emphasis added) (omissions in original) (footnote and internal citations

omitted)).

       With respect to the 1988 restructuring, the panel explained that in the Formation Agreement,

“NL agreed to ‘convey, assign, transfer and deliver to NLPS all of its properties, assets and rights

of any kind, whether tangible or intangible, real or personal, related to its petroleum services

business . . . ’”; that in the same agreement, “NLPS assumed associated liabilities” by agreeing “‘to

assume, pay, discharge or perform when due all liabilities and obligations, known or unknown,

of NL, associated with its petroleum services business . . .’”; that in the Cross-Indemnification

Agreement, NLPS agreed to indemnify NL with respect to “‘[c]laims of liability at sites or

facilities or with respect to the operations (i.e., petroleum services business) transferred to

NLPS pursuant to the Formation, including claims arising out of or relating to the deposit,

placement or disposal of any material of any character whatsoever on such sites or Facilities;

. . .’”; and that in the Indebtedness Agreement, NLPS agreed “‘to assume and unconditionally

guarantee to NL[’]: ‘(c) the performance or discharge by NLPS on behalf of NL of any and all

other indebtedness and obligations of NL which are attributable to NL’s petroleum services

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business.’” (Id., Ex. D at 21–22 (italics emphasis added) (omissions in original) (citations

omitted)). The panel held: “[T]here is no question that NL effectively transferred all assets and

operations, existing and historical liabilities, associated with its petroleum services business to NLPS

in 1988.” (Id., Ex. D at 22). The panel continued:

                The assumption by NLPS of liabilities and obligations associated
                with that petroleum services business was truly comprehensive.
                There is nothing to suggest that such historical liabilities and
                obligations, even those related to expired or canceled leases on
                leased properties associated with the petroleum services business,
                were not transferred to and assumed by NLPS. On the contrary, the
                opposite conclusion is unavoidable.

(2005 Case, Docket Entry No. 247, Ex. D at 22 (emphasis added)).

        The panel reached the same conclusion for the 1990 restructuring. (Id., Ex. D at 22). The

panel noted that after the 1988 restructuring, NLPS changed its name to (Old) Baroid Corporation,

and then transferred all the petroleum services business to New Baroid under the 1990 Plan. (Id.,

Ex. D at 22). The panel explained that under the 1990 Plan,

                Old Baroid not only assigned to, and New Baroid assumed, all of Old
                Baroid’s “properties, assets and rights, of any kind, whether tangible
                or intangible, real or personal, which [were] attributable to the
                Petroleum Services Business (the ‘Petroleum Services Assets’) . . . ,”
                but New Baroid also assumed and agreed:

                        to discharge all indebtedness, liabilities, obligations,
                        claims, covenants, losses, damages, costs, penalties
                        and expenses, of any kind of and nature, whether
                        accrued, absolute or contingent, asserted or
                        unasserted, and whether existing as of the date of this
                        Plan or arising thereafter (collectively,
                        “Obligations”), of [old Baroid] arising out of, or
                        which are otherwise attributable to, the past,
                        present or future ownership or operations of the
                        Petroleum Services Business . . . .

(Id., Ex. D at 22 (alterations and omissions in original) (additional quotation marks and citation

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omitted)). The panel also noted that under the 1990 Plan, BDFI agreed to discharge New Baroid’s

obligations arising out of the past, present or future ownership or operations of “Petroleum Services

Assets”; that BDFI became part of the Baroid Division of Dresser, which merged with Halliburton

N.C. Inc., with DII as the surviving company; and that DII’s Baroid Division assets were contributed

to HESI. (Id., Ex. D at 23). “As a consequence of these transactions,” the panel concluded, “HESI

has succeed to, and is responsible for, indemnity obligations owed by New Baroid to Old Baroid and

Old Baroid successors in connection with the petroleum services business, including those

obligations assumed by BDFI.” (Id., Ex. D at 23).

       The panel later reemphasized that New Baroid’s assumption of particular assets was not

relevant to its assumption of related liabilities under the 1990 Plan. “[E]ven if expired leases and

license agreements did not constitute ‘property, assets and rights, of any kind,’ transferred under the

Plan, one cannot conclude that historical liabilities and obligations associated with such instruments

were not undertaken and assumed by New Baroid and BDFI, or that they did not agree to indemnify

Old Baroid and its affiliates for such liabilities.” (2005 Case, Docket Entry No. 247, Ex. D at 24).

The panel held that under the 1990 Plan, it was “irrefutable that New Baroid indemnified Old Baroid

for historical liabilities arising out of or otherwise attributable to past, present or future ownership

or operations of the petroleum services business,” and that “[l]iabilities or obligations associated

with expired leases or license agreements would constitute such ‘Obligations,’ and trigger HESI’s

successor indemnification obligations.” (Id., Ex. D at 25). The panel held: “[I]t is clear that all of

the leased properties and license agreements, whether expired or terminated prior to 1988, arose out

of, or were otherwise attributable to, the past, present or future ownership or operations of the

petroleum services business to which HESI is the successor.” (Id., Ex. D at 27 (emphasis added)).


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       The issue of Halliburton’s contractual responsibility for historical liabilities of NL’s

petroleum services business—including those arising from assets that were transferred before the

1988 restructuring—was litigated and decided in the arbitration. That same issue is also critical to

this case. The case law supports treating the issues as identical for the purposes of preclusion.

       In RecoverEdge L.P. v. Pentecost, 44 F.3d 1284 (5th Cir. 1995) , the court found the relevant

issue to be identical under similar circumstances. In that case, an individual, Dr. David Carpenter,

was involved in a real estate development project. Id. at 1287. He and two others formed Houston

Storage, Inc. to purchase a warehouse. Id. Houston Storage later purchased a parcel of land from

Universal Savings Association. Id. The transaction ultimately led to Universal Savings (later

replaced by the Resolution Trust Corporation (RTC)) suing Carpenter for civil conspiracy, common-

law fraud, unjust enrichment, and breach of contract. Id. The RTC later added to the complaint an

allegation that Carpenter’s debt on the underlying promissory note was nondischargeable under the

Bankruptcy Code because it was obtained by fraud. See id. at 1288 & n.7 (quoting 11 U.S.C. §

523(a)(2)(A) (1988)). The district court directed a verdict against Carpenter on the breach of

contract claim for nonpayment of the promissory note. RecoverEdge, 44 F.3d at 1288. The jury

returned a special verdict finding that all the Houston Storage defendants except Carpenter had

engaged in a conspiracy to defraud the RTC. Id. The court held Carpenter jointly and severally

liable with the other Houston Storage defendants. Id. After the civil conspiracy trial ended, the

district court held that Carpenter’s debt was nondischargeable under § 523(a)(2)(A), even though

the jury had not found that Carpenter conspired to defraud. Id. at 1289. The court concluded that

the jury’s finding on that issue had to be disregarded because Houston Storage could only have

conspired though Carpenter’s acts. Id.


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       On appeal, Carpenter argued that the jury’s verdict precluded the court from determining

whether his debt was dischargeable under section 523(a)(2)(A). Id. The Fifth Circuit noted that

“[t]here [was] no question that the issue of whether Carpenter conspired with others to defraud

Universal Savings was actually litigated in the first proceeding and necessary to the court’s final

judgment entered on the jury’s verdict.” Recover Edge, 44 F.3d at 1290–91 (footnote omitted). As

a result, “the crucial issue . . . [wa]s whether the issues [we]re identical.” Id. at 1291 (citation

omitted).   The Fifth Circuit “agree[d] with RecoverEdge that the traditional elements of

nondischargeability under § 523(a)(2)(A) are not identical to the elements of a civil conspiracy to

defraud.” Id. at 1293. But because courts “do not compare the issues in the abstract,” the court

concluded that “the specific nature of RTC’s nondischargeability claim against Carpenter ha[d]

made what might otherwise be distinct issues identical.” Id. The court explained why the issues

were identical:

                  [T]he RTC argued that Carpenter’s debt is nondischargeable under §
                  523(a)(2)(A) because he participated in a conspiracy to defraud the
                  RTC. That issue, however, is precisely the issue decided by the jury
                  in the RTC’s conspiracy case against Carpenter. The question put to
                  the jury in the conspiracy case was: “Do you find from a
                  preponderance of the evidence that [Carpenter, Pentecost, and
                  Houston Storage] engaged in a civil conspiracy with [named and
                  unnamed defendants] to defraud [the RTC as Receiver for Universal
                  Savings] in connection with [the Houston Storage transaction]?” The
                  RTC then sought to put what amounts to the same question before the
                  district court in the dischargeability proceeding: Do you find, by a
                  preponderance of the evidence, that Dr. Carpenter participated in a
                  scheme to defraud the RTC as receiver for Universal Savings?

Id. at 1294 (second, third, and fourth alterations in original). The court held that “[b]ecause the

issues of ultimate fact in the two proceedings [we]re identical, . . . the RTC was precluded from

asserting its ‘participation in a fraudulent scheme’ theory of nondischargeability under §


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523(a)(2)(A) . . . .” Id.

        The RecoverEdge court rejected the arguments that issue preclusion did not apply because

the first proceeding was legal while the bankruptcy proceeding was equitable and because the first

proceeding involved a question of state law while the second proceeding involved federal

bankruptcy law. RecoverEdge, 44 F.3d at 1294–95. The Fifth Circuit noted that there was no

authority for such limits on preclusion. Id. at 1295.

        As in RecoverEdge, Halliburton asks this court to redetermine an issue that was presented

and decided in the previous action. In support of its argument that the fact issues are not identical,

Halliburton describes several cases in which issue preclusion or claim preclusion did not apply.

Halliburton does not explain how those cases apply to the facts of this case. All the cases

Halliburton relies on are distinguishable.

        Halliburton first cites EEOC v. MCI Telecommunications Corp., 820 F. Supp. 300 (S.D. Tex.

1993). That case involved offensive collateral estoppel. The court found that the issues were not

identical because in the prior case the plaintiff had to prove discrimination, while the later case

required proof of retaliation. Id. at 307. The court explained that “[e]stablishing a prima facie case

that an individual was discharged because of her race involves distinctly different criteria from

showing a prima facie case that an individual was discharged because of her opposition to an

unlawful employment practice.” Id. In contrast, the present case involves only mutual collateral

estoppel. And there is no difference between the factual and legal analysis in the arbitration and in

this litigation for determining whether transfers of property before the 1988 restructuring would

prevent the assumption by NLPS of historical liabilities associated with the transferred properties.

The same contracts are involved in both the arbitration and this litigation. The fact that different


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sites are involved in the arbitration and in this litigation does not change the analysis of the identical

contractual indemnity provisions.

        Halliburton also relies on Mitsubishi Corp. v. Eagle Transport, Ltd., 729 F. Supp. 524 (E.D.

Tex. 1989). In that case, a cargo owner sued the owner of a vessel that sank. Id. at 525. The

plaintiff sought to apply offensive collateral estoppel based on a prior personal injury action

involving the same sinking. Id. In the personal injury action, the vessel owner had conceded

liability based on vicarious liability for the master’s negligence. See id. The jury had found that 50

percent of the negligence that “caused the ‘occurrence in question’ was attributable to the vessel

owner.” Id. The jury also found that the owner did not justifiably believe it was in compliance with

shipping regulations when the ship set sail. Id. The later cargo-claim suit required the plaintiff to

show that the carrier had failed to use due diligence to make the ship seaworthy. Mitsubishi, 729

F. Supp. at 525. The relevant statute provided a defense for loss resulting from an “‘[a]ct, neglect,

or default of the master . . . .’” Id. The court in the cargo-claim suit rejected the plaintiff’s argument

that the issue in both cases was the unseaworthiness of the ship. See id. The jury in the first case

had only found negligence for the loss of life, not for the sinking of cargo, and the vessel owner had

conceded negligence for the loss of life based on respondeat superior, not based on unseaworthiness.

Id. The jury had found that the vessel owner failed to comply with shipping regulations, but the

court noted that the jury had merely acted in an advisory capacity and that a ship could still be

seaworthy without complying with the shipping regulations. Id. at 525–26. The court held that even

if the jury in the previous case had found unseaworthiness, the later case required finding a want of

due diligence to make the ship seaworthy and the relevant statute did not impose liability against the

carrier for actions of the captain. Id. at 526. Because the issues of lack of due diligence and the


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carrier’s liability were not submitted to the jury in the previous action, issue preclusion did not

apply. Mitsubishi, 729 F. Supp. at 526. In contrast, the present case involves mutual collateral

estoppel. The exact issue of Halliburton’s responsibility for liabilities arising from NL’s historical

petroleum services business—including liabilities arising from assets not transferred to NLPS in the

1988 restructuring—was decided in the arbitration and is present in this case.

       Halliburton next relies on Petro-Hunt, L.L.C. v. United States, 365 F.3d 385 (5th Cir. 2004).

In that case, the court found that issue preclusion did not apply. The prior case had assumed—not

decided—the applicability of a particular state statute, analyzed that statute under state law, and

determined that the statute did not violate the federal Constitution. Id. at 398 (footnote omitted).

In the later case, the defendant raised a choice-of-law issue that the previous case had not addressed.

Id. The court held that even if the choice-of-law issue had been determined in the prior action,

changes in controlling legal principles also made issue preclusion inapplicable. Id. at 399. In

contrast, the issue sought to be precluded in this case was not “assumed” in the arbitration but was

extensively litigated and decided. Halliburton has not asserted that there has been an intervening

change in law.

       Halliburton also relies on Forbo-Giubiasco S.A. v. Congoleum Corp., 516 F. Supp. 1210

(S.D.N.Y. 1981). That case involved nonmutual collateral estoppel. Congoleum owned patent

rights to floor-covering products. Id. at 1211. Congoleum granted the plaintiff a nonexclusive

license to make, use, and sell. Id. The license agreement stated that if Congoleum licensed the

products at a lower royalty rate, the plaintiff would have the option to pay the more favorable rate.

Id. The agreement also contained a “Related Company Clause” stating that if the plaintiff sold the

licensed products to a related company, the net sales price would be deemed to be the price at which


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the licensee would have sold the product to an independent purchaser. Id. The plaintiff sought to

pay a reduced royalty rate based on Congoleum’s licensing to another company. Id. When

Congoleum refused to accept that rate, the plaintiff sued. Forbo-Giubiasco, 516 F. Supp. at

1211–12. Congoleum counterclaimed for additional royalties under the Related Company Clause,

damages for alleged fraud for falsely representing that sales would be made in accordance with the

Related Company Clause, damages for the plaintiff’s own use of the licensed products to reflect the

meaning of the Related Company Clause, and reformation. Id. at 1212.

       The plaintiff argued that the counterclaims based on the Related Company Clause were

precluded by an earlier arbitration proceeding between Congoleum and the plaintiff’s sister

company, Forbo-Krommenie, B.V., which had entered into a similar licensing agreement with

Congoleum containing a nearly identical Related Company Clause. Id. In the earlier arbitration,

the panel had determined the amount of royalties Forbo-Krommenie owed to Congoleum and

established a formula for calculating royalties under the Related Company Clause. Id. The district

court rejected “Congoleum’s argument that no identity of issues can exist unless the same

transaction, act or occurrence is at issue . . . .” Id. at 1214. The court nonetheless concluded that

issue preclusion did not apply. The court explained:

               The meaning to be accorded the Related Company Clause in this case
               depends upon the parties’ intent when they agreed to this contract.
               It is at least clear that the proper interpretation will depend on
               extrinsic evidence, since the Congoleum/Krommenie arbitration
               demonstrates that the words of the Related Company Clause are
               ambiguous. The fact that Congoleum used the identical language in
               the Giubiasco Related Company Clause as it had used six years
               earlier in the Krommenie Related Company Clause would suggest
               that the two provisions should be interpreted in the same manner only
               if the same negotiating context for both contracts existed. However,
               Congoleum has presented uncontradicted evidence supporting the
               proposition that the understanding between Congoleum and

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               Giubiasco in 1971 was not the same as the understanding between
               Congoleum and Krommenie in 1965.

Id. (emphasis added). The court concluded that “whatever the Related Company Clause may have

meant in the Krommenie contract, it is entirely possible that the parties intended and understood that

it would mean something different in the Giubiasco contract.” Forbo-Giubiasco, 516 F. Supp. at

1215.

        Forbo-Guibiasco involved two separate contracts between different parties, and evidence

that the contracting parties intended different meanings for each contract. The issue in the present

case, by contrast, depends on interpreting the same contracts, with the same contracting parties, that

the arbitration panel analyzed.

        Finally, Halliburton relies on Dominion Video Satellite, Inc. v. Echostar Satellite L.L.C., 430

F.3d 1269 (10th Cir. 2005). In Dominion Video Satellite, the defendant sought to avoid confirmation

of an arbitration award by arguing that the award was barred by claim preclusion. Id. at 1276. An

earlier arbitration between the same parties had interpreted another provision of the agreement and

had “made a single isolated reference to a limited exception” to the provision of the agreement at

issue in the later arbitration. Id. The court held that claim preclusion did not apply, explaining that

“even though the prior arbitration panel referenced a provision of the Agreement at issue in this

case, it did not decide any issues related to that exception, nor was the reference invited by the

parties or necessary to the resolution of the prior dispute.” Id.

        In the present case, in sharp contrast, the arbitration panel did not merely refer to the

interpretation of the contracts at issue or to Halliburton’s argument that leased properties did not

transfer to NLPS in the 1988 restructuring and that this prevented historical liabilities that arose

from those properties from being included in the petroleum services business NLPS received.

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Instead, the arbitration panel considered the identical contracts at issue here and the identical

arguments about the 1988 restructuring raised here.128              Dominion Video does not support

Halliburton’s argument.

          Halliburton also argues that the issues in the arbitration and the issues in the present case are

different because the “issues underlying the expired leases in Malvern were directly associated with

property retained by NL in 1988,” while “NL sold ‘all assets and properties, real and personal,

tangible and intangible, owned by [NL] and utilized in the business and operation of the

[McCullough Services] Division.’” (2005 Case, Docket Entry No. 274 at 42 (alterations in

original)). Halliburton asserts that “[i]t is entirely possible that the panel considered the fact that the

expired leases were directly related to and/or intertwined with property retained by NL and

subsequently transferred to Old Baroid when determining that the liabilities associated with those

leases transferred to New Baroid under the 1990 Restructuring Plan.” (Id.). Halliburton argues that

“[b]ecause NL had divested itself of the sites and operations associated with the Gulf Nuclear Site

claims, NL retained no benefits or other interest in those sites and operations.” (Id.). But

Halliburton has not pointed to any evidence in the arbitration record supporting its argument. To

the contrary, the record shows that the panel concluded that “[t]here is no question that NL

effectively transferred all assets and operations, existing and historical liabilities, associated with

its petroleum services business to NLPS in 1988”; that “[t]he assumption by NLPS of liabilities and

obligations associated with that petroleum services business was truly comprehensive”; and that

“[t]here is nothing to suggest that such historical liabilities and obligations, even those related to

expired or canceled leases on leased properties associated with the petroleum services business,



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      In addition, Dominion Video considered claim preclusion, not issue preclusion.

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were not transferred to and assumed by NLPS.” (Id., Ex. D at 22 (emphasis added)). The panel

found a complete transfer of NL’s historical petroleum services business to NLPS in 1988.

Halliburton’s argument that the panel possibly considered the leases’ relationship to property

retained by NL is speculative and not supported by the record.129 The record shows that the issue

as to which preclusion is sought in this case is the same as an issue decided in the arbitration.

                          c.   The Issue Was Actually Litigated in the Arbitration

         Halliburton argues that issue preclusion cannot apply because the arbitration only concerned



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    Even if the issue of liability for obligations associated with NL’s former petroleum services business but
related to assets or operations sold by NL before the 1988 restructuring was found not precisely identical to
the issues resolved in the arbitration, the factors set out in the Restatement nonetheless weigh heavily in favor
of applying issue preclusion. Under the Restatement:

                 When there is a lack of total identity between the particular matter presented
                 in the second action and that presented in the first, there are several factors
                 that should be considered in deciding whether for purposes of the rule of
                 this Section the “issue” in the two proceedings is the same, for example: Is
                 there a substantial overlap between the evidence or argument to be
                 advanced in the second proceeding and that advanced in the first? Does the
                 new evidence or argument involve application of the same rule of law as
                 that involved in the prior proceeding? Could pretrial preparation and
                 discovery relating to the matter presented in the first action reasonably be
                 expected to have embraced the matter sought to be presented in the second?
                 How closely related are the claims involved in the two proceedings?

RESTATEMENT (SECOND) OF JUDGMENTS § 27 cmt. c (1982). Here, there is substantial overlap between the
evidence and arguments in the arbitration and in this case. For example, Halliburton presented evidence in
the arbitration as to whether historical liabilities for properties and leases not transferred were passed on to
Halliburton. Halliburton’s “100-Acres brief” from the arbitration presents many of the same arguments
Halliburton seeks to present in this case. (See 2005 Case, Docket Entry No. 279, Ex. E at 2, 4–6). In
addition, Halliburton has not shown what new arguments or evidence it might be able to present with respect
to the Gulf Nuclear Sites that would not have been relevant to its argument in the arbitration that it did not
assume liabilities associated with leased property not transferred in the 1988 restructuring. The same
principles of contract interpretation apply in both the arbitration and in this case. Although discovery in the
arbitration was largely, though not entirely, about the Malvern Site, Halliburton has not explained how
discovery focused on the sites at issue in this case would have any effect on the interpretation of the contracts
that apply to both the Malvern Site and the sites at issue here. Although the claims in the arbitration related
only to the Malvern Site and the claims in this case involve different sites, the same contracts govern
responsibility for historical liabilities arising from NL’s former petroleum services business.
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the Malvern Site and the parties did not agree to arbitrate issues relating to the McCullough

Division. (2005 Case, Docket Entry No. 274 at 43). The claims, defenses, and issues the arbitration

panel heard and decided arise in the context of the Malvern Site, not the Gulf Nuclear Sites. But

issue preclusion may apply to identical issues the panel decided, if the requirements are met. The

decision in Autotrol Corp. v. J-F Equipment Co., 820 F. Supp. 293, 297–98 (N.D. Tex. 1993), is

instructive.130 In Autotrol, defendant J-F Equipment Company (“JFE”) granted Autotrol a license

to manufacture and sell a particular product. Id. at 294–95. Two disputes arose. One involved

whether JFE was required to indemnify Autotrol in suits brought by third parties based on Autotrol’s

sales of the product. Id. at 295. The other involved whether Autotrol was obligated to pay JFE a

guaranteed minimum royalty. Id. The parties arbitrated these disputes in 1990. Id. The arbitrators

held that the agreement could not be terminated for nonpayment of minimum royalties and denied

JFE’s counterclaim for minimum royalties for 1989. Id. Despite the arbitration award and its

subsequent confirmation by the district court, JFE continued to demand minimum royalties.

Autotrol, 820 F. Supp. at 295. JFE notified Autotrol that it intended to offset the unpaid minimum

royalties for 1990 and 1991 against the amount JFE owed Autotrol for equipment. Id. at 295–96.

Autotrol sued, seeking a declaratory judgment that the arbitration award precluded JFE from

obtaining any minimum royalties. Id. at 296. JFE filed a counterclaim for minimum royalties. Id.

JFE argued that the arbitration award did “not preclude its claim for set-off or for 1990 and 1991

minimum royalties because the arbitrators examined only whether Autotrol was obligated to pay a

minimum royalty for 1989.” Id. at 297. JFE asserted that “because the arbitrators did not make

specific factual findings as to minimum royalties, the award has no res judicata effect.” Id. at



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      Autotrol involved claim preclusion under Texas law, but its analysis is nonetheless relevant here.

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297–98.

       The court rejected JFE’s argument. The court explained that “[t]o conclude that Autotrol

was not obligated to pay JFE minimum royalties for 1989, . . . the arbitrators necessarily had to

determine that the Agreement did not require them.” Autotrol, 820 F. Supp. at 298 (footnote and

citation omitted). The court commented that “JFE offer[ed] no other reasonable explanation as to

how the arbitrators could have denied its counterclaim for minimum royalties without reaching that

conclusion.” Id. (citation omitted). In applying preclusion, the court noted:

               JFE willingly consented to have the Agreement interpreted by the
               arbitrators. It submitted all its evidence in a full and fair hearing and
               had its counterclaim denied. Clearly, a finding by this court that the
               Agreement obligates Autotrol to pay JFE minimum royalties for 1990
               and 1991 would undermine the arbitrators’ construction of the
               Agreement. JFE is precluded from litigating any issue pertaining to
               its minimum royalties claim that could have been raised in
               arbitration.

Id. (emphasis added).

       In the present case, Halliburton agreed to arbitrate the responsibility for remediating the

Malvern Site as between Halliburton and Tremont. The panel necessarily determined the meaning

of the restructuring contracts to determine the responsibility for remediating the Malvern Site.

These same contracts, and the same contract interpretation issues, are the basis of the dispute here.

A finding by this court that Halliburton does not have liability for the remediation of the Gulf

Nuclear Sites, despite the conclusion that those historical liabilities stem from NL’s former

petroleum services business, would clearly undermine the arbitration panel’s interpretation of the

restructuring contracts and its holding that those contracts evidenced a clear intent to transfer all

historical liabilities associated with NL’s petroleum services business to NLPS. It did not matter

in Autotrol that the arbitration panel only considered minimum royalties for 1989 because its

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decision depended on contracts that applied across the years. Here, it does not matter that the

arbitration panel did not consider the Gulf Nuclear Sites because its decision rested on a construction

of the restructuring contracts that apply to both the Malvern Site and the Gulf Nuclear Sites. The

construction is binding in subsequent litigation turning on the same contract-interpretation issue.

        Halliburton’s “100-Acres brief” filed in the arbitration, in which Halliburton opposed

Tremont’s request that the panel hold Halliburton responsible for properties formerly leased by NL

at the Malvern Site, shows that Halliburton presented the identical arguments it urges here about

properties or assets not transferred as part of the restructurings. In that brief, Halliburton argued that

“the Leased Properties at the [Malvern] Site remain the responsibility of [NL] because the leases and

license agreements National Lead entered into were never assigned or transferred to anyone as part

of the 1988 and 1990 restructurings.” (2005 Case, Docket Entry No. 279, Ex. E at 2). Halliburton

further argued:

                  Claimants’ argument that Respondents are responsible for the Leased
                  Properties at the Site is dependent upon proof that the Leased
                  Properties were actually transferred to [NLPS], later renamed
                  Baroid Corporation, as a part of the 1988 restructuring of NL and
                  that NLPS agreed to assume historical liabilities associated with the
                  Leased Properties. . . . [T]he obligation of NLPS to indemnify NL
                  does not extend to “any claims of liability at sites or facilities or with
                  respect to operations not transferred to NLPS.” Therefore, the
                  obligation of HESI, as the successor to New Baroid, to indemnify NL
                  and Tremont does not extend to any claims of liability at sites or
                  facilities or with respect to operations not transferred to NLPS.

(Id., Ex. E at 4–5 (italics emphasis added) (internal citation omitted)).

        Halliburton argued in the arbitration that the Tremont Parties had not offered evidence that

any of the leases and licenses that NL entered into as part of its mining and milling operations at the

Malvern Site were transferred or assigned in the 1988 restructuring, that NL had terminated one of


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the leases in 1986, that most of the remaining leases and license agreements had likely expired by

the time of the 1988 restructuring, and that there was “no evidence that NL transferred or assigned

to anyone any lease or license agreement that may not have expired prior to the 1988 restructuring.”

(Id., Ex. E at 5–6). Halliburton argued that the arbitration panel’s earlier holding that HESI was

obligated to indemnify Tremont and NL “derive[d] from the Panel’s conclusion regarding real

property ownership at the Site,” and that “[i]n the absence of proof that any of the leases and license

agreements National Lead entered into at the Site were transferred to NLPS in 1988, HESI [could

not] be held obligated to indemnify Tremont and NL for liabilities associated with mining and

milling operations on such properties.” (Id., Ex. E at 6). Halliburton asserted that “the absence of

such proof compels the conclusion that NL remains liable for the mining and milling operations

associated with the Leased Properties.” (Id., Ex. E at 6).

         The panel expressly considered and repeatedly rejected Halliburton’s arguments.131 The

panel stated:

                [T]he conclusion is inescapable that the leased properties and licenses
                of NL, and subsequently “Old” Baroid, were indeed an integral part
                of the petroleum services business of NL, and the resultant liabilities
                and obligations were assumed by NLPS and New Baroid,
                respectively, as a result of the plans of restructuring. Those plans
                included not only the transfer of the assets and operations of the
                transferors’ petroleum services business, but also the associated past
                and future liabilities and obligations.

(2005 Case, Docket Entry No. 247, Ex. D at 19 (emphasis added)). The panel further stated:

                Whether the leases had expired or were terminated prior to 1988 is
                not determinative of whether the historical liabilities associated with
                the leased property were assumed by NLPS, and later New Baroid.


131
    See 2005 Case, Docket Entry No. 247, Ex. D at 14, 20 (listing and describing Halliburton’s arguments
regarding leased properties and expired leases and licenses, including that Halliburton’s indemnification
obligation did not extend to operations not transferred to NLPS in the 1988 restructuring).
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               . . . [I]ndemnification for such historical liability is not dependent
               upon the actual transfer or assignment of a lease covering leased
               property which had been used as part of the operations of the
               petroleum services business of NL prior to 1988.

(Id., Ex. D at 20 (emphasis added)). The panel continued: “An assumption of indemnification

obligations and successor liability for historical liabilities associated with the transferred petroleum

services business is not dependent upon an actual physical transfer or assignment of an associated

lease, or real estate for that matter.” (Id., Ex. D at 20–21 (emphasis added)). And the panel stated

that “[t]here is nothing to suggest that such historical liabilities and obligations, even those related

to expired or canceled leases on leased properties associated with the petroleum services business,

were not transferred to and assumed by NLPS.” (Id., Ex. D at 22).

       The record shows that Halliburton’s liability for NL’s historical petroleum services business

and the argument that this liability did not extend to operations not transferred to NLPS in 1988 was

fully litigated and decided in the prior arbitration.

                       d.    The Arbitration Panel’s Findings Were Necessary to Its Award

       Halliburton argues that the arbitration panel’s findings on the comprehensive transfer of

NL’s petroleum services business and its rejection of Halliburton’s arguments to the contrary were

not necessary to the panel’s final award. (2005 Case, Docket Entry No. 274 at 43). Halliburton

asserts that “[t]he issue that the arbitration panel determined was that the Halliburton Parties must

indemnify Tremont for NL’s former mining activities on certain tracts located within the Malvern

Site that were never owned by NL.” (Id.). Halliburton contends that

               the only evidence submitted to the arbitration panel related to the
               Malvern Site and accordingly, any reference or ruling in the
               Allocation Award purportedly applying to any sites or operations
               other than the Malvern Site, or going beyond the effect of dormant or
               expired leases, is unnecessary dicta, which goes far beyond the

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                  jurisdiction of the arbitration panel and is not binding on this Court.

(Id. at 43–44).

        As one treatise has explained:

                  Courts occasionally have been tempted to speculate that a prior
                  decision could have been rested on narrower grounds than those
                  actually chosen, so that resolution of the broader issues was not
                  necessary to the decision. For the most part, such speculation should
                  be resisted. There is little reason to infer that broadly based decisions
                  are reached with less care than narrow decisions; indeed, the opposite
                  inference is at least as attractive. . . . It is particularly appropriate to
                  avoid such speculation as to decisions that have justified broad
                  equitable remedies on the basis of multiple findings. Although it is
                  always possible that the same remedy might have been ordered on the
                  basis of fewer findings, it is better to recognize a principle of
                  remedial necessity that justifies preclusion as to all findings deemed
                  appropriate in justifying the remedy ordered.

18 CHARLES A. WRIGHT, ARTHUR R. MILLER & EDWARD H. COOPER, FEDERAL PRACTICE AND

PROCEDURE § 4421, at 548–50 (2d ed. 2002) (footnotes omitted).

        There is no basis to speculate that the arbitration panel might have reached its result without

finding that the transfer of NL’s historical petroleum services business was “truly comprehensive”

or without concluding that the transfer of liabilities did not depend on the physical transfer of real

estate. To the contrary, the panel repeatedly stated the conclusions it reached on this issue in the

Allocation Award. The panel could not have reached its holding that Halliburton was responsible

for all liabilities at the Malvern Site without concluding that these liabilities encompassed historical

liabilities, including those arising from leases that were not transferred to NLPS. The panel needed

to draw the broader conclusions about the transfer of the historical petroleum services business and

what that transfer encompassed in order to assess responsibility for the liabilities at the Malvern Site.

The panel’s conclusions were necessary to resolve the Malvern Site claims and clearly were not


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dicta.

         To summarize, issue preclusion applies to whether Halliburton is responsible for the

historical liabilities arising from NL’s former petroleum services business, including historical

liabilities that arose from assets or operations not transferred to NLPS under the 1988 restructuring.

         E.      Contract Interpretation

         Tremont also seeks summary judgment on the basis that this court’s own interpretation of

the 1988 Plan and the 1990 Plan, and ancillary documents, would require Halliburton to indemnify

Tremont for the historical environmental liabilities of the former petroleum services business of NL

at the Gulf Nuclear Sites. (2005 Case, Docket Entry No. 252 at 2). This court has determined that

issue preclusion applies. Even if issue preclusion did not apply, this court’s own analysis of the

contracts shows that NL’s petroleum services business was transferred to NLPS in the 1988

restructuring, to New Baroid in 1990 restructuring, and eventually to Halliburton, and that this

transfer included historical liabilities associated with the petroleum services business, even if the

associated assets and operations were sold before the 1988 restructuring. In short, the result reached

by analyzing the contracts is consistent with the arbitrators’ conclusion.

         Before interpreting the relevant documents, this court must first address the law that applies

in that interpretation.132 The parties have not briefed this issue but cited only Delaware law in their


132
    “‘A federal court must follow the choice-of-law rules of the state in which it sits.’” Fina, Inc. v. ARCO,
200 F.3d 266, 269 (5th Cir. 2000) (quoting St. Paul Mercury Ins. Co. v. Lexington Ins. Co., 78 F.3d 202, 205
(5th Cir. 1996)). “Under Texas choice of law rules, courts apply the substantive law of the state having the
most significant relationship to the litigation.” W.F. Barnes v. Forest Hills Inv., Inc., 11 F. Supp. 2d 699, 703
(E.D. Tex. 1998) (citations omitted). The W.F. Barnes court noted that under section 188 of the Restatement
(Second) of Conflict of Laws, the choice of law for a contract action, in the absence of an effective choice-of-
law provision, involves consideration of the place of contracting, the place of negotiation, the place of
performance, the location of the subject matter of the contract, and the domicil, residence, nationality, place
of incorporation and place of business of the parties. Id. at 703–04 (citing RESTATEMENT (SECOND) OF
CONFLICT OF LAWS § 188 (1971)).

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briefs. It is not clear that Delaware law applies to all the relevant documents.133 While the 1990

Plan states that it should be interpreted under Delaware law, other documents do not clearly indicate

that Delaware law applies. The 1988 Plan and the Assumption Agreement do not identify what law

applies. The Formation Agreement, the Cross-Indemnification Agreement, and the Indebtedness

Agreement all state that they are governed by Texas law. But this court need not select between

Texas or Delaware law because the relevant principles of contract interpretation are similar.

         In Texas, the meaning of an unambiguous contract is for the court to decide as a matter of

law. Coker v. Coker, 650 S.W.2d 391, 393 (Tex. 1983) (citations omitted). The court’s primary

concern “is to ascertain and to give effect to the intentions of the parties as expressed in the

instrument.” R & P Enters. v. LaGuarta, Gavrel & Kirk, Inc., 596 S.W.2d 517, 518 (Tex. 1980)

(citation omitted). The court considers the contract as a whole. See Forbau v. Aetna Life Ins. Co.,

876 S.W.2d 132, 133 (Tex. 1994). When considered as a whole, a contract is ambiguous only if “its

meaning is uncertain and doubtful or it is reasonably susceptible to more than one meaning.” Coker,

650 S.W.2d at 393 (citation omitted). Texas courts have recognized that “not every difference in

the interpretation of a contract or an insurance policy amounts to an ambiguity.” Forbau, 876

S.W.2d at 134. A court will not find a contract ambiguous if it may properly be given a certain legal

meaning or interpretation. Nat’l Union Fire Ins. Co. of Pittsburgh, Pa. v. CBI Indus., Inc., 907

S.W.2d 517, 520 (Tex. 1995) (citations omitted).            Under Texas law, “[c]ourts interpreting

unambiguous contracts are confined to the four corners of the document, and cannot look to extrinsic

evidence to create an ambiguity.” Tex. v. Am. Tobacco Co., 463 F.3d 399, 407 (5th Cir. 2006)



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   NL’s later motion for summary judgment notes that “[t]he ancillary documents signed in connection with
the 1988 Plan of Restructuring provide that they are governed by Texas law,” and argues that the documents
“should be interpreted under the normal Texas rules of contract construction.” (Docket Entry No. 56 at 13).
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(citing Sun Oil Co. v. Madeley, 626 S.W.2d 726, 732–33 (Tex. 1982); Gen. Accident Ins. Co. v.

Unity/Waterford-Fair Oaks, Ltd., 288 F.3d 651, 657 (5th Cir. 2002)).

        Contract interpretation principles are similar under Delaware law. This court set out the

relevant principles in its opinion confirming the arbitration awards:

                Under Delaware law, contracts must be construed as a whole to give
                effect to the parties’ intentions. E.I. duPont de Nemours & Co., Inc.
                v. Shell Oil Co., 498 A.2d 1108, 1113 (Del. 1985) (citations omitted).
                If a contract is not ambiguous, “the parties’ intent is ascertained by
                giving the language its ordinary and usual meaning.” Northwestern
                Nat’l Ins. Co. v. Esmark, Inc., 672 A.2d 41, 43 (Del. 1996) (citing
                Rhone-Poulenc Basic Chems. Co. v. Am. Motorists Ins. Co., 616 A.2d
                1192, 1195 (Del. 1992)). When there is ambiguity, a court may
                consider “testimony pertaining to antecedent agreements,
                communications and other factors which bear on the proper
                interpretation of the contract,” but if the contract is clear and
                unambiguous, the court may not “consider parol evidence ‘to
                interpret it or search for the parties’ intent[ions] . . . .’” Pellaton v.
                Bank of New York, 592 A.2d 473, 478 (Del. 1991) (citations omitted).
                A contract is not ambiguous simply because there is disagreement
                between the parties as to its proper construction. Rather, a contract
                is ambiguous “only when the provisions in controversy are
                reasonably or fairly susceptible of different interpretations or may
                have two or more different meanings.” Rhone-Poulenc Basic Chems.
                Co., 616 A.2d at 1196 (citation omitted). “Courts will not torture
                contractual terms to impart ambiguity where ordinary meaning leaves
                no room for uncertainty.” Id. (citation omitted). When a contract is
                ambiguous, a court may consider extrinsic evidence to determine the
                parties’ intent, and such evidence includes “‘overt statements and acts
                of the parties, the business context [of the contract], prior dealings
                between the parties, business custom, and usage in the industry.’”
                Dittrick v. Chalfant, 948 A.2d 400, 406 (Del. Ch. 2007) (citation
                omitted), aff’d, 935 A.2d 255 (Del. 2007).

Halliburton Energy Servs., Inc. v. NL Indus., 553 F. Supp. 2d 733, 757 (S.D. Tex. 2008) (alterations

in original).

        Because Delaware and Texas principles of contract interpretation are not materially different,

this court need not determine which law applies to each of the restructuring agreements. Because

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the parties have relied on Delaware law in their briefs, this court relies primarily on Delaware case

law in interpreting the relevant documents, but also considers similar principles in Texas law.

       The principal contract interpretation dispute is whether the restructuring documents require

Halliburton to indemnify Tremont for the Gulf Nuclear Site liabilities because those liabilities stem

from NL’s petroleum services business, or whether the restructuring documents provide that NL

maintained liability for the Gulf Nuclear Sites because the transfer of the petroleum services

business did not include historical liabilities associated with assets or operations that NL sold before

the restructurings.

       Halliburton argues that the Gulf Nuclear Site liabilities were not transferred in the 1988

restructuring because NL sold the McCullough Division—a division of NL’s petroleum services

business with connections to the Gulf Nuclear Sites—before that 1988 restructuring. (See 2005

Case, Docket Entry No. 274 at 27). Halliburton acknowledges that although NL sold the

McCullough Division to Western Atlas, NL retained all historical liabilities associated with that

Division. (Id. at 7; see also 2005 Case, Docket Entry No. 247, Ex. HH, § 7(f), (g), (i)). As a result,

Halliburton does not contend that NL transferred the historical liabilities associated with the

McCullough Division before the 1988 restructuring. Instead, Halliburton contends that because NL

transferred the assets and operations of the McCullough Division before the 1988 restructuring, NL

could not have transferred the associated liabilities in the 1988 restructuring. (See 2005 Case,

Docket Entry No. 274 at 8–9).

       Tremont responds that the Western Atlas transfer did not occur before the effective time of

the 1988 restructuring. (See Docket Entry No. 41 at 48). The Formation Agreement had an effective

date of December 31, 1987. The default effective date of the Western Atlas Agreement was


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midnight on December 31, 1987. The Western Atlas Agreement provides:

                Consummation of the purchase and sale of the Assets and other
                transactions provided for in this Agreement shall take place at the
                office of NL located at 3000 North Belt East, Houston, Texas 77032
                on December 31, 1987, commencing at 11:00 a.m., local time on such
                date provided such date follows expiration of the waiting period, if
                applicable, under the Hart-Scott Rodino Antitrust Improvement Act
                of 1976, or the receipt of any and all other material, requisite
                governmental permits, approvals and consents, or at such other date
                or time or other place as [Western Atlas] and the NL Parties mutually
                agree upon in writing (such actual date of transfer is referred to as the
                “Transfer Date”), and all transactions provided for in this Agreement
                to occur on and as of the Transfer Date shall be deemed to have
                occurred simultaneously and to be effective as of midnight on the
                Transfer Date.

(2005 Case, Docket Entry No. 247, Ex. HH, § 13(a)).

         The summary judgment record does not include evidence that the parties agreed that the

Western Atlas transfer would occur earlier or later than the default date of December 31, 1987.134

Tremont appears to assume that “midnight” refers to the last minute of the day of the Transfer Date.

Halliburton has not argued otherwise. The relevant ancillary agreements associated with the 1988

restructuring were signed in April and September 2008, but made retroactively effective as of

December 31, 1987.

         This court need not, however, resolve whether the Western Atlas Agreement was effective

before or after the 1988 restructuring. Even if the Western Atlas transaction became effective before

the 1988 restructuring, the relevant restructuring documents show that—as the arbitrators

concluded—all NL’s historical liabilities associated with its petroleum services business transferred

to NLPS and then to New Baroid (Halliburton), regardless of whether the associated real estate,


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    Tremont asserts that the Western Atlas transaction did not close until January 12, 1988, pointing to a New
York Times article of that date announcing the transaction. (Docket Entry No. 41 at 49). The article does not
state when the transaction closed.
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assets, or operations transferred in the 1988 restructuring.

       Construing the 1988 restructuring documents together, the contract language clearly shows

the parties’ intent to transfer NL’s entire petroleum services business to NLPS, including all NL’s

historical liabilities associated with that business. The Formation Agreement provides that NLPS

was to assume all liabilities associated with NL’s petroleum services business, excluding only

certain listed liabilities. (See 2005 Case, Docket Entry No. 247, Ex. J, § 1.3). Among the liabilities

excluded from those assumed by NLPS in the Formation Agreement are: (1) liabilities of NL

specified in the Indebtedness Agreement, except as provided in that Agreement; and (2) “claims of

liability at sites or facilities or with respect to operations not transferred to NLPS pursuant to [the

Formation Agreement], including claims arising out of or relating to the offsite deposit, placement

or disposal by NL of any materials of any character whatsoever generated at sites or operations not

transferred to NLPS pursuant to [the Formation Agreement].” (Id., Ex. J, § 1.4(a), (c)). The section

of the Formation Agreement excluding liability for operations not transferred to NLPS must be read

with the earlier sections of the Agreement on assets transferred and excluded from the transfer. The

section addressing assets transferred states that NL transferred to NLPS “all of its properties, assets

and rights of any kind, whether tangible or intangible, real or personal related to its petroleum

services business . . . , including, but not limited to, . . . the subsidiaries engaged in the petroleum

services business of NL . . . .” (Id., Ex. J, § 1.1 (emphasis added)). The only exclusions from the

assets transferred are “any and all of the assets, properties or rights listed on the attached ‘Excluded

Assets Schedule’” and “all goodwill and going concern value of NL that is not associated with

TMCA or the petroleum services operations of NL.” (Id., Ex. J, § 1.2). The Excluded Assets

Schedule lists the shares of the capital stock of NLC, Enenco, Inc., and Schraubenfabrik Newstadt


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Goetz & Cie. GmbH; a note receivable from NL Chemicals, Inc.; and certain surplus property. (See

id., Ex. J at 6). There is no evidence that anything on the Excluded Assets Schedule relates to the

petroleum services business.135

         The exclusion in section 1.4 for claims of liability for sites, facilities, or operations not

transferred to NLPS under the Formation Agreement must refer to liabilities associated with those

assets that were not transferred because they were not part of the petroleum services business or

TMCA transferred in section 1.1 or because they were specifically excluded under section 1.2. The

comprehensive transfer of the petroleum services business by NL and the comprehensive assumption

of the petroleum services liabilities by NLPS supports the conclusion that the parties did not intend

to exclude historical petroleum services liabilities associated with assets or operations sold before

the restructuring.136



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    Although the Excluded Assets Schedule does not refer to the McCullough Division, this does not, on its
own, establish as a matter of law that the McCullough Division was transferred to NLPS. If, as Halliburton
contends, the McCullough Division was sold to Western Atlas before the 1988 restructuring, it would make
sense that NL would not have included an asset it no longer owned in the list of assets excluded from the
transfer to NLPS. But analyzing the Formation Agreement as a whole shows that NL transferred its entire
petroleum services business to NLPS, including all historical liabilities associated with that business. This
shows that historical liabilities associated with the McCullough Division were transferred to NLPS even if
the McCullough Division’s assets and operations were not.
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    Cf. E.I. du Pont de Nemours & Co. v. Shell Oil Co., 498 A.2d 1108, 1113 (Del. 1985) (“[T]he meaning
which arises from a particular portion of an agreement cannot control the meaning of the entire agreement
where such inference runs counter to the agreement’s overall scheme or plan.” (citations omitted)); Stockman
v. Heartland Indus. Partners, L.P., Nos. 4227-VCS, 4427-VCS, 2009 WL 2096213, at *6 (Del. Ch. Jul. 14,
2009) (unpublished) (“A basic principle of contract interpretation is that the court reads an agreement as a
whole to give effect to each term and to harmonize seemingly conflicting terms.” (emphasis added) (citations
omitted)); Law Debenture Trust Co. of N.Y. v. Petrohawk Energy Corp., No. 2422-VCS, 2007 WL 2248150,
at *9 n.30 (Del. Ch. Aug. 1, 2007) (unpublished) (discussing a case that explained that “contract provisions
should be interpreted in a manner that best allows all the terms of a contract to fit together in a consistent
manner” (citing Kass v. Kass, 696 N.E.2d 174, 91 N.Y.2d 554, 566–67 (N.Y. 1998))); Maxus Energy Corp.
v. Occidental Chem. Corp., 244 S.W.3d 875, 879 (Tex. App.—Dallas 2008, pet. denied) (“We must ‘rely on
a reading of all the pertinent provisions of the [contract] as a whole, and not on any single passage in
isolation.’” (alteration in original) (quoting O’Brien v. Progressive N. Ins. Co., 785 A.2d 281, 287 (Del.
2001))).
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       Moreover, the NL subsidiaries that, together with NL, sold the McCullough Division to

Western Atlas are listed among the subsidiaries transferred to NLPS in the Formation Agreement.

(See 2005 Case, Docket Entry No. 247, Ex. J at 9). As a result, even if the Western Atlas transaction

became effective before the 1988 restructuring, the NL subsidiaries that retained the liabilities

associated with the McCullough Division in the Western Atlas transaction were transferred to NLPS

in the 1988 restructuring. Therefore, the provision in the Formation Agreement exempting from the

liabilities assumed by NLPS “claims of liability . . . with respect to operations not transferred to

NLPS . . . ” does not exclude claims of liability arising from the subsidiaries that retained the

McCullough Division liabilities under the Western Atlas Agreement. The fact that the petroleum

services subsidiaries were transferred to NLPS in the 1988 restructuring further supports the

conclusion that those subsidiaries’ liabilities—including liabilities associated with the McCullough

Division—transferred along with the subsidiaries’ operations under the Formation Agreement.

Although NL was also a party to the Western Atlas Agreement, given the comprehensive nature of

the transfer of the petroleum services business evidenced by the 1988 restructuring documents, there

is no basis to infer that NL retained the liabilities associated with the McCullough Division after the

1988 restructuring. This interpretation is further confirmed by the other documents executed in

connection with the1988 restructuring.

       The Formation Agreement states that “[t]he transfer of the Assets and the assumption of the

Assumed Liabilities shall be effected by the execution and delivery of a General Assignment and

Assumption Agreement and Bill of Sale,” among other agreements. (2005 Case, Docket Entry No.

247, Ex. J, § 3.1). The Assumption Agreement supports the conclusion that all petroleum services

liabilities were transferred to NLPS. That agreement states that NL transferred to NLPS “all of NL’s


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right, title and interest in and to each of the contracts, policies of insurance, licenses and license

agreements to which NL is a party and all open purchase orders for materials and supplies and

related to NL’s petroleum services business.” (Id., Ex. L, § A(9) (emphasis added)). NLPS agreed

“to perform the obligations of NL under the contracts, leases and other agreements or undertakings

that are included among the Assets and other items referred to in Section A . . . .” (Id., Ex. L, § D(1)

(emphasis added)). The summary judgment record shows that the McCullough Division was part

of NL’s petroleum services business. Assuming the Western Atlas Agreement was effective before

the Assumption Agreement became effective, NL’s interest in the Western Atlas contract, and NL’s

obligations under that contract, transferred to NLPS under the plain terms of section D(1) of the

Assumption Agreement. Although the Assumption Agreement ties in the excluded liabilities from

the Formation Agreement by stating that “NLPS does not assume and shall not be liable for any of

the Excluded Liabilities,” (id., Ex. L at 3), as discussed above, the Excluded Liabilities under the

Formation Agreement do not include liabilities associated with the petroleum services business.

        The Indebtedness Agreement further supports the conclusion that the 1988 restructuring

resulted in a complete transfer of all historical liabilities associated with NL’s petroleum services

business. In the Indebtedness Agreement, NLPS agreed to “assume and unconditionally guarantee

to NL . . . the performance or discharge by NLPS on behalf of NL of any and all other indebtedness

and obligations of NL which are attributable to NL’s petroleum services business.” (Id., Ex. M, §

1(c) (emphasis added)).

        The Cross-Indemnification Agreement further supports this conclusion. In the Cross-

Indemnification Agreement, NL and NLC (the “NL Parties”) “agree[d] to indemnify and hold NLPS

harmless from, against and in respect of all indebtedness, obligations or liabilities of NLPS, of any


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kind and nature, whether accrued, absolute, contingent, asserted, unasserted, due to become due,

known, unknown and whenever arising, which are not expressly assumed by NLPS pursuant to the

Formation . . . .” (Id., Ex. K, § 1.1 (emphasis added)). The NL Parties also agreed to indemnify

NLPS with respect to claims and liabilities relating to “all liabilities not expressly assumed by NLPS

in connection with the Formation Agreement,” and “claims of liability at sites or facilities or with

respect to operations not transferred to NLPS pursuant to the Formation . . . .” (2005 Case, Docket

Entry No. 247, Ex. K, § 1.2(a)). NLPS “agree[d] to indemnify and hold the NL Parties harmless

from, against and in respect of, the failure of NLPS to pay or otherwise perform when due the

liabilities, obligations or commitments of NL assumed by NLPS pursuant to the Formation.” (Id.,

Ex. K, § 2.1). NLPS further agreed to indemnify the NL Parties with respect to “all liabilities of NL

assumed by NLPS pursuant to the Formation Agreement,” and “claims of liability at sites or

facilities or with respect to operations transferred to NLPS pursuant to the Formation, including

claims arising out of or relating to the deposit, placement or disposal of any material of any character

whatsoever on such sites or facilities.” (Id., Ex. K, § 2.2(a)–(b)). The Cross-Indemnification

Agreement ties indemnification obligations to the transfer of liabilities under the Formation

Agreement. Under the Formation Agreement, NLPS assumed all liabilities associated with NL’s

petroleum services business; the Cross-Indemnification Agreement requires NLPS to assume

indemnification obligations with respect to all petroleum services business obligations.

         The 1988 Plan, the Formation Agreement, the Assumption Agreement, the Indebtedness

Agreement, and the Cross-Indemnification Agreement together137 all show that as the arbitrators



137
    When multiple agreements are coordinated, they may be considered together. See du Pont, 498 A.2d at
1115 (“Where two agreements are executed on the same day and are coordinated to the degree outlined above,
in essence, they form one contract and must be examined as such.” (citations omitted)).
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concluded, NL’s entire petroleum services business, including liabilities associated with assets

previously sold by NL, was transferred to NLPS in the 1988 restructuring.138

         The 1990 Plan shows that the entire petroleum services business was transferred to New

Baroid in the 1990 restructuring. The 1990 Plan states that Old Baroid (formerly NLPS) would

“separate the Petroleum Services Business and the Titanium and Bentonite Businesses into two

publicly-traded companies.” (2005 Case, Docket Entry No. 247, Ex. A at 1). The 1990 Plan states

that Old Baroid “ha[d] heretofore indirectly owned and operated its petroleum services operations

(the ‘Petroleum Services Business’) principally through its subsidiaries, including without limitation,

Baroid Drilling Fluids, Inc. (‘BDFI’) . . . . (collectively, the ‘Petroleum Services Subsidiaries’).”

(Id., Ex. A at 1). Old Baroid agreed to “endorse[] in blank and deliver[] to New Baroid certificates

representing all of the outstanding capital stock of all of its direct subsidiaries engaged in the

Petroleum Services Business, including without limitation the Petroleum Services Subsidiaries.”

(Id., Ex. A, § 1(a)). New Baroid then agreed to assign to BDFI all of New Baroid’s rights in the

Petroleum Services Assets and the Bentonite Assets, and BDFI agreed to assume and discharge all

of New Baroid’s Obligations “arising out of, or which are otherwise attributable to, the past, present

or future ownership or operations of such Petroleum Services Assets.” (Id., Ex. A, § 1(b)). BDFI



138
    Halliburton argues that even if facilities associated with the McCullough Division were transferred to
NLPS under the 1988 Plan, “Tremont does not address the shared facilities that were operated by divisions
of NL other than McCullough.” (Docket Entry No. 50 at 8 (internal record citation omitted)). Halliburton
does not explain this argument or its relevance to resolving the summary judgment motion. Presumably
Halliburton is arguing that if the McCullough Division shared a facility with another division of NL, that
shared facility could not have transferred to NLPS in the 1988 restructuring because it was essentially shared
with Western Atlas after the Western Atlas Agreement, and that NL would retain any liability associated with
the shared facility. However, the Western Atlas Agreement excludes shared facilities from the assets
transferred to Western Atlas, (2005 Case, Docket Entry No. 247, Ex. HH, § 3(g)), and Halliburton does not
provide evidence of any shared facilities or their connection to the Gulf Nuclear Sites. In addition, as
discussed, the transfer of liabilities in the 1988 restructuring did not depend on the transfer of associated
facilities.
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agreed to transfer the Bentonite Business to its subsidiary Bentonite Corporation and to transfer that

subsidiary to New Baroid, and New Baroid agreed to transfer that subsidiary to Old Baroid. (See

id., Ex. A, § 1(c), (f), (g)).

         In short, BDFI received Old Baroid’s Petroleum Services Business and became a subsidiary

of New Baroid; Old Baroid retained the Bentonite Business. New Baroid agreed to indemnify Old

Baroid for all Petroleum Services Obligations. (See id., Ex. A, § 12). Petroleum Services

Obligations included “all indebtedness, liabilities, obligations, claims, covenants, losses, damages,

costs, penalties and expenses, of any kind and nature, whether accrued, absolute or contingent,

asserted or unasserted, known or unknown, and whether existing as of the date of [the 1990] Plan

or arising thereafter . . . , of [Old Baroid] arising out of, or which are otherwise attributable to, the

past, present or future ownership or operations of the Petroleum Services Business.” (2005 Case,

Docket Entry No. 247, Ex. A, § 1(a)). Among the listed indemnification obligations assigned to

New Baroid were “all Obligations arising out of, or which are otherwise attributable to, sites or

facilities or with respect to operations attributable to the Petroleum Services Business, including

claims arising out of or relating to the deposit, placement or disposal of any material of any character

whatsoever generated at such sites or by such operations.” (Id., Ex. A, § 12(i)).139

         Under the 1990 Plan, NL’s entire petroleum services business that had been transferred to

NLPS in the 1988 restructuring was transferred to New Baroid, with the exception of the Bentonite

Business and other specific exclusions. New Baroid assumed all Old Baroid’s obligations associated

with NL’s former petroleum services business. Halliburton does not appear to dispute this

construction of the 1990 Plan, focusing instead on the 1988 restructuring. Halliburton also does not

139
  Unlike the Malvern Site involved in the arbitration, Halliburton does not argue that the Gulf Nuclear Sites
were exempted from the transfer under Exhibit A to the 1990 Plan as “surplus real property.”
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dispute that it is New Baroid’s successor. As a result, the relevant contracts support the arbitrators’

conclusion that, with very limited exceptions not applicable here, the entirety of NL’s former

petroleum services business was transferred to NLPS in the 1988 restructuring, to New Baroid in

the 1990 restructuring, and eventually to Halliburton.140 This transfer included all historical

liabilities associated with NL’s former petroleum services business, even if NL transferred the

underlying assets or operations before the 1988 restructuring.141

         Because the contract language is not ambiguous, it is not appropriate to consider extrinsic

140
    Halliburton argues, without further explanation, that “there is no evidence in the summary judgment
record establishing that Tremont is the successor to NL’s indemnity rights under the 1988 Plan.” (Docket
Entry No. 62 at 5). But Tremont does not seek to enforce NL’s indemnity rights under the 1988 Plan.
Tremont seeks to enforce its indemnity rights under the 1990 Plan as Old Baroid’s successor. Because the
1990 Plan spun off Old Baroid’s petroleum services business, which had previously been spun off from NL
as part of the 1988 restructuring, determining Tremont’s indemnity rights necessarily requires examination
of both the 1988 and the 1990 restructurings. The fact that the 1988 Plan is implicated in the analysis of
Tremont’s indemnity rights does not mean that Tremont must establish that it is the successor to NL’s
indemnity rights under that Plan.
141
     Halliburton also argues that documents created after the 1988 and 1990 restructurings create a genuine
issue of material fact as to whether the parties intended that New Baroid would assume historical liabilities
associated with NL’s petroleum services business and/or whether the parties modified their agreement. (2005
Case, Docket Entry No. 274 at 23). But Halliburton has not provided legal authority or analysis to support
its opaque suggestion that NL’s agreement to indemnify Halliburton for certain liabilities in the past modified
the restructuring agreements. Halliburton has not submitted evidence explaining the indemnification
agreement in the Western Atlas v. NL lawsuit on which it places so much emphasis. Halliburton submitted
documents showing only that the lawsuit involved expenses for addressing environmental conditions at
oilfield service properties that NL sold to Western Atlas in the Western Atlas Agreement, and that NL
indemnified New Baroid in that lawsuit.
         The parties’ subsequent course of conduct can provide evidence of modification of a contract in
certain circumstances. See Personnel Decisions, Inc. v. Bus. Planning Sys., Inc., No. 3213-VCS, 2008 WL
1932404, at *5 n.21 (Del. Ch. May 5, 2008) (unpublished) (“‘Where it is unreasonable to interpret the
contract in accordance with the course of performance, the conduct of the parties may be evidence of an
agreed modification or waiver by one party.’” (quoting RESTATEMENT OF CONTRACTS (SECOND) § 202 cmt.
g (2008))), aff’d, 970 A.2d 256 (Del. 2009) (unpublished table decision). But a modification by conduct or
words “‘must be of such specificity and directness as to leave no doubt of the intention of the parties to
change what they previously solemnized by formal document.’” Cantor Fitzgerald, L.P. v. Cantor, No.
16297, 2000 WL 307370, at *26 (Del. Ch. Mar. 13, 2000) (unpublished) (footnote and citations omitted).
The record does not raise a fact issue that the parties intended to modify their earlier restructuring contracts.
Evidence that NL later agreed to indemnify New Baroid/Halliburton in particular circumstances does not
change the clear intent of the restructurings to transfer NL’s entire petroleum services business to NLPS and
then New Baroid.
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evidence about the parties’ intent. See Tex. v. Am. Tobacco Co., 463 F.3d 399, 407 (5th Cir. 2006)

(“Courts interpreting unambiguous contracts are confined to the four corners of the document, and

cannot look to extrinsic evidence to create an ambiguity.” (citations omitted)); Eagle Indus., Inc. v.

DeVilbiss Health Care, Inc., 702 A.2d 1228, 1232 (Del. 1997) (“If a contract is unambiguous,

extrinsic evidence may not be used to interpret the intent of the parties, to vary the terms of the

contract or to create an ambiguity.” (citations and footnote omitted)).142 The restructuring

142
     Halliburton’s motion for leave to supplement the record, (Docket Entry No. 86), seeks to submit an
October 12, 1990 letter from Compofelice to attorneys at Kirkland and Ellis that states: “All of the liabilities
assumed by New Baroid will have been incurred in the ordinary course of business and will be associated
with the assets transferred.” (Id., Ex. A at 4). The subject of the letter is “Petroleum Services Business Spin-
Off,” and it appears to be in a binder about the 1990 Restructuring of Tremont Corporation behind a tab
labeled “Representation letter from Tremont dated October 12, 1990.” (Id., Ex. A). Halliburton asserts that
it discovered this document “[u]pon further review of the record of production in this matter . . . ,” and also
notes that the letter was presented to the arbitration panel as an exhibit. (Docket Entry No. 86 at 1–2).
         Tremont responds that this same letter has been in the record since October 22, 2007, when
Halliburton filed it to complete the arbitration record, but asserts that it has no objection to this court
considering the letter because it actually supports granting summary judgment in favor of Tremont. (Docket
Entry No. 88 at 1–2). Tremont argues that the letter was only provided to its outside tax counsel to show that
the 1990 restructuring was not a sham transaction and that Tremont was complying with a particular section
of the Internal Revenue Code, and that it “was not in any way intended or expected to address the division
of contingent environmental liabilities, such as those for the Gulf Nuclear Sites, as between Tremont and
Halliburton.” (Id. at 2). Tremont also argues that even if the letter did constitute a representation about
anything other than tax issues, it cannot change the unambiguous language in the 1990 Plan requiring
Halliburton to take responsibility for all environmental liabilities relating to NL’s former petroleum services
business. (Id.). And Tremont argues that the letter is consistent with its request for summary judgment
because “Tremont’s Gulf Nuclear Sites’ potential liability is directly associated with the assets that were
transferred to Halliburton—NL’s former petroleum services business.” (Id.).
         Halliburton filed a reply, noting that Tremont did not object to this court considering the letter, and
asserting that Tremont’s explanation of the letter is unreasonable. (Docket Entry No. 90 at 1–2). Halliburton
argues that statements made for tax opinion purposes must be true and that it offers the letter to provide “a
clearer and contemporaneous understanding of the 1990 Plan,” not to change the language of the Plan. (Id.
at 3–5). Halliburton then repeats the argument it made in earlier briefs that the parties’ subsequent conduct
shows that the only liabilities assumed by New Baroid were those associated with particular facilities
transferred under the 1990 Plan, relying on the same evidence it previously submitted that it asserts shows
that Tremont or NL accepted responsibility for facilities not transferred to New Baroid. (See id. at 6–9).
         Tremont has filed a response to Halliburton’s reply. (Docket Entry No. 91). In its response,
Tremont argues that the cases Halliburton cites in its reply are irrelevant and that Delaware contract law has
long provided that extrinsic evidence cannot be considered in the absence of an ambiguity. (See id. at 1–5).
Tremont also argues that even if there is ambiguity in the relevant contracts, “the supposition that all of NL’s
former McCullough Division properties were transferred to Western Atlas prior to the 1990 Plan of
Restructuring, and not transferred to Halliburton, is simply not correct.” (Id. at 6). Tremont points to a
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schedule from the Western Atlas Agreement showing properties retained by NL in that Agreement, and notes
that the NL McCullough facility in Oklahoma City, Oklahoma was not transferred to Western Atlas and was
retained and allocated to Sperry Sun, which is now part of Halliburton. (Id.). Tremont points to nexus
documents showing materials for disposal sent from Oklahoma City to Gulf Nuclear, (id., Ex. B), and argues
that even if Halliburton is correct that it is not responsible for liabilities associated with assets not transferred
in the restructurings, Halliburton still would have responsibility for the Oklahoma City property it received.
(Docket Entry No. 91 at 6). Tremont also argues that the schedule from the Western Atlas Agreement shows
that a McCullough-owned concrete lab and test pits at the North Belt facility remained with NL, and that this
facility later became Halliburton’s headquarters. (Id.). Tremont points to nexus documents showing
shipments of waste from the North Belt facility to Gulf Nuclear. (Id., Ex. C). Tremont asserts that “[t]he
nexus documents with regard to Oklahoma City, Oklahoma and North Belt (Houston), Texas facilities
account for the vast majority of the alleged NL McCullough Gulf Nuclear sealed source transactions,” and
that Halliburton is responsible for these liabilities even if Halliburton is not responsible for liabilities
associated with assets not transferred. (Docket Entry No. 91 at 7). As discussed earlier, this court agrees with
Tremont that the contracts are not ambiguous and that it is inappropriate to resort to extrinsic evidence, and
this court has also concluded that Halliburton is responsible for liabilities arising from NL’s former petroleum
services business even if the associated assets or operations did not transfer to NLPS, New Baroid, and
Halliburton. Tremont’s new argument that waste was sent to Gulf Nuclear from certain properties that were
associated with the McCullough Division but that were not transferred to Western Atlas does not need to be
resolved and is not relevant to Halliburton’s motion to supplement the record.
         Unlike the supplemental evidence previously submitted by Tremont, Halliburton has known about
the letter it seeks leave to submit for years. It is not new evidence that has only come to light recently in the
related EPA lawsuit. Not only was the document produced earlier in this litigation, it was also brought to
Halliburton’s attention as an exhibit in the arbitration. Halliburton’s motion to supplement the record is
untimely. See Carlson v. Rockwell Int’l Corp., 132 F.3d 1453, 1997 WL 802035, at *2 (5th Cir. 1997)
(unpublished) (per curiam) (“Carlson sought the supplement the record with evidence from her own experts
at a time when summary judgment motions had been pending for more than a year. The district court denied
her leave to file, finding that the supplemental materials that Carlson sought leave to file were previously
available to her. Under these circumstances, the district court acted well within its discretion.” (emphasis
added) (citation omitted)).
         In addition to being untimely, Halliburton’s supplemental evidence does not create a factual issue
precluding summary judgment. Halliburton argues that “the Arbitration Panel determined that the property
in Malvern, Arkansas was transferred to New Baroid (HESI) as part of the 1990 restructuring,” and that “[t]he
Arbitration Panel assigned liability for the Malvern Site to HESI based upon this transfer.” (Docket Entry
No. 86 at 2). Halliburton contends that “[i]t is undisputed that the assets of NL McCullough were sold to
Western Atlas in 1987 and accordingly, those assets could not have been transferred to New Baroid in 1990.”
(Id.). Halliburton argues that the letter is submits “clearly shows that the intent of the parties to the 1990 Plan
of Restructuring was that the only liabilities transferred to New Baroid in 1990 were those liabilities
associated with the assets actually transferred in 1990.” (Id.). Because this court has determined that issue
preclusion and the unambiguous language of the contracts support Tremont’s request for partial summary
judgment, this piece of extrinsic evidence of the parties’ intent in the 1990 restructuring does not preclude
summary judgment. In addition, Halliburton is incorrect that the arbitration panel assigned liability to
Halliburton based only on the transfer of the Malvern Site property to Halliburton. As discussed in
connection with issue preclusion, the arbitration panel found that all of NL’s historical liabilities arising from
the petroleum services business transferred to Halliburton regardless of whether the associated assets or real
estate transferred in the restructurings. As a result, considering this piece of evidence would not change this
court’s holding on issue preclusion.
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agreements place liability for NL’s former petroleum services business with New Baroid,

Halliburton’s predecessor.

         Halliburton also argues that the record evidence that NL indemnified New Baroid in the

Western Atlas lawsuit either waives the argument Tremont is making in this case or shows the

parties’ understanding of the contract terms that raises a fact issue as to the intended meaning of the

1988 restructuring. The waiver argument fails; even if agreeing to accept liability for one claim

waives the right to seek indemnity for that claim, it does not waive the contractual right to request

indemnity for other claims under the contracts. The fact that NL may have indemnified New Baroid

in the past does not change the unambiguous indemnity language in the contracts.143

         The argument that the parties’ subsequent conduct raises a fact issue as to the intended

meaning of the contracts also fails. Extrinsic evidence of subsequent conduct to determine the

meaning of a contract generally cannot be considered in the absence of an ambiguity.144


         Halliburton’s motion for leave to supplement is denied.
143
    Halliburton also argues that “NL expressly assumed responsibility for any NL McCullough liabilities
associated with the Gulf Nuclear Sites,” relying on a letter from Highland Environmental Management, LLC
on behalf of NL to Western Atlas’s counsel that states that NL accepts Western Atlas’s tender of the Gulf
Nuclear Sites matter under the Western Atlas Agreement. (Docket Entry No. 82 at 1–2; id., Ex. 1).
Halliburton asserts that “Tremont should be estopped from taking any position that is inconsistent with its
express assumption of liability.” (Docket Entry No. 82 at 2). However, this letter only shows that NL
accepted Western Atlas’s tender of the Gulf Nuclear Sites matter pursuant to its obligations under the Western
Atlas Agreement between Western Atlas and NL. It does not show that NL agreed not to exercise its
indemnification rights under the restructuring contracts. As Tremont points out, “[t]here is nothing
inconsistent about NL stating that between itself and Western Atlas, NL has conditionally accepted the
alleged NL liability for the Gulf Nuclear Site related to its former McCullough Division, and at the same time,
NL and Tremont stating such liability was ultimately assumed by Halliburton through the 1988 and 1990
Restructuring[s] and subsequent Halliburton mergers.” (Docket Entry No. 85 at 2). Halliburton’s estoppel
argument lacks merit.
144
    See Homac, Inc. v. DSA Fin. Corp., 661 F. Supp. 776, 786 (E.D. Mich. 1987) (analyzing Delaware law
and stating that “in the absence of an ambiguity, judicial inquiries into parol evidence or subsequent conduct
of the parties to determine their contractual intent should not be undertaken by the Court” (citation omitted));
see also Doran v. ClubCorp USA, Inc., No. 05-06-01511-CV, 2008 WL 451879, at *2 (Tex. App.—Dallas
Feb. 21, 2008, no pet.) (mem. op.) (“Because the contract is unambiguous, we must derive its meaning from
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         Even if this court were to consider the letter agreement by NL to indemnify New Baroid in

the Western Atlas lawsuit and the statement in a letter (sent for settlement purposes) that NL was

responsible for liabilities associated with a different facility sold to Exxon before the 1988

restructuring, the evidence does not raise a genuine dispute as to the meaning of the parties’

unambiguous contracts.145 The letter agreement signed by representatives of NL and Baroid simply

lists Western Atlas v. NL as a “[m]atter[] as to which NL is [i]ndemnifying Baroid.” (See 2005 Case,

Docket Entry No. 274, Ex. A-2 at 2). The letter contains no description of the subject matter of the

lawsuit,146 no explanation as to why NL agreed to indemnify Baroid for this matter, and no analysis

of the restructuring contracts. The beginning of the letter simply states that indemnification is


its language alone, without considering extrinsic evidence such as the parties’ subsequent conduct.” (citation
omitted)); Hildreth v. Merle Norman Cosmetics, Inc., No. 08-02-00402-CV, 2004 WL 736991, at *4 (Tex.
App.—El Paso Apr. 6, 2004, no pet.) (mem. op.) (“[I]f the contract is unambiguous then the conduct of the
parties is immaterial to determine its meaning.” (citation omitted)); cf. AT&T Corp. v. Lillis, 970 A.2d 166,
172 (Del. 2009) (“It is hornbook law that the contracting parties’ course of conduct may be considered as
evidence of their intended meaning of an ambiguous contractual term.” (emphasis added) (citation omitted)).
Other jurisdictions have found it appropriate in at least some circumstances to consider the parties’ course
of performance even if a contract is unambiguous. See In re Aurora Foods Inc., No. 04-166 GMS, 2006 WL
3747306, at *6 (D. Del. Dec. 19, 2006) (applying New York contract law and noting that “[w]hen interpreting
a contract, ‘the parties’ course of performance . . . is relevant to understanding the contract even if the contract
is unambiguous’” (omission in original) (citing United Fire & Cas. Co. v. Arkwright Mut. Ins., 53 F. Supp.
2d 632, 640–41 (S.D.N.Y. 1999))); Relational Funding Corp. v. TCIM Servs., Inc., No. 01-821-SLR, 2004
WL 392875, at *4 (D. Del. Feb. 24, 2004) (noting that the Uniform Commercial Code, which has been
adopted by Michigan by statute, “permits course of performance to be considered to supplement or explain
the agreement, notwithstanding the existence of a writing intended to be the final expression of the parties
. . . regardless of whether the terms of the contract appear unambiguous” (citations omitted)). But because
Delaware and Texas law prohibit considering subsequent conduct in the absence of an ambiguity, the fact that
other jurisdictions have considered subsequent conduct in other contexts is not a persuasive reason to consider
that evidence here.
145
    As discussed earlier, this court has considered the documents submitted in camera during the hearing on
Tremont’s motion. These documents do not change this court’s interpretation of the contracts or lead to a
different result.
146
   Although, as discussed earlier, Tremont’s request for indemnity from Halliburton describes the Western
Atlas lawsuit as a involving expenses for addressing environmental conditions at oilfield service properties
that NL sold to Western Atlas through the Western Atlas Agreement, the record does not provide further
details about the lawsuit or the indemnity involved.
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“pursuant to the various agreements among Baroid, NL, and Tremont Corporation.” (Id., Ex. A-2

at 1).147 This letter does not raise a factual dispute about the meaning of the indemnity language in

the contracts as applied to properties sold or transferred by NL before the 1988 restructuring. In

addition, while “the parties’ course of performance may explain, supplement, or add to an

agreement, the course of performance may not be used to contradict any contract entered into.”

Sears Roebuck & Co. v. Emerson Elec. Co., No. 01 C 8119, 2003 WL 22057251, at *7 (N.D. Ill.

Sept. 3, 2003) (applying Illinois law) (citation omitted). Finding that NL’s agreement to indemnify

Baroid in the Western Atlas lawsuit shows the parties’ contractual intent to make NL responsible

for historical liabilities associated with facilities or operations it sold before the 1988 restructuring

would contradict the terms of the 1988 restructuring contracts, which unambiguously provide that,

with very limited and inapplicable exceptions, historical liabilities associated with NL’s petroleum

services business transferred to NLPS in the 1988 restructuring.

         Similarly, the letter in which NL agreed to indemnify Halliburton for liabilities associated

with a facility that NL sold to Exxon in 1987 because Halliburton did not acquire the facility—even

assuming this court could consider it despite the prohibition on relying on the parties’ subsequent

conduct in the absence of an ambiguity and the exclusion of evidence specifically labeled as “for

settlement purposes only”—does not create a genuine dispute as to a material fact. The letter does


147
    Halliburton notes that this letter also lists Schaffer de México, S.A. de C.V., Division of McCullough as
a “matter for which NL is indemnifying New Baroid.” (2005 Case, Docket Entry No. 274 at 12 n.4).
Halliburton asserts that because Shaffer de México, S.A. de C.V. is identified as a wholly-owned subsidiary
of the McCullough Division in the Western Atlas Agreement, NL’s subsequent agreement to indemnify
Baroid with respect to a liability associated with this entity “is yet another example of NL’s acknowledgment
of its indemnity obligations under the 1988 Restructuring Documents.” (Id.). As with the agreement to
indemnify for the Western Atlas lawsuit, there is no description in the letter agreement of the details of the
dispute or why NL agreed to take responsibility for it. This part of the letter agreement does not create a
factual dispute as to the parties’ intent to allocate indemnity obligations for the historical liabilities arising
from NL’s petroleum services business.
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not explain NL’s reason for accepting liability associated with a facility that it sold to Exxon in

1987. It is not apparent from this letter that the parties interpreted the restructuring documents. And

the letter is part of ongoing settlement negotiations. This letter, if it were considered, would not

create a factual dispute as to the meaning of the contracts.148

         Tremont asks that Halliburton be required to provide a defense for the claims in the EPA

lawsuit because Delaware law requires an indemnitor to defend all claims until it can demonstrate

which claims fall outside a contractual indemnification obligation. (Docket Entry No. 41 at 49–50).

Tremont relies on Pacific Insurance Co. v. Liberty Mutual Insurance Co., 956 A.2d 1246 (Del.

2008). In that case, the court explained the duty to indemnify as follows:

                 “In construing an insurer’s duty to indemnify and/or defend a claim
                 asserted against its insured, a court typically looks to the allegations
                 of the complaint to decide whether the third party’s action against the
                 insured states a claim covered by the policy, thereby triggering the
                 duty to defend.” The test is whether the underlying complaint, read
                 as a whole, alleges a risk within the coverage of the policy.
                 Determining whether an insurer is bound to defend an action against
                 its insured requires adherence to the following principles: (1) where
                 there is some doubt as to whether the complaint against the insured
                 alleges a risk insured against, that doubt should be resolved in favor
                 of the insured; (2) any ambiguity in the pleadings should be resolved
                 against the carrier; and (3) if even one count or theory alleged in the
                 complaint lies within the policy coverage, the duty to defend arises.

Id. at 1254–55 (emphasis added) (footnotes and citations omitted). Halliburton contends that Pacific

148
     Halliburton also notes that New Baroid did not disclose liabilities associated with the NL McCullough
Division or the Gulf Nuclear Sites in the merger agreement between Baroid and Dresser, which stated that,
other than specified exceptions, there were no undisclosed material liabilities. (2005 Case, Docket Entry No.
274 at 13–14). Halliburton asserts that because these liabilities were not disclosed, “New Baroid did not bring
the NL McCullough Division liabilities associated with the Gulf Nuclear Sites to the merger with Dresser[,]
. . . [and] [a]ccordingly, HESI and DII, the successors of Dresser through a 1998 merger and subsequent
restructuring, could not have assumed indemnification responsibility for those liabilities.” (Id. at 14).
Baroid’s alleged failure to disclose these liabilities in the Dresser merger may bear on a claim by Halliburton
against New Baroid/NL for undisclosed liabilities. But it does not change the unambiguous indemnity
language in the restructuring contracts or the arbitrators’ conclusions and does not create a fact issue as to
whether the parties modified to the restructuring agreements.
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Insurance Co. is inapplicable because it relates to an insurer’s duty to defend under an insurance

policy, not a contractual indemnity. (Docket Entry No. 50 at 10). Halliburton points out that there

is a distinction between an indemnity agreement, which is construed in favor of the indemnitor, and

an insurance agreement, which is construed in favor of coverage. (Id. at 10–11). Halliburton argues

that the special relationship between the insurer and insured, the basis for the rule of construction,

does not apply here. (Id. at 11).

       The complaint in the EPA lawsuit relates solely to the Gulf Nuclear Sites. (See 2005 Case,

Docket Entry No. 247, Ex. OO, ¶ 1). The EPA has confirmed that, at least for now, its claims

against NL in the EPA lawsuit relate solely to NL’s former petroleum services business. (See

Docket Entry No. 71, Ex. A, ¶ 3). As a result, this court need not resolve the effect of differences

between an indemnity contract and an insurance contract. Because the restructuring plans and

related agreements require Halliburton to indemnify Tremont for claims arising out of NL’s former

petroleum services business, even construing that indemnity obligation narrowly—as Halliburton

insists this court must do—results in a finding that Halliburton is required to indemnify Tremont for

the EPA lawsuit.

       Tremont’s motion for partial summary judgment is granted.

IV.    NL’s Motion to Dismiss

       Halliburton has filed a third-party complaint against NL seeking: damages for breach of

contract and contractual indemnity; a declaratory judgment that NL must indemnify Halliburton for

any and all costs and expenses, including attorneys’ fees, arising out of or otherwise attributable to

the “Divested Businesses,” defined as operations and facilities transferred by NL before the 1988

restructuring; or, alternatively, contribution and cost recovery under CERCLA. (Docket Entry No.


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13). NL has moved to dismiss the third-party complaint, arguing that the claims are barred by issue

preclusion. (Docket Entry No. 19 at 1). Alternatively, NL asks that its motion be converted into a

motion for summary judgment as to all claims in the third-party complaint.149 (Id. at 1). Halliburton

responds that it would be inappropriate to apply issue preclusion under the circumstances presented

here. (Docket Entry No. 22).

         A.     Conversion to a Motion for Summary Judgment

         A threshold issue is whether NL’s motion to dismiss is properly decided under Rule 12(b)(6)

or whether it should be converted into a motion for summary judgment under Rule 56. NL

captioned its motion as, in the alternative, a motion for summary judgment. Although NL has not

submitted materials outside the pleadings with its motion to dismiss, it refers to evidence in the

record either in this case or in the 2005 Case. For example, NL refers to the Allocation Award and

the Contract Award from the arbitration, the 2005 Cost Sharing Agreement, excerpts from closing

statements from the arbitration hearings, and exhibit lists from the arbitration. This evidence is not

mentioned in Halliburton’s third-party complaint and is not central to its claims. By referring to this

evidence in its motion and captioning its motion as an alternative motion for summary judgment,

NL has asked this court to consider matters outside the pleadings. In its response to NL’s motion

to dismiss, Halliburton has attached numerous exhibits, most of which go beyond documents

referred to in Halliburton’s complaint or documents central to Halliburton’s claim. NL’s reply brief

continues to refer to evidence outside the pleadings, submitted to this court in the 2005 Case or in

this case. NL also attaches a letter that is not referenced in Halliburton’s complaint.


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    As an additional alternative, NL requests that if this court is uncomfortable applying issue preclusion
during the pendency of the appeal of the judgment on the arbitration awards, that this court stay all claims
against NL until the Fifth Circuit appeal is resolved. (Docket Entry No. 19 at 1). The Fifth Circuit has now
affirmed the judgment confirming the arbitration awards. The additional alternative request is moot.
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       When either the pleader or the moving party submits materials outside the pleadings in

connection with a motion to dismiss, the court must convert the motion into a summary judgment

motion under Rule 56 if the court chooses to accept those materials. See Downstream Envtl., L.L.C.

v. Gulf Coast Waste Disposal Auth., No. H-05-1865, 2006 WL 1875959, at *4 (S.D. Tex. July 5,

2006). The court has discretion to accept and consider the materials but is not required to do so.

Id. (citing Prager v. LaFaver, 180 F.3d 1185, 1188–89 (10th Cir. 1999); Isquith v. Middle S. Utils.,

Inc., 847 F.2d 186, 193 n.3 (5th Cir. 1988)). In this case, both parties ask this court to consider the

evidence they previously submitted. The court agrees to treat the motion as a summary judgment

motion under Rule 56.

       There is no need to give additional notice at this point that the motion is treated as one for

summary judgment. The key to whether the court must give such notice is whether the losing party

has been given adequate notice and an opportunity to supplement the record before summary

judgment is granted. See Clark v. Tarrant County, Tex., 798 F.2d 736, 745–46 (5th Cir. 1986).

Halliburton received notice that NL’s motion could be treated as one for summary judgment when

NL framed its motion as seeking summary judgment in the alternative and referred to materials

outside the complaint. See Tri-Gen Inc. v. Int’l Union of Operating Eng’rs, 433 F.3d 1024, 1029

(7th Cir. 2006) (“Adequate notice is provided when the moving party frames its motion in the

alternative as one for summary judgment.” (citations omitted)); see also Ball v. Union Carbide

Corp., 385 F.3d 713, 719 (6th Cir. 2004) (finding no error in district court’s failure to give notice

of treatment of a motion to dismiss as a motion for summary judgment because “the district court

did not act sua sponte in converting the motion,” the defendants moved for summary judgment in

the alternative, and the plaintiffs responded to the summary judgment motion by submitting


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materials outside the pleadings); Hilfirty v. Shipman, 91 F.3d 573, 578–79 (3d Cir. 1996) (when a

motion to dismiss sought summary judgment in the alternative, the plaintiff was on notice that the

court could rule on the motion as one for summary judgment), disapproved of on other grounds by

Merkle v. Upper Dublin Sch. Dist., 211 F.3d 782 (3d Cir. 2000)); Madewell v. Downs, 68 F.3d 1030,

1048 (8th Cir. 1995) (“Madewell had constructive notice that the right of all defendants to judgment

as a matter of law was at issue. That constructive notice came from the DEA defendants’ alternative

designation of their motion as a motion for summary judgment, and Madewell’s own submission

of materials outside of the pleadings for consideration by the court . . . .” (internal citation omitted)).

Additional notice is particularly unnecessary here because Tremont moved for summary judgment

on the same issue preclusion basis as NL, giving Halliburton a full opportunity to submit any

evidence and argument in opposition. No unfairness will result from this court deciding NL’s

summary judgment motion without providing Halliburton additional notice and yet more time to

respond.

        B.      Analysis

        Most of the facts relevant to NL’s motion have been thoroughly discussed in connection with

Tremont’s motion for partial summary judgment. NL argues that the claims in Halliburton’s third-

party complaint “run directly contrary to the Arbitration Panel’s conclusion that ‘there is no

question that NL effectively transferred all assets and operations, existing and historical

liabilities, associated with its petroleum services business to NLPS in 1988.’” (Docket Entry No.

19 at 4). According to NL, “[i]t simply cannot be that NL has potential liability to Halliburton if it

transferred all of its historical petroleum services liabilities elsewhere.” (Id. at 4–5). Essentially,

NL makes the same arguments for applying issue preclusion that Tremont made in its motion for


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partial summary judgment. And Halliburton raises the same arguments it raised in opposition to

Tremont’s motion. Because those issues were addressed in connection with Tremont’s motion, the

analysis will not be repeated here. However, Halliburton raises a few additional arguments in

response to NL’s motion to dismiss that it did not raise in opposition to Tremont’s motion for partial

summary judgment.

         First, Halliburton argues that the fourth requirement for applying issue preclusion that has

been recognized in certain circumstances—a requirement that there be “‘no special circumstance

that would render preclusion inappropriate or unfair’”—should be applied here. (Docket Entry No.

22 at 8 (quoting RecoverEdge, 44 F.3d at 1290 n.12)). As explained earlier in this opinion, the

RecoverEdge court noted that the fairness requirement “originated as a limitation on offensive

collateral estoppel,” which “arises when a plaintiff seeks to estop a defendant from relitigating issues

that the defendant previously litigated and lost against another plaintiff.”150 RecoverEdge, 44 F.3d

at 1290 n.12 (second emphasis added) (citations omitted). As in RecoverEdge, “[t]his case involves

traditional, or mutual estoppel because the relevant parties . . . [a]re the same as the parties” in the

arbitration Id. (citation omitted).

         Even if this court considered fairness as a separate factor, that would not prevent issue

preclusion here. Halliburton was ably represented by capable counsel in the arbitration. The

arbitration hearings were extensive and involved consideration of thousands of pages of evidence



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    The other cases Halliburton cites—Baros v. Texas Mexican Railway Co., 400 F.3d 228 (5th Cir. 2005),
and Winters v. Diamond Shamrock Chemical Co., 149 F.3d 387 (5th Cir. 1998)—also involved offensive
collateral estoppel. They do not provide support for invoking a fairness requirement here. Cf. Auto. Fin.
Corp. v. Ray Huffines Chevrolet, Inc. (In re Parkway Sales & Leasing, Inc.), 411 B.R. 337, 348 (Bankr. E.D.
Tex. 2009) (listing requirements for issue preclusion and then explaining that “[o]ffensive collateral estoppel
requires a fourth equitable element that there exists ‘no special circumstance that would render preclusion
inappropriate or unfair’” (citation omitted)).
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and testimony from multiple witnesses. The arbitration panel analyzed the same contracts at issue

here and issued two thorough opinions explaining its analysis. Given the case law that provides for

application of issue preclusion to findings in arbitration awards, and given the fact that the panel

necessarily interpreted the restructuring agreements to determine the parties’ respective

responsibility for the Malvern Site environmental liabilities, Halliburton can hardly claim surprise

that the panel’s findings have preclusive effect in litigation involving responsibility for

environmental liabilities at other sites that were part of NL’s former petroleum services business.

        Halliburton argues that this court does not need to address issue preclusion because NL and

Tremont have not established that all the claims in the complaint, and therefore in the third-party

complaint, are related to historical liabilities arising from NL’s former petroleum services business.

(Docket Entry No. 22 at 9). NL responds that “Tremont has repeatedly advised Halliburton and this

Court in writing that Tremont is not seeking indemnity from Halliburton for anything that does not

relate to the former NL petroleum services business,” and that “neither NL nor Tremont is seeking

any preclusive treatment for any claims that do not relate to the former NL petroleum services

business.” (Docket Entry No. 25 at 5). Tremont does not seek to have the arbitration awards applied

to preclude Halliburton from contesting the amounts paid by Tremont as unreasonable or as not

associated with the former petroleum services business of NL. NL argues that the only issue that

is subject to preclusion is whether Halliburton has responsibility for historical liabilities arising from

assets or operations that were at one time part of the former NL petroleum services business, but that

were not transferred as part of the 1988 restructuring. (Id.). NL also points out that Tremont’s

complaint seeks indemnification from Halliburton only for claims that relate to NL’s former

petroleum services business. (Id. at 6). NL argues that “[a]s there is no claim against Halliburton


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by Tremont for anything outside of NL’s former petroleum services business, Halliburton cannot

conceivably have any claim against NL unless the arbitrators’ decision is not entitled to issue

preclusion.” (Id. at 7).

         Tremont’s complaint only raises claims that relate to NL’s former petroleum services

business. Granting partial summary judgment to NL on the indemnification issue does not preclude

Halliburton from defending against Tremont’s claims on the basis that they are not related to NL’s

former petroleum services business. If Halliburton succeeds in such an argument for any of the sites

identified in the complaint (other than the Gulf Nuclear Sites, the liabilities of which this court has

already determined arose from NL’s former petroleum services business), then Tremont will lose

and Halliburton will not need indemnity from NL. If Halliburton loses that argument, it will have

no basis to seek indemnity from NL because, as this court determined in connection with Tremont’s

motion for partial summary judgment, Halliburton is responsible for historical liabilities associated

with NL’s former petroleum services business, including liabilities associated with assets that were

part of that business but sold before the 1988 restructuring.151 As a result, Halliburton’s contractual


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    Halliburton also asserts that in the arbitration, the Tremont Parties argued that the panel had to consider
extrinsic evidence to determine whether the Malvern Site was part of NL’s former petroleum services
business. (Docket Entry No. 22 at 19). Halliburton asserts that “[a] fact specific assessment of the
circumstances surrounding the various sites, which by necessity includes an opportunity for discovery, should
be made to determine whether the instant claim actually relates to NL’s petroleum services business.” (Id.).
The record shows that the arbitration panel considered extrinsic evidence to decide whether the Malvern Site
was “surplus real property” and was included within “Mining Property, Malvern, Arkansas.” (See id., Ex.
N at 3). These terms were part of Exhibit A to the 1990 Plan. The panel considered this extrinsic evidence
because it found these terms ambiguous. (See id., Ex. N at 3). The terms “surplus real property” and “Mining
Property, Malvern, Arkansas” are not involved in this case. Halliburton acknowledged this fact in its
response to NL’s motion for summary judgment. (See Docket Entry No. 60 at 14 n.12 (“At arbitration, this
extrinsic evidence focused almost entirely upon the site specific terms of ‘Mining property, Malvern,
Arkansas,’ and ‘surplus property,’ both of which terms are irrelevant to the current dispute.”)). Tremont’s
complaint confirms that it only seeks indemnity for liabilities associated with NL’s former petroleum services
business. If any of the sites involved in Tremont’s claims in this case do not relate to NL’s former petroleum
services business, Tremont will not recover against Halliburton and Halliburton will have no need for
indemnity from NL.
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indemnity claims fail.

         Halliburton argues that arbitration is a matter of contract and that the parties never agreed

to submit anything other than the Malvern Site dispute to arbitration. (See Docket Entry No. 22 at

10–12). Halliburton points out that in the arbitration, the Tremont Parties, which included both

Tremont and NL, argued that discovery should be limited to the Malvern Site and that the panel

denied Halliburton discovery with respect to other mining property. (Id. at 10). Halliburton asserts

that the claims raised in Tremont’s complaint, and therefore in Halliburton’s third-party complaint,

are not within the scope of the parties’ arbitration agreement. (Id. at 11). Noticeably absent from

Halliburton’s brief are citations to any cases that would support requiring the claims raised in

Halliburton’s third-party complaint to be arbitrable in order to apply issue preclusion to the specific

issues that were decided in the arbitration.152 Tellingly, Halliburton included its argument on this


        Halliburton’s argument that NL and Tremont’s definition of “petroleum services business” has
changed over time also fails. The fact that the parties may have used different definitions of “petroleum
services business” in the 1988 and 1990 restructuring documents does not mean that the transfer of liabilities
associated with that business is ambiguous. It is irrelevant that the same term is defined differently in
separate agreements, as long as the definition is clear in each agreement.
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    Halliburton cites Wolf v. Gruntal & Co., 45 F.3d 524 (1st Cir. 1995), which Halliburton asserts states that
“‘[b]ecause arbitration awards are not ‘judgments’ per se, it cannot be presumed . . . that an arbitral tribunal
acquired competent authority over the putative ‘precluded’ claim for res judicata or issue preclusion
purposes.’” (Docket Entry No. 22 at 11 (quoting Wolf, 45 F.3d at 528–29)). The actual quotation refers only
to res judicata, not issue preclusion. See Wolf, 45 F.3d at 528 (“Because arbitral awards are not ‘judgments’
per se, it cannot be presumed, as the district court did, that an arbitral tribunal acquired competent authority
over the putative “precluded” claim for res judicata purposes.”). The Wolf court was discussing claim
preclusion. The next sentence stated: “Unlike federal courts of limited jurisdiction and state courts of general
jurisdiction, wherein a litigant, with standing, unilaterally may invoke the appropriate judicial tribunal’s
jurisdiction based on extrinsic constitutional, statutory, or common law authority, arbitral tribunals’ authority
over particular ‘claims’ is for the most part predetermined by contract; that is, by written agreement of the
parties.” Wolf, 45 F.3d at 528 (second emphasis added) (internal citation omitted). The court had previously
differentiated issue preclusion and claim preclusion: “Unlike collateral estoppel (issue preclusion), res
judicata (claim preclusion) normally bars (i) relitigation of claims actually asserted in a tribunal of competent
jurisdiction, and (ii) litigation of claims that arose from the same set of operative facts and could have been
raised in the prior proceeding.” Id. at 527 (internal citation and footnote omitted). The court noted: “Among
the circumstances in which claim preclusion does not obtain are those in which ‘[t]he plaintiff was unable
to rely on a certain theory of the case or to seek a certain remedy or form of relief in the first action because
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issue in its opposition to Tremont’s motion for summary judgment in the section on claim

preclusion, not issue preclusion. (See 2005 Case, Docket Entry No. 274 at 32–36).

        In addition, the fact that the parties did not agree to arbitrate the new claims does not prevent

the application of issue preclusion to issues that were resolved in the arbitration. The Tenth Circuit

rejected a similar argument in B-S Steel of Kansas, Inc. v. Texas Industries, Inc., 439 F.3d 653 (10th

Cir. 2006). In that case, the court held:

                 B-S Steel’s final argument opposing collateral estoppel concerns the
                 nature of arbitration agreements. According to B-S Steel, “the
                 contractual nature of the arbitrators’ jurisdiction” should prevent the
                 arbitrators’ award from having preclusive effect on “issues and
                 claims outside the Arbitration Period” when such an effect was not
                 intended by the contracting parties. It also contends that because an
                 arbitration is a private rather than a judicial process, the application
                 of doctrines of preclusion does not serve the same interests in judicial
                 economy and avoidance of piecemeal litigation. We do not believe,
                 however, that parties to an arbitration agreement could reasonably
                 intend to allow the losing party to have a second chance to win in
                 court on the very issue that he lost in arbitration. Such a result would
                 undermine the legitimacy of the arbitration award itself, and of the
                 arbitration process. Where, as here, the parties have invested
                 considerable time and resources arbitrating an issue identical to that
                 before a court, and the arbitration panel clearly articulates its findings
                 on that issue, the court may consider this evidence that the parties
                 intended the arbitration to have preclusive effect.

Id. at 665–66 (internal record citation and footnote omitted). Similarly, the fact that the parties here




of the limitations on the subject matter jurisdiction of the courts or restrictions on their authority to entertain
multiple theories or demands for multiple remedies or forms of relief in a single action, and the plaintiff
desires in the second action to rely on that theory or to seek that remedy or form of relief . . . .’” Id. at 527
n.4 (first emphasis added) (omission in original) (quoting RESTATEMENT (SECOND) OF JUDGMENTS §
26(1)(c)). The First Circuit held that the district court had erred by applying res judicata to bar a securities
law claim based on its conclusion that the claim could have been brought in an earlier arbitration because the
parties did not agree to arbitrate the securities law claim. See id. at 529. The court did not address the
application of issue preclusion. The Wolf holding does not support Halliburton’s argument that issue
preclusion cannot apply to prevent relitigation of issues decided by the arbitration panel in a later,
nonarbitrable, case involving the same issues.
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did not agree to arbitrate the claims in the 2008 Case does not prevent the application of issue

preclusion to determining whether Halliburton or NL is responsible for the historical liabilities

associated with NL’s former petroleum services business, which was fully litigated in the arbitration

and decided by the arbitrators in detailed, unanimous opinions.

        Halliburton also notes that this court found that the arbitration resolved only responsibility

for the Malvern Site by entering a final judgment under Rule 54(b) on the claims resolved in the

arbitration. (Docket Entry No. 22 at 11–12). The conclusion that the claims resolved in arbitration

were different enough from the remaining claims in the 2005 Case—which at the time included the

claims raised in Tremont’s complaint in the 2008 Case—to enter a Rule 54(b) judgment is irrelevant

to the application of preclusion to issues resolved in that arbitration and raised again here.

        Halliburton also argues that NL is judicially estopped from arguing that the arbitration

awards have preclusive effect. (See id. at 12–14). Halliburton asserts that “[t]o the extent NL

admitted the scope of the Arbitration Agreement was limited only to the Malvern Site, such a

statement also constitutes a judicial admission and is conclusively binding . . . .” (Id. at 14 n.7).

Halliburton notes that in the arbitration, NL sought to limit discovery to the Malvern Site, and that

NL took the position that it had not agreed to arbitrate issues related to former NL sites. (Id. at 13).

Halliburton asserts that these arguments are judicial admissions. (Id.).

        NL responds that its current argument is consistent with its position in the arbitration.

(Docket Entry No. 25 at 13–14). NL argues that while the Tremont Parties argued in the arbitration

that discovery should be limited to the Malvern Site, they never argued that the arbitrators’ findings

could not later be used for issue preclusion if all the requirements were met. (Id. at 13). NL also

points out that the Tremont Parties never asked the arbitrators to limit discovery into the contractual


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issues decided in the arbitration and that Halliburton could have presented the arbitrators with any

of the documents it is now submitting to this court. (Id. at 14). NL argues that the Tremont Parties’

statements in the arbitration were not contrary to a fact essential to a theory of recovery, and

therefore not judicial admissions. (See id.). Finally, NL contends that the fact that the arbitration

was limited to the Malvern Site should “in no way . . . limit the preclusive effect of the unanimous

decisions made by the arbitrators about the operative contracts, which are identical to those at issue

now.” (Id.).

       “[J]udicial estoppel is an equitable doctrine, and the decision whether to invoke it [is] within

the court’s discretion . . . .” Browning Mfg. v. Mims (In re Coastal Plains, Inc.), 179 F.3d 197, 205

(5th Cir. 1999) (citation omitted). The Fifth Circuit has explained that “[j]udicial estoppel is ‘a

common law doctrine by which a party who has assumed one position in his pleadings may be

estopped from assuming an inconsistent position.’” Id. (quoting Brandon v. Interfirst Corp., 858

F.2d 266, 268 (5th Cir. 1988)). “The purpose of the doctrine is ‘to protect the integrity of the

judicial process’, by ‘prevent[ing] parties from playing fast and loose with the courts to suit the

exigencies of self interest.’” Id. (alteration in original) (quoting Brandon, 858 F.2d at 268). “The

doctrine is generally applied where ‘intentional self-contradiction is being used as a means of

obtaining unfair advantage in a forum provided for suitors seeking justice.’” Id. at 206 (quoting

Scarano v. Cent. R. Co. of N.J., 203 F.2d 510, 513 (3d Cir. 1953)).

       The court in Coastal Plains recognized “two limitations on the application of the [judicial

estoppel] doctrine: (1) it may be applied only where the position of the party to be estopped is

clearly inconsistent with its previous one; and (2) that party must have convinced the court to accept

that previous position.” Id. (citations omitted). The Fifth Circuit noted that other courts have


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imposed additional requirements, such as requiring that the position be one of fact rather than law

and that the party must have acted intentionally rather than inadvertently. Id. (citations omitted).

The position NL asserts here is not clearly inconsistent with the Tremont Parties’ position in the

arbitration. Judicial estoppel does not apply for that reason. The fact that the Tremont Parties

sought and succeeded in limiting discovery in the arbitration to the Malvern Site is not inconsistent

with the current request that issue preclusion be applied to prevent relitigation of the contract

interpretation issues raised in both proceedings. The arbitration and this litigation involve the same

contracts and the same contract interpretation issues. The fact that the Tremont Parties sought to

limit discovery into former NL mines is irrelevant to NL’s request that this court preclude

relitigation of the meaning of the restructuring contracts.

       Halliburton’s argument that NL “judicially admitted” that every issue addressed in the

arbitration was limited to the Malvern Site is also unpersuasive. “To qualify as a judicial admission,

the statement must be (1) made in a judicial proceeding; (2) contrary to a fact essential to the theory

of recovery; (3) deliberate, clear, and unequivocal; (4) such that giving it conclusive effect meets

with public policy; and (5) about a fact on which a judgment for the opposing party can be based.”

Heritage Bank v. Redcom Labs., Inc., 250 F.3d 319, 329 (5th Cir. 2001) (citing Griffin v. Superior

Ins. Co., 338 S.W.2d 415, 419 (Tex. 1960)). “‘[J]udicial admissions are not conclusive and binding

in a separate case from the one in which the admissions are made.’” Id. (quoting Universal Am.

Barge, 946 F.2d at 1142). Even assuming the elements of a judicial admission are met, the fact that

NL admitted that the arbitration was limited to the Malvern Site does not prevent applying issue

preclusion to the contract interpretation issues necessarily decided in the Malvern Site arbitration.

       Halliburton also argues that NL’s position in its motion to dismiss was not foreseeable during


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the arbitration. (Docket Entry No. 22 at 14–15). Halliburton contends that “[b]ecause the parties

restricted the scope of the Arbitration Agreement to a final allocation related to the Malvern Site,

any application beyond the Malvern Site is unforeseeable and inappropriate.”             (Id. at 14).

Halliburton relies on the Restatement (Second) of Judgments, which provides an exception to issue

preclusion when “‘[t]here is a clear and convincing need for a new determination of the issue . . .

(b) because it was not sufficiently foreseeable at the time of the initial action that the issue would

arise in the context of a subsequent action.’” (Id. (quoting RESTATEMENT (SECOND) JUDGMENTS §

28(5)(a))). Halliburton argues that the lack of foreseeability has special force here because

Tremont’s complaint and Halliburton’s third-party complaint in this case assert claims for which NL

has already admitted responsibility and that are subject to limitations. (Id. at 14–15). Halliburton

notes that the claims in Tremont’s complaint predate the filing of its complaint in the 2005 Case, and

that Tremont could have proposed including them in the arbitration agreement but did not. (Id. at

15 n.9). NL responds that the idea that Halliburton could not foresee the applicability of issue

preclusion is “hard to fathom” because of long-standing case law and the fact that at the time of the

arbitration, Tremont was sending tender letters to Halliburton for some of the claims at issue in this

case. (Docket Entry No. 25 at 4–5, 9).

       This court agrees with Tremont that it is difficult to understand how Halliburton could be

surprised by application of issue preclusion. Although the arbitration specifically addressed claims

related to the Malvern Site, the arbitrators’ decisions on issues necessary to resolve those claims

clearly had broader effects. The case law clearly established that the decisions could be given

preclusive effect in later cases. Halliburton knew that it had acquired other sites and potential

environmental liabilities under the same restructurings contracts at issue in the arbitration.


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Halliburton had notice of the Gulf Nuclear Sites remediation claims before the allocation phase of

the arbitration; Tremont sent a demand letter with respect to those Sites in July 2007. (See Docket

Entry No. 25, Ex. A).

        The comment to the Restatement section that Halliburton relies on states that “preclusion

should not operate to foreclose redetermination of an issue if it was unforeseeable when the first

action was litigated that the issue would arise in the context of the second action, and if that lack of

foreseeability may have contributed to the losing party’s failure to litigate the issue fully.”

RESTATEMENT (SECOND) OF JUDGMENTS § 28 cmt. i (emphasis added). As discussed earlier in this

opinion, Halliburton fully litigated the issue of whether it assumed historical liabilities associated

with properties and facilities that were part of NL’s former petroleum services business but that did

not transfer to NLPS in the 1988 restructuring.

        The Restatement notes that unforeseeability is “rare,” but that it

                may arise, for example, between institutional litigants as a result of
                a change in the governing law. Thus, a determination in an action
                between the taxing authorities and a corporate taxpayer that a transfer
                of property has not occurred may become relevant to a wholly
                different question of tax liability under an amendment to the tax law
                passed after the initial judgment was rendered. Another example of
                a case in which a determination may have unforeseeable
                consequences is one in which that determination is relevant to a claim
                involving property acquired after the first judgment has become final.

Id. The facts here are quite different from the examples in the Restatement. There has been no

change in governing law. Halliburton knew before the arbitration ended that there were other sites

with historical environmental liabilities potentially arising from NL’s former petroleum services

business.   Halliburton contends that the fact that NL had previously agreed to indemnify

Baroid/Halliburton for certain claims arising out of its former petroleum services business made the


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application of issue preclusion unforeseeable. But NL did not agree to indemnify Halliburton with

respect to the Malvern Site, which involved leases that expired before the 1988 restructuring. That

made it unreasonable for Halliburton to believe that NL would assume all historical liabilities arising

from its former petroleum services business assets or operations not transferred to NLPS in the 1988

restructuring.

         Halliburton also notes, without full explanation, that issue preclusion was not foreseeable

because Tremont’s complaint asserts claims that may be barred by limitations. At least with respect

to the Gulf Nuclear Sites, it appears that Tremont asserted its claim for indemnity shortly after it

discovered its potential liability through the EPA lawsuit. Halliburton does not elaborate as to what

other claims might be barred by limitations.

         Finally, Halliburton’s argument that Tremont could have proposed including the claims

involved in this case in the arbitration does not support withholding issue preclusion. It is unclear

that the claims in this case were ripe for inclusion in the arbitration. But assuming that the claims

were ripe, it is claim preclusion, not issue preclusion, that requires bringing all claims based on the

same operative facts in the first action.153 Halliburton has not shown a clear and convincing need

to relitigate the issue of interpretation of the restructuring agreements, as required by the

Restatement provision it invokes.


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     See Wolf, 45 F.3d at 527 (“Unlike collateral estoppel (issue preclusion), res judicata (claim preclusion)
normally bars (i) relitigation of claims actually asserted in a tribunal of competent jurisdiction, and (ii)
litigation of claims that arose from the same set of operative facts and could have been raised in the prior
proceeding.” (first emphasis added) (internal citation and footnote omitted)); see also B-S Steel of Kan., 439
F.3d at 661 (rejecting the argument that “‘the traditional ‘jurisdictional competence’ limitation on’ preclusion
doctrine” barred application of issue preclusion because the arbitration panel had no jurisdiction over the
claims, noting that “the cases cited by B-S Steel in support of this argument apply this limitation to the
doctrine of res judicata, or claim preclusion, which normally bars not only claims that were actually raised
in a prior proceeding but also claims that ‘could have been raised’ but were not” (citing Wolf, 45 F.3d at
527)).
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        In sum, NL has shown that it is entitled to judgment as a matter of law with respect to

Halliburton’s claims in the third-party complaint against NL for contractual indemnity.

        In addition to its indemnity claims, Halliburton has also filed an alternative claim for

contribution under CERCLA. Because the parties have not briefed Halliburton’s alternative claim

for CERCLA contribution, that claim is not dismissed. NL’s alternative motion for summary

judgment based on issue preclusion is granted in part and denied in part. NL’s motion to dismiss

is moot.

V.      NL’s Motion for Partial Summary Judgment

        NL has moved for a partial summary judgment dismissing the claims raised in Halliburton’s

third-party complaint. (Docket Entry No. 56). NL argues that the 1988 restructuring documents

entitle it to judgment as a matter of law because Halliburton has no contractual claims against NL.

(See id. at 13–14). NL relies on the same documents and arguments Tremont used in the portion of

its summary judgment motion based on contractual indemnities. Halliburton has filed objections

to the evidence NL uses to support its summary judgment motion, nearly all of which track the

objections Halliburton made to the same documents in response to Tremont’s motion for partial

summary judgment.      (See Docket Entry No. 59).       Halliburton has also filed a motion for

continuance, arguing that it needs additional discovery to respond fully to NL’s motion. (Docket

Entry No. 58). At the same time that it filed its motion for a continuance, Halliburton filed a

substantive response to NL’s motion. (Docket Entry No. 60).

        Given that this court has granted summary judgment in favor of NL with respect to all of the

claims in the third-party complaint except Halliburton’s CERCLA contribution claim, NL’s separate

request for summary judgment based on contract interpretation is moot. NL’s motion for partial


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summary judgment, and Halliburton’s request for a continuance, are denied as moot. Halliburton’s

contract claims have been dismissed in connection with NL’s motion for summary judgment based

on issue preclusion. Halliburton’s CERCLA contribution claim remains pending. NL’s motion for

partial summary judgment and Halliburton’s opposition do not address Halliburton’s contribution

claim.

VI.      NL’s Motion to Stay Discovery

         NL filed a motion to stay discovery pending resolution of its motion to dismiss. (Docket

Entry No. 26). Halliburton opposed the motion. (Docket Entry No. 29). This court allowed the

parties to conduct discovery into the Gulf Nuclear Sites but deferred deciding whether the parties

could conduct discovery into additional sites until the parties completed discovery and briefing on

whether the Gulf Nuclear Sites were part of NL’s former petroleum services business. (Docket

Entry No. 44). To the extent that NL’s motion to stay discovery was not resolved by this court’s

prior order deferring additional discovery, the motion is now moot because Tremont’s motion

related to the Gulf Nuclear Sites has been resolved and NL’s alternative motion for summary

judgment has been granted in part.

         One argument Halliburton makes in opposing the motion to stay discovery warrants

discussion. Halliburton argues that the discovery it requests is relevant to its “arguments that it was

not foreseeable that either Tremont or NL would be seeking contribution or indemnity from

[Halliburton] because NL had undertaken the obligation itself, and that it is unclear which of the

obligations are related to NL’s former petroleum services operations, as well as the ‘fairness’

consideration of issue preclusion, among others.” (Docket Entry No. 29 at 7). This court addressed

these arguments in resolving NL’s alternate motion for summary judgment based on issue


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preclusion. There is no basis in the record to believe that the additional discovery Halliburton seeks

would change the resolution of those issues. Even assuming NL has previously agreed to indemnify

Halliburton with respect to certain claims, that would not make applying issue preclusion to the

contract interpretation issue fully litigated and necessarily decided in the arbitration unforeseeable.

Whether all the claims in the third-party complaint relate to NL’s former petroleum services

business need not be resolved. Issue preclusion bars relitigating the contract indemnity issue

resolved in the arbitration and raised again here. Finally, the unfairness exception does not apply

because NL seeks only to apply mutual collateral estoppel; there is no unfairness in applying issue

preclusion; and Halliburton does not explain how additional discovery is necessary to resolve the

fairness question.154



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    Halliburton’s response to NL’s argument that the exceptions to issue preclusion on which Halliburton
seeks discovery apply only in the context of nonmutual collateral estoppel is only that the exceptions do not
need to be addressed because NL has not shown that the initial requirements for applying issue preclusion
have been met. This response confirms the conclusion that additional discovery is not necessary before
resolving NL’s motion to dismiss. Halliburton itself argues that the exceptions on which it seeks discovery
need not be addressed.
         Halliburton also argues that “NL’s presence is required to allow [Halliburton] to properly present
their defense and, given that NL is requesting indemnification from Tremont, NL could seek indemnification
from [Halliburton] at a later date as the successors of Baroid.” (Docket Entry No. 29 at 8). Halliburton
contends that “[t]his places Defendants [sic] squarely within the scope of Federal Rule of Civil Procedure 19,”
and that “[i]f a judgment were to come down in favor of Tremont in this matter, NL could potentially sue
[Halliburton] for contribution on the same theory that [it] assert[s] against Tremont, creating a potential that
[Halliburton] could incur multiple obligations.” (Id.). Based on this argument, Halliburton asserts that
“[s]ignificant prejudice exists for [Halliburton] if NL is dismissed,” and that “[t]hat same prejudice exists if
discovery is stayed with regard to NL in this case.” (Id.). Although Halliburton’s argument purports to be
a reason not to dismiss NL from the case, Halliburton did not raise Rule 19 in connection with NL’s motion
to dismiss and Halliburton does not explain how the alleged potential for Halliburton to incur multiple
obligations has any bearing on staying discovery pending resolution of the motion. In any event, it is not
clear that Rule 19 applies to bar dismissal. Under Rule 19, a person must be joined as a party if that person
claims an interest relating to the subject of the litigation and disposing of the action in the absence of that
person may “leave an existing party subject to a substantial risk of incurring double, multiple, or otherwise
inconsistent obligations . . . .” See FED. R. CIV. P. 19(a)(1)(B)(ii). In addition to not raising this issue in
response to NL’s motion to dismiss, Halliburton has not presented any evidence that NL will seek recovery
against Halliburton if it successfully recovers from Tremont in this action. In addition, NL remains a party
to this action because of the CERCLA contribution claim.
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       In sum, additional discovery is not warranted before resolving NL’s motion to dismiss, as

converted to a motion for summary judgment. NL’s motion for a stay of discovery pending

resolution of the motion to dismiss is denied as moot.

VII.   Conclusion

       Tremont’s motion for partial summary judgment, (Docket Entry No. 8), is granted.

Halliburton’s request for a continuance to respond to Tremont’s motion for partial summary

judgment, (Docket Entry No. 11), is denied. NL’s alternate motion for summary judgment based

on issue preclusion, (Docket Entry No. 19), is granted in part and denied in part; NL’s motion to

dismiss is denied as moot. NL’s motion for partial summary judgment, (Docket Entry No. 56), and

NL’s motion to stay discovery, (Docket Entry No. 26), are denied as moot. Halliburton’s request

for a continuance to respond to NL’s motion for partial summary judgment, (Docket Entry No. 58),

is denied as moot; Halliburton’s motion for leave to file certain exhibits under seal, (Docket Entry

No. 63), is granted. Tremont’s motion to supplement the summary judgment record, (Docket Entry

No. 70), is granted. Tremont’s motion for leave to file under seal its response to Halliburton’s

objection to Tremont’s supplemental evidence and its memorandum in further support of its motion

to supplement the record, (Docket Entry No. 74), is denied as moot. Halliburton’s motion for leave

to supplement the record, (Docket Entry No. 86), is denied. A status conference is set for March

30, 2010, at 2:00 p.m., to discuss a schedule for resolving the remaining issues in this case.

          SIGNED on March 11, 2010, at Houston, Texas.


                                                   ______________________________________
                                                            Lee H. Rosenthal
                                                      United States District Judge




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